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                                                                                    EXECUTION COPY




                             BRENTWOOD CLO, LTD.
                                                   Issuer,


                            BRENTWOOD CLO, CORP.
                                                 Co-Issuer,

                                                    and

                INVESTORS BANK & TRUST COMPANY
                                                  Trustee




                                             INDENTURE

                                    Dated as of December 21, 2006




                              COLLATERALIZED DEBT OBLIGATIONS


           U.S.$388,700,000 Class A-1A Floating Rate Senior Secured Extendable Notes Due 2022
     U.S.$75,000,000 Class A-1B Delayed Draw Floating Rate Senior Secured Extendable Notes Due 2022
             U.S.$51,500,000 Class A-2 Floating Rate Senior Secured Extendable Notes Due 2022
     U.S.$68,600,000 Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
     U.S.$23,800,000 Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022
     U.S$21,000,000 Class D Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2022




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          INDENTURE, dated as of December 21, 2006, among BRENTWOOD CLO, LTD. (the “Issuer”),
 BRENTWOOD CLO, CORP. (the “Co-Issuer”) and INVESTORS BANK & TRUST COMPANY, as
 trustee (in such capacity, together with its permitted successors in such capacity, the “Trustee”).

                                         PRELIMINARY STATEMENT

         The Co-Issuers are duly authorized to execute and deliver this Indenture to provide for the Class
 A-1A Notes, the Class A-1B Notes, the Class A-2 Notes, the Class B Notes, the Class C Notes and the
 Class D Notes, in each case issuable as provided in this Indenture. All covenants and agreements made
 by the Co-Issuers in this Indenture are for the benefit and security of the Secured Parties. The Co-Issuers
 are entering into this Indenture, and the Trustee is accepting the trusts created by this Indenture, for good
 and valuable consideration, the receipt and sufficiency of which are hereby acknowledged.

         All things necessary to make this Indenture a valid agreement of the Co-Issuers in accordance
 with the agreement’s terms have been done.

                                            GRANTING CLAUSES

          The Issuer Grants to the Trustee, for the benefit and security of the Noteholders, the Trustee, the
 Servicer and each Hedge Counterparty (collectively, the “Secured Parties”), all of its right, title, and
 interest in, to, and under, in each case, whether now owned or existing, or hereafter acquired or arising:

          (a)     the Collateral Obligations (listed, as of the Closing Date, in Schedule 1 to this Indenture
 and as such Schedule 1 may be modified, amended and revised subsequent to the Closing Date by the
 Issuer) and all Workout Assets, including any part thereof which consists of general intangibles (as
 defined in the UCC) relating thereto, all payments made or to be made thereon or with respect thereto,
 and all Collateral Obligations and Workout Assets including any part thereof which consists of general
 intangibles (as defined in the UCC) relating thereto, which are delivered or credited to the Trustee, or for
 which a Security Entitlement is delivered or credited to the Trustee or which are credited to one or more
 of the Issuer Accounts on or after the Closing Date and all payments made or to be made thereon or with
 respect thereto;

         (b)     the Custodial Account, the Collection Account, the Payment Account, the Revolving
 Reserve Account, the Delayed Drawdown Reserve Account, the Interest Reserve Account, the Class A-
 1B Funding Account, the Closing Date Expense Account, the Expense Reimbursement Account and the
 Securities Lending Account (collectively, the “Issuer Accounts”), Eligible Investments purchased with
 funds on deposit in the Issuer Accounts, and all income from funds in the Issuer Accounts;

         (c)      the Synthetic Security Counterparty Account (and, together with the Issuer Accounts, the
 Synthetic Security Collateral Account and the Hedge Counterparty Collateral Account, the “Accounts”)
 and assets included therein, subject to the terms of the related Synthetic Security (provided, however, that
 any such rights in any Synthetic Security Counterparty Account shall be held in trust by the Trustee (or
 Securities Intermediary) first to secure the Issuer’s payment obligations to the relevant Synthetic Security
 Counterparty and second for the benefit of the Secured Parties);

         (d)    the Servicing Agreement, the Synthetic Security Collateral Account, the Securities
 Lending Agreements and all Securities Lending Collateral and the Securities Lending Account, the Hedge
 Agreements as set forth in Article 15 and all Collateral securing the Hedge Counterparty’s obligations
 thereunder including, without limitation, the Hedge Counterparty Collateral Account, the Collateral
 Administration Agreement to the extent of any rights of the Issuer therein;




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         (e)      all Cash or money delivered to the Trustee (or its bailee);

         (f)     all securities, investments, investment property, instruments, money and agreements of
 any nature in which the Issuer has an interest (except for money, securities and investments in the Issuer’s
 bank account in the Cayman Islands), including any part thereof which consists of general intangibles (as
 defined in the UCC) relating thereto; and

         (g)      all proceeds with respect to the foregoing;

        (all of the property and assets described in foregoing clauses (a) through (g), but excluding the
 Excluded Property, the “Collateral”).

           These Grants are not intended to and do not transfer any liability under the Collateral, which
 liabilities shall remain the sole obligation of the Issuer. These Grants are made, however, in trust as
 separate trusts, to secure the Notes. Except as provided in Article 13 and the priorities set forth in the
 Priority of Payments, the Notes are secured by the first grant equally and ratably without prejudice,
 priority or distinction between any Note and any other Note because of difference in time of issuance or
 otherwise. The Grants are made to secure, in accordance with the priorities in the Priority of Payments
 and Article 13:

                  (i)     the payment of all amounts due on the Notes equally and ratably without
         prejudice, priority or distinction between any Note and any other Note because of difference in
         time of issuance or otherwise, in accordance with their terms;

                 (ii)    the payment of all other sums payable under this Indenture (other than amounts
         payable in respect of the Preference Shares);


               (iii)      the payment of sums payable to any Hedge Counterparty under a Hedge
         Agreement;

                  (iv)    the payment of sums payable to the Servicer under the Servicing Agreement; and

                  (v)     compliance with this Indenture;

                  (collectively, the “Secured Obligations”), all as provided in this Indenture.

          The Trustee acknowledges the Grants, accepts the trusts under this Indenture in accordance with
 this Indenture, and agrees to perform its duties in this Indenture in accordance with the provisions hereof.

                                                ARTICLE I.

                                                DEFINITIONS

         Section 1.1.     Definitions

         Except as otherwise specified in this Indenture or as the context may otherwise require, the
 following terms have the respective meanings provided below for all purposes of this Indenture.

         “A/B Exchange”: An exchange of one security (the “A Security”) for another security (the “B
 Security”) of the same issuer or issuers, which security shall have substantially identical terms to the A



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 Security except that one or more transfer restrictions applicable to the A Security are inapplicable to the B
 Security.

         “Accounts”: The meaning specified in the Granting Clauses.

         “Accountants’ Certificate”: An agreed upon procedures report of a firm of Independent certified
 public accountants of international reputation appointed by the Issuer pursuant to Section 10.8(a), which
 may be the firm of Independent accountants that performs certain accounting services for the Issuer or the
 Servicer.

         “Accrued Interest On Sale”: Interest accrued on a Collateral Obligation at the time of sale or
 other disposition to the extent paid to the Issuer as part of the sale or other disposition price of the
 Collateral Obligation after deduction of any amount representing Accrued Interest Purchased With
 Principal of the Collateral Obligation.

          “Accrued Interest Purchased With Principal”: (a) Interest accrued on or purchased with a
 Collateral Obligation as part of the price paid by the Issuer to acquire the Collateral Obligation less any
 amount of Interest Proceeds (applied as Interest Proceeds) applied by the Issuer to acquire the accrued
 interest at the time of purchase and (b) interest accrued on a Warehoused Loan as part of the price paid by
 the Issuer to repurchase and terminate the related participation under the Warehouse Agreement.

         “Act”: The meaning specified in Section 14.2.

        “Administration Agreement”: The Administration Agreement, between the Issuer and the
 Administrator, providing for the administrative functions of the Issuer, as modified, amended, and
 supplemented and in effect from time to time.

         “Administrative Expense Cap”: An amount on any Payment Date equal to the excess of:

        (a)     the sum of 0.055% of the Maximum Amount on the related Determination Date plus
 U.S.$200,000 over

         (b)     the sum of the amounts paid for Administrative Expenses in the twelve months preceding
 the current Payment Date.

         “Administrative Expenses”: Amounts due or accrued representing

          (a)     tax preparation, filing, and registration fees or expenses and any other filing and
 registration fees owed by the Co-Issuers or Investors Corp. (including all filing, registration, and annual
 return fees payable to the Cayman Islands government and registered office fees);

         (b)     fees, indemnities and expenses of the Trustee (including all amounts under Section 6.8),
 the Administrator, the Delayed Drawdown Note Agent, the Preference Shares Paying Agent, the Holding
 Preference Shares Paying Agent and the Collateral Administrator;

         (c)     fees, indemnities and expenses of the Co-Issuers and Investors Corp. and of accountants,
 agents, and counsel for each of the Co-Issuers and Investors Corp.;

         (d)     fees and expenses of the Rating Agencies in connection with any rating of the Notes
 owed by either Co-Issuer (including fees and expenses for on-going surveillance, credit estimates, and
 other fees owing to the Rating Agencies);



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         (e)    expenses and indemnities (but not Servicing Fees) of the Servicer if payable under the
 Servicing Agreement;

         (f)      fees, indemnities and expenses for third-party loan pricing services and accountants; and

         (g)      amounts due (other than indemnities) to any other person (except the Servicer) if
 specifically provided for in this Indenture, including fees or expenses in connection with any Securities
 Lending Agreement.

         “Administrator”: Maples Finance Limited.

         “Affected Class”: Any Class of Notes that, as a result of the occurrence of a Tax Event, has
 received or will receive less than the aggregate amount of principal and interest that would otherwise have
 been payable to such Class on the Distribution Date related to the Due Period with respect to which such
 Tax Event occurs.

         “Affiliate” or “Affiliated”: With respect to a person,

       (a)     any other person who, directly or indirectly, is in control of, or controlled by, or is under
 common control with, the person, or

         (b)     any other person who is a director, officer, or employee (i) of the person, (ii) of any
 subsidiary or parent company of the person or (iii) of any person described in clause (a) above.

         For the purposes of this definition, control of a person shall mean the power, direct or indirect,

                  (i)     to vote more than 50% of the securities having ordinary voting power for the
         election of directors of the person, or

                 (ii)    to direct the corporate management and corporate policies of the person whether
         by contract or otherwise (this does not include the Servicing Agreement unless it is amended
         expressly to provide those services).

          For the purpose of this definition, the Administrator and its Affiliates are neither Affiliates of nor
 Affiliated with the Co-Issuers and the Co-Issuers are neither Affiliates of nor Affiliated with the
 Administrator, or any of their Affiliates.

         “Agent Members”: Members of, or participants in, a Depository.

         “Aggregate Outstanding Amount”: When used with respect to (i) any of the Notes (other than
 the Class A-1B Notes) as of any date, the aggregate principal amount of such Notes on that date; (ii) the
 Class A-1B Notes as of any date, (a) prior to the first Payment Date, the Fully Drawn Amount and (b)
 from and after the first Payment Date, the aggregate principal amount of the Class A-1B Notes on that
 date; and (iii) the Preference Shares as of any date, the number of such Preference Shares Outstanding on
 such date.

         Except as otherwise provided herein:

         (a)      the Aggregate Outstanding Amount of all of the Class A Notes at any time shall include
 any Defaulted Interest in respect thereof and (to the extent not included in any such Defaulted Interest)
 accrued interest on such Defaulted Interest;



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         (b)    the Aggregate Outstanding Amount of the Class B Notes at any time shall include all
 Class B Deferred Interest attributed thereto;

         (c)    the Aggregate Outstanding Amount of the Class C Notes at any time shall include all
 Class C Deferred Interest attributed thereto; and

         (d)    the Aggregate Outstanding Amount of the Class D Notes at any time shall include all
 Class D Deferred Interest attributed thereto.

         “Aggregate Principal Balance”: When used with respect to the Pledged Obligations, the sum of
 the Principal Balances of all the Pledged Obligations. When used with respect to a portion of the Pledged
 Obligations, the term Aggregate Principal Balance means the sum of the Principal Balances of that
 portion of the Pledged Obligations.

         “Aggregate Purchase Price Amount”: When used with respect to the Pledged Obligations, the
 sum of the Purchase Price Amounts of all the Pledged Obligations. When used with respect to a portion
 of the Pledged Obligations, the term Aggregate Purchase Price Amount means the sum of the Purchase
 Price Amounts of that portion of the Pledged Obligations.

        “Aggregate Undrawn Amount”: At any time, with respect to the Class A-1B Notes, the
 aggregate Undrawn Amounts of all Class A-1B Notes.

         “Allocable Principal Balance”: With respect to a Synthetic Security based upon or relating to a
 senior secured index providing non-leveraged credit exposure to a basket of credit default swaps
 referencing a diversified group of Reference Obligations, with respect to which the principal or notional
 amount of the credit exposure to any single Reference Obligation does not increase over time, the portion
 of the aggregate Principal Balance of such Synthetic Security that is allocable to each Reference
 Obligation comprising such index or indices based upon allocating the Principal Balance of such
 Synthetic Security among such Reference Obligations in the same proportion as each Reference
 Obligation bears to the aggregate Principal Balance of such Synthetic Security.

          “Amended and Restated Memorandum and Articles of Association”: The memorandum and
 articles of association of the Issuer, as amended and restated from time to time.

         “Amendment Buy-Out”: The meaning specified in Section 9.6(a).

         “Amendment Buy-Out Option”: The meaning specified in Section 9.6(a).

         “Amendment Buy-Out Purchase Price”: The purchase price payable by the Amendment Buy-
 Out Purchaser for Transaction Securities purchased in an Amendment Buy-Out, if any, in an amount
 equal to (a) in the case of (i) the Notes (other than the Class A-1B Notes), the Aggregate Outstanding
 Amount thereof and (ii) the Class A-1B Notes, the aggregate principal amount thereof, plus accrued and
 unpaid interest (including Deferred Interest, if any) as of the date of purchase payable to the Non-
 Consenting Holder (giving effect to any amounts paid to the Holder on such date), plus any unpaid
 Extension Bonus Payment, plus in the case of the Class A-1B Notes, any accrued and unpaid Delayed
 Drawdown Fee, plus in the case of any Notes held or, with respect to any Notes representing Global
 Notes, beneficially owned, by a CDS/TRS Purchaser, the applicable CDS/TRS Termination Payment
 Amount, if any, and (b) in the case of the Preference Shares and the Holding Preference Shares, an
 amount that, when taken together with all payments and distributions made in respect of such Preference
 Shares or Holding Preference Shares, as applicable, since the Closing Date (and any amounts payable, if
 any, to the Non-Consenting Holder or the Non-Consenting Holding Preference Share Holder, as



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 applicable, on the next succeeding Payment Date) would cause such Preference Shares or Holding
 Preference Shares, as applicable, to have received (as of the date of purchase thereof) a Preference Share
 Internal Rate of Return or a Holding Preference Share Internal Rate of Return, as applicable, of 12%
 (assuming such purchase date was a Payment Date); provided, however, that in any Amendment Buy-Out
 from and after the date on which the Non-Consenting Holders or the Non-Consenting Holding Preference
 Share Holders have received a Preference Share Internal Rate of Return or a Holding Preference Share
 Internal Rate of Return, as applicable, equal to or in excess of 12%, the Amendment Buy-Out Purchase
 Price for such Preference Shares or Holding Preference Shares, as applicable, shall be zero.

          “Amendment Buy-Out Purchaser”: The Servicer (or any of its Affiliates acting as principal or
 agent); provided that in the event that the Servicer elects not to purchase Transaction Securities from
 Holders pursuant to Section 9.6, “Amendment Buy-Out Purchaser” shall mean one or more qualifying
 purchasers (which may include the Placement Agent, the Investors Corp. Placement Agent or any of their
 respective Affiliates acting as principal or agent) designated by the Servicer; provided, however, none of
 the Servicer, the Placement Agent, the Investors Corp. Placement Agent or any of their respective
 Affiliates shall have any duty to act as an Amendment Buy-Out Purchaser.

        “Applicable Discount Rate”: For purposes of determining the CDS/TRS Termination Payment
 Amount with respect to any CDS/TRS Purchaser in connection with an Amendment Buy-Out, USD-
 LIBOR-BBA, as defined in the Annex to the 2000 ISDA Definitions as determined by the applicable
 CDS/TRS Purchaser on the Business Day preceding the date of purchase of the applicable Notes from
 such CDS/TRS Purchaser in connection with such Amendment Buy-Out, as the case may be.

          “Applicable Issuers” or “Applicable Issuer”: With respect to the Class A-1A Notes, the Class A-
 1B Notes, the Class A-2 Notes, the Class B Notes and the Class C Notes, each of the Co-Issuers. With
 respect to the Class D Notes and the Preference Shares, the Issuer only.

         “Applicable Note Interest Rate”: With respect to the Notes of any Class, the Note Interest Rate
 with respect to such Class.

        “Applicable Percentage”: The lesser of the Moody’s Priority Category Recovery Rate and the
 S&P Priority Category Recovery Rate applicable to the Collateral Obligation as specified below.

         If a Collateral Obligation has been specifically assigned a recovery rate by Moody’s in
 connection with the assignment by Moody’s of a credit estimate, the Moody’s Priority Category Recovery
 Rate of such Collateral Obligation shall be such assigned recovery rate.

                                                                      Moody’s Priority Category
 Moody’s Priority Category                                                Recovery Rate
 Synthetic Securities.......................   In the case of:
                                                    (a) a Form-Approved Synthetic Security, the “Moody’s
                                                Priority Category Recovery Rate” given by Moody’s to the Form-
                                                Approved Synthetic Security at the time of approval of the Form-
                                                Approved Synthetic Security by Moody’s, and
                                                    (b) any other Synthetic Security, the “Moody’s Priority
                                                Category Recovery Rate” given by Moody’s to the Synthetic
                                                Security at the time of acquisition of the Synthetic Security.
 Structured Finance Obligations.....           The Moody’s Priority Category Recovery Rate determined in
                                               accordance with the Moody’s Structured Finance Obligation


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                                                                          Moody’s Priority Category
 Moody’s Priority Category                                                    Recovery Rate
                                                      Recovery Rates set forth in Schedule 5 by reference to the type of
                                                      asset and its then Moody’s Rating (or, with respect to assets to
                                                      which that schedule does not apply, on a case-by-case basis in
                                                      connection with the Grant of the relevant Collateral Obligation).
 unsecured DIP Loans and any
 Collateral Obligations not covered
 above or below..............................         As determined by Moody’s on a case-by-case basis.

 For High-Yield Bonds, Moody’s Senior Secured Loans and Moody’s Non Senior Secured Loans, the
 relevant Moody’s Priority Category Recovery Rate is the rate determined pursuant to the table below
 based on the number of rating subcategories difference between the High-Yield Bond’s or Loan’s
 Moody’s Obligation Rating and its Moody’s Default Probability Rating based on the then current
 Moody’s Rating (for purposes of clarification, if the Moody’s Obligation Rating is higher than the
 Moody’s Default Probability Rating, the rating subcategories difference will be positive and if it is lower,
 negative):

                                                                                                  Moody’s
                                                                                  Moody’s           Non
   Number of Moody’s Rating Subcategories Difference                               Senior          Senior
     Between the Moody’s Obligation Rating and the                                Secured         Secured       High-Yield
          Moody’s Default Probability Rating                                       Loans           Loans          Bonds

                                    +2 or more                                       60.0%           45.0%          40.0%
                                        +1                                           50.0%           42.5%          35.0%
                                         0                                           45.0%           40.0%          30.0%
                                         -1                                          40.0%           30.0%          15.0%
                                         -2                                          30.0%           15.0%          10.0%
                                     -3 or less                                      20.0%           10.0%           2.0%

 If the Loan is a secured DIP Loan, the relevant Moody’s Priority Category Recovery Rate is 50.0%.

                                                                            S&P Priority Category
 S&P Priority Category                                                         Recovery Rate

 Senior Secured Loans other than                                                     55.0%
 Subordinated Lien Loans or DIP
 Loans.............................................
 Senior Unsecured Loans ...............                                              37.5%
 Second Lien Loans........................                                           37.5%
 Subordinated Lien Loans other                                                       21.5%
 than a DIP Loan ............................
 Senior Secured High-Yield Bonds                                                     44.0%
 Senior Unsecured High-Yield                                                         30.0%
 Bonds ............................................
 Subordinated High-Yield Bonds...                                                    18.0%
 Structured Finance Obligations.....                  The S&P Priority Category Recovery Rate determined in accordance
                                                      with the S&P Structured Finance Obligation Recovery Rates set
                                                      forth in Schedule 6 by reference to the type of asset and its then S&P


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                                                                     S&P Priority Category
 S&P Priority Category                                                  Recovery Rate

                                               Rating (or, with respect to assets to which that table does not apply,
                                               on a case by case basis in connection with the Grant of the relevant
                                               Collateral Obligation).
 Synthetic Securities.......................   As assigned by S&P on a case-by-case basis in connection with the
                                               Grant of the relevant Collateral Obligation.
 DIP Loans and any Collateral
 Obligation not covered above .......          As assigned by S&P on a case-by-case basis.

           “Applicable Procedures”: The meaning set forth in Section 2.6(f)(ii).

         “Approved Credit Support Document”: A security agreement in the form of the 1994 ISDA
 Credit Support Annex (ISDA Agreements Subject to New York Law Only), as modified by the Paragraph
 13 thereto.

         “Approved Pricing Service”: Loan Pricing Corporation, Mark-It-Partners, Inc. or any other
 nationally recognized loan pricing service approved in writing by S&P.

          “Approved Replacement”: An individual who shall (x) be proposed by the Servicer to replace
 James Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement therefor) within 30 days
 after James Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement therefor) fails to be
 a partner, director, officer or management-level employee of Highland Capital or, following any objection
 pursuant to the following clause (y) to the first proposed replacement, within 30 days after such objection
 and (y) not have been objected to by either (A) a Super Majority of the Controlling Class of Notes or (B)
 a Majority of the Preference Shares (excluding any Preference Shares held by the Servicer or any of its
 Affiliates), within 30 days after written notice of such Approved Replacement has been given by the
 Servicer to the Controlling Class of Notes and the Holders of Preference Shares.

         “Ask-Side Market Value”: As of any Measurement Date, the market value determined by the
 Servicer and reported to the Trustee as an amount rather than as a percentage or fraction of par (expressed
 in Dollars) of any lent Collateral Obligation based upon the Servicer’s commercially reasonable judgment
 and based upon the following order of priority: (a) the average of the ask-side market prices obtained by
 the Servicer from three Independent broker-dealers active in the trading of such obligations or (b) if the
 foregoing set of prices were not obtained, the higher of the ask-side market prices obtained by the
 Servicer from two Independent broker-dealers active in the trading of such obligations or (c) if the
 foregoing sets of prices were not obtained, the average of the ask-side prices for the purchase of such
 Collateral Obligation determined by an Approved Pricing Service (Independent from the Servicer) that
 derives valuations by polling broker-dealers (Independent from the Servicer); provided that if the Ask-
 Side Market Value of any lent Collateral Obligation cannot be so determined then such Collateral
 Obligation shall be deemed to have a Market Value equal to the outstanding principal balance thereof.

           “Assigned Moody’s Rating”: The meaning set forth in Schedule 7.

         “Authenticating Agent”: With respect to the Notes, the Trustee or the person designated by the
 Trustee to authenticate the Notes on behalf of the Trustee pursuant to Section 6.15.

          “Authorized Officer”: With respect to the Issuer, the Co-Issuer or Investors Corp., any Officer or
 agent who is authorized to act for the Issuer, the Co-Issuer or Investors Corp., as applicable, in matters
 relating to, and binding on, the Issuer, the Co-Issuer or Investors Corp. With respect to the Servicer, any



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 managing member, Officer, manager, employee, partner or agent of the Servicer who is authorized to act
 for the Servicer in matters relating to, and binding on, the Servicer with respect to the subject matter of
 the request, certificate, or order in question. With respect to the Trustee or any other bank or trust
 company acting as trustee of an express trust or as custodian, a Trust Officer. Each party may receive and
 accept a certification of the authority of any other party as conclusive evidence of the authority of any
 person to act, and the certification may be considered as in full force and effect until receipt by the other
 party of written notice to the contrary.

         “Average Life”: As of any Measurement Date with respect to any Collateral Obligation (other
 than any Defaulted Collateral Obligation), the quotient obtained by dividing:

         (a)      the sum of the products of:

                  (i)    the number of years (rounded to the nearest hundredth) from the Measurement
         Date to the respective dates of each successive scheduled payment of principal of the Collateral
         Obligation, and

                 (ii)    the respective amounts of the successive scheduled payments of principal of the
         Collateral Obligation, by

         (b)      the sum of all successive scheduled payments of principal of the Collateral Obligation.

         “Bank”: Investors Bank & Trust Company, in its individual capacity and not as Trustee.

         “Bankruptcy Code”: The U.S. Bankruptcy Code, Title 11 of the United States Code, as amended.

       “Bankruptcy Law”: The Bankruptcy Code, Part V of the Companies Law (2004 Revision) of the
 Cayman Islands and the Bankruptcy Law (1997 Revision) of the Cayman Islands.

        “Beneficial Owner”: Any person owning an interest in a Global Note as reflected on the books of
 the Depository or on the books of an Agent Member or on the books of an indirect participant for which
 an Agent Member acts as agent.

         “Benefit Plan Investor”: Any (a) “employee benefit plan” subject to Part 4 of Title I of ERISA,
 (b) any “plan” to which Section 4975 of the Code applies, or an entity whose underlying assets include
 the assets of any plan described in clauses (a) or (b) by reason of such plan’s investment in such entity.

         “Board Resolution”: With respect to the Issuer, a resolution of the board of directors of the Issuer
 and, with respect to the Co-Issuer, a resolution of the board of directors of the Co-Issuer.

         “Business Day”: A day on which commercial banks and foreign exchange markets settle
 payments in New York City and any other city in which the Corporate Trust Office of the Trustee is
 located and, in the case of the final payment of principal of any Note, the place of presentation of the Note
 designated by the Trustee; provided, however, that, for purposes of determining LIBOR, “Business Day”
 must also be a day on which dealings in deposits in Dollars are transacted in the London interbank
 market. To the extent action is required of the Irish Paying Agent, Dublin, Ireland shall be considered in
 determining “Business Day” for purposes of determining when actions by the Irish Paying Agent are
 required.

         “Calculation Agent”: The meaning specified in Section 7.16.




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         “Caa1 Collateral Obligations”: The Collateral Obligations (excluding any Defaulted Collateral
 Obligations) that on the relevant date have a Moody’s Rating below “B3”.

         “Cash”: Such coin or currency of the United States of America as at the time shall be legal tender
 for payment of all public and private debts.

         “CCC+/Caa1 Collateral Obligations”: The Collateral Obligations (excluding any Defaulted
 Collateral Obligations) that on the relevant date have (a) a Moody’s Rating below “B3” and/or (b) an
 S&P Rating below “B-”.

         “CCC+/Caa1 Excess Market Value Percentage”: The percentage equivalent of a fraction, the
 numerator of which is the aggregate Market Value of CCC+/Caa1 Collateral Obligations (in order of
 ascending Market Value Percentage, starting with the CCC+/Caa1 Collateral Obligation with the lowest
 Market Value Percentage) with an aggregate Principal Balance equal to Excess CCC+/Caa1 Collateral
 Obligations and the denominator of which is an amount equal to the Excess CCC+/Caa1 Collateral
 Obligations.

         “CDS/TRS Purchaser”: A Holder of the Notes or, in the case of Notes represented by Global
 Notes, any beneficial owner thereof that has entered into either a credit default swap or a total return swap
 with respect to such Notes.

         “CDS/TRS Termination Payment Amount”: With respect to any CDS/TRS Purchaser in
 connection with an Amendment Buy-Out, as the case may be, (i) on any Payment Date prior to the
 Payment Date occurring in November, 2010, an amount equal to the present value of the Fixed Amounts
 with respect to such CDS/TRS Purchaser and each Fixed Rate Payor Calculation Period until the last
 Fixed Rate Calculation Period, discounting each Fixed Amount from the Payment Date following the end
 of each such Fixed Rate Payor Calculation Period to the date of purchase of the applicable Notes at the
 Applicable Discount Rate, and (ii) on any Payment Date on and after the Payment Date occurring in
 November, 2010, zero; provided that, in the case of clause (i), the CDS/TRS Termination Payment
 Amount shall be calculated by the Servicer and subject to the approval of such CDS/TRS Purchaser.

          “Certificate of Authentication”: The meaning specified in Section 2.1.

          “Certificated Class A-1B Notes”: The meaning specified in Section 2.2(f).

          “Certificated Class D Note”: The meaning set forth in Section 2.2(e).

       “Certificated Preference Share”: The meaning set forth in the Preference Shares Paying Agency
 Agreement.

          “Certificated Security (UCC)”: The meaning specified in Section 8-102(a)(4) of the UCC.

         “Class”: All of the Notes having the same priority and the same Stated Maturity and all of the
 Preference Shares; provided, however, unless otherwise expressly provided for herein, the Class A-1A
 Notes, the Class A-1B Notes and the Class A-2 Notes shall be considered the same Class.

         “Class A Coverage Tests”: The Overcollateralization Test and the Interest Coverage Test, each as
 applied with respect to the Class A Notes.

          “Class A Notes”: Collectively, the Class A-1A Notes, the Class A-1B Notes and the Class A-2
 Notes.



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         “Class A-1A Notes”: The Class A-1A Floating Rate Senior Secured Extendable Notes issued by
 the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

         “Class A-1B Funding Account”: The trust account established pursuant to Section 10.3(l).

         “Class A-1B Note Purchase Agreement”: The Note Purchase Agreement dated as of the Closing
 Date, entered into among the Issuer, the Co Issuer, the Delayed Drawdown Note Agent, the Trustee and
 the Holders of the Class A–1B Notes, as from time to time amended, modified or supplemented.

         “Class A-1B Notes”: The Class A-1B Delayed Draw Floating Rate Senior Secured Extendable
 Notes issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in
 Section 2.3.

        “Class A-2 Notes”: The Class A-2 Floating Rate Senior Secured Extendable Notes issued by the
 Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

         “Class B Coverage Tests”: The Overcollateralization Test and the Interest Coverage Test, each as
 applied with respect to the Class B Notes.

         “Class B Deferred Interest”: Deferred Interest with respect to the Class B Notes.

         “Class B Notes”: The Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes
 issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

         “Class C Coverage Tests”: The Overcollateralization Test and the Interest Coverage Test, each as
 applied with respect to the Class C Notes.

         “Class C Deferred Interest”: Deferred Interest with respect to the Class C Notes.

         “Class C Notes”: The Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes
 issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

         “Class D Coverage Tests”: The Overcollateralization Test and the Interest Coverage Test, each as
 applied with respect to the Class D Notes.

         “Class D Deferred Interest”: Deferred Interest with respect to the Class D Notes.

         “Class D Notes”: The Class D Floating Rate Senior Secured Deferrable Interest Extendable Notes
 issued by the Co-Issuers pursuant to this Indenture and having the characteristics specified in Section 2.3.

         “Class I Preference Shares”: The Class I Preference Shares issued by the Issuer pursuant to the
 Issuer’s Amended and Restated Memorandum and Articles of Association and the resolutions of the
 Issuer’s board of directors authorizing the issuance of the Preference Shares passed on or before the
 Closing Date.

         “Class II Preference Share Percentage”: For any Payment Date, a fraction, expressed as a
 percentage, the numerator of which is the number of Outstanding Class II Preference Shares on such
 Payment Date and the denominator of which is the total number of Outstanding Preference Shares on
 such Payment Date.

         “Class II Preference Share Portion”: For any Payment Date, 100% minus the Servicing Fee
 Portion for such Payment Date.


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          “Class II Preference Share Senior Special Payment”: For any Payment Date, an amount equal
 to the product of (a) the Senior Servicing Fee for such Payment Date and (b) the Class II Preference Share
 Portion for such Payment Date.

         “Class II Preference Share Special Payment”: Collectively, the Class II Preference Share Senior
 Special Payment, the Class II Preference Share Subordinated Special Payment and the Class II Preference
 Share Supplemental Special Payment.

          “Class II Preference Share Special Payment Account”: The segregated bank account
 established by the Preference Shares Paying Agent pursuant to the Preference Shares Paying Agency
 Agreement for the benefit of the Issuer.

         “Class II Preference Share Subordinated Special Payment”: For any Payment Date, an amount
 equal to the product of (a) the Subordinated Servicing Fee for such Payment Date and (b) the Class II
 Preference Share Portion for such Payment Date.

         “Class II Preference Share Supplemental Special Payment”: For any Payment Date, an amount
 equal to the product of (a) the Supplemental Servicing Fee for such Payment Date and (b) the Class II
 Preference Share Portion for such Payment Date.

         “Class II Preference Shares”: The Class II Preference Shares issued by the Issuer pursuant to the
 Issuer’s Amended and Restated Memorandum and Articles of Association and the resolutions of the
 Issuer’s board of directors authorizing the issuance of the Preference Shares passed on or before the
 Closing Date.

        “Class Scenario Loss Rate”: With respect to any Class of Notes rated by S&P, an estimate of the
 cumulative default rate for the Current Portfolio or the Proposed Portfolio, as applicable, consistent with
 S&P’s rating of the Class of Notes on the Closing Date, determined by application of the S&P CDO
 Monitor.

        “Clearing Agency”: An organization registered as a “clearing agency” pursuant to Section 17A of
 the Exchange Act.

         “Clearing Corporation”: The meaning specified in Section 8-102(a)(5) of the UCC.

          “Clearing Corporation Security”: A “security” (as defined in Section 8-102(a)(15) of the UCC)
 that (a) is a debt or equity security and (b) is in the custody of or maintained on the books of a Clearing
 Corporation or its nominee.

         “Clearstream”: Clearstream Banking, société anonyme, a corporation organized under the laws
 of the Duchy of Luxembourg.

         “Closing Date”: December 21, 2006.

         “Closing Date Expense Account”: The trust account established pursuant to Section 10.3(g).

         “Co-Issuer”: The person named as such on the first page of this Indenture.

         “Co-Issuers”: The Issuer and the Co-Issuer.

         “Code”: The United States Internal Revenue Code of 1986, as amended.



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         “Collateral”: The meaning specified in the Granting Clauses.

          “Collateral Administration Agreement”: The agreement dated as of the Closing Date among the
 Issuer, the Servicer, and the Collateral Administrator, as modified, amended and supplemented and in
 effect from time to time.

        “Collateral Administrator”: Investors Bank & Trust Company, in its capacity as collateral
 administrator under the Collateral Administration Agreement.

        “Collateral Assignment of Hedge Agreements”: With respect to each Hedge Agreement, the
 assignment of all of the Issuer’s interest in the Hedge Agreement to the Trustee and acknowledged by the
 Hedge Counterparty to create a security interest therein in favor of the Trustee.

         “Collateral Obligation”: Any obligation or security that, when the Issuer commits to purchase (or
 otherwise acquire) the obligation or security, is a Loan, High-Yield Bond, Structured Finance Obligation,
 or Synthetic Security with a Reference Obligation that is a Loan, a Structured Finance Obligation or
 High-Yield Bond that is:

         (a)     denominated and payable in U.S. Dollars and is not convertible by its obligor into any
 other currency;

         (b)      an obligation of an obligor Domiciled in an Eligible Country;

          (c)     an obligation that is eligible by its terms to be assigned to the Issuer and pledged by the
 Issuer to the Trustee for inclusion in the Collateral;

         (d)      not an exchangeable or convertible security;

          (e)     not an equity security or a component of an equity security or a security that has a
 component that is an equity security (other than for avoidance of doubt, a pass-through trust certificate in
 a trust holding Collateral Obligations);

         (f)       not an obligation or security that has been called for redemption and is not an obligation
 or security that is the subject of an Offer other than a Permitted Offer or an exchange offer in which a
 security that is not registered under the Securities Act is exchanged for (i) a security that has substantially
 identical terms (except for transfer restrictions) but is registered under the Securities Act or (ii) a security
 that would otherwise qualify for purchase under Article 12;

         (g)      an obligation that (i) has a Moody’s Rating (including any estimated or confidential
 rating which is in respect of the full obligation of the obligor and which is monitored) and (ii) has an S&P
 Rating (including any confidential rating which is in respect of the full obligation of the obligor and
 which is monitored), which S&P Rating does not have a “p”, “pi”, “q”, “r” or “t” subscript;

         (h)      an obligation that is a Finance Lease (if it is a lease) and is rated by Moody’s and S&P;

          (i)     (i) an obligation that is not a Current-Pay Obligation, Non-Performing Collateral
 Obligation or Credit Risk Obligation and (ii) in the case of a Collateral Obligation that has a Moody’s
 Rating of “Caa1” or lower or an S&P Rating of “CCC+” or lower, an obligation for which the Servicer
 has certified in writing that such Collateral Obligation is not a Credit Risk Obligation;




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         (j)     an obligation that (unless it is a High-Yield Bond) is not subordinated by its terms to
 other indebtedness for borrowed money of the applicable issuer; provided that for the avoidance of doubt,
 this clause shall not prohibit the inclusion as Collateral Obligations of Subordinated Lien Loans or
 Second Lien Loans;

          (k)     an obligation that (i) (unless it is a PIK Security) bears simple interest payable in cash no
 less frequently than annually at a fixed or floating rate that is paid on a periodic basis on an unleveraged
 basis and, in the case of a floating rate, computed on a benchmark interest rate plus or minus a spread, if
 any (which may vary under the terms of the obligation) and (ii) provides for a fixed amount of principal
 payable in cash according to a fixed schedule (which may include optional call dates) or at maturity (or a
 fixed notional amount in the case of Synthetic Securities);

          (l)  an obligation the payment or repayment of the principal, if any, of which is not an
 amount determined by reference to any formula or index or subject to any contingency under the terms
 thereof;

          (m)      an obligation the portion of which to be acquired (including through a Synthetic Security
 with respect to the Reference Obligation) does not represent, directly or indirectly, more than a 25%
 interest in the obligation;

          (n)     not an obligation with a maturity later than two years after the Stated Maturity of the
 Notes;

          (o)     an obligation upon which no payments are subject to withholding tax imposed by any
 jurisdiction unless the obligor thereof or counterparty with respect thereto is required to make “gross-up”
 payments that cover the full amount of any such withholding tax on an after-tax basis (other than
 withholding taxes with respect to commitment fees associated with Collateral Obligations constituting
 Revolving Loans or Delayed Drawdown Loans);

        (p)     not a Loan or Synthetic Security that would require the Issuer after its purchase of the
 Loan or Synthetic Security to advance any funds to the related borrower or Synthetic Security
 Counterparty or permit the borrower or Synthetic Security Counterparty to require that any future
 advances be made except for:

                  (i)     any Revolving Loan or Delayed Drawdown Loan if, simultaneously with its
          purchase of the Revolving Loan or Delayed Drawdown Loan, the Issuer deposits into the
          Revolving Reserve Account or the Delayed Drawdown Reserve Account, respectively, the
          maximum amount of any advances that may be required of the Issuer under the related
          Underlying Instrument (as provided in Section 10.3(b)), and

                  (ii)    any Synthetic Security if, simultaneously with its purchase of the Synthetic
          Security, the Issuer posts cash collateral with (or for the benefit of) the Synthetic Security
          Counterparty simultaneously with the Issuer’s purchase of or entry into the Synthetic Security in
          an amount not exceeding the amount of any future advances;

         (q)      if such obligation is a Structured Finance Obligation that is a collateralized loan
 obligation, such obligation:

                   (i)    has been assigned a rating by both Moody’s and S&P;




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                  (ii)    has a Moody’s Rating of “Ba3” or higher and an S&P Rating of “BB-” or higher;
         and

                 (iii)    has not been placed on the watch list for possible downgrade by Moody’s or
         S&P;

         (r)    not a Loan that is an obligation of a debtor in possession or a trustee for a debtor in an
 insolvency proceeding other than a DIP Loan;

         (s)      with respect to an obligation that provides for the payment of interest at a floating rate, an
 obligation for which such floating rate is determined by reference to the U.S. Dollar prime rate or other
 base rate, London interbank offered rate or similar interbank offered rate, commercial deposit rate or any
 other index that the Rating Condition with respect to each Rating Agency is satisfied with respect thereto;

          (t)     in the case of a Synthetic Security, the Synthetic Security is one for which the
 counterparty or issuer, as the case may be, has a short-term debt rating by Moody’s of at least “P-1” or
 long-term senior unsecured rating by Moody’s of at least “Aa3” and, if rated “Aa3” by Moody’s, such
 rating is not on watch for downgrade, and a short term debt rating by S&P of at least “A-1+” or, if such
 counterparty or issuer, as the case may be, does not have a short term debt rating by S&P, a long term
 debt rating by S&P of at least “AA-”;

         (u)      not an obligation that constitutes Margin Stock;

         (v)      not a Zero-Coupon Security;

          (w)   not an obligation that is currently deferring interest or paying interest “in kind” or
 otherwise has an interest “in kind” balance outstanding at the time of purchase, which interest is
 otherwise payable in cash, unless the Rating Condition has been satisfied with respect to the acquisition
 thereof;

        (x)      not a security whose repayment is subject to substantial non-credit related risk as
 determined by the Servicer;

          (y)   not an obligation the interest payments of which are scheduled to decrease (although
 interest payments may decrease due to unscheduled events such as a decrease if the index relating to a
 Floating Rate Obligation, the change from a default rate of interest to a non-default rate of interest or an
 improvement in the obligor’s financial condition); and

         (z)      an “eligible asset” as defined under Rule 3a-7 and not an obligation that will (A) cause
 the Issuer, the Co-Issuer, or the pool of assets to be required to be registered as an investment company
 under the Investment Company Act or (B) cause the Issuer to be engaged in a U.S. trade or business for
 U.S. federal income tax purposes.

          Pursuant to the definition of “Synthetic Security,” unless the Rating Condition is otherwise
 satisfied, any “deliverable obligation” that may be delivered to the Issuer as a result of the occurrence of
 any “credit event” must qualify (when the Issuer purchases the related Synthetic Security and when such
 “deliverable obligation” is delivered to the Issuer as a result of the occurrence of any “credit event”) as a
 Collateral Obligation, except that such “deliverable obligation” may constitute a Defaulted Collateral
 Obligation when delivered upon a “credit event.”




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         “Collateral Quality Tests”: The Diversity Test, the Weighted Average Life Test, the Weighted
 Average Moody’s Recovery Rate Test, the Weighted Average S&P Recovery Rate Test, the Weighted
 Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted Average Rating
 Factor Test and the S&P CDO Monitor Test.

         “Collection Account”: The trust account established pursuant to Section 10.2(a).

         “Commitment Amount”: With respect to any Revolving Loan or Delayed Drawdown Loan, the
 maximum aggregate outstanding principal amount (whether then funded or unfunded) of advances or
 other extensions of credit that the Issuer could be required to make to the borrower under its Underlying
 Instruments.

        “Commitment Reduction”: With respect to any Revolving Loan or Delayed Drawdown Loan, a
 permanent reduction (whether scheduled, mandatory, optional, or otherwise) in the related Commitment
 Amount.

        “Concentration Limitations”: The limit set forth below with respect to a particular type of
 Relevant Obligation (measured by Aggregate Principal Balance) as a percentage of the Maximum
 Amount:

                                                                                     Percentage of the
                                                                                     Maximum Amount

   (1)  Senior Secured Loans and Eligible Investments                                       ≥ 87.5%
   (2)  unsecured Loans                                                                     ≤ 3.0%
   (3)  Subordinated Lien Loans and Second Lien Loans                                       ≤ 12.5%
   (4)  Middle Market Loans                                                                 ≤ 50.0%
   (5)  Revolving Loans and Delayed Drawdown Loans                                          ≤ 12.0%
   (6)  DIP Loans                                                                           ≤ 7.5%
        (a) except that DIP Loans of any individual obligor may not exceed
              the percentage of the Maximum Amount specified in the right                   ≤ 2.0%
              column
   (7) S&P Unrated DIP Loans                                                                ≤ 2.5%
   (8) Servicer Originated Loans                                                            ≤ 25.0%
        (a) except that Servicer Originated Loans made to obligors                          ≤ 15.0%
              Domiciled or having, in the commercially reasonable judgment
              of the Servicer, their principal place of business in the state of
              Texas may not exceed the percentage of the Maximum Amount
              specified in the right column
   (9) PIK Securities                                                                       ≤ 3.0%
   (10) High-Yield Bonds                                                                    ≤ 5.0%
   (11) Structured Finance Obligations                                                      ≤ 10.0%
        (a) except that Structured Finance Obligations serviced by the                      ≤ 2.5%
              Servicer may not exceed the percentage of the Maximum
              Amount specified in the right column
        (b) except that a single issuer together with any of its Affiliates                 ≤ 3.0%
              (excluding Secondary Risk Counterparties) of a Structured
              Finance Obligation may not exceed the percentage of the
              Maximum Amount specified in the right column




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                                                                                    Percentage of the
                                                                                    Maximum Amount

   (12) Structured Finance Obligations that are collateralized loan                      ≤ 7.5%
        obligations
   (13) obligors Domiciled other than in the United States and Canada                   ≤ 15.0%
   (14) obligors Domiciled in Canada or any single Moody’s Group I                      ≤ 10.0%
        Country
   (15) obligors Domiciled in Moody’s Group II Countries                                ≤ 10.0%
          (a)   except that obligors Domiciled in any single Moody’s Group II           ≤ 5.0%
                Country may not exceed the percentage of the Maximum
                Amount specified in the right column
   (16)   obligors Domiciled in Moody’s Group III Countries                              ≤ 7.5%
          (a) except that obligors Domiciled in any single Moody’s                       ≤ 2.5%
                Group III Country may not exceed the percentage of the
                Maximum Amount specified in the right column
   (17)   obligors organized in a Tax Advantaged Jurisdiction                            ≤ 5.0%
   (18)   same S&P Industry Classification                                               ≤ 8.0%
          (a) except that Relevant Obligations belonging to two S&P Industry
                Classifications may each constitute up to the percentage of the         ≤ 12.0%
                Maximum Amount specified in the right column
   (19)   single obligor and any of its Affiliates (excluding Secondary                  ≤ 2.0%
          Risk Counterparties) of any Middle Market Loan
          (a) except that up to each of five such obligors and any of their
                Affiliates (excluding Secondary Risk Counterparties) may each            ≤ 3.0%
                constitute up to the percentage of the Maximum Amount
                specified in the right column
   (20)   single issuer and any of its Affiliates (excluding Secondary                   ≤ 1.5%
          Risk Counterparties) of a Collateral Obligation other than a
          Middle Market Loan
          (a) except that up to each of five individual obligor and any of their
                Affiliates (excluding Secondary Risk Counterparties) may each            ≤ 2.0%
                constitute up to the percentage of the Maximum Amount
                specified in the right column
   (21)   Fixed Rate Obligations                                                         ≤ 5.0%
   (22)   Pay interest less frequently than quarterly but no less frequently             ≤ 7.5%
          than semi-annually
   (23)   Pay interest less frequently than semi-annually but no less                    ≤ 3.0%
          frequently than annually
   (24)   Synthetic Securities                                                          ≤ 20.0%
          (a) except that Synthetic Securities that provide for settlement other        ≤ 5.0%
                than by physical delivery may not exceed the percentage of the
                Maximum Amount specified in the right column
          (b) except that Synthetic Securities that reference a senior secured           ≤ 5.0%
                index providing non-leveraged credit exposure to a basket of
                credit default swaps referencing a diversified group of Reference
                Obligations, with respect to which the principal or notional
                amount of the credit exposure to any single Reference Obligation
                does not increase over time may not exceed the percentage of the
                Maximum Amount specified in the right column


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                                                                                         Percentage of the
                                                                                         Maximum Amount

   (25) Participations (provided that no Relevant Obligations may be a                         ≤ 20.0%
        Participation in a Participation)
   (26) Relevant Obligations of which are (i) obligors Domiciled other                         ≤ 20.0%
        than in the United States, (ii) Collateral Obligations lent under
        Securities Lending Agreements, (iii) Participations and (iv)
        Synthetic Securities, in the aggregate may not exceed the
        percentage of the Maximum Amount specified in the right
        column
   (27) Relevant Obligations of which are (i) obligors Domiciled other                       ≤ respective
        than in the United States, (ii) Collateral Obligations lent under                   percentage in
        Securities Lending Agreements, (iii) Participations and (iv)                   Secondary Risk Table
        Synthetic Securities, entered into with, or issued by, a single                   under “Individual
        Secondary Risk Counterparty                                                      Counterparty Limit”
                                                                                        for applicable rating*
   (28) Relevant Obligations of which are (i) obligors Domiciled other                       ≤ respective
        than in the United States, (ii) Collateral Obligations lent under                   percentage in
        Securities Lending Agreements, (iii) Participations and (iv)                   Secondary Risk Table
        Synthetic Securities, entered into with, or issued by, all                        under “Aggregate
        Secondary Risk Counterparties                                                    Counterparty Limit”
                                                                                       for applicable rating**
   (29) Deep Discount Obligations                                                              ≤ 10.0%
   (30) CCC+/Caa1 and below Collateral Obligations                                              ≤ 7.5%
   (31) Long-Dated Collateral Obligations                                                       ≤ 2.0%
   (32) Collateral Obligations lent under Securities Lending                                   ≤ 15.0%
        Agreements
   (33) Collateral Obligations providing for interest at a non-London                           ≤ 5.0%
        interbank offered rate (excluding, for the avoidance of doubt,
        the unfunded amount of any Revolving Loan or Delayed
        Drawdown Loan); provided that the Rating Condition is
        satisfied with respect to the use of the index for such non-
        London interbank offered rate
    *     Applicable long-term unsecured rating by Moody’s or S&P of such Secondary Risk Counterparty (using
          the limit for the lower of such ratings if different).
    **    Long-term unsecured rating by Moody’s or S&P at or below a level specified in the Secondary Risk Table
          (using the lower of such ratings for a Secondary Risk Counterparty, if different).

         Subject to the rights in certain circumstances of the Servicer to determine otherwise as set out in
 Section 1.2(h), solely for the purpose of determining whether the Concentration Limitations are met,
 Eligible Investments and Cash will be treated as Senior Secured Loans and Floating Rate Obligations.

         “Consenting Holder of the Preference Shares”: With respect to any Payment Date, a Holder of
 Preference Shares that has consented by delivering an irrevocable written notice to the Preference Shares
 Paying Agent to a distribution of Eligible Equity Securities in lieu of payment of Interest Proceeds on
 such Payment Date.

          “Consenting Purchaser”: The meaning specified in Section 9.7.




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         “Controlling Class”: The Class A Notes (voting together as a single Class or group), so long as
 any Class A Notes are Outstanding; then the Class B Notes (voting together as a Class or group), so long
 as any Class B Notes are Outstanding; then the Class C Notes (voting together as a Class or group), so
 long as any Class C Notes are Outstanding; and then the Class D Notes (voting together as a Class or
 group), so long as any Class D Notes are Outstanding.

         “Controlling Person”: The meaning specified in Section 6.6.

          “Corporate Trust Office”: The corporate trust office of the Trustee at which the Trustee performs
 its duties under this Indenture, currently having an address of 200 Clarendon Street, Mail Code EUC 108,
 Boston, Massachusetts 02116, telecopy no. (617) 937-5585, Attention: CDO Services, Brentwood CLO
 Ltd. or any other address the Trustee designates from time to time by notice to the Noteholders, the
 Servicer, the Preference Shares Paying Agent, the Issuer, and each Rating Agency or the principal
 corporate trust office of any successor Trustee.

         “Coverage Tests”: Collectively, the Class A Coverage Tests, the Class B Coverage Tests, the
 Class C Coverage Tests and the Class D Coverage Tests applicable as of any Measurement Date.

           “Credit Improved Obligation”: Any Collateral Obligation that (a) is sold pursuant to a Portfolio
 Improvement Exchange or (b) in the commercially reasonable judgment of the Servicer, has improved in
 credit quality; provided that, in forming such judgment, a reduction in credit spread or an increase in
 Market Value of such Collateral Obligation (whether as described in clauses (ii) or (iii) below or
 otherwise) may only be utilized as corroboration of other bases for such judgment; and provided, further,
 that, if a Credit Rating Event is in effect, such Collateral Obligation will be considered a Credit Improved
 Obligation only if in addition to the above:

                  (i)     the Collateral Obligation has been upgraded or has been put on credit watch list
         with the potential for developing positive credit implications by either of the Rating Agencies
         since the date the Issuer first acquired the Collateral Obligation under this Indenture,

                  (ii)    such Collateral Obligation has experienced a reduction in credit spread of (A)
         0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation
         with a spread (prior to such decrease) less than or equal to 2.00%, (B) 0.375% or more (on an
         absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
         such decrease) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an
         absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
         such decrease) greater than 4.00%, in each case compared to the credit spread at the time such
         Collateral Obligation was acquired by the Issuer, determined by reference to an applicable index
         selected by the Servicer (such index selection subject to satisfaction of the Rating Condition with
         respect to Moody’s),

                 (iii)    (A) in the case of a Loan, the Market Value of such Collateral Obligation has
         increased by at least 1.00% from the Market Value of such Collateral Obligation as of its date of
         acquisition, as determined by the Servicer (provided that this subclause (iii)(A) will be deemed
         satisfied if Market Value increases to 101%), or (B) in the case of a Bond, the Market Value of
         such Collateral Obligation has changed since its date of acquisition by a percentage more positive
         than the percentage change in the Merrill Lynch US High Yield Master II Index, Bloomberg
         ticker H0A0, plus 3.00%, over the same period, or

               (iv)     a Super Majority of the Controlling Class have voted to suspend the limitations
         on a Collateral Obligation being a Credit Improved Obligation, and for each subsequent



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         downgrade by Moody’s after a vote to suspend the limitations pursuant to this clause (iv) has
         occurred, a Super Majority of the Controlling Class must again vote to suspend the limitations on
         the Collateral Obligation being a Credit Improved Obligation for this clause (iv) to remain
         applicable.

         A Synthetic Security shall be considered a Credit Improved Obligation if:

                   (i)    the Synthetic Security itself is a Credit Improved Obligation or

                 (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
         Obligation, be a Credit Improved Obligation.

         “Credit Rating Event”: An event that is in effect if the rating by Moody’s:

        (a)      of the Class A-1A Notes, the Class A-1B Notes or the Class A-2 Notes has been
 withdrawn or is one or more rating sub-categories below its Initial Rating; or

         (b)     of the Class B Notes, the Class C Notes or the Class D Notes has been withdrawn or is
 two or more rating sub-categories below its respective Initial Rating.

          For the purposes of this definition, any withdrawal or reduction in rating shall not be effective if
 after the withdrawal or reduction Moody’s has upgraded the reduced or withdrawn rating to at least the
 Initial Rating in the case of the Class A Notes, or to only one subcategory below their Initial Rating in the
 case of the Class B Notes, the Class C Notes and the Class D Notes.

         “Credit Risk Obligation”: Any Collateral Obligation (other than a Defaulted Collateral
 Obligation) that, in the commercially reasonable judgment of the Servicer, has significantly declined in
 credit quality and has a significant risk, with a lapse of time, of becoming a Defaulted Collateral
 Obligation; provided that in forming such judgment, an increase in credit spread or a decrease in Market
 Value of such Collateral Obligation (whether as described in clauses (b) or (c) below or otherwise) may
 only be utilized as corroboration of other bases for such judgment.

         (a)     So long as a Credit Rating Event is in effect, no Collateral Obligation shall be eligible to
 be a Credit Risk Obligation unless in addition to the above, as of the date of determination:

         (b)       the Collateral Obligation has been downgraded or has been put on credit watch list with
 the potential for developing negative credit implications by either of the Rating Agencies since the date
 the Issuer first acquired the Collateral Obligation under this Indenture,

          (c)      such Collateral Obligation has experienced an increase in credit spread of (i) 0.25% or
 more (on an absolute rather than a relative basis) in the case of a Collateral Obligation with a spread
 (prior to such increase) less than or equal to 2.00%, (ii) 0.375% or more (on an absolute rather than a
 relative basis) in the case of a Collateral Obligation with a spread (prior to such increase) greater than
 2.00% but less than or equal to 4.00% or (iii) 0.50% or more (on an absolute rather than a relative basis)
 in the case of a Collateral Obligation with a spread (prior to such increase) greater than 4.00%, in each
 case compared to the credit spread at the time such Collateral Obligation was acquired by the Issuer,
 determined by reference to an applicable index selected by the Servicer (such index selection subject to
 satisfaction of the Rating Condition with respect to Moody’s),

          (d)   (i) in the case of a Loan, the Market Value of such Collateral Obligation has decreased by
 at least 2.50% from the Market Value of such Collateral Obligation as of its date of acquisition, as



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 determined by the Servicer, and (ii) in the case of a Bond, the Market Value of such Collateral Obligation
 has changed since its date of acquisition by a percentage more negative, or less positive, as the case may
 be, than the percentage change in the Merrill Lynch US High Yield Master II Index, Bloomberg ticker
 H0A0, less 3.00%, over the same period, or

         (e)     a Super Majority of the Controlling Class have voted to suspend the limitations on a
 Collateral Obligation being a Credit Risk Obligation set forth in clauses (a), (b) and (c) above, and for
 each subsequent downgrade by Moody’s after a vote to suspend the limitations pursuant to this clause (e)
 has occurred, a Super Majority of the Controlling Class must again vote to suspend the limitations on the
 Collateral Obligation being a Credit Risk Obligation for this clause (e) to remain applicable.

         A Synthetic Security shall be considered a Credit Risk Obligation if:

                   (i)   the Synthetic Security itself is a Credit Risk Obligation, or

                 (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
         Obligation, be a Credit Risk Obligation.

         “Current-Pay Obligation”: A Collateral Obligation as to which:

         (a)    an Insolvency Event has occurred with respect to its obligor or as to which its obligor is
 rated “D” or “SD” by S&P or its obligor has previously been rated “CCC-” by S&P and the rating has
 been withdrawn,

          (b)     no default as to the payment of principal or interest with respect to the Collateral
 Obligation is then continuing and the Servicer has delivered to the Trustee an officer’s certificate to the
 effect that the Servicer expects that the obligor will make payments on the Collateral Obligation as they
 become due,

         (c)      (i) if the rating by Moody’s of the Collateral Obligation is at least “Caa1” (and not on
 credit watch with negative implications) and the Market Value of the Collateral Obligation is at least
 equal to 80% of its Principal Balance or (ii) if the rating by Moody’s of the Collateral Obligation is at
 least “Caa2” and not on credit watch with negative implications, and the Market Value of the Collateral
 Obligation is at least equal to 85% of its Principal Balance,

         (d)     if an Insolvency Event has occurred with respect to the obligor of the Collateral
 Obligation, a bankruptcy court has authorized the payment of interest payable on the Collateral
 Obligation, and

         (e)    the Servicer has designated in writing to the Trustee the Collateral Obligation as a
 Current-Pay Obligation.

         If the Aggregate Principal Balance of Collateral Obligations that would otherwise be Current-Pay
 Obligations exceeds 5% of the Maximum Amount, all or a portion of one or more Collateral Obligations
 that would otherwise be Current-Pay Obligations with an Aggregate Principal Balance equal to the
 amount of the excess shall not be Current-Pay Obligations (and will therefore be Defaulted Collateral
 Obligations). The Servicer shall designate in writing to the Trustee the Collateral Obligations that shall
 not be Current-Pay Obligations pursuant to the preceding sentence as the Collateral Obligations (or
 portions thereof) that have the lowest Market Value on any applicable date of determination.




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         The Servicer may, with the consent of a Majority of the Controlling Class, by notice to the Issuer,
 the Trustee, and the Collateral Administrator, change the definition of “Current-Pay Obligation” or how
 Current-Pay Obligations are treated in this Indenture, subject to the satisfaction of the Rating Condition
 with respect to each Rating Agency.

         “Current Portfolio”: At any time, the portfolio (measured by Aggregate Principal Balance) of
 Collateral Obligations, Principal Proceeds held as Cash on deposit in the Collection Account, and other
 Eligible Investments purchased with Principal Proceeds on deposit in the Collection Account that exists
 before the sale, maturity, or other disposition of a Collateral Obligation or before the acquisition of a
 Collateral Obligation, as the case may be.

         “Custodial Account”: The custodial account established in the name of the Trustee pursuant to
 Section 10.3(a).

          “Custodian”: The meaning specified in the first sentence of Section 3.2(a) with respect to items
 of collateral referred to therein, and each entity with which an Account is maintained, as the context may
 require, each of which shall be a Securities Intermediary.

         “Deep Discount Obligation”: Until the average Market Value Percentage of the Collateral
 Obligation, as determined daily for any period of 30 consecutive days, equals or exceeds 90%, any
 Collateral Obligation acquired by the Issuer for a Purchase Price less than 85% of its Principal Balance.
 For such purpose, the Market Value Percentage of a Collateral Obligation on a day that is not a Business
 Day shall be deemed to be the Market Value Percentage of the Collateral Obligation on the immediately
 preceding Business Day.

        “Default”: Any Event of Default or any occurrence that, with notice or the lapse of time or both,
 would become an Event of Default.

         “Defaulted Collateral Obligation”: Any Collateral Obligation or other obligation included in the
 Collateral:

          (a)     as to which there has occurred and is continuing a default with respect to the payment of
 interest or principal with respect to such Collateral Obligation, without giving effect to any applicable
 grace period or waiver (provided that if the Servicer certifies to the Trustee in writing that such default is
 for non-credit related reasons, the related Collateral Obligation shall not be treated as a Defaulted
 Collateral Obligation under this clause (a) unless and until such default has continued for a period of three
 (3) consecutive business days), but, in any case, only until such default has been cured;

         (b)     the maturity of all or a portion of the principal amount of such Collateral Obligation has
 been accelerated as a consequence of a default (other than any payment default) under the instruments
 evidencing or relating to such Collateral Obligation; unless such default or event of default has been fully
 cured or waived and is no longer continuing and such acceleration has been rescinded;

          (c)      with respect to which there has been effected any distressed exchange or other debt
 restructuring where the obligor has offered the holders thereof a new security or instrument or package of
 securities or instruments that, in the commercially reasonable judgment of the Servicer, either (i) amounts
 to a diminished financial obligation or (ii) has the sole purpose of enabling the obligor to avoid a default;

          (d)     (i) that is pari passu with or subordinated to other indebtedness for borrowed money
 owing by its obligor (“Other Indebtedness”), (ii) the obligor has defaulted in the payment of principal or
 interest (without regard to any applicable grace or notice period and without regard to any waiver of the



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 default) on the Other Indebtedness, unless, in the case of a failure of the obligor to make required interest
 payments, the obligor has resumed current Cash payments of interest previously scheduled and unpaid on
 the Other Indebtedness and has paid in full any accrued interest due and payable thereon, in which case
 the Collateral Obligation shall cease to be classified as a Defaulted Collateral Obligation and (iii) the
 Servicer; provided that the related Collateral Obligation has not been downgraded after the default on
 such Other Indebtedness has occurred, determines (in its commercially reasonable judgment) that such
 Other Indebtedness is material;

         (e)      (other than a Current-Pay Obligation or a DIP Loan) as to which:

                   (i)    an Insolvency Event has occurred with respect to its obligor, or

               (ii)     the obligation is rated “D”, “SD”, “C” or “CC” by S&P or was so rated
         immediately prior to such rating being withdrawn, or has previously been rated “CCC-” or lower
         by S&P and the rating has been withdrawn;

        (f)     if the Collateral Obligation is a Structured Finance Obligation, it is rated “CC” or below
 by S&P, or it was rated “CC” or below by S&P but the rating has since been withdrawn, or it is rated
 “Ca” or below by Moody’s, or it was rated “C” or below by Moody’s but the rating has since been
 withdrawn;

         (g)     that is a Participation that would, if the underlying Loan were a Collateral Obligation, be
 a Defaulted Collateral Obligation under any of clauses (a) through (e) above or with respect to which the
 Participating Institution has defaulted in the performance of any of its payment obligations under the
 Participation;

          (h)      that is a Synthetic Security referencing a Reference Obligation that would, if the
 Reference Obligation were a Collateral Obligation, be a Defaulted Collateral Obligation under any of
 clauses (a) through (f) above or with respect to which the Synthetic Security Counterparty has defaulted
 in the performance of any of its payment obligations under the Synthetic Security; provided, however,
 with respect to a Synthetic Security based upon or relating to a senior secured index providing non-
 leveraged credit exposure to a basket of credit default swaps referencing a diversified group of Reference
 Obligations, with respect to which the principal or notional amount of the credit exposure to any single
 Reference Obligation does not increase over time: (i) a determination whether the Reference Obligations
 upon which such Synthetic Security is based would, if such Reference Obligations were Collateral
 Obligations, be a Defaulted Collateral Obligation, shall be determined by treating such Synthetic Security
 as a direct interest of the Issuer in each of the Reference Obligations on which such Synthetic Security is
 based in an amount equal to the Allocable Principal Balance of such Reference Obligation and (ii) the
 “Defaulted Collateral Obligation” for purposes of this clause (h) shall be limited to the Allocable
 Principal Balance of each Reference Obligation that would, if the Reference Obligation were a Collateral
 Obligation, be a Defaulted Collateral Obligation under any of clauses (a) through (f) above;

         (i)      that is a Written-Down Obligation;

         (j)      that is a DIP Loan as to which an order has been entered converting the debtor’s Chapter
 11 case to a case under Chapter 7 of the Bankruptcy Code; or

         (k)      that is declared to be a Defaulted Collateral Obligation by the Servicer.

          Any Collateral Obligation that is classified as a Defaulted Collateral Obligation shall cease to be
 so classified if the Collateral Obligation, at any date thereafter,



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                 (i)    would not otherwise be classified as a Defaulted Collateral Obligation in
         accordance with this definition; and

                  (ii)   otherwise meets the Eligibility Criteria as of that date.

         If any portion of a Collateral Obligation has a maturity later than one year after the Stated
 Maturity of the Notes due to a change in the payment schedule of the Collateral Obligation occurring after
 its acquisition by the Issuer, that portion of the Collateral Obligation shall be considered a Defaulted
 Collateral Obligation.

         “Defaulted Hedge Termination Payment”: Any termination payment required to be made by the
 Issuer to a Hedge Counterparty pursuant to a Hedge Agreement upon a termination of the Hedge
 Agreement in respect of which the Hedge Counterparty is the sole Defaulting Party or Affected Party
 (each as defined in the Hedge Agreements).

        “Defaulted Interest”: Any interest (and in the case of the Class A-1B Notes, the Delayed
 Drawdown Fee, but excluding any Deferred Interest) payable in respect of any Class of Notes that is not
 punctually paid or duly provided for on the applicable Payment Date or at Stated Maturity.

         “Defaulted Interest Charge”: To the extent lawful, interest on any Defaulted Interest at the
 Default Interest Rate.

         “Default Interest Rate”: With respect to any specified Class of Notes, the per annum interest rate
 equal to the Note Interest Rate payable on the Notes of the Class.

         “Deferred Interest”: With respect to any specified Class of Deferred Interest Notes, the meaning
 specified in Section 2.8(a).

         “Deferred Interest Notes”: The Class B Notes, the Class C Notes and the Class D Notes.

         “Deficiency Amount”: The meaning specified in Section 16.3(a).

         “Deficiency Notice Date”: The meaning specified in Section 16.3(a).

         “Definitive Notes”: The meaning specified in Section 2.11(b).

          “Delayed Drawdown Fee”: With respect to the Class A–1B Notes and (i) the first Payment Date,
 the Delayed Drawdown Fee Rate multiplied by the Aggregate Undrawn Amount of the Class A–1B Notes
 for each day during the Delayed Drawdown Period (except that no Delayed Drawdown Fee shall be paid
 with respect to the Aggregate Undrawn Amount attributable to a Holder that has breached its obligation to
 fund a request for a Drawdown from the date of such breach to and until the date such breach has been
 cured) and (ii) any Payment Date thereafter, any Delayed Drawdown Fee not paid in full on the first
 Payment Date plus interest accrued thereon for the Interest Period for such Payment Date at the Note
 Interest Rate of the Class A–1B Notes.

         “Delayed Drawdown Fee Rate”: A rate per annum equal to 0.17%.

         “Delayed Drawdown Loan”: A Loan or any Synthetic Security with a Reference Obligation that

        (a)      requires the Issuer to make one or more future advances to the borrower under its
 Underlying Instruments,



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          (b)       specifies a maximum amount that can be borrowed on one or more fixed borrowing
 dates, and

            (c)     does not permit the re-borrowing of any amount previously repaid.

         A Loan or Synthetic Security shall only be considered to be a Delayed Drawdown Loan for so
 long as its unused commitment amount is greater than zero and for the purposes of the Concentration
 Limits only, unfunded portions will count as Delayed Drawdown Loans.

       “Delayed Drawdown Note Agent”: The meaning specified in the Class A-1B Note Purchase
 Agreement.

         “Delayed Drawdown Note Agent Expenses”: Amounts due to the Delayed Drawdown Note
 Agent and payable in arrears to the Delayed Drawdown Note Agent pursuant to the Class A-1B Note
 Purchase Agreement (other than the Delayed Drawdown Note Agent Fee); provided that the Delayed
 Drawdown Note Agent Expenses will be payable on any Payment Date only to the extent that funds are
 available for such purpose in accordance with the Priority of Payments.

         “Delayed Drawdown Note Agent Fee”: Only during the Delayed Drawdown Period, the quarterly
 fee accrued and payable to the Delayed Drawdown Note Agent on each Payment Date pursuant to the
 Class A-1B Note Purchase Agreement; provided that the Delayed Drawdown Note Agent Fee will be
 payable on each Payment Date only to the extent that funds are available for such purpose in accordance
 with the Priority of Payments.

          “Delayed Drawdown Period”: The period commencing on and including the Closing Date and
 ending on the earlier to occur of (a) the date on which the Fully Drawn Amount of Class A-1B Notes is
 fully drawn and (b) March 21, 2007.

            “Delayed Drawdown Reserve Account”: The trust account established pursuant to Section
 10.3(b).

            “Deliver” or “Delivered” or “Delivery”: The taking of the following steps:

         (a)      in the case of each Certificated Security (UCC) (other than a Clearing Corporation
 Security) or Instrument,

                    (i)     causing the delivery of such Certificated Security (UCC) or Instrument to the
            Custodian registered in the name of the Custodian or endorsed, by an effective endorsement, to
            the Custodian or in blank,

                    (ii)    causing the Custodian to continuously indicate on its books and records that such
            Certificated Security (UCC) or Instrument is credited to the applicable Account, and

                   (iii)   causing the Custodian to maintain continuous possession of such Certificated
            Security (UCC) or Instrument;

            (b)     in the case of each Uncertificated Security (other than a Clearing Corporation Security),

                      (i)     causing such Uncertificated Security to be continuously registered on the books
            of the issuer thereof to the Custodian, and




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                 (ii)    causing the Custodian to continuously indicate on its books and records that such
         Uncertificated Security is credited to the applicable Account;

         (c)      in the case of each Clearing Corporation Security,

                  (i)     causing the relevant Clearing Corporation to credit such Clearing Corporation
         Security to the securities account of the Custodian, and

                (ii)    causing the Custodian to continuously indicate by on its books and records that
         such Clearing Corporation Security is credited to the applicable Account;

        (d)      in the case of each security issued or guaranteed by the United States of America or
 agency or instrumentality thereof and that is maintained in book-entry records of a Federal Reserve Bank
 (“FRB”) (each such security, a “Government Security”),

                  (i)     causing the creation of a Security Entitlement to such Government Security by
         the credit of such Government Security to the securities account of the Custodian at such FRB,
         and

               (ii)    causing the Custodian to continuously indicate on its books and records that such
         Government Security is credited to the applicable Account;

         (e)      in the case of each Security Entitlement not governed by clauses (a) through (d) above,

                  (i)    causing a Securities Intermediary (A) to indicate on its books and records that the
         underlying Financial Asset has been credited to be the Custodian’s securities account, (B) to
         receive a Financial Asset from a Securities Intermediary or acquiring the underlying Financial
         Asset for a Securities Intermediary, and in either case, accepting it for credit to the Custodian’s
         securities account or (C) to become obligated under other law, regulation or rule to credit the
         underlying Financial Asset to a Security Intermediary’s securities account,

                (ii)     causing such Securities Intermediary to make entries on its books and records
         continuously identifying such Security Entitlement as belonging to the Custodian and
         continuously indicating on its books and records that such Security Entitlement is credited to the
         Custodian’s securities account, and

                (iii)     causing the Custodian to continuously indicate on its books and records that such
         Security Entitlement (or all rights and property of the Custodian representing such Security
         Entitlement) is credited to the applicable Account;

         (f)      in the case of cash or money,

                   (i)    causing the delivery of such cash or money to the Custodian,

                 (ii)    causing the Custodian to treat such cash or money as a Financial Asset
         maintained by such Custodian for credit to the applicable Account in accordance with the
         provisions of Article 8 of the UCC, and

                (iii)   causing the Custodian to continuously indicate on its books and records that such
         cash or money is credited to the applicable Account; and




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         (g)       in the case of each general intangible (including any Participation in which          the
 Participation is not represented by an Instrument),

                  (i)      causing the filing of a Financing Statement in the office of the Recorder of Deeds
         of the District of Columbia, Washington, DC, and

                  (ii)     causing the registration of this Indenture in the Register of Mortgages of the
         Issuer at the Issuer’s registered office in the Cayman Islands;

         in addition, the Servicer on behalf of the Issuer will obtain any and all consents required by the
 underlying agreements relating to any such general intangibles for the transfer of ownership and/or pledge
 hereunder (except to the extent that the requirement for such consent is rendered ineffective under Section
 9-406 of the UCC).

           In addition to the methods specified above, any Collateral may be delivered in accordance with
 any other method specified in an Opinion of Counsel delivered to the Trustee as sufficient to establish a
 first priority perfected security (subject to customary exceptions and qualifications) interest therein.

         “Depository” or “DTC”: The Depository Trust Company and its nominees.

         “Determination Date”: The last day of any Due Period.

         “DIP Loan”: Any Loan

         (a)     that has a rating assigned by Moody’s and a rating assigned by S&P (or if the Loan does
 not have a rating assigned by S&P, the Servicer has commenced the process of having a rating assigned
 by S&P within two Business Days of the date the Loan is acquired by the Issuer);

         (b)      that is paying interest on a current basis;

         (c)     that is an obligation of a debtor in possession as described in Section 1107 of the
 Bankruptcy Code or a trustee (if appointment of a trustee has been ordered pursuant to Section 1104 of
 the Bankruptcy Code) (a “Debtor”) organized under the laws of the United States or any state of the
 United States; and

         (d)     the terms of which have been approved by a final order of the United States Bankruptcy
 Court, United States District Court, or any other court of competent jurisdiction, the enforceability of
 which order is not subject to any pending contested matter or proceeding (as those terms are defined in
 the Federal Rules of Bankruptcy Procedure) and which order provides that

                 (i)     the Loan is secured by liens on the Debtor’s otherwise unencumbered assets
         pursuant to Section 364(c)(2) of the Bankruptcy Code,

                (ii)     the Loan is secured by liens of equal or senior priority on property of the
         Debtor’s estate that is otherwise subject to a lien pursuant to Section 364(d) of the Bankruptcy
         Code,

                 (iii)    the Loan is fully secured (based on a current valuation or appraisal report) by
         junior liens on the Debtor’s encumbered assets, or




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                  (iv)     if any portion of the Loan is unsecured, the repayment of the Loan retains
         priority over all other administrative expenses pursuant to Section 364(c)(1) of the Bankruptcy
         Code (and in the case of this clause (iv), before the acquisition of the Loan, the Rating Condition
         is satisfied with respect to each Rating Agency).

         “Discount Note”: Any Note that is treated as being issued with “original issue discount” within
 the meaning of Section 1271 through 1275 of the Code and Treasury Regulations promulgated
 thereunder.

         “Distribution Compliance Period”: The 40-day period prescribed by Regulation S commencing
 on the later of (a) the date upon which Notes are first offered to Persons other than the initial purchasers
 of such Notes and any other distributor (as such term is defined in Regulation S) of the Notes and (b) the
 Closing Date. The Trustee and Note Registrar shall be entitled to request and receive, and upon receipt to
 rely upon, a certificate from the Issuer as to occurrence of the date described in preceding clause (a).

          “Diversity Score”: A single number that indicates collateral concentration in terms of both issuer
 and industry concentration, calculated as set forth in Schedule 4 to this Indenture. For the purposes of
 calculating the Diversity Score, any Structured Finance Obligation that is a collateralized loan obligation
 will be disregarded.

         “Diversity Test”: A test that will be satisfied as of any Measurement Date if the Diversity Score
 equals or exceeds the Minimum Diversity Score.

         “Dollar” or “U.S. Dollar” or “U.S.$”: A dollar or other equivalent unit in such coin or currency
 of the United States of America as at the time shall be legal tender for all debts, public and private.

          “Domicile” or “Domiciled”: With respect to each Collateral Obligation, (a) the jurisdiction of
 incorporation, organization or creation of the related obligor or (b) in the case of a Collateral Obligation
 that would otherwise be considered to be domiciled pursuant to clause (a) in a Tax Advantaged
 Jurisdiction, the jurisdiction in which, in the commercially reasonable judgment of the Servicer, the
 related obligor conducts substantially all of its business operations and in which the assets primarily
 responsible for generating its revenues are located.

         “Drawdown”: The meaning specified in Section 2.14(a).

         “Drawdown Date”: The meaning specified in Section 2.14(a).

         “Drawn Amount”: At any time with respect to the Class A-1B Notes, the aggregate principal
 amount of the Class A-1B Notes funded on the Closing Date or by one or more Drawdowns after the
 Closing Date.

          “Due Date”: Each date on which any payment is due on a Pledged Obligation in accordance with
 its terms.

          “Due Period”: With respect to any Payment Date, for all purposes other than payments and
 receipts under Hedge Agreements, the period from the Business Day after the eighth Business Day before
 the previous Payment Date (or in the case of the first Payment Date, from the Closing Date) up to but
 excluding the Business Day after the eighth Business Day before the Payment Date (or in the case of the
 final Payment Date or any Payment Date that is a Redemption Date, through the Business Day before the
 Payment Date and for payments and receipts under Hedge Agreements the period from the day after the




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 previous Payment Date (or in the case of the first Payment Date from the Closing Date through the
 Payment Date).

         “Eligibility Criteria”: The meaning specified in Section 12.2(b).

         “Eligible Collateral”: Means: (a) Cash, (b) U.S. Treasury obligations, (c) U.S. agency obligations
 or (d) commercial paper obligations rated at least “P-1” by Moody’s (and not on watch for downgrade)
 and “A-1+” by S&P, in each case to collateralize fully on a mark-to-market basis the obligations of a
 Hedge Counterparty under the related Hedge Agreement.

        “Eligible Country”: The United States, Canada and any country classified by Moody’s as a
 Moody’s Group I Country, Moody’s Group II Country or Moody’s Group III Country and, in each case,
 has an S&P foreign currency rating of at least “AA” by S&P and is rated at least “Aa2” by Moody’s;
 provided that such country has not imposed currency exchange controls.

          “Eligible Equity Security”: An equity security acquired in connection with the workout or
 restructuring of any Collateral Obligation by, or on behalf of, the Issuer that (a) is publicly traded on an
 Established Securities Market or (b) the Market Value of which is higher than the Principal Balance of the
 Collateral Obligation with respect to which such equity security has been acquired by the Issuer.

         “Eligible Investments”: Any Dollar-denominated obligation or asset that, when it is pledged by
 the Issuer to the Trustee under this Indenture, is one or more of the following:

         (a)      Cash;

          (b)     direct Registered obligations of, and Registered obligations the timely payment of
 principal and interest on which is fully and expressly guaranteed by, the United States or any agency or
 instrumentality of the United States the obligations of which are expressly backed by the full faith and
 credit of the United States, which in each case are not zero coupon securities;

         (c)      demand and time deposits in, trust accounts, certificates of deposit payable within 91
 days of issuance of, bankers’ acceptances payable within 91 days of issuance issued by, or Federal funds
 sold by any depositary institution or trust company incorporated under the laws of the United States or
 any state thereof and subject to supervision and examination by Federal and/or state banking authorities
 so long as the commercial paper and/or the debt obligations of such depository institution or trust
 company (or, in the case of the principal depository institution in a holding company system, the
 commercial paper or debt obligations of such holding company), at the time of such acquisition or
 contractual commitment providing for such acquisition and throughout the term thereof, have a credit
 rating of not less than “Aaa” by Moody’s and “AAA” by S&P and in each case are not on watch for
 downgrade, or “P-1” by Moody’s and “A-1+” by S&P in the case of commercial paper and short-term
 debt obligations; provided that in any case, the issuer thereof must have at the time of such acquisition a
 long-term credit rating of not less than “AA-” by S&P and “Aa3” by Moody’s and a short-term rating of
 “A-1+” by S&P and “P-1” by Moody’s, and if so rated, is not on watch for downgrade;

          (d)     commercial paper or other short-term obligations with a maturity of not more than 183
 days from the date of issuance and having at the time of such acquisition a credit rating of at least “P-1”
 by Moody’s and “A-1+” by S&P; provided that, in any case, the issuer thereof must have at the time of
 such acquisition a long-term credit rating of not less than “Aa2” by Moody’s, and if so rated, such rating
 is not on watch for downgrade.




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          (e)      unleveraged repurchase obligations with respect to any security described in clause (b)
 above entered into with a U.S. federal or state depository institution or trust company (acting as principal)
 described in clause (c) above or entered into with a corporation (acting as principal) whose long-term
 credit rating is not less than “Aaa” by Moody’s and “AAA” by S&P and in each case are not on watch for
 downgrade or whose short-term credit rating is “P-1” by Moody’s and “A-1+” by S&P at the time of such
 acquisition and throughout the term thereof; provided that, if such repurchase obligation has a maturity of
 longer than 91 days, the counterparty thereto must also have at the time of such acquisition and
 throughout the term thereof a long-term credit rating of not less than “Aa2” by Moody’s and “AAA” by
 S&P, and if so rated, such rating is not on watch for downgrade;

         (f)      any money market fund or similar vehicle having at the time of acquisition and
 throughout the term thereof a credit rating of “MR1+” by Moody’s and “AAAm” by S&P; including any
 fund for which the Trustee or an Affiliate of the Trustee serves as an investment adviser, administrator,
 shareholder servicing agent, custodian or subcustodian, notwithstanding that (i) the Trustee or an Affiliate
 of the Trustee charges and collects fees and expenses from such funds for services rendered (provided that
 such charges, fees and expenses are on terms consistent with terms negotiated at arm’s length) and (ii) the
 Trustee charges and collects fees and expenses for services rendered, pursuant to this Indenture;

          (g)      a guaranteed reinvestment agreement from a bank (if treated as a deposit by such bank),
 insurance company or other corporation or entity organized under the laws of the United States or any
 state thereof (if treated as debt by such insurance company or other corporation or entity), providing for
 periodic payments thereunder during each Due Period; provided that each such agreement provides that it
 is terminable by the purchaser, without premium or penalty, in the event that the rating assigned to such
 agreement by either Moody’s or S&P is at any time lower than the then current ratings assigned to the
 Class A Notes, the Class B Notes, the Class C Notes or the Class D Notes; provided, further, that, at the
 time of acquisition and throughout the term thereof, the issuer of such agreement has a senior unsecured
 long-term debt rating, issuer rating or counterparty rating of at least “Aaa” by Moody’s, a short-term debt
 rating of “P-1” by Moody’s (and not on watch for downgrade), a short-term debt rating of at least “A-1+”
 by S&P and a long-term debt rating of at least “AAA” by S&P (and not on watch for downgrade); and

         (h)      such other obligations or assets for which Rating Confirmation has been received;

         and, in each case, with a stated maturity (giving effect to any applicable grace period) no later
 than the Business Day before the Payment Date next succeeding the date of acquisition.

        Eligible Investments on deposit in the Revolving Reserve Account, the Delayed Drawdown
 Reserve Account, or the Synthetic Security Collateral Account must have a stated maturity no later than
 one Business Day after the date of their purchase.

         Eligible Investments may not include:

                  (i)     any interest-only security, any security purchased at a price in excess of 100% of
         its par value, or any security whose repayment is subject to substantial non-credit related risk as
         determined in the commercially reasonable judgment of the Servicer;

                  (ii)    any security whose rating assigned by S&P includes the subscript “r,” “t,” “p,”
         “pi,” or “q”;

                 (iii)     any floating rate security whose interest rate is inversely or otherwise not
         proportionately related to an interest rate index or is calculated as other than the sum of an
         interest rate index plus a spread (which spread may be zero);



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                 (iv)     any security that is subject to an exchange or tender offer; or

                  (v)     any security that has payments subject to foreign or United States withholding
         tax.

        Eligible Investments may include Eligible Investments for which the Trustee or an Affiliate of the
 Trustee is the issuer, obligor or applicable depository institution or provides services. Eligible
 Investments may not include obligations principally secured by real property.

         “Emerging Market Security”: A security or obligation issued by a sovereign or non-sovereign
 issuer located in a country (excluding the Cayman Islands, Bermuda, the British Virgin Islands, the
 Netherlands Antilles, and the Channel Islands):

         (a)      that is in Latin America, Asia, Africa, Eastern Europe, or the Caribbean, or

         (b)     the long-term foreign currency debt obligations of which are rated below “Aa2” or “Aa2”
 and on credit watch with negative implications by Moody’s or the foreign currency issuer credit rating of
 which is below “AA” by S&P.

         “ERISA”: The United States Employee Retirement Income Security Act of 1974, as amended.

         “Established Securities Market”: Any national securities exchange registered under Section 6 of
 the Securities Exchange Act of 1934, as amended, or exempted from registration because of the limited
 volume of transaction; any foreign securities exchange that, under the laws of the jurisdiction where it is
 organized, satisfies regulatory requirements that are analogous to the regulatory requirements imposed
 under the Securities Exchange Act of 1934; any regional or local exchange; and any interdealer quotation
 system that regularly disseminates firm buy or sell quotations by identified brokers or dealers, by
 electronic means or otherwise.

         “Euroclear”: Euroclear Bank S.A./N.V., as operator of the Euroclear system.

         “Event of Default”: The meaning specified in Section 5.1.

         “Excel Default Model Input File”: An electronic spreadsheet file in Microsoft excel format to
 be provided to S&P, which file shall include the balance of Cash and Eligible Investments in each account
 and the following information (to the extent such information is not confidential) with respect to each
 Collateral Obligation:

         (a)      the name and country of domicile of the issuer thereof and the particular obligation or
 security held by the Issuer,

         (b)      the CUSIP or other applicable identification number associated with such Collateral
 Obligation,

         (c)      the par value of such Collateral Obligation,

          (d)    the type of obligation or security (including, by way of example, whether such Collateral
 Obligation is a bond, loan or asset-backed security), using such abbreviations as may be selected by the
 Trustee,




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        (e)     a description of the index or other applicable benchmark upon which the interest payable
 on such Collateral Obligation is based (including, by way of example, fixed rate, step-up rate, zero
 coupon and LIBOR),

          (f)    the coupon (in the case of a Collateral Obligation which bears interest at a fixed rate) or
 the spread over the applicable index (in the case of a Collateral Obligation which bears interest at a
 floating rate),

         (g)      the S&P Industry Classification for such Collateral Obligation,

         (h)      the stated maturity date of such Collateral Obligation,

         (i)      the S&P Rating of such Collateral Obligation or the issuer thereof, as applicable,

         (j)      the applicable S&P Priority Category, and

         (k)      such other information as the Trustee may determine to include in such file.

         “Excess CCC+/Caa1 Collateral Obligations”: The Principal Balance of all CCC+/Caa1
 Collateral Obligations in excess of 7.5% of the Maximum Amount on the relevant Determination Date.

         “Exchange Act”: The United States Securities Exchange Act of 1934, as amended.

         “Excluded Property”: (a) U.S.$250 (attributable to the issue and allotment of the Issuer Ordinary
 Shares) and a U.S.$250 transaction fee paid to the Issuer, the bank account in which those amounts are
 credited in the Cayman Islands and any interest earned on those amounts, (b) any amounts credited to the
 Class II Preference Share Special Payment Account from time to time (c) any amounts credited to the
 Preference Share Distribution Account from time to time, (d) the shares of the Co-Issuer owned by the
 Issuer and (e) any Margin Stock.

         “Expense Reimbursement Account”: The trust account established pursuant to Section 10.3(c).

         “Extended Replacement Period End Date”: If an Extension has occurred, the sixteenth Payment
 Date after the then current Extended Replacement Period End Date (or, in the case of the first Extension
 pursuant to Section 2.4, the Payment Date in February, 2018); provided that the “Extended Replacement
 Period End Date” will in no event be a date later than the Payment Date in February, 2030.

         “Extended Scheduled Holding Preference Shares Redemption Date”: If a Maturity Extension
 has occurred, the sixteenth Payment Date after the then current Extended Scheduled Holding Preference
 Shares Redemption Date (or, in the case of the first Extended Scheduled Holding Preference Shares
 Redemption Date, the Payment Date in February, 2026); provided that the “Extended Stated Holding
 Preference Shares Redemption Date” will in no event be a date later than the Payment Date in February,
 2038.

         “Extended Scheduled Preference Shares Redemption Date”: If a Maturity Extension has
 occurred, the sixteenth Payment Date after the then current Extended Scheduled Preference Shares
 Redemption Date (or, in the case of the first Extended Scheduled Preference Shares Redemption Date, the
 Payment Date in February, 2026); provided that the “Extended Stated Preference Shares Redemption
 Date” will in no event be a date later than the Payment Date in February, 2038.




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          “Extended Stated Maturity Date”: If a Maturity Extension has occurred, the sixteenth Payment
 Date after the then current Extended Stated Maturity Date (or, in the case of the first Extended Stated
 Maturity Date, the Payment Date in February, 2026); provided that the “Extended Stated Maturity Date”
 will in no event be a date later than the Payment Date in February, 2038.

        “Extended Weighted Average Life Date”: If a Maturity Extension has occurred, the sixteenth
 Payment Date after the then current Extended Weighted Average Life Date (or, in the case of the first
 Extended Weighted Average Life Date, the Payment Date in February, 2020); provided that the
 “Extended Weighted Average Life Date” will in no event be a date later than the Payment Date in May,
 2032.

        “Extension”: An extension of the Replacement Period, the Stated Maturity of the Notes and the
 Weighted Average Life Test pursuant to Section 2.4.

         “Extension Bonus Payment”: With respect to each Maturity Extension, a single payment to each
 applicable beneficial owner set forth in Section 2.4(g), in an amount equal to (a) in the case of the Class
 A-1A Notes, the Class A-1B Notes and the Class A-2 Notes, 0.25% of the Aggregate Outstanding
 Amount thereof held by such beneficial owner as of the applicable Extension Effective Date, (b) in the
 case of the Class B Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial
 owner as of the applicable Extension Effective Date, (c) in the case of the Class C Notes, 0.50% of the
 Aggregate Outstanding amount thereof held by such beneficial owner as of the applicable Extension
 Effective Date and (d) in the case of the Class D Notes, 0.50% of the Aggregate Outstanding Amount
 thereof held by such beneficial owner as of the applicable Extension Effective Date.

         “Extension Bonus Eligibility Certification”: With respect to each Maturity Extension and each
 beneficial owner of Notes other than Extension Sale Securities, the written certification by such beneficial
 owner acceptable to the Issuer to the effect that it held Notes other than Extension Sale Securities on the
 applicable Extension Effective Date, including the Aggregate Outstanding Amount thereof in the case of
 the Notes.

         “Extension Conditions”: The meaning specified in Section 2.4.

         “Extension Determination Date”: The eighth Business Day prior to each Extension Effective
 Date.

         “Extension Effective Date”: If an Extension has occurred, the sixteenth Payment Date after the
 then current Extension Effective Date (or, in the case of the first Extension Effective Date, the Payment
 Date in November, 2011).

         “Extension Notice”: The meaning specified in Section 2.4.

          “Extension Purchase Price”: The purchase price payable by the Extension Qualifying
 Purchasers for Extension Sale Securities in connection with each Maturity Extension, if any, in an amount
 equal to (a) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
 interest (including Deferred Interest, if any) as of the applicable Extension Effective Date (giving effect to
 any amounts paid to the Holder on such date) and (b) in the case of the Preference Shares and the Holding
 Preference Shares, an amount that, when taken together with all payments and distributions made in
 respect of such Preference Shares or Holding Preference Shares, as the case may be, since the Closing
 Date would cause such Preference Shares or Holding Preference Shares, as applicable, to have received
 (as of the date of purchase thereof) a Preference Share Internal Rate of Return or a Holding Preference
 Share Internal Rate of Return, as applicable, of 12.0% (assuming such purchase date was a Payment



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 Date); provided, however, that if the applicable Extension Effective Date is on or after the date on which
 such Holders have received a Preference Share Internal Rate of Return or a Holding Preference Share
 Internal Rate of Return, as applicable, equal to or in excess of 12.0%, the applicable Extension Purchase
 Price for such Preference Shares or Holding Preference Shares, as applicable, shall be zero.

         “Extension Qualifying Purchasers”: The Servicer (or any of its Affiliates acting as principal or
 agent); provided that in the event that the Servicer elects not to purchase Extension Sale Securities from
 Holders pursuant to the Extension Conditions set forth in Section 2.4(c), “Extension Qualifying
 Purchasers” shall mean one or more qualifying purchasers (which may include the Placement Agent, the
 Investors Corp. Placement Agent or any of their respective Affiliates acting as principal or agent)
 designated by the Servicer; provided, however, none of the Servicer, the Placement Agent, the Investors
 Corp. Placement Agent or any of their respective Affiliates shall have any duty to act as an Extension
 Qualifying Purchaser.

         “Extension Sale Notice”: The meaning specified in Section 2.4.

         “Extension Sale Notice Period”: The meaning specified in Section 2.4.

         “Extension Sale Securities”: The meaning specified in Section 2.4.

          “Face Amount”: With respect to any Preference Share or Holding Preference Share, the amount
 set forth therein as the “face amount” thereof, which “face amount” shall be U.S.$1,000 per Preference
 Share or Holding Preference Share.

         “Finance Lease”: A lease agreement or other agreement entered into in connection with and
 evidencing a Leasing Finance Transaction.

         “Financial Asset”: The meaning specified in Section 8-102(a)(9) of the UCC.

         “Financing Statements”: Financing statements relating to the Collateral naming the Issuer as
 debtor and the Trustee on behalf of the Secured Parties as secured party.

        “First Trigger Collateral Amount”: The collateral to be posted by a downgraded Hedge
 Counterparty as required by Section 15.2(c) and determined by the following table:

                                       First Trigger Collateral Amounts1
 Single currency swaps, transaction-specific hedges, caps, floors & swaptions
 Daily Posting:         Max[0, MtM2 + Min[15 * DV01, 2% * hedge notional]]
 Weekly Posting:        Max[0, MtM2 + Min[25 * DV01, 4% * hedge notional]]
 Cross-currency swaps, transaction-specific hedges, caps, floors & swaptions
 Daily Posting:         Max[0, MtM2 + Min[1.00% * hedge notional3 + 10 * DV014, 2.5% * hedge notional3]]
 Weekly Posting:        Max[0, MtM2 + Min[2.00% * hedge notional3 + 20’ DV014, 5% * hedge notional3]]
 1. Calculation should be in same currency as that of rated liabilities. However, for certain single-currency hedges
    addressing asset mismatches only, calculation may be made in the currency of the hedge itself, even where
    different from that of the rated liabilities.
 2. MtM = Mid-market value.
 3. “Hedge Notional” for cross-currency hedge = notional of that leg denominated in same currency as rated
    liabilities of cashflow transaction.
 4. Larger of two DV01’s corresponding to each leg of a cross-currency hedge.


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           “Fixed Amount”: With respect to CDS/TRS Purchaser and each applicable Fixed Rate Payor
 Calculation Period, the product of (i) the applicable Fixed Rate Payor Calculation Amount with respect to
 such CDS/TRS Purchaser, (ii) the applicable Fixed Rate with respect to such CDS/TRS Purchaser and
 (iii) a fraction the numerator of which is the actual number of days in such Fixed Rate Payor Calculation
 Period and the denominator of which is 360.

          “Fixed Rate”: With respect to any CDS/TRS Purchaser, the spread over LIBOR of the Class of
 Notes held by such CDS/TRS Purchaser with respect to which such CDS/TRS Purchaser has entered into
 a credit default swap or a total return swap, as the case may be.

          “Fixed Rate Excess”: As of any Measurement Date, a fraction whose numerator is the product of:

        (a)     the greater of zero and the excess of the Weighted Average Fixed Rate Coupon for the
 Measurement Date over the minimum percentage specified to pass the Weighted Average Fixed Rate
 Coupon Test, and

        (b)     the Aggregate Principal Balance of all Fixed Rate Obligations (excluding any Non-
 Performing Collateral Obligations) held by the Issuer as of the Measurement Date,

         and whose denominator is the Aggregate Principal Balance of all Floating Rate Obligations
 (excluding any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date.

        In computing the Fixed Rate Excess on any Measurement Date, the Weighted Average Fixed
 Rate Coupon for the Measurement Date will be computed as if the Spread Excess were equal to zero.

          “Fixed Rate Obligations”: Any Collateral Obligation that bears interest at a fixed rate.

         “Fixed Rate Payer Calculation Amount”: With respect to any CDS/TRS Purchaser for purposes
 of calculating the applicable CDS/TRS Termination Payment Amount, the Aggregate Outstanding
 Amount of the Notes held by such CDS/TRS Purchaser as of the date of purchase of such Notes in an
 Amendment Buy-Out (in each case, after giving effect to any principal amounts paid to such CDS/TRS
 Purchaser on such date).

          “Fixed Rate Payer Calculation Period”: With respect to any CDS/TRS Purchaser for purposes of
 calculating the applicable CDS/TRS Termination Payment Amount, initially, the period from and
 including the date of purchase of such Notes in an Amendment Buy-Out to but excluding the immediately
 succeeding Payment Date, and, thereafter, each successive period from and including each Payment Date
 to but excluding the following Payment Date; provided that the last Fixed Rate Payer Calculation Period
 shall end on the Payment Date occurring in August 2010.

         “Floating Rate Notes”: The Class A-1A Notes, the Class A-1B Notes, the Class A-2 Notes, the
 Class B Notes, the Class C Notes and the Class D Notes.

          “Floating Rate Obligation”: Any Collateral Obligation that bears interest based on a floating rate
 index.

          “Form-Approved Synthetic Security”: A Synthetic Security




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         (a)      (i)      each of the Reference Obligations of which satisfy the definition of “Collateral
 Obligation” and could be purchased by the Issuer without any required action by the Rating Agencies,
 without satisfaction of the Rating Condition or which the Rating Agencies have otherwise approved; or

                  (ii)    each of the Reference Obligations of which would satisfy sublause (a)(i) above
 but for the currency in which the Reference Obligation is payable and the Synthetic Security is payable in
 Dollars, does not provide for physical settlement, and does not expose the Issuer to Dollar currency risk;

         (b)     the Synthetic Security Agreement of which conforms (but for the amount and timing of
 periodic payments, the name of the Reference Obligation, the notional amount, the effective date, the
 termination date, and other similar necessary changes) to a form that has been expressly identified and
 approved in writing in connection with a request under this Indenture by Moody’s and S&P;

          (c)    a copy of the Synthetic Security Agreement of which has been delivered to the Holders of
 the Class A Notes by the Trustee at the expense of the Co-Issuers and upon being furnished with a copy
 of the same by the Servicer; and

         (d)    that is with a counterparty with respect to which the Rating Condition has been satisfied
 by each of Moody’s and S&P prior to the acquisition of any such Form-Approved Synthetic Security, and
 such approval has not been withdrawn.

        Moody’s or S&P may at any time, by notice to the Servicer, withdraw its approval of any such
 form. A withdrawal of approval shall have no effect on any Synthetic Security acquired, entered into, or
 committed to before the date on which the Servicer receives the notice of withdrawal.

        “Fully Drawn Amount”: The maximum aggregate principal amount that can be drawn under the
 Class A-1B Notes, in an amount equal to $75,000,000.

         “GAAP”: The meaning specified in Section 6.3(j).

         “Global Notes”: Any Regulation S Global Notes or Rule 144A Global Notes.

          “Grant”: To grant, bargain, sell, warrant, alienate, remise, demise, release, convey, assign,
 transfer, mortgage, pledge, create, and grant a security interest in and right of setoff against, deposit, set
 over, and confirm. A Grant of the Pledged Obligations, or of any other instrument, shall include all
 rights, powers, and options of the granting party thereunder, including the immediate continuing right to
 claim for, collect, receive, and receipt for principal and interest payments in respect of the Pledged
 Obligations, and all other monies payable thereunder, to give and receive notices and other
 communications, to make waivers or other agreements, to exercise all rights and options, to bring
 Proceedings in the name of the granting party or otherwise, and generally to do and receive anything that
 the granting party is or may be entitled to do or receive thereunder or with respect thereto.

         “Hedge Agreements”: Collectively, all interest rate cap or interest rate swap agreements between
 the Issuer and any Hedge Counterparty, and any replacement agreement entered into pursuant to Section
 15.2.

         “Hedge Counterparty”: Any counterparty, to the extent that when the Issuer enters into any
 Hedge Agreement with such counterparty, such counterparty satisfies the requirements of Section 15.2(b)
 (subject, in the case of any other counterparty, to satisfaction of the Rating Condition for each Rating
 Agency).




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            “Hedge Counterparty Collateral Account”: The trust account established pursuant to Section
 10.3(d).

          “Hedge Termination Receipt”: Any termination payment paid by the Hedge Counterparty to the
 Issuer upon any early termination of a Hedge Agreement with respect to which the Hedge Counterparty is
 the sole Defaulting Party or Affected Party (each as defined in the Hedge Agreements).

            “HFP”: Highland Financial Partners, L.P., an Affiliate of the Servicer.

          “High-Yield Bond”: Any debt security, other than a Loan or a Structured Finance Obligation, that
 is either Registered or, if not Registered, (a) it is issued by an obligor that is not resident in the United
 States, (b) the payments on it are not subject to United States withholding tax and (c) it is held through a
 financial institution pursuant to the procedures described in Treasury Regulation Section 1.165-12(c)(3).

          “Holder”: Of any Note, the person whose name appears on the Indenture Register as the
 registered holder of the Note; of any Preference Share, the person whose name appears in the Preference
 Share register related thereto as the registered holder of such Preference Share; and of any Holding
 Preference Share, the person whose name appears in the Holding Preference Share register related thereto
 as the registered holder of such Holding Preference Share.

         “Holding Preference Share Documents”: Investors Corp.’s memorandum and articles of
 association, the Holding Preference Shares Paying Agency Agreement and the resolutions of Investors
 Corp.’s board of directors authorizing the issuance of the Holding Preference Shares passed on or before
 the Closing Date.

          “Holding Preference Share Internal Rate of Return”: With respect to any Payment Date, the
 internal rate of return (computed using the “XIRR” function in Microsoft® Excel 2002 or an equivalent
 function in another software package), stated on a per annum basis, for each distribution made to the
 Holders of the Holding Preference Shares on any prior Payment Date and, to the extent necessary to reach
 the applicable Holding Preference Share Internal Rate of Return, the current Payment Date, assuming all
 Holding Preference Shares are purchased on the Closing Date at their Face Amount.

        “Holding Preference Shares”: Preference shares issued by Investors Corp. pursuant to the
 Holding Preference Share Documents.

         “Holding Preference Shares Paying Agency Agreement”: The Holding Preference Shares
 Paying Agency Agreement, dated as of the Closing Date, by and between Investors Corp. and the Holding
 Preference Shares Paying Agent, as amended from time to time in accordance with the terms thereof.

         “Holding Preference Shares Paying Agent”: Investors Bank & Trust Company, in its capacity as
 holding preference shares paying agent under the Holding Preference Shares Paying Agency Agreement,
 unless a successor Person shall have become the holding preference shares paying agent pursuant to the
 applicable provisions of the Holding Preference Shares Paying Agency Agreement, and thereafter
 “Holding Preference Shares Paying Agent” shall mean such successor Person.

            “Holding Share Registrar”: Maples Finance Limited or any successor thereto.

            “Important Section 3(c)(7) Reminder Notice”: A notice substantially in the form of Exhibit C-2.




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         “Indenture”: This instrument as originally executed and, if from time to time supplemented or
 amended by one or more indentures supplemental to this Indenture entered into pursuant to this Indenture,
 as so supplemented or amended.

         “Indenture Register”: The meaning specified in Section 2.6(a).

         “Indenture Registrar”: The meaning specified in Section 2.6(a).

         “Independent”: As to any person, any other person (including, in the case of an accountant or
 lawyer, a firm of accountants or lawyers, and any member of the firm, or an investment bank and any
 member of the bank) who

         (a)      does not have and is not committed to acquire any material direct or any material indirect
 financial interest in the person or in any Affiliate of the person, and

          (b)      is not connected with the person as an Officer, employee, promoter, underwriter, voting
 trustee, partner, director, or person performing similar functions.

         “Independent” when used with respect to any accountant may include an accountant who audits
 the books of the person if in addition to satisfying the criteria above the accountant is independent with
 respect to the person within the meaning of Rule 101 of the Code of Ethics of the American Institute of
 Certified Public Accountants.

         Whenever any Independent person’s opinion or certificate is to be furnished to the Trustee, the
 opinion or certificate shall state that the signer has read this definition and that the signer is Independent
 within the meaning of this Indenture.

         “Initial Consent Period”: The period of 15 Business Days from but excluding the date on which
 the Trustee mailed notice of a proposed supplemental indenture pursuant to Section 8.2(b) to the Holders
 of Securities.

          “Initial Rating”: The ratings by Moody’s and S&P with respect to each Class of Notes provided
 in the table in Section 2.3(a).

         “Insolvency Event”: With respect to any person, means that:

         (a)      an involuntary proceeding shall be commenced or an involuntary petition shall be filed
 seeking:

                   (i)    liquidation, reorganization, or other relief in respect of the person or its debts, or
         of all or substantially all of its assets, under any bankruptcy, insolvency, receivership, or similar
         law now or hereafter in effect, or

                 (ii)      the appointment of a receiver, trustee, custodian, sequestrator, conservator, or
         similar official for the person or for all or substantially all of its assets,

         and, in any such case, the proceeding or petition shall continue undismissed for 30 days; or an
 order or decree approving or ordering any of the foregoing shall be entered, or

         (b)      the person shall:




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         (c)      voluntarily commence any proceeding or file any petition seeking liquidation,
 reorganization, or other relief under any bankruptcy, insolvency, receivership, or similar law now or
 hereafter in effect,

        (d)      consent to the institution of, or fail to contest in a timely and appropriate manner, any
 proceeding or petition described in clause (a) above,

        (e)      apply for or consent to the appointment of a receiver, trustee, custodian, sequestrator, or
 conservator or for all or substantially all of its assets,

        (f)     file an answer admitting the material allegations of a petition filed against it in any such
 proceeding, or

         (g)      make a general assignment for the benefit of creditors.

         “Insolvency Proceeding”: The meaning specified in Section 16.4(b).

         “Institutional Accredited Investor”: An Accredited Investor as defined by Rule 501(a)(1), (2), (3)
 and (7) of the Securities Act.

         “Instrument”: The meaning specified in Section 9-102(a)(47) of the UCC.

         “Insurer”: The meaning specified in Section 14.3(c).

         “Interest Coverage Ratio”: With respect to any specified Class of Notes on any Measurement
 Date, the ratio calculated by dividing:

         (a)      the sum of:

                  (i)    the Interest Proceeds received or scheduled to be received with respect to the Due
         Period in which the Measurement Date occurs, minus

                 (ii)   amounts payable under clauses (1), (2), (3) and (4) of Section 11.1(a)(i) on the
         related Payment Date, by:

        (b)      all accrued and unpaid interest on the specified Class of Notes (and the Delayed
 Drawdown Fee with respect to the Class A-1B Notes) and all Notes ranking senior to the Class, including
 any Deferred Interest on the related Payment Date.

         For purposes of the Interest Coverage Ratio, only the amount of any interest payment (including
 any “gross up” payment) on any Collateral Obligation in excess of any withholding tax or other
 deductions on account of tax of any jurisdiction on any date of determination shall be included in Interest
 Proceeds.

        “Interest Coverage Test”: A test the first Measurement Date for which will be on the second
 Payment Date and that is satisfied with respect to any specified Class of Notes if, as of the second
 Payment Date and any Measurement Date thereafter on which any Notes remain Outstanding, the Interest
 Coverage Ratio equals or exceeds the applicable required level in the table below for the specified Class:

                                          Test                      Required Level

                        Class A Interest Coverage Test                      130.0%


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                        Class B Interest Coverage Test                   120.0%
                        Class C Interest Coverage Test                   115.0%
                        Class D Interest Coverage Test                   110.0%

          “Interest Period”: Initially, the period from and including the Closing Date to but excluding the
 first Payment Date, and, thereafter, each successive period from and including each Payment Date to but
 excluding the following Payment Date; provided that with respect to any Drawdown made under the
 Class A-1B Notes, the first Interest Period shall be the period from and including the date of such
 Drawdown to but excluding the Payment Date following such date.

          “Interest Proceeds”: With respect to any Due Period, the sum (without duplication) of all
 amounts received in Cash during the Due Period (or as otherwise specified below) by the Issuer with
 respect to the Collateral that are:

         (a)     payments of interest, fees, and commissions (excluding (i) Accrued Interest Purchased
 With Principal, (ii) interest and dividends on Workout Assets, (iii) fees and commissions from Defaulted
 Collateral Obligations, and (iv) syndication and other up-front fees and any up-front fixed payments
 received in connection with entering into a Synthetic Security);

         (b)     any portion of the Sale Proceeds of a Collateral Obligation (other than a Defaulted
 Collateral Obligation) representing Accrued Interest On Sale;

        (c)      all payments of principal on, or disposition proceeds from the sale of, Eligible
 Investments to the extent purchased with Interest Proceeds;

        (d)     payments with respect to the Hedge Agreements received on or before the related
 Payment Date (other than any amount payable thereunder because of any early termination or notional
 amount reduction), but not any Sale Proceeds from any of these instruments (except to the extent that they
 were purchased with Interest Proceeds);

         (e)      all fees received pursuant to any Securities Lending Agreements;

        (f)     amounts in the Collection Account designated for distribution as Interest Proceeds
 pursuant to the Priority of Payments (including any amount transferred from the Interest Reserve
 Account);

        (g)    all earnings on amounts in the Delayed Drawdown Reserve Account and the Revolving
 Reserve Account deposited to the Collection Account in accordance with Section 10.3(b);

        (h)      amounts in the Expense Reimbursement Account on the Payment Date for the relevant
 Due Period; and

         (i)      any recoveries (including interest) received on a Defaulted Collateral Obligation or a
 deferred interest PIK Security in excess of the principal balance of such Defaulted Collateral Obligation
 or deferred interest PIK Security (as of the date the related Collateral Obligation became a Defaulted
 Collateral Obligation or a deferred interest PIK Security).

          Interest Proceeds shall not include the Excluded Property and Interest Proceeds shall not include
 earnings on amounts on deposit in the Securities Lending Account to the extent the earnings are payable
 by the Issuer to a Securities Lending Counterparty.




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         Each reference in the definition of “Interest Proceeds” to a Collateral Obligation shall include a
 Collateral Obligation that has been loaned pursuant to a Securities Lending Agreement and Interest
 Proceeds shall include any amounts referred to in clauses (a) through (c) above received by the Issuer in
 respect of the Collateral Obligation indirectly from the related Securities Lending Counterparty pursuant
 to the Securities Lending Agreement.

         With respect to any Payment Date, Interest Proceeds in an amount equal to the Interest Proceeds
 due and payable on such Payment Date to the Consenting Holders of the Preference Shares with respect
 to such Payment Date that are distributed to such Holders by way of Eligible Equity Securities in lieu of
 Cash pursuant to Section 11.1(a)(i) will be treated for all purposes by the Issuer and the Servicer as
 Principal Proceeds.

         “Interest Reserve Account”: The trust account established pursuant to Section 10.3(j).

         “Investment Company Act”: The United States Investment Company Act of 1940, as amended.

         “Investors Corp.”: Brentwood Investors Corp., an exempted limited liability company
 incorporated under the laws of the Cayman Islands.

          “Investors Corp. Placement Agency Agreement”: A placement agency agreement dated
 December 21, 2006 among Investors Corp. and Banc of America Securities LLC relating to the placement
 of the Placed Shares, as modified, amended and supplemented and in effect from time to time.

         “Investors Corp. Placement Agent”: Banc of America Securities LLC.

         “Investors Corp. Subscription Agreement”: A subscription agreement dated December 21, 2006
 among Investors Corp. and the Issuer relating to the purchase of the Class I Preference Shares by
 Investors Corp.

         “Irish Paying Agent”: The meaning specified in Section 7.2.

         “Issuer”: The Person named as such on the first page of this Indenture.

         “Issuer Accounts”: The meaning assigned in the Granting Clauses.

         “Issuer Order” and “Issuer Request”: A written order or request dated and signed in the name of
 the Issuer, the Co-Issuer or Investors Corp. by an Authorized Officer of the Issuer, the Co-Issuer or
 Investors Corp., as applicable, or by the Servicer by an Authorized Officer of the Servicer, on behalf of
 the Issuer or the Co-Issuer.

        “Issuer Ordinary Shares”: The 250 ordinary shares, par value U.S.$1.00 per share, of the Issuer
 which have been issued by the Issuer and are outstanding from time to time.

         “Junior Class”: With respect to a particular Class of Notes, each Class of Notes that is
 subordinated to that Class, as indicated in Section 13.1.

         “Leasing Finance Transaction”: Any transaction pursuant to which the obligations of the lessee
 to pay rent or other amounts on a triple net basis under any lease of (or other arrangement conveying the
 right to use) real or personal property, or a combination thereof, are required to be classified and
 accounted for as a capital lease on a balance sheet of such lessee under generally accepted accounting
 principles in the United States of America; but only if (a) such lease or other transaction provides for the



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 unconditional obligation of the lessee to pay a stated amount of principal no later than a stated maturity
 date, together with interest thereon, and the payment of such obligation is not subject to any material non-
 credit related risk as determined by the Servicer, (b) the obligations of the lessee in respect of such lease
 or other transaction are fully secured, directly or indirectly, by the property that is the subject of such
 lease and (c) the interest held by the Issuer in respect of such lease or other transaction is treated as debt
 for U.S. federal income tax purposes.

         “LIBOR”: The offered rate, as determined by the Calculation Agent for any Interest Period, for
 three-month Dollar deposits that appears on Moneyline Telerate Page 3750 as reported on Bloomberg
 Financial Markets Commodities News (or a page that replaces Moneyline Telerate Page 3750 for the
 purpose of displaying comparable rates), as of 11:00 A.M. (London time) on the second Business Day
 before the first day of the relevant Interest Period.

          If, on the second Business Day before the first day of any relevant Interest Period, that rate does
 not appear on Moneyline Telerate Page 3750 as reported on Bloomberg Financial Market Commodities
 News (or a page that replaces Moneyline Telerate Page 3750 for the purpose of displaying comparable
 rates), the Calculation Agent shall determine the arithmetic mean of the offered quotations of the
 Reference Banks to prime banks in the London interbank market for three month Dollar deposits in
 Europe, by reference to requests by the Calculation Agent to four major banks in the London interbank
 market selected by the Calculation Agent (after consultation with the Servicer) (the “Reference Banks”)
 for quotations as of approximately 11:00 A.M. (London time) on the second Business Day before the first
 day of the Interest Period. If at least two of the Reference Banks provide quotations as requested, LIBOR
 shall equal such arithmetic mean. If fewer than two Reference Banks provide quotations, LIBOR shall be
 the arithmetic mean of the offered quotations that one or more leading banks in New York City selected
 by the Calculation Agent (after consultation with the Servicer) are quoting to the principal London offices
 of leading banks in the London interbank market on the second Business Day before the first day of the
 relevant Interest Period for three month Dollar deposits.

         If the Calculation Agent is unable to determine a rate in accordance with any of the above
 procedures, LIBOR for the Interest Period shall be calculated on the last day of the Interest Period and
 shall be the arithmetic mean of the rate of interest for each day during the Interest Period determined by
 the Calculation Agent as being the rate of interest most recently announced by the Bank as its base rate,
 prime rate, reference rate, or similar rate for Dollar loans (or if the Bank ceases to exist or is not quoting a
 base rate, prime rate, reference rate, or similar rate for Dollar loans, another major money center
 commercial bank in New York City selected by the Calculation Agent (after consultation with the
 Servicer)).

          For the first Interest Period and, unless the Maturity Extension occurs, the last Interest Period,
 LIBOR shall be determined based on the actual number of days in the Interest Period using straight-line
 interpolation of two rates calculated in accordance with the above procedure, except that instead of using
 three month deposits, one rate shall be determined using the period for which rates are obtainable next
 shorter than the Interest Period and the other rate shall be determined using the period for which rates are
 obtainable next longer than the Interest Period. All calculations shall be calculated to at least four
 decimal places and rounded to four decimal places.

         “Loan”: Any interest in a fully committed, senior secured, unsecured, or revolving loan
 (including loans involving credit linked deposits) that is acquired by assignment or by Participation
 (including any DIP Loan) that is either:

         (a)      Registered, or




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         (b)      issued by an obligor that is not resident in the United States:

                   (i)    whose payments are not subject to United States withholding tax; and

                (ii)    that is held through a financial institution pursuant to the procedures described in
         Treasury Regulation section 1.165-12(c)(3).

         “Long-Dated Collateral Obligation”: Any Collateral Obligation with a stated maturity later than
 the Stated Maturity of the Notes other than a Collateral Obligation with a stated maturity later than the
 Stated Maturities of the Notes that includes a “put” option to its obligor at a price of at least par payable
 on or before the Stated Maturity of the Notes.

         “Majority”: With respect to any Class or group of Notes or the Preference Shares, the Holders of
 more than 50% of the Aggregate Outstanding Amount of that Class or group of Notes or Preference
 Shares, as the case may be.

         “Margin Stock”: “Margin Stock” as defined under Regulation U issued by the Board of
 Governors of the Federal Reserve System, including any debt security that is by its terms convertible into
 Margin Stock, but does not include any obligation that at the time of acquisition, conversion, or exchange
 does not satisfy the requirements of a Collateral Obligation received pursuant to an offer by an issuer of a
 Defaulted Collateral Obligation.

          “Market Value”: As of any Measurement Date, the market value determined by the Servicer and
 reported to the Trustee as an amount rather than as a percentage or fraction of par (expressed in Dollars)
 of any Collateral Obligation (or Eligible Equity Security, as applicable) based upon the Servicer’s
 commercially reasonable judgment and based upon the following order of priority: (a) the average of the
 bid-side market prices obtained by the Servicer from three Independent broker-dealers active in the
 trading of such obligations or (b) if the foregoing set of prices were not obtained, the lower of the bid-side
 market prices obtained by the Servicer from two Independent broker-dealers active in the trading of such
 obligations or (c) if the foregoing sets of prices were not obtained, the average of the bid-side prices for
 the purchase of the Collateral Obligation (or Eligible Equity Security, as applicable) determined by an
 Approved Pricing Service (Independent from the Servicer) that derives valuations by polling broker-
 dealers (Independent from the Servicer).

         If a Market Value of any Collateral Obligation cannot be so determined in accordance with the
 procedures set out in the preceding paragraph for a period of 30 consecutive days then such Collateral
 Obligation shall be deemed to have a Market Value of zero; provided that, during such 30 day period,
 such Collateral Obligation shall be deemed to have a Market Value equal to the lower of (i) the product of
 (A) the Principal Balance of such Collateral Obligation multiplied by (B) 1.25 multiplied by (C) the
 applicable S&P Priority Category Recovery Rate and (ii) the current market value of such Collateral
 Obligation as determined by the Servicer in its commercially reasonable judgment; provided, further, that
 the maximum amount of Collateral Obligations having a Market Value assigned pursuant to the
 immediately preceding proviso shall be limited to 5.0% of the Maximum Amount (and any amount in
 excess of 5.0% of the Maximum Amount shall be deemed to have a Market Value of zero). For the
 avoidance of doubt, the procedures set out in this paragraph shall not apply to determinations of Market
 Value of any Eligible Equity Securities.

          The Servicer is under no obligation to determine the Market Value of the Collateral Obligations
 other than as set forth in the Servicing Agreement or this Indenture or to comply with any of its duties as
 set forth in the Servicing Agreement or in this Indenture.




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         “Market Value Determination Date”: With respect to any distribution of Eligible Equity
 Securities, one Business Day prior to the date of the notice distributed by the Issuer to the Holders of the
 Preference Shares in connection with such distribution.

         “Market Value Percentage”: For any Collateral Obligation, the ratio obtained by dividing:

         (a)      the Market Value of the Collateral Obligation, by

         (b)      the Principal Balance of the Collateral Obligation.

         “Maturity”: With respect to any Note, the date on which the unpaid principal of the Note
 becomes payable as provided in the Note or this Indenture, whether at the Stated Maturity or by
 declaration of acceleration, call for redemption, or otherwise.

         “Maturity Extension”: The meaning specified in Section 2.4.

         “Maximum Amount”: An amount equal to:

         (a)      on any Measurement Date during the Ramp-Up Period, U.S.$677,332,536; and

         (b)      on any Measurement Date after the Ramp-Up Completion Date:

                 (i)     the aggregate Principal Balance of all Collateral Obligations plus the aggregate
         outstanding principal amount of any Defaulted Collateral Obligations, plus

                  (ii)    Cash representing Principal Proceeds on deposit in the Collection Account, plus

               (iii)    Eligible Investments (other than Cash) purchased by the Issuer with Principal
         Proceeds on deposit in the Collection Account, plus

                (iv)   without duplication, an amount equal to the Aggregate Undrawn Amount of the
         Class A-1B Notes.

         “Maximum Weighted Average Moody’s Rating Factor”: As of any Measurement Date, a rate
 equal to the sum of (a) the number set forth in the column entitled “Maximum Weighted Average
 Moody’s Rating Factor” in the Ratings Matrix based upon the applicable “row/column combination”
 chosen by the Servicer (or the interpolating between two adjacent rows and/or two adjacent columns, as
 applicable) plus (b) the Recovery Rate Modifier.

         “Measurement Date”: Any date:

         (a)      on which the Issuer commits to acquire or dispose of any Collateral Obligation;

         (b)      on which a Collateral Obligation becomes a Defaulted Collateral Obligation;

         (c)      that is a Determination Date;

         (d)      that is the Ramp-Up Completion Date;

         (e)     that is the date as of which the information in a Monthly Report is calculated pursuant to
 Section 10.6; and,



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        (f)     with respect to any distribution of Eligible Equity Securities only, that is a Market Value
 Determination Date.

         “Merging Entity”: The meaning specified in Section 7.10.

         “Middle Market Loan”: Any Loan issued as part of a loan facility with an original loan size
 (including any First Lien Loan and Second Lien Loans included in the facility) of less than
 U.S.$200,000,000 but greater than U.S.$10,000,000, including for purposes of this definition the
 maximum available amount of commitments under any Revolving Loan or Delayed Drawdown Loan.

         “Minimum Diversity Score”: As of any Measurement Date, a score equal to the number set forth
 in the column entitled “Minimum Diversity Score” in the Ratings Matrix based upon the applicable
 “row/column combination” chosen by the Servicer (or the interpolating between two adjacent rows and/or
 two adjacent columns, as applicable).

         “Minimum Weighted Average Spread”: As of any Measurement Date, the spread equal to the
 percentage set forth in the row entitled “Minimum Weighted Average Spread” in the Ratings Matrix
 based upon the applicable “row/column combination” chosen by the Servicer (or the interpolating
 between two adjacent rows and/or two adjacent columns, as applicable).

         “Monthly Determination Date”: The meaning specified in Section 10.6(a).

         “Monthly Report”: The meaning specified in Section 10.6(a).

         “Moody’s”: Moody’s Investors Service, Inc.

         “Moody’s Default Probability Rating”: The meaning set forth in Schedule 7.

         “Moody’s Equivalent Senior Unsecured Rating”: The meaning set forth in Schedule 7.

        “Moody’s Group I Country”: Any of the following countries: Australia, the Netherlands, the
 United Kingdom and any country subsequently determined by Moody’s to be a Moody’s Group I
 Country.

         “Moody’s Group II Country”: Any of the following countries: Germany, Ireland, Sweden,
 Switzerland and any country subsequently determined by Moody’s to be a Moody’s Group II Country.

         “Moody’s Group III Country”: Any of the following countries: Austria, Belgium, Denmark,
 Finland, France, Iceland, Liechtenstein, Luxembourg, Norway, Spain and any country subsequently
 determined by Moody’s to be a Moody’s Group III Country.

       “Moody’s Industry Classification”: The industry classifications in Schedule 2 as modified,
 amended, and supplemented from time to time by Moody’s.

        “Moody’s Minimum Average Recovery Rate”: As of any Measurement Date, a rate equal to the
 number obtained by

         (a)      summing the products obtained by multiplying the Principal Balance of each Collateral
 Obligation by its respective Moody’s Priority Category Recovery Rate,

         (b)     dividing the sum determined pursuant to clause (a) above by the sum of the Aggregate
 Principal Balance of all Collateral Obligations, and


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         (c)      rounding up to the first decimal place.

         “Moody’s Non Senior Secured Loan”: Any Loan that is not a Moody’s Senior Secured Loan.

         “Moody’s Obligation Rating”: The meaning set forth in Schedule 7.

        “Moody’s Priority Category”: Each type of Collateral Obligation specified in the definition of
 “Applicable Percentage” as a “Moody’s Priority Category.”

         “Moody’s Priority Category Recovery Rate”: For any Collateral Obligation, the percentage
 specified in the definition of “Applicable Percentage” opposite the Moody’s Priority Category of the
 Collateral Obligation.

         “Moody’s Rating”: The meaning set forth in Schedule 7.

         “Moody’s Rating Factor”: The number in the table below opposite the rating of the Collateral
 Obligation (excluding Synthetic Securities where an Assigned Moody’s Rating is not available).

                                            Moody’s Rating            Moody’s        Moody’s Rating
                   Moody’s Rating              Factor                 Rating            Factor

                        Aaa                          1                     Ba1              940
                        Aa1                         10                     Ba2             1350
                        Aa2                         20                     Ba3             1766
                        Aa3                         40                     B1              2220
                        A1                          70                     B2              2720
                        A2                         120                     B3              3490
                        A3                         180                    Caa1             4770
                        Baa1                       260                    Caa2             6500
                        Baa2                       360                    Caa3             8070
                        Baa3                       610               Ca or lower           10000

         The Moody’s Rating Factor for Collateral Obligations that are Synthetic Securities shall be
 determined by Moody’s and obtained by the Issuer or the Servicer on a case-by-case basis, unless there is
 an Assigned Moody’s Rating available for such Collateral Obligation that is a Synthetic Security, in
 which case such Assigned Moody’s Rating shall be used to compute the Moody’s Rating Factor for such
 Collateral Obligation that is a Synthetic Security.

          The Moody’s Rating Factor for any Collateral Obligation that is a Structured Finance Security
 shall be equal to: A × 55% ,
                        1− B

          where: “A” means the number determined with respect to such Collateral Obligation pursuant to
 the table above; and

         “B” means the Moody’s Priority Category Recovery Rate with respect to such Collateral
 Obligation.

         “Moody’s Senior Secured Loan”:

         (a)      a Loan that:



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                  (i)     is not (and cannot by its terms become) subordinate in right of payment to any
         other obligation of the obligor of the Loan,

                 (ii)     is secured by a valid first priority perfected security interest or lien in, to or on
         specified collateral securing the obligor’s obligations under the Loan, and

                 (iii)    the value of the collateral securing the Loan together with other attributes of the
         obligor (including, without limitation, its general financial condition, ability to generate cash flow
         available for debt service and other demands for that cash flow) is adequate (in the commercially
         reasonable judgment of the Servicer) to repay the Loan in accordance with its terms and to repay
         all other loans of equal seniority secured by a first lien or security interest in the same collateral,
         or

         (b)      a Loan that:

                  (i)     is not (and cannot by its terms become) subordinate in right of payment to any
         other obligation of the obligor of the Loan, other than, with respect to a Loan described in clause
         (a) above, with respect to the liquidation of such obligor or the collateral for such loan,

                 (ii)     is secured by a valid second priority perfected security interest or lien in, to or on
         specified collateral securing the obligor’s obligations under the Loan,

                 (iii)    the value of the collateral securing the Loan together with other attributes of the
         obligor (including, without limitation, its general financial condition, ability to generate cash flow
         available for debt service and other demands for that cash flow) is adequate (in the commercially
         reasonable judgment of the Servicer) to repay the Loan in accordance with its terms and to repay
         all other loans of equal or higher seniority secured by a first or second lien or security interest in
         the same collateral, and

                (iv)      has a Moody’s rating equal to or higher than the applicable Moody’s corporate
         family rating, and

          (c)     the Loan is not: (i) a DIP Loan, (ii) a Loan for which the security interest or lien (or the
 validity or effectiveness thereof) in substantially all of its collateral attaches, becomes effective, or
 otherwise “springs” into existence after the origination thereof, or (iii) a type of loan that Moody’s has
 identified as having unusual terms and with respect to which its Moody’s Recovery Rate has been or is to
 be determined on a case-by-case basis.

       “Non-Call Period”: The period from the Closing Date to but not including the Payment Date in
 November, 2010.

         “Non-Consenting Holder”: With respect to any supplemental indenture pursuant to Section 8.2
 that requires the consent of one or more Holders of Securities, any Holder or, in the case of Securities
 represented by Global Notes, any beneficial owner, that either (a) has delivered to the Trustee a written
 notice that it will not consent to such supplemental indenture or (b) had not consented to such
 supplemental indenture within the applicable Initial Consent Period.

         “Non-Consenting Holding Preference Share Holder”: With respect to any supplemental
 indenture pursuant to Section 8.2 that requires the consent of one or more Holders of Securities, any
 Holder of Holding Preference Shares that either (a) has directed Investors Corp. not to consent to such




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 supplemental indenture or (b) has not provided Investors Corp. with any direction with respect to such
 supplemental indenture within the applicable Initial Consent Period.

         “Non-Consenting Note Refinancing”: The meaning specified in Section 9.7.

         “Non-Consenting Notes”: The meaning specified in Section 9.7.

         “Non-Consenting Notes Payment Amount”: The meaning specified in Section 9.7.

           “Non-Performing Collateral Obligation”: Any (a) Defaulted Collateral Obligation and (b) PIK
 Security as to which its issuer or obligor has previously deferred or capitalized any interest due on it and
 all the interest so deferred or capitalized has not subsequently been paid in full in cash by:

                  (i)      if the PIK Security has a Moody’s Rating of “Baa3” (and not on credit watch
         with negative implications) or above or an S&P Rating of “BBB-” (and not on credit watch with
         negative implications) or above, the earlier of its second payment date or one year following the
         date of the initial deferral or capitalization of interest due on it, or

                 (ii)    if the PIK Security has a Moody’s Rating of “Baa3” and on credit watch with
         negative implications or below “Baa3,” or an S&P Rating of “BBB-” and on credit watch with
         negative implications or below “BBB-,” the earlier of its first payment date or six months
         following the date of the initial deferral or capitalization of interest due on it.

         “Non-Permitted Holder”: (a) With respect to the Global Notes, a Holder or beneficial owner of
 an interest in a Global Note that is a U.S. person and (i) not a QIB/QP and that becomes the beneficial
 owner of an interest in a Rule 144A Global Note or (ii) does not have an exemption available under the
 Securities Act and (b) with respect to the Class D Notes, a Holder or beneficial owner of an interest in a
 Class D Note that is not (i) an Institutional Accredited Investor or (ii) a Qualified Institutional Buyer and
 both a Qualified Purchaser.

         “Non-Permitted Benefit Plan Investor”: The meaning specified in the second paragraph of
 Section 6.6.

         “Non-qualifying Collateral Obligation”: The meaning specified in Section 12.1(d).

         “Note Break-Even Loss Rate”: With respect to each Class of Notes that is rated by S&P, the
 maximum percentage of defaults that the Current Portfolio or Proposed Portfolio can sustain and
 nevertheless sufficient funds will remain for the payment of principal of the Class of Notes in full by its
 Stated Maturity and the timely payment of interest on the Class A Notes, the Class B Notes, the Class C
 Notes and the Class D Notes using S&P’s assumptions on recoveries, defaults, and timing, and taking into
 account the Priority of Payments and the adjusted Weighted Average Spread level specified in the
 applicable row of the table below. The adjusted Weighted Average Spread as of any Measurement Date
 is the Weighted Average Spread as of the Measurement Date minus the amount of any Spread Excess
 added to the Weighted Average Fixed Rate Coupon as of the Measurement Date.

                        Row              Adjusted Weighted Average Spread

                         1                  Greater than or equal to 3.05%
                         2        Greater than or equal to 2.95% but less than 3.05%
                         3        Greater than or equal to 2.85% but less than 2.95%
                         4        Greater than or equal to 2.75% but less than 2.85%


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                         5       Greater than or equal to 2.65% but less than 2.75%
                         6       Greater than or equal to 2.55% but less than 2.65%
                         7       Greater than or equal to 2.45% but less than 2.55%
                         8       Greater than or equal to 2.35% but less than 2.45%
                         9       Greater than or equal to 2.25% but less than 2.35%

          “Note Class Loss Differential”: With respect to any Measurement Date and any Class of Notes
 that is rated by S&P, the rate calculated by subtracting the Class Scenario Loss Rate for the Class from
 the then-applicable Note Break-Even Loss Rate for the Class of Notes.

         “Noteholder”: A Holder of the Class A-1A Notes, the Class A-1B Notes, the Class A-2 Notes,
 the Class B Notes, the Class C Notes or the Class D Notes.

          “Note Interest Rate”: With respect to any specified Class of Notes, the per annum interest rate
 payable on the Notes of the Class with respect to each Interest Period equal to LIBOR for Eurodollar
 deposits for the applicable Interest Period plus the spread specified in the “Interest Rate” rows of the
 tables in Section 2.3 with respect to such Notes except in the first Interest Period.

         “Note Payment Sequence”: The application of funds in the following order:

        (a)     to the Class A-1A Notes and the Class A-1B Notes, pro rata based on the Aggregate
 Outstanding Amount of each of the Class A-1A Notes and the Class A-1B Notes, until the Class A-1
 Notes have been fully redeemed;

         (b)      to the Class A-2 Notes until the Class A-2 Notes have been fully redeemed;

         (c)      to the Class B Notes until the Class B Notes have been fully redeemed;

         (d)      to the Class C Notes until the Class C Notes have been fully redeemed; and

         (e)      to the Class D Notes until the Class D Notes have been fully redeemed.

         “Notes”: The Senior Notes and the Class D Notes authorized by, and authenticated and delivered
 under, this Indenture or any supplemental indenture.

         “Notice of Refinancing”: The meaning specified in Section 9.8(a).

         “Objection Cut-Off Date”: The meaning specified in Section 15.1(h)(ii).

         “Offer”: The meaning specified in Section 10.7(c).

         “Offering”: The offering of the Notes.

         “Offering Memorandum”: The final offering memorandum, dated December 18, 2006, prepared
 and delivered in connection with the offer and sale of the Securities.

          “Officer”: With respect to the Issuer and any corporation, any director, the Chairman of the board
 of directors, the President, any Vice President, the Secretary, an Assistant Secretary, the Treasurer, or an
 Assistant Treasurer of the entity; with respect to the Co-Issuer and any corporation, any director, the
 Chairman of the board of directors, the President, any Vice President, the Secretary, an Assistant




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 Secretary, the Treasurer, or an Assistant Treasurer of the entity; with respect to any partnership, any of its
 general partners; and with respect to the Trustee, any Trust Officer.

          “Opinion of Counsel”: A written opinion addressed to the Trustee and, when required hereunder,
 each Rating Agency, in form and substance reasonably satisfactory to the Trustee and each Rating
 Agency, as applicable, of an attorney at law (or law firm with one or more partners) reasonably
 satisfactory to the Trustee and admitted to practice before the highest court of any state of the United
 States or the District of Columbia (or the Cayman Islands, in the case of an opinion relating to the laws of
 the Cayman Islands), which attorney (or law firm) may, except as otherwise expressly provided in this
 Indenture, be counsel for the Servicer, the Issuer or the Co-Issuer. Whenever an Opinion of Counsel is
 required under this Indenture, the Opinion of Counsel may rely on opinions of other counsel who are so
 admitted and so satisfactory, which opinions of other counsel shall accompany the Opinion of Counsel
 and shall either be addressed to the Trustee and each Rating Agency or shall state that the Trustee and
 each Rating Agency may rely on it. An Opinion of Counsel may be supported as to factual (including
 financial and capital markets) matters by any relevant certificates and other documents necessary or
 advisable in the judgment of counsel delivering the opinion.

         “Optional Redemption”: A redemption of the Notes in accordance with Section 9.2.

         “Other Indebtedness”: The meaning specified in the definition of “Defaulted Collateral
 Obligation.”

         “Outstanding”: With respect to:

         (a)     the Notes or any specified Class, as of any date of determination, all of the Notes or all of
 the Notes of the specified Class, as the case may be, theretofore authenticated and delivered under this
 Indenture, except with respect to Notes:

                  (i)      Notes canceled by the Indenture Registrar or delivered to the Indenture Registrar
         for cancellation;

                 (ii)    Notes for whose payment or redemption funds in the necessary amount have
         been theretofore irrevocably deposited with the Trustee or any Paying Agent in trust for their
         Holders pursuant to Section 4.1(a)(ii) and if the Notes are to be redeemed, notice of redemption
         has been duly given pursuant to this Indenture;

                (iii)    Notes in exchange for or in lieu of which other Notes have been authenticated
         and delivered pursuant to this Indenture; and

                 (iv)    Notes alleged to have been destroyed, lost, or stolen for which replacement Notes
         have been issued as provided in Section 2.7, unless proof satisfactory to the Trustee is presented
         that any such Notes are held by a protected purchaser;

         (b)      the Preference Shares, as of any date of determination, all of the Preference Shares
 theretofore issued under the Preference Share Documents and listed in the Preference Share register of the
 Issuer as outstanding;

         (c)    the Holding Preference Shares, as of any date of determination, all of the Holding
 Preference Shares theretofore issued under the Holding Preference Share Documents and listed in the
 Holding Preference Share register of Investors Corp. as outstanding;




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          provided that, in determining whether the Holders of the requisite Aggregate Outstanding
 Amount of the Transaction Securities have given any request, demand, authorization, direction, notice,
 consent or waiver under the Transaction Documents, Transaction Securities owned or beneficially owned
 by the Issuer, the Co-Issuer, any Affiliate of either of them and, with respect to any matter affecting its
 status as Servicer or appointment of a replacement Servicer or relating to an acceleration of any Class of
 Notes if the effect of the Servicer’s action or inaction as a Holder of Transaction Securities would
 effectively prevent acceleration, the Servicer, its Affiliates and any account for which the Servicer or its
 Affiliates have discretionary voting authority (other than, with respect to Notes or Class II Preference
 Shares, HFP or any of its subsidiaries; provided that, with respect to the voting authority of Notes or
 Class II Preference Shares owned by HFP or any of its subsidiaries, such vote shall not be excluded only
 if such vote is determined by a vote of the majority of the “independent directors” (determined in
 accordance with the governing documents of HFP or such subsidiaries and certified in writing to the
 Preference Shares Paying Agent by any of the “independent directors” of HFP) of HFP or such
 subsidiaries) shall be disregarded and not be Outstanding, except that, in determining whether the Trustee
 shall be protected in relying on any request, demand, authorization, direction, notice, consent or waiver,
 only Securities that a Trust Officer of the Trustee (or with respect to the Preference Shares and Holding
 Preference Shares, only Preference Shares and Holding Preference Shares that an authorized officer of the
 Preference Shares Paying Agent or Holding Preference Shares Paying Agent, as applicable) has actual
 knowledge to be so owned or beneficially owned shall be so disregarded. Transaction Securities so
 owned or beneficially owned that have been pledged in good faith may be regarded as Outstanding if the
 pledgee establishes to the satisfaction of the Trustee, the Preference Shares Paying Agent or the Holding
 Preference Shares Paying Agent, as applicable, the pledgee’s right so to act with respect to the
 Transaction Securities and that the pledgee is independent from the Issuer, the Co-Issuer, the Servicer, the
 Trustee, the Preference Shares Paying Agent and the Holding Preference Shares Paying Agent.

          “Overcollateralization Ratio”: With respect to any Class of Notes on any Measurement Date, the
 ratio calculated by dividing:

         (a)      the Overcollateralization Ratio Numerator; by

          (b)     the Aggregate Outstanding Amount of the Class of Notes and all Notes ranking senior to
 it (excluding any Deferred Interest on the Notes and all Notes ranking senior to it).

         “Overcollateralization Ratio Numerator”: On any date, the sum of:

         (a)     the Aggregate Principal Balance of all Collateral Obligations (other than any Excess
 CCC+/Caa1 Collateral Obligations, any Non-Performing Collateral Obligations, any Deep Discount
 Obligations, any Current Pay Obligation and any Collateral Obligations loaned pursuant to a Securities
 Lending Agreement with respect to which an “event of default” (under and as defined in the Securities
 Lending Agreement) is continuing); plus

          (b)    unpaid Accrued Interest Purchased With Principal (excluding any unpaid Accrued
 Interest Purchased With Principal in respect of Non-Performing Collateral Obligations); plus

         (c)     the Aggregate Principal Balance of any Eligible Investments that were purchased with
 Principal Proceeds and the amount of Principal Proceeds on deposit in the Collection Account; plus

         (d)     the Aggregate Principal Balance of Eligible Investments on deposit in a Securities
 Lending Account that relate to a Securities Lending Agreement with respect to which an “event of
 default” (under and as defined in the Securities Lending Agreement) is continuing; plus




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          (e)     with respect to Collateral Obligations that are Non-Performing Collateral Obligations,
 Deep Discount Obligations, Current Pay Obligations or Excess CCC+/Caa1 Collateral Obligations, the
 amount determined by using one of the following methods applicable to such type of Collateral
 Obligation; provided that if a Collateral Obligation falls within more than one of such types, the Issuer
 will be required to use the method that results in the smallest amount:

                 (i)    with respect to any Excess CCC+/Caa1 Collateral Obligations, an amount equal
         to the product of (A) the lower of (1) 70% and (2) the CCC+/Caa1 Excess Market Value
         Percentage, multiplied by (B) the Excess CCC+/Caa1 Collateral Obligations;

                 (ii)    with respect to any Non-Performing Collateral Obligations, the aggregate of the
         Applicable Collateral Obligation Amounts for all included Non-Performing Collateral
         Obligations (other than Defaulted Collateral Obligations that have been held by the Issuer for
         more than three years, which shall be deemed to be zero for purposes of this clause (ii));

              (iii)     with respect to any Deep Discount Obligations, the Aggregate Purchase Price
         Amount for all Deep Discount Obligations; and

                 (iv)     with respect to any Current Pay Obligation that becomes a Current Pay
         Obligation after failing to pay interest when due for a period of six months or more then (A) if the
         Market Value of such Current Pay Obligation is greater than or equal to 80%, the par amount
         thereof or (B) if the Market Value of such Current Pay Obligation is less than 80%, the Market
         Value thereof; and, with respect to any other Current Pay Obligation, the Principal Balance
         thereof.

         As used in this definition, “Applicable Collateral Obligation Amount” for any Non-Performing
 Collateral Obligation means:

         (a)      the lesser of:

                         (x)     the Market Value Percentage of the Non-Performing Collateral
                  Obligation; and

                         (y)       the Applicable Percentage for the Non-Performing Collateral
                  Obligation;

         multiplied by:

         (b)      if the Non-Performing Collateral Obligation is:

                         (1)     any Pledged Obligation other than those in clauses (2) through (4) below,
                  the outstanding principal amount of the Pledged Obligation as of the relevant
                  Measurement Date;

                          (2)      a Synthetic Security, the notional amount specified in the Synthetic
                  Security;

                           (3)      any Revolving Loan or Delayed Drawdown Loan, its Principal Balance
                  including any unfunded amount thereof (regardless of the nature of the contingency
                  relating to the Issuer’s obligation to fund the unfunded amount); and




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                          (4)     any PIK Security, its Principal Balance.

         As used in the calculation of Market Value Percentage of the Non-Performing Collateral
 Obligation, the Principal Balance of any Defaulted Collateral Obligation shall be, if the Defaulted
 Collateral Obligation is:

                 (i)     any Pledged Obligation other than those in clauses (ii) through (iv) below, the
         outstanding principal amount of the Pledged Obligation as of the relevant Measurement Date;

                  (ii)    a Synthetic Security, the notional amount specified in the Synthetic Security;

                 (iii)    any Revolving Loan or Delayed Drawdown Loan, its Principal Balance including
         any unfunded amount thereof (regardless of the nature of the contingency relating to the Issuer’s
         obligation to fund the unfunded amount); and

                 (iv)     any PIK Security, its Principal Balance.

          “Overcollateralization Test”: A test that is satisfied with respect to any Class of Notes if, as of
 any Measurement Date, the Overcollateralization Ratio for the Class is at least equal to the required level
 for the specified Class indicated in the table below:

                          Test                               Required Level

         Class A Overcollateralization Test                      121.0%
         Class B Overcollateralization Test                      109.4%
         Class C Overcollateralization Test                      106.8%
         Class D Overcollateralization Test                      104.3%

         “Participating Institution”: An institution that creates a participation interest and that has a long-
 term senior unsecured rating by Moody’s of at least “A3” (and if so rated by Moody’s such rating is not
 on watch for possible downgrade) and an issuer credit rating by S&P of at least “A”.

         “Participation”: A Loan acquired as a participation interest created by a Participating Institution.

        “Paying Agent”: Any Person authorized by the Issuer to pay the principal of or interest on any
 Notes on behalf of the Issuer as specified in Section 7.2.

         “Payment Account”: The trust account established pursuant to Section 10.3(h).

         “Payment Date”: The first day of February, May, August and November in each year,
 commencing in May 2007 or, if any such day is not a Business Day, the next following Business Day,
 any other date on which the Notes are redeemed or paid before their Stated Maturity, and at the Stated
 Maturity for the Notes.

          “Permitted Offer”: An Offer pursuant to which the offeror offers to acquire a debt obligation
 (including a Collateral Obligation) in exchange solely for cash in an amount equal to or greater than the
 full face amount of the debt obligation plus any accrued and unpaid interest and as to which the Servicer
 has determined in its commercially reasonable judgment that the offeror has sufficient access to financing
 to consummate the Offer.




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        “Person”: An individual, corporation (including a business trust), partnership, limited liability
 company, joint venture, association, joint stock company, trust (including any beneficiary thereof),
 unincorporated association or government or any agency or political subdivision thereof.

         “PIK Cash-Pay Interest”: As to any PIK Security, the portion of interest required to be paid in
 cash (and not permitted to be added to the balance of such PIK Security or otherwise deferred and
 accrued) thereon pursuant to the terms of the related Underlying Instruments.

          “PIK Security”: Any loan or debt obligation on which any portion of the interest accrued for a
 specified period of time or until the maturity thereof is, or at the option of the obligor may be, added to
 the principal balance of such loan or debt obligation or otherwise deferred rather than being paid in cash,
 provided that such loan or debt obligation shall not be a PIK Security if the portion, if any, of such
 interest required pursuant to the terms of the related Underlying Instruments to be paid in Cash would
 result in the outstanding principal amount of such loan or debt obligation having an effective rate of PIK
 Cash-Pay Interest at least equal to (a) if such loan or debt obligation is a fixed rate loan or debt obligation,
 4.0% per annum, or (b) if such loan or debt obligation is a floating rate loan or debt obligation, LIBOR.

       “Placed Notes”: The Notes placed by the Placement Agent pursuant to the Placement Agency
 Agreement.

        “Placed Shares”: The Holding Preference Shares placed by the Investors Corp. Placement Agent
 pursuant to the Investors Corp. Placement Agency Agreement.

        “Placement Agency Agreement”: A placement agency agreement dated December 21, 2006
 among the Co-Issuers and the Placement Agent, relating to the placement of the Placed Notes, as
 modified, amended and supplemented and in effect from time to time.

         “Placement Agent”: Banc of America Securities LLC.

          “Plan Asset Regulation”: Section 3(42) of ERISA, the regulation issued by the United States
 Department of Labor and found at 29 C.F.R. Section 2510.3-101, and any other or successor provisions
 relating to the definition of plan assets for the purposes of ERISA.

         “Pledged Obligations”: As of any date of determination, the Collateral Obligations, the Workout
 Assets, the Eligible Investments, and any other securities or obligations that have been Granted to the
 Trustee that form part of the Collateral.

          “Portfolio Improvement Exchange”: The disposition, during the Replacement Period, of a
 Collateral Obligation and corresponding acquisition of one or more Collateral Obligations which in the
 aggregate will result in (a) the Collateral Quality Tests, the Interest Coverage Test, the
 Overcollateralization Tests and the Concentration Limitations herein being satisfied (or bring the total
 portfolio of Collateral Obligations closer to compliance with any such test or limitation) or if one or more
 of such Collateral Quality Tests, Interest Coverage Test, Overcollateralization Test or Concentration
 Limitations are not satisfied, the degree of compliance therewith would be improved and (b) improving,
 on a net basis, the quality of the total portfolio of Collateral Obligations as measured by such Collateral
 Quality Tests, Interest Coverage Test, Overcollateralization Test and Concentration Limitations and (c) in
 the case of each of clauses (a) and (b), any other Collateral Quality Tests, Interest Coverage Tests,
 Overcollateralization Tests or Concentration Limitations not being violated or the likelihood of such
 violation in the future not being significantly increased.




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         “Preference Share Distribution Account”: A segregated bank account established by the
 Preference Shares Paying Agent for the benefit of the Issuer pursuant to the Preference Shares Paying
 Agency Agreement into which the Preference Shares Paying Agent will deposit all amounts received
 from the Issuer and payable to the Holders of the Preference Shares under the Priority of Payments.

          “Preference Share Documents”: The Issuer’s Amended and Restated Memorandum and Articles
 of Association, the Preference Shares Paying Agency Agreement and the resolutions of the Issuer’s board
 of directors authorizing the issuance of the Preference Shares passed on or before the Closing Date.

         “Preference Share Internal Rate of Return”: With respect to any Payment Date, the internal rate
 of return (computed using the “XIRR” function in Microsoft® Excel 2002 or an equivalent function in
 another software package), stated on a per annum basis, for the following cash flows, assuming all
 Preference Shares are purchased on the Closing Date at their Face Amount:

         (a)    each distribution of Interest Proceeds made to the Holders of the Preference Shares
 (excluding any Class II Preference Share Special Payment distributed to the Holders of the Class II
 Preference Shares) on any prior Payment Date and, to the extent necessary to reach the applicable
 Preference Share Internal Rate of Return, the current Payment Date and

         (b)    each distribution of Principal Proceeds made to the Holders of the Preference Shares
 (excluding any Class II Preference Share Special Payment distributed to the Holders of the Class II
 Preference Shares) on any prior Payment Date and, to the extent necessary to reach the applicable
 Preference Share Internal Rate of Return, the current Payment Date.

         “Preference Shares”: The Class I Preference Shares and the Class II Preference Shares.

         “Preference Shares Notional Amount”: As of the Closing Date, U.S.$71,400,000 and thereafter
 as increased each time additional Preference Shares are issued in accordance with the Preference Share
 Documents.

         “Preference Shares Paying Agency Agreement”: The Preference Shares Paying Agency
 Agreement, dated as of the Closing Date, by and between the Issuer and the Preference Shares Paying
 Agent, as amended from time to time in accordance with the terms thereof.

         “Preference Shares Paying Agent”: Investors Bank & Trust Company, in its capacity as
 Preference Shares Paying Agent under the Preference Shares Paying Agency Agreement, unless a
 successor Person shall have become the preference shares paying agent pursuant to the applicable
 provisions of the Preference Shares Paying Agency Agreement, and thereafter “Preference Shares Paying
 Agent” shall mean such successor Person.

         “Pricing Amendment”: The meaning specified in Section 9.7.

         “Principal Balance”: With respect to:

         (a)     any Pledged Obligation other than those specifically covered in this definition, the
 outstanding principal amount of the Pledged Obligation as of the relevant Measurement Date;

         (b)      a Synthetic Security, the notional amount specified in the Synthetic Security;

         (c)       any Pledged Obligation in which the Trustee does not have a first priority perfected
 security interest, zero, except as otherwise expressly specified in this Indenture;



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         (d)      any Defaulted Collateral Obligation, except as otherwise provided, zero;

         (e)      any Collateral Obligation that has been loaned, its Principal Balance shall be reduced by
 the excess of the amount of collateral required over the actual Market Value of the collateral;

         (f)    any Revolving Loan or Delayed Drawdown Loan, its Principal Balance shall include any
 unfunded amount thereof (regardless of the nature of the contingency relating to the Issuer’s obligation to
 fund the unfunded amount), except as otherwise expressly specified in this Indenture;

         (g)     any PIK Security, its Principal Balance shall not include any principal amount of the PIK
 Security representing previously deferred or capitalized interest; and

          (h)      any obligation or security that at the time of acquisition, conversion, or exchange does
 not satisfy the requirements of a Collateral Obligation, zero.

          “Principal Proceeds”: With respect to any Due Period, all amounts received in Cash during the
 Due Period by the Issuer with respect to the Collateral that are not Interest Proceeds or Refinancing
 Proceeds; provided that Principal Proceeds shall include any Refinancing Proceeds to the extent such
 Refinancing Proceeds are not applied to redeem Notes or pay Administrative Expenses of the Co-Issuers
 related to a Refinancing.

         Principal Proceeds shall include any funds transferred from the Closing Date Expense Account
 and the Interest Reserve Account into the Collection Account pursuant to Section 10.2 and may also
 include other amounts as expressly provided in Section 10.2(a).

         Principal Proceeds do not include the Excluded Property or earnings on amounts on deposit in the
 Securities Lending Account to the extent the earnings are payable by the Issuer to a Securities Lending
 Counterparty.

          At any time when an “event of default” under a Securities Lending Agreement has occurred and
 is continuing, any payments received by the Issuer from the related Securities Lending Collateral shall be
 Principal Proceeds.

          “Priority Class”: With respect to any specified Class of Notes, each Class of Notes that ranks
 senior to that Class, as indicated in Section 13.1.

         “Priority of Payments”: The meaning specified in Section 11.1(a).

         “Proceeding”: Any suit in equity, action at law, or other judicial or administrative proceeding.

         “Proposed Portfolio”: As of any Measurement Date, the portfolio (measured by Aggregate
 Principal Balance) of Collateral Obligations and Principal Proceeds held as Cash on deposit in the
 Collection Account and other Eligible Investments purchased with Principal Proceeds on deposit in the
 Collection Account resulting from the sale, maturity, or other disposition of a Collateral Obligation or a
 proposed purchase of a Collateral Obligation, as the case may be.

         “Purchase Criteria Adjusted Balance”: For any Collateral Obligation other than Deep Discount
 Obligations, its Principal Balance; and for any Deep Discount Obligation its Purchase Price; provided,
 however, that if any Excess CCC+/Caa1 Collateral Obligations exist, the Purchase Criteria Adjusted
 Balance for the Excess CCC+/Caa1 Collateral Obligations shall be the lower of (a) the weighted average




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 Market Value of all CCC+/Caa1 Collateral Obligations, expressed as a percentage of their outstanding
 principal balances and (b) the product of (i) 70% and (ii) their respective Principal Balance.

         “Purchase Price”: With respect to the purchase of any Collateral Obligation (other than any
 obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements of a
 Collateral Obligation), the net purchase price paid by the Issuer for the Collateral Obligation. The net
 purchase price is determined by subtracting from the purchase price the amount of any Accrued Interest
 Purchased With Principal and any syndication and other upfront fees paid to the Issuer and by adding the
 amount of any related transaction costs (including assignment fees) paid by the Issuer to the seller of the
 Collateral Obligation or its agent.

        “Purchase Price Amount”: With respect to any Collateral Obligation on any date of
 determination, the product of (a) the Purchase Price (stated as a percentage) thereof and (b) the Principal
 Balance thereof on such date.

          “QIB/QP”: Any Person that, at the time of its acquisition of Notes is both a Qualified
 Institutional Buyer and a Qualified Purchaser.

          “Qualified Equity Security”: Any obligation that at the time of acquisition, conversion or
 exchange does not satisfy the requirements of a Collateral Obligation that is stock or evidence of an
 interest in or a right to buy stock, or any obligation that at the time of acquisition, conversion or exchange
 does not satisfy the requirements of a Collateral Obligation but whose acquisition otherwise is a
 transaction in stocks or securities within the meaning of Section 864(b)(2)(A)(ii) of the Code and the
 regulations under the Code. Qualified Equity Securities do not include any obligation that at the time of
 acquisition, conversion or exchange does not satisfy the requirements of a Collateral Obligation and that
 will cause the Issuer to be treated as engaged in or having income from a United States trade or business
 for United States federal income tax purposes by virtue of its ownership or disposition of the obligation
 (without regard to the Issuer’s other activities).

         “Qualified Institutional Buyer”: The meaning specified in Rule 144A under the Securities Act.

         “Qualified Purchaser”: The meaning specified in Section 2(a)(51) of the Investment Company
 Act and Rule 2a51-2 under the Investment Company Act (including entities owned exclusively by
 Qualified Purchasers).

         “Ramp-Up Completion Date”: The earlier of:

         (a)      the Business Day after the 90th day after the Closing Date, and

         (b)      the first date on which the following conditions are satisfied:

                  (i)     (A) the Aggregate Principal Balance of the Collateral Obligations owned by the
         Issuer equals at least U.S.$677,332,536 or (B) the Aggregate Principal Balance of the Collateral
         Obligations purchased (or committed to be purchased) by the Issuer with proceeds from the sale
         of the Notes (in each case in this clause (B), measured solely as of the date of purchase or
         commitment, as the case may be) equals at least U.S.$677,332,536 (for the avoidance of doubt,
         without giving effect to any reductions of that amount that may have resulted from scheduled
         principal payments, principal prepayments or dispositions made with respect to any Collateral
         Obligations on or before the Ramp-Up Completion Date); and

                  (ii)    the Overcollateralization Ratio Numerator is at least U.S.$677,332,536.



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       “Ramp-Up Period”: The period from and including the Closing Date to and including the Ramp-
 Up Completion Date.

          “Rating Agency”: Each of Moody’s and S&P or, with respect to Pledged Obligations generally, if
 at any time Moody’s or S&P ceases to provide rating services with respect to high yield debt securities,
 any other nationally recognized statistical rating organization selected by the Issuer and reasonably
 satisfactory to a Majority of each Class of Notes. If at any time Moody’s ceases to be a Rating Agency,
 references to rating categories of Moody’s in this Indenture shall instead be references to the equivalent
 categories of the replacement rating agency as of the most recent date on which the replacement rating
 agency and Moody’s published ratings for the type of security in respect of which the replacement rating
 agency is used. If at any time S&P ceases to be a Rating Agency, references to rating categories of S&P
 in this Indenture shall instead be references to the equivalent categories of the replacement rating agency
 as of the most recent date on which the replacement rating agency and S&P published ratings for the type
 of security in respect of which the replacement rating agency is used.

          “Rating Condition”: With respect to any Rating Agency and any action taken or to be taken
 under this Indenture, a condition that is satisfied when the Rating Agency has confirmed to the Servicer
 (as agent for the Issuer) in writing that no withdrawal, reduction, suspension, or other adverse action with
 respect to any then current rating by it (including any private or confidential rating) of any Class of Notes
 will occur as a result of the action. The Rating Condition with respect to any Rating Agency shall be
 satisfied for all purposes of this Indenture at any time when no Outstanding Notes are rated by it.

        “Rating Confirmation”: Confirmation in writing from each Rating Agency that it has not
 reduced, suspended, or withdrawn the Initial Rating assigned by it to any Class of Notes.

         “Rating Confirmation Failure”: A failure by the Issuer or the Servicer (on behalf of the Issuer)
 to obtain confirmation in writing from S&P and written confirmation from Moody’s that it has not
 reduced, suspended, or withdrawn its Initial Rating of each Class of Notes and that it has not placed any
 Class of Notes on credit watch with negative implications by the Business Day after the 29th day after the
 Ramp-Up Completion Date.

         “Rating Criteria”: The criteria that will be satisfied on any date with respect to any Holder of
 Class A-1B Notes during the Delayed Drawdown Period only, if the short-term debt, deposit or similar
 obligations of such Holder (or its guarantor) are on such date rated at least “P-1” (but not “P-1” on credit
 watch for downgrade) by Moody’s and “A-1” by S&P (but not “A-1” on credit watch for downgrade).

          “Ratings Matrix”: The “row/column combination” of the table below selected by the Servicer on
 the Closing Date to apply initially for purposes of the Diversity Test, the Weighted Average Spread Test
 and the Weighted Average Rating Factor Test. Thereafter, on notice to the Trustee, the Servicer may
 select a different row of the Ratings Matrix to apply, or may interpolate between two adjacent rows and/or
 two adjacent columns, as applicable, on a straight-line basis and round the results to two decimal points.

                                                            Minimum Diversity Score
          Minimum Weighted
           Average Spread                60           65           70          75          80          85
               2.65%                   2610          2640         2670        2700        2730        2760
               2.75%                   2640          2670         2710        2740        2770        2800
               2.85%                   2670          2710         2740        2770        2810        2850
               2.90%                   2690          2730         2760        2790        2830        2870
               2.95%                   2710          2750         2780        2810        2850        2890



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                   3.05%                2740     2780      2820      2860     2900       2930
                                           Maximum Weighted Average Moody’s Rating Factor


         “Recovery Rate Modifier”: As of any Measurement Date, the lesser of 60 and the product of:

          (a)     (i) the Moody’s Minimum Average Recovery Rate minus the minimum percentage
 specified to pass the Weighted Average Moody’s Recovery Rate Test (but not less than zero) multiplied
 by (ii) 100; and

         (b)       40.

        “Record Date”: As to any Payment Date or Refinancing Date, the 15th day (whether or not a
 Business Day) before the Payment Date.

         “Redemption Date”: Any Payment Date specified for an Optional Redemption of Notes pursuant
 to Section 9.2.

          “Redemption Price”: With respect to any Note and any Optional Redemption pursuant to Section
 9.2(a), an amount equal to:

         (a)       the outstanding principal amount of the portion of the Note being redeemed, plus

          (b)      accrued interest on the Note (including any Defaulted Interest and interest on Defaulted
 Interest), plus

         (c)       in the case of any Deferred Interest Note, the applicable Deferred Interest on the Note,
 plus

         (d)       in the case of the Class A-1B Notes, any accrued and unpaid Delayed Drawdown Fee,
 plus

         (e)       any unpaid Extension Bonus Payment in respect of the Note.

         With respect to any Preference Share and any Optional Redemption pursuant to Section 9.2(b),
 “Redemption Price” means (i) at the direction of a Majority of the Preference Shares, the pro rata portion
 for such Preference Share of the entire remaining amount of available funds after all prior applications
 pursuant to the Priority of Payments or (ii) as specified by the unanimous direction of the Holders of the
 Preference Shares, in each case, as specified in Section 9.2(b).

         “Reference Obligation”: An obligation that would otherwise satisfy the definition of “Collateral
 Obligation” and on which a Synthetic Security is based; provided that no Reference Obligation shall be a
 Synthetic Security.

         “Reference Obligor”: The obligor of a Reference Obligation.

         “Refinancing”: The meaning specified in Section 9.8.

         “Refinancing Date”: The meaning specified in Section 9.8.

         “Refinancing Notes”: The meaning specified in Section 9.8.



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        “Refinancing Price”: means, with respect to any Class of Notes that is subject to a Refinancing,
 an amount equal to the Redemption Price therefor.

         “Refinancing Proceeds”: The proceeds from any Refinancing permitted under Section 9.8.

         “Registered”: With respect to a Collateral Obligation or Eligible Investment, means that it is
 issued after July 18, 1984 and is in registered form within the meaning of Section 881(c)(2)(B)(i) of the
 Code and the United States Department of the Treasury (“Treasury”) regulations promulgated thereunder.

         “Registered Office”: The registered office of the Issuer, which shall be located outside of the
 United States.

         “Regulation D”: Regulation D under the Securities Act.

         “Regulation S”: Regulation S under the Securities Act.

         “Regulation S Global Note”: The meaning specified in Section 2.2(b).

         “Regulation S Investor”: A transferee of a Regulation S Global Note pursuant to Regulation S.

         “Relevant Obligation”: For a Collateral Obligation that is a Synthetic Security, the Reference
 Obligation of the Synthetic Security, and otherwise the Collateral Obligation.

         “Replacement Hedge”: A replacement hedge agreement that qualifies to be a Hedge Agreement
 under this Indenture.

         “Replacement Notes”: The meaning specified in Section 9.7.

         “Replacement Period”: The period from the Closing Date through and including the first to occur
 of:

         (a)     the Payment Date after the date that the Servicer notifies the Trustee, each Rating
 Agency, and the Administrator, in the sole discretion of the Servicer, that, in light of the composition of
 the Collateral, general market conditions, and other factors, the acquisition of additional Collateral
 Obligations within the foreseeable future would either be impractical or not beneficial,

        (b)    the Payment Date in February, 2014 or, in the case of an Extension, the Extended
 Replacement Period End Date,

         (c)      the Payment Date on which all Notes are to be optionally redeemed or an earlier date
 after notice of an Optional Redemption chosen by the Servicer to facilitate the liquidation of the
 Collateral for the Optional Redemption, and

         (d)     the date on which the Replacement Period terminates or is terminated as a result of an
 Event of Default (subject to Section 5.2(c)).

       “Repository”: The internet-based password protected electronic repository of transaction
 documents relating to privately offered and sold collateralized debt obligation securities located at
 “www.cdolibrary.com” operated by The Bond Market Association.

         “Required Rating”: The meaning specified in Section 15.2(b).



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         “Required Redemption Percentage”: With respect to (a) any Optional Redemption resulting from
 a Tax Event, the Holders of at least 66 2/3% of the Aggregate Outstanding Amount of any Affected Class
 or the Holders of at least 66 2/3% of the Aggregate Outstanding Amount of the Preference Shares and (b)
 any other Optional Redemption, a Majority of the Preference Shares.

         “Retention Overcollateralization Ratio”: As of any Measurement Date, the ratio obtained by
 dividing:

         (a)      the Overcollateralization Ratio Numerator by

         (b)     the Aggregate Outstanding Amount of the Class A Notes, the Class B Notes and the
 Class C Notes, excluding any Deferred Interest on any Class of Notes.

        “Retention Overcollateralization Test”: A test that is satisfied as of any Measurement Date on
 which any Notes remain Outstanding, if the Retention Overcollateralization Ratio as of such
 Measurement Date is at least equal to 105.2%.

          “Revolving Loan”: A Loan or any Synthetic Security with a Reference Obligation (in each case
 excluding any Delayed Drawdown Loan) that requires the Issuer to make future advances to (or for the
 account of) the borrower under its Underlying Instruments (including any letter of credit for which the
 Issuer is required to reimburse the issuing bank for under it). A Loan or Synthetic Security shall only be
 considered to be a Revolving Loan for so long as its Commitment Amount is greater than zero.

         “Revolving Reserve Account”: The trust account established pursuant to Section 10.3(b).

         “Rule 3a-7”: Rule 3a-7 under the Investment Company Act.

         “Rule 144A”: Rule 144A under the Securities Act.

         “Rule 144A Global Note”: The meaning specified in Section 2.2(c).

         “Rule 144A Information”: The meaning specified in Section 7.15.

         “S&P”: Standard & Poor’s Ratings Services, a division of The McGraw-Hill Companies, Inc.

          “S&P CDO Monitor”: A dynamic, analytical computer model developed by S&P (and as may be
 modified by S&P from time to time) and provided to the Servicer and the Collateral Administrator to be
 used to calculate the default frequency in terms of the amount of debt assumed to default as a percentage
 of the original principal amount of the Collateral Obligations consistent with a specified benchmark rating
 level based on certain assumptions and S&P’s proprietary corporate default studies. For the purpose (and
 only for the purpose) of applying the S&P CDO Monitor to a portfolio of obligations, for each obligation
 in the portfolio, the rating of the obligation shall be its S&P Rating.

          “S&P CDO Monitor Test”: A test that is satisfied as of any Measurement Date if, after giving
 effect to the sale of a Collateral Obligation or the purchase of a Collateral Obligation, each Note Class
 Loss Differential of the Proposed Portfolio is positive. The S&P CDO Monitor Test shall be considered
 to be improved if each Note Class Loss Differential of the Proposed Portfolio is at least equal to the
 corresponding Note Class Loss Differential of the Current Portfolio. The S&P CDO Monitor Test is not
 required to be satisfied or improved upon the sale of a Credit Risk Obligation and the application of the
 related Sale Proceeds to purchase additional Collateral Obligations as provided in Section 12.1(a). For
 purposes of the S&P CDO Monitor Test,



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         (a)      the S&P Rating of any S&P Unrated DIP Loan shall be “CCC-” and

        (b)     the S&P Industry Classification for a Synthetic Security shall be that of the related
 Reference Obligation and not the Synthetic Security.

         “S&P Excel Default Model Input File”: An electronic spreadsheet file in Microsoft Excel
 format to be provided to S&P, which file shall include the following information (to the extent such
 information is not confidential) with respect to each Collateral Obligation:

                  (a)     the name and country of domicile of the issuer thereof and the particular issue
 held by the Issuer,

                 (b)      the CUSIP or other applicable identification number associated with such
 Collateral Obligation,

                  (c)     the par value of such Collateral Obligation,

                 (d)     the type of issue (including, by way of example, whether such Collateral
 Obligation is a bond, loan or asset-backed security), using such abbreviations as may be selected by the
 Trustee,

                (e)     a description of the index or other applicable benchmark upon which the interest
 payable on such Collateral Obligation is based (including, by way of example, fixed rate, step-up rate,
 zero coupon and LIBOR),

                  (f)     the coupon (in the case of a Collateral Obligation that bears interest at a fixed
 rate) or the spread over the applicable index (in the case of a Collateral Obligation that bears interest at a
 floating rate),

                  (g)     the S&P Industry Classification Group for such Collateral Obligation,

                  (h)     the stated maturity date of such Collateral Obligation,

                  (i)     the S&P Rating of such Collateral Obligation or the issuer thereof, as applicable,

                  (j)     the priority category assigned by S&P to such Collateral Obligation, if available,

                  (k)     such other information as the Trustee may determine to include in such file, and

                  (l)     the principal balance in cash and Eligible Investments.

       “S&P Industry Classification”: The S&P Industry Classifications in Schedule 3 as modified,
 amended, and supplemented from time to time by S&P.

        “S&P Minimum Average Recovery Rate”: As of any Measurement Date, a rate equal to the
 number obtained by

         (a)      summing the products obtained by multiplying the Principal Balance of each Collateral
 Obligation by its respective S&P Priority Category Recovery Rate,

         (b)     dividing the sum determined pursuant to clause (a) above by the sum of the Aggregate
 Principal Balance of all Collateral Obligations, and


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         (c)      rounding up to the first decimal place.

        “S&P Priority Category”: Each type of Collateral Obligation specified in the definition of
 “Applicable Percentage” as an “S&P Priority Category.”

         “S&P Priority Category Recovery Rate”: For any Collateral Obligation, the percentage specified
 in the definition of “Applicable Percentage” opposite the S&P Priority Category of the Collateral
 Obligation.

         “S&P Rating”: The meaning set forth in Schedule 7.

         “S&P Unrated DIP Loan”: A DIP Loan acquired by the Issuer that does not have a rating
 assigned by S&P and for which the Servicer has commenced the process of having a rating assigned by
 S&P (as specified in the definition of “DIP Loan”).

         “Sale”: The meaning specified in Section 5.17.

         “Sale Proceeds”: All proceeds received (including any proceeds received with respect to any
 associated interest rate swap or security providing fixed annuity payments ) with respect to Collateral
 Obligations or other Pledged Obligations as a result of their sales or other dispositions less any reasonable
 expenses expended by the Servicer or the Trustee in connection with the sales or other dispositions, which
 shall be paid from such proceeds notwithstanding their characterization otherwise as Administrative
 Expenses.

        “Schedule of Collateral Obligations”: The Collateral Obligations listed on Schedule 1, which
 schedule shall include with respect to each listed Collateral Obligation:

         (a)      the name of the obligor and a unique Loan or other instrument identifier;

         (b)      the Purchase Price;

         (c)      the Principal Balance;

        (d)    the classification (including whether the Collateral Obligation is a Loan, a High-Yield
 Bond, a Synthetic Security, a Participation, a Structured Finance Obligation, a Revolving Loan or a
 Delayed Drawdown Loan);

        (e)    the funded amount (stated as a percentage) in respect of a Collateral Obligation that is a
 Revolving Loan or a Delayed Drawdown Loan;

         (f)      the coupon or spread (as applicable);

         (g)      the Stated Maturity;

         (h)      the Moody’s Rating;

         (i)      the S&P Rating; and

         (j)      the CUSIP and any ISIN, if applicable,

        as the schedule may be amended from time to time to reflect the release of Collateral Obligations
 pursuant to Article 10 and the inclusion of Collateral Obligations as provided in Section 12.2.


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          “Scheduled Holding Preference Shares Redemption Date”: February 1, 2022.

          “Scheduled Preference Shares Redemption Date”: February 1, 2022.

          “Second Lien Loan”: A Loan that (a) is not (and cannot by its terms become) subordinated in
 right of payment to any other obligation of the obligor of the Loan other than a Senior Secured Loan with
 respect to the liquidation of such obligor or the collateral for such Loan and (b) is secured by a valid
 second priority perfected security interest in or lien on specified collateral securing the obligor’s
 obligations under the Loan which security interest or lien is not subordinate to the security interest or lien
 securing any other debt for borrowed money and, which specified collateral does not consist solely of
 common stock or shares issued by the obligor or any of its Affiliates or intangible assets.

        “Second Trigger Collateral Amount”: The collateral to be posted by a downgraded Hedge
 Counterparty as required by Section 15.2(d) and determined by the following table:

                                       Second Trigger Collateral Amounts1
 Single currency swap, no optionality (excludes transaction-specific hedges, caps, floors & swaptions)
 Daily Posting:         Max[0, next payment, MtM2 + Min[50 * DV01, 8% * hedge notional]]
 Weekly Posting:        Max[0, next payment, MtM2 + Min[60 * DV01, 9% * hedge notional]]
 Single currency transaction-specific hedges, caps, floors & swaptions
 Daily Posting:         Max[0, next payment, MtM2 + Min[65 * DV013, 10% * hedge notional]]
 Weekly Posting:        Max[0, next payment, MtM2 + Min[75 * DV013, 11% * hedge notional]]
 Cross-currency swap, no optionality (excludes transaction-specific hedges, caps, floors & swaptions)
 Daily Posting:         Max[0, next payment4, MtM2 + Min[6.00% of hedge notional6 + 15 * DV016, 9% *
                        hedge notional5]]
 Weekly Posting:        Max[0, next payment4, MtM2 + Min[7.00% of hedge notional6 + 25 * DV016, 10% *
                        hedge notional5]]
 Cross-currency transaction-specific hedges, caps, floors & swaptions
 Daily Posting:         Max[0, next payment4, MtM2 + Min[6.00% of hedge notional6 + 30 * DV013,6, 11%
                        hedge notional5]]
 Weekly Posting:        Max[0, next payment4, MtM2 + Min[7.00% of hedge notional6 + 40 * DV013,6, 12% *
                        hedge notional5]]

 1.   Calculation should be in same currency as that of rated liabilities. However, for certain single-currency hedges
      addressing asset mismatches only, calculation may be made in the currency of the hedge itself, even where
      different from that of the rated liabilities.
 2.   MtM = Mid-market value.
 3.   “DV01” for transaction-specific hedge uses same assumptions as mid-market value.
 4.   Excludes exchange of principal.
 5.   “Hedge Notional” for cross-currency hedge = notional of that leg denominated in same currency as rated
      liabilities of cashflow transaction.
 6.   Larger of two DV01’s corresponding to each leg of a cross-currency hedge.

         “Secondary Risk Counterparty”: Any obligor Domiciled other than in the United States, any
 Participating Institution, any Synthetic Security Counterparty, and any Securities Lending Counterparty.




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         “Secondary Risk Table”: The table below:

                Long-Term Senior Unsecured Debt Rating of          Individual        Aggregate Counterparty
                      Secondary Risk Counterparty               Counterparty Limit           Limit

                   Moody’s                    S&P
                     Aaa                     AAA                    20.0%                  20.0%
                     Aa1                      AA+                   10.0%                  10.0%
                     Aa2                      AA                    10.0%                  10.0%
                     Aa3                      AA-                   10.0%                  10.0%
                      A1                       A+                    5.0%                  10.0%
                  A2 or below              A or below                0.0%                   0.0%

          If any Secondary Risk Counterparty’s long-term senior unsecured debt rating or short-term rating
 is on credit watch for possible downgrade by Moody’s or S&P, then for the purposes of the table above,
 its rating by the Rating Agency putting its rating on credit watch shall be one rating notch lower for that
 Rating Agency.

         “Section 3(c)(7)”: Section 3(c)(7) of the Investment Company Act.

         “Section 3(c)(7) Reminder Notice”: A notice from the Issuer to the Noteholders (to be delivered
 in accordance with Sections 10.6(a) and 10.6(b)) substantially in the form of Exhibit C-1.

          “Secured High-Yield Bond”: A High-Yield Bond that is secured by a valid and perfected security
 interest in specified collateral.

          “Secured Loan”: A Loan that is secured by a valid and perfected security interest in specified
 collateral.

         “Secured Obligations”: The meaning specified in the Granting Clauses.

         “Secured Parties”: The meaning specified in the Granting Clauses.

         “Securities”: The Notes and the Preference Shares.

         “Securities Act”: The United States Securities Act of 1933, as amended.

          “Securities Intermediary”: Any clearing corporation or any Person, including a bank or broker,
 that in the ordinary course of its business maintains securities accounts for others and is acting in that
 capacity.

         “Securities Lending Account”: The trust account established pursuant to Section 10.3(f).

         “Securities Lending Agreements”: The meaning specified in Section 7.18.

         “Securities Lending Collateral”: The meaning specified in Section 7.18.

         “Securities Lending Counterparty”: The meaning specified in Section 7.18.

         “Security Entitlement”: The meaning specified in Section 8-102(a)(17) of the UCC.




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         “Selected Collateral Quality Tests”: The Weighted Average Moody’s Recovery Rate Test, the
 Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted Average
 Life Test (after taking into consideration any applicable Maturity Extension), the Weighted Average
 Rating Factor Test and the Diversity Test.

        “Senior Notes”: The Class A-1A Notes, the Class A-1B Notes the Class A-2 Notes, the Class B
 Notes and the Class C Notes authorized by, and authenticated and delivered under, this Indenture or any
 supplemental indenture.

         “Senior Secured High-Yield Bond”: A Secured High-Yield Bond that is not subordinated by its
 terms to indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other
 similar obligations, with a first priority perfected security interest in collateral that in the opinion of the
 Servicer has value at least equal to the amount of the High-Yield Bond.

          “Senior Secured Loan”: A Secured Loan that is not subordinated by its terms to indebtedness of
 the borrower for borrowed money, trade claims, capitalized leases, or other similar obligations, with a
 valid first priority perfected security interest in collateral that in the opinion of the Servicer has value at
 least equal to the amount of the Loan.

         “Senior Servicing Fee”: A fee that accrues from the Closing Date payable to the Servicer in
 arrears on each Payment Date equal to 0.30% per annum of the Maximum Amount if and to the extent
 funds are available for that purpose in accordance with the Priority of Payments. The Senior Servicing
 Fee shall be calculated on the basis of a 360-day year consisting of twelve 30-day months.

         “Senior Unsecured High-Yield Bond”: A High-Yield Bond that is not (a) subordinated by its
 terms to indebtedness of the borrower for borrowed money and (b) secured by a valid and perfected
 security interest in collateral.

        “Senior Unsecured Loan”: A Loan that is not (a) subordinated by its terms to indebtedness of the
 borrower for borrowed money and (b) secured by a valid and perfected security interest in collateral.

         “Servicer”: Highland Capital Management, L.P., and any successor Servicer pursuant to the
 Servicing Agreement.

        “Servicer Originated Loans”: Any Collateral Obligation that is a Loan originated by the Servicer
 or an Affiliate of the Servicer; provided that for any Servicer Originated Loan that is a Middle Market
 Loan and is included in the Collateral, the Servicer will not grant any forbearance to the related obligor.

         “Servicing Agreement”: The Servicing Agreement, dated as of the Closing Date, between the
 Issuer and the Servicer, as modified, amended, and supplemented and in effect from time to time.

         “Servicing Fee Portion”: 100% minus (a) for any Payment Date from the Closing Date until (and
 including) the Payment Date occurring in February, 2008, the Class II Preference Share Percentage for
 such Payment Date and (b) for any other Payment Date, a percentage (between 0% and 100%) selected by
 the Servicer in its sole discretion and reported to the Trustee in writing on or before the related
 Determination Date.

        “Servicing Fees”: Collectively, the Senior Servicing Fee, the Subordinated Servicing Fee and the
 Supplemental Servicing Fee.

         “Share Trustee”: Maples Finance Limited.



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         “Share Registrar”: Maples Finance Limited or any successor thereto.

         “Special Redemption”: The meaning specified in Section 9.5.

         “Special Redemption Amount”: The meaning specified in Section 9.5.

         “Special Redemption Date”: The meaning specified in Section 9.5.

         “Spread Excess”: As of any Measurement Date, a fraction whose:

         (a)      numerator is the product of:

                  (i)    the greater of zero and the excess of the Weighted Average Spread for the
         Measurement Date over the Minimum Weighted Average Spread specified in the applicable row
         of the Ratings Matrix, and

                (ii)   the Aggregate Principal Balance of all Floating Rate Obligations (excluding any
         Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date, and

        (b)    denominator is the Aggregate Principal Balance of all Fixed Rate Obligations (excluding
 any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date.

        In computing the Spread Excess on any Measurement Date, the Weighted Average Spread for the
 Measurement Date will be computed as if the Fixed Rate Excess were equal to zero.

         “Standby Investment”: The meaning specified in Section 10.3(l).

          “Stated Maturity”: With respect to any Collateral Obligation, the maturity date specified in it or
 the applicable Underlying Instrument (or, if earlier, the first date on which any Person may be required by
 the Issuer to repurchase the entire principal amount of the Collateral Obligation at or above par) and with
 respect to the Notes of any Class, February 1, 2022 or, upon a Maturity Extension (if any), the applicable
 Extended Stated Maturity Date. Unless otherwise specified, “Stated Maturity” means the Stated Maturity
 of the Notes.

         “Structured Finance Obligation”: Any obligation (other than the Notes or any other security or
 obligation issued by the Issuer):

          (a)      secured directly by, referenced to, or representing ownership of, a pool of receivables or
 other assets of U.S. obligors, or obligors organized or incorporated in Moody’s Group I Countries,
 Moody’s Group II Countries, Moody’s Group III Countries or Tax Advantaged Jurisdictions, including
 portfolio credit default swaps and collateralized debt obligations, but excludes:

                   (i)    residential mortgage-backed securities;

                  (ii)    collateralized debt obligations backed by Emerging Market Securities;

                 (iii)    collateralized debt obligations primarily backed by asset-backed securities;

                 (iv)     market value collateralized debt obligations;

                  (v)     securities backed by “future flow” receivables;



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                  (vi)     securities backed by “trust preferred securities”;

                  (vii)    net interest margin securitizations;

               (viii)      collateralized debt obligations backed primarily by other collateralized debt
         obligations;

                (ix)      collateralized debt obligations primarily backed by one or more credit default
         swaps (i.e. “synthetic CDOs”); and

                   (x)     collateralized debt obligations a significant portion of which are backed by
         bonds;

         (b)       that has an S&P Rating and an S&P Priority Category Recovery Rate;

         (c)       that has a rating and a Moody’s Priority Category Recovery Rate assigned by Moody’s;

         (d)       that is Registered; and

          (e)    whose ownership or disposition (without regard to the Issuer’s other activities) by the
 Issuer will not cause the Issuer to be treated as engaged in a U.S. trade or business for United States
 federal income tax purposes or otherwise subject the Issuer to net income taxes.

       In connection with the purchase of a Structured Finance Obligation, the Servicer shall obtain
 from Moody’s the applicable Moody’s Priority Category Recovery Rate.

         For purposes of the Diversity Test, multiple Structured Finance Obligations from CDOs serviced
 by the same Servicer or multiple Structured Finance Obligations issued by the same master trust will be
 considered to be obligations of one issuer.

          “Subordinated High-Yield Bond”: A Secured High-Yield Bond secured by a second (or lower)
 priority security interest in the relevant collateral.

         “Subordinated Lien Loan”: A Secured Loan (other than a Second Lien Loan) secured by a
 second (or lower) priority security interest in the relevant collateral.

         “Subordinated Servicing Fee”: An amount equal to the sum of (a) a fee that accrues from the
 Closing Date payable to the Servicer in arrears on each Payment Date equal to 0.25% per annum of the
 Maximum Amount if and to the extent funds are available for that purpose in accordance with the Priority
 of Payments, (b) on any Payment Date that any part of the Senior Servicing Fee was not paid on the
 preceding Payment Date, an amount equal to interest on such unpaid amount at a rate of LIBOR for the
 applicable period plus 3.00% per annum and (c) on any Payment Date that any part of the Subordinated
 Servicing Fee was not paid on the preceding Payment Date, an amount equal to interest on such unpaid
 amount at a rate of LIBOR for the applicable period plus 3.00% per annum. The portion of the
 Subordinated Servicing Fee or Senior Servicing Fee, as applicable, in clauses (a) through (c) above, as
 applicable, shall be calculated on the basis of a 360-day year consisting of twelve 30-day months.

         “Successor Entity”: The meaning specified in Section 7.10.




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         “Super Majority”: With respect to any Class or group of Notes or Preference Shares, the Holders
 of more than 66⅔% of the Aggregate Outstanding Amount of that Class or group of Notes or Preference
 Shares, as the case may be.

          “Supplemental Servicing Fee”: On each Payment Date, the fee payable to the Servicer in an
 amount equal to: (a) 20.0% of the remaining Interest Proceeds, if any, available after making the
 distributions on such Payment Date pursuant to Section 11.1(a)(i)(21) and (b) 20.0% of the remaining
 Principal Proceeds, if any, available for payment in respect of the Supplemental Servicing Fee pursuant to
 Section 11.1(a)(ii)(14)(A) and, if applicable, Section 11.1(a)(ii)(15).

          “Synthetic Security”: Any swap transaction, structured bond, credit linked note or other
 derivative financial instrument providing non-leveraged credit exposure to a debt instrument (but
 excluding any such instrument relating directly to a basket or portfolio of debt instruments) or an index or
 indices (such as the “SAMI” index published by Credit Suisse First Boston) in connection with a basket
 or portfolio of debt instruments or other similar instruments entered into by the Issuer with a Synthetic
 Security Counterparty that has in the Servicer’s commercially reasonable judgment, equivalent expected
 loss characteristics (those characteristics, “credit risk”) to those of the related Reference Obligations
 (taking account of those considerations as they relate to the Synthetic Security Counterparty), if (a) it is
 either a Form-Approved Synthetic Security or the Rating Condition for each Rating Agency is satisfied,
 and (b) the Reference Obligations thereof have a Market Value equal to at least 85% of the Principal
 Balance of the Reference Obligation at the time the Synthetic Security is entered into.

         The maturity, interest rate, and other non-credit characteristics of a Synthetic Security may be
 different from the Reference Obligations to which the credit risk of the Synthetic Security relates.

          No Synthetic Security shall require the Issuer to make any payment to the Synthetic Security
 Counterparty after its initial purchase other than any payments represented by the release of any cash
 collateral posted by the Issuer from the Collection Account to the Synthetic Security Counterparty
 Account simultaneously with the Issuer’s purchase of or entry into the Synthetic Security in an amount
 not exceeding the amount of the posted cash collateral. Collateral may be posted only to a Synthetic
 Security Counterparty Account. No Synthetic Security shall result in the Issuer being a “buyer” of credit
 protection.

         The term Synthetic Security shall not include any Structured Finance Obligation or any
 Participation, but the Reference Obligation of a Synthetic Security may be a Structured Finance
 Obligation.

         Each Synthetic Security Agreement shall contain appropriate limited recourse and non-petition
 provisions (to the extent the Issuer has contractual payment obligations to the Synthetic Security
 Counterparty) equivalent (mutatis mutandis) to those contained in this Indenture.

          The ownership or disposition of any Synthetic Security (without regard to the Issuer’s other
 activities) must not cause the Issuer to be treated as engaged in a U.S. trade or business for United States
 federal income tax purposes or otherwise subject the Issuer to net income taxes.

          Unless the Rating Condition is otherwise satisfied, any “deliverable obligation” that may be
 delivered to the Issuer as a result of the occurrence of any “credit event” under any proposed Synthetic
 Security must not provide that its transfer to the Issuer is subject to obtaining any consents and must
 qualify (when the Issuer purchases the related Synthetic Security and when such “deliverable obligation”
 is delivered to the Issuer as a result of the occurrence of any “credit event”) as a Collateral Obligation and
 satisfy the Concentration Limitations under this Indenture, except that such “deliverable obligation” may



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 constitute a Defaulted Collateral Obligation when delivered upon a “credit event and if the Reference
 Obligation of the Synthetic Security is a Senior Secured Loan then the “deliverable obligation” under the
 Synthetic Security must also be a Senior Secured Loan.

          No Synthetic Security may provide for any event other than bankruptcy or a failure to pay as a
 “credit event” thereunder.

         For purposes of the Coverage Tests and the Retention Overcollateralization Test, unless the
 Rating Condition for each Rating Agency is satisfied in respect of any proposed alternative treatment, a
 Synthetic Security shall be included as a Collateral Obligation having the characteristics of the Synthetic
 Security and not of the related Reference Obligations.

         For purposes of the Collateral Quality Tests (other than the Diversity Test and the S&P Industry
 Classification with respect to the S&P CDO Monitor Test), a Synthetic Security shall be included as a
 Collateral Obligation having the characteristics of the Synthetic Security and not of the related Reference
 Obligations.

          For purposes of calculating compliance with the Concentration Limitations other than limits
 relating to payment characteristics, and all related definitions, unless otherwise specified in this Indenture
 or by the Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
 characteristics of its Reference Obligations and not the Synthetic Security. For purposes of calculating
 compliance with the Concentration Limitations relating to payment characteristics, and all related
 definitions, unless otherwise specified in this Indenture or by the Rating Agencies, a Synthetic Security
 shall be included as a Collateral Obligation having the characteristics of the Synthetic Security and not its
 Reference Obligation.

         With respect to a Synthetic Security based upon or relating to a senior secured index providing
 non-leveraged credit exposure to a basket of credit default swaps referencing a diversified group of
 Reference Obligations, with respect to which the principal or notional amount of the credit exposure to
 any single Reference Obligation does not increase over time, for purposes of: (a) calculating compliance
 with the Diversity Test, the S&P Industry Classification with respect to the S&P CDO Monitor Test, and
 the Concentration Limitations (other than limits relating to payment characteristics and except for clauses
 17 and 17(a) of the definition of “Concentration Limitations”), and all related definitions, and (b) any
 other provision or definition of this Indenture involving a determination with respect to a Reference
 Obligation, the characteristics of such Reference Obligations shall be determined by treating such
 Synthetic Security as a direct interest of the Issuer in each such Reference Obligation in an amount equal
 to the Allocable Principal Balance of such Reference Obligation. In addition, each Reference Obligation
 under such Synthetic Security shall be assigned a Moody’s Rating Factor equal to the sum of the Moody’s
 Rating Factor of (i) the related Reference Obligor, (ii) the Synthetic Security Counterparty of such
 Synthetic Security and (iii) the Synthetic Security Collateral of such Synthetic Security. In addition, the
 Moody’s Priority Category Rate in respect of a Synthetic Security referencing multiple Reference
 Obligations pursuant to this paragraph shall be the Moody’s Priority Category Rate as assigned by
 Moody’s to each Reference Obligation underlying such Synthetic Security. For the avoidance of doubt,
 Reference Obligations upon which a Synthetic Security is based as described in this paragraph must meet
 the definition of “Collateral Obligation” to the extent provided in this definition.

         If the Rating Condition must be satisfied to execute the purchase of any Synthetic Security, the
 Servicer, on behalf of the Issuer, shall give each applicable Rating Agency not less than 10 days’ prior
 notice of the purchase of or entry into any Synthetic Security.

         “Synthetic Security Agreement”: The documentation governing any Synthetic Security.



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          “Synthetic Security Collateral”: With respect to any Synthetic Security, amounts posted to the
 Synthetic Security Collateral Account by the Synthetic Security Counterparty in support of its obligations
 under the Synthetic Security, including (a) all Eligible Investments or (b) Collateral Obligations that
 satisfy the Rating Condition, in each case that mature no later than the Stated Maturity, in the Synthetic
 Security Collateral Account that are purchased with Synthetic Security Collateral.

            “Synthetic Security Collateral Account”: The trust account established pursuant to Section
 10.3(e).

          “Synthetic Security Counterparty”: An entity required to make payments on a Synthetic Security
 to the extent that a Reference Obligor makes payments on a related Reference Obligation.

            “Synthetic Security Counterparty Account”: The trust account established pursuant to Section
 10.5.

         “Tax Advantaged Jurisdiction”: One of the Cayman Islands, Bermuda, the Netherlands Antilles
 or the tax advantaged jurisdiction of the Channel Islands, or such other jurisdiction that the Rating
 Condition with respect to each Rating Agency is satisfied with respect thereto; provided that any Tax
 Advantaged Jurisdiction (with the exception of the Cayman Islands) must be rated at least “Aa2” by
 Moody’s.

            “Tax Event”: An event that occurs if either:

          (a)     (i) one or more Collateral Obligations that were not subject to withholding tax when the
 Issuer committed to purchase them have become subject to withholding tax (“New Withholding Tax
 Obligations”) or the rate of withholding has increased on one or more Collateral Obligations that were
 subject to withholding tax when the Issuer committed to purchase them (“Increased Rate Withholding
 Tax Obligations”) and (ii) in any Due Period, the aggregate of the payments subject to withholding tax on
 New Withholding Tax Obligations and the increase in payments subject to withholding tax on Increased
 Rate Withholding Tax Obligations, in each case to the extent not “grossed-up” (on an after-tax basis) by
 the related obligor, represent 5% or more of Interest Proceeds for the Due Period;

          (b)     taxes, fees, assessments, or other similar charges are imposed on the Issuer or the Co-
 Issuer in an aggregate amount in any twelve-month period in excess of U.S.$2,000,000, other than any
 deduction or withholding for or on account of any tax with respect to any payment owing in respect of
 any obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements of
 a Collateral Obligation or Collateral Obligation; or

         (c)      if the Issuer is at the time treated as a pass-through entity for U.S. federal income tax
 purposes, that investors in the Preference Shares who are non-U.S. persons not otherwise subject to U.S.
 net income tax are or have become subject to U.S. net income taxation in respect of income of the Issuer
 in an amount in excess of 10.0% of the net income of the Issuer in any twelve-month period.

         “Transaction Documents”: Collectively, this Indenture, the Class A-1B Note Purchase
 Agreement, the Collateral Administration Agreement, the Administration Agreement, the Preference
 Shares Paying Agency Agreement and the Holding Preference Shares Paying Agency Agreement.

            “Transaction Reports”: The meaning specified in Section 14.4.

            “Transaction Securities”: Collectively, the Securities and the Holding Preference Shares.




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        “Transfer Agent”: The Person or Persons, which may be the Issuer, authorized by the Issuer to
 exchange or register the transfer of Notes.

         “Transferee Certificate”: A certificate substantially in the form of Exhibit B-1, duly completed
 as appropriate.

         “Treasury Regulations”: The regulations, including proposed or temporary regulations,
 promulgated under the Code. References herein to specific provisions of proposed or temporary
 regulations shall include analogous provisions of final Treasury Regulations or other successor Treasury
 Regulations.

          “Trust Officer”: When used with respect to the Trustee, any officer in the Corporate Trust Office
 (or any successor group of the Trustee) including any director, vice president, assistant vice president,
 associate, or any other officer of the Trustee customarily performing functions similar to those performed
 by such officers in the Corporate Trust Office, or to whom any corporate trust matter is referred at the
 Corporate Trust Office because of his knowledge of and familiarity with the particular subject and having
 direct responsibility for the administration of this Indenture.

         “Trustee”: As defined in the first sentence of this Indenture.

         “UCC”: The Uniform Commercial Code as in effect in the State of New York, and as amended
 from time to time.

         “Uncertificated Security”: The meaning specified in Section 8-102(a)(18) of the UCC.

         “Underlying Instrument”: The loan agreement, indenture, credit agreement, or other agreement
 pursuant to which a Pledged Obligation has been issued or created and each other agreement that governs
 the terms of or secures the obligations represented by the Pledged Obligation or of which the holders of
 the Pledged Obligation are the beneficiaries.

          “Undrawn Amount”: At any time with respect to any Class A-1B Note, the excess, if any, of (x)
 the applicable portion of the Fully Drawn Amount relating to such Class A-1B Note over (y) the Drawn
 Amount under such Class A-1B Note; provided that any funds deposited with the Trustee in the Class A-
 1B Funding Account as a result of the failure of a Holder of a Class A-1B Note to satisfy the Rating
 Criteria during the Delayed Drawdown Period pursuant to Section 2.14(c) will for all purposes be part of
 the Undrawn Amount of such Class A-1B Note and such Holder will be entitled to receive the applicable
 Delayed Drawdown Fee thereon.

         “Unregistered Securities”: The meaning specified in Section 5.17(c).

         “Unscheduled Principal Payments”: Any principal payments received with respect to a
 Collateral Obligation as a result of optional redemptions, exchange offers, tender offers, other payments
 or prepayments made at the option of the issuer thereof or that are otherwise not scheduled to be made
 thereunder.

          “U.S. Person”: A beneficial owner of a Security that is, for U.S. federal income tax purposes, a
 citizen or individual resident of the United States of America, an entity treated for United States federal
 income tax purposes as a corporation or a partnership created or organized in or under the laws of the
 United States of America or any state thereof or the District of Columbia, an estate the income of which is
 includable in gross income for U.S. federal income tax purposes regardless of its source, or a trust if, in
 general, a court within the United States of America is able to exercise primary supervision over its



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 administration and one or more U.S. Persons have the authority to control all substantial decisions of such
 trust, and certain eligible trusts that have elected to be treated as U.S. Persons.

         “Valuation Report”: The meaning specified in Section 10.6(b).

         “Warehouse Agreement”: The Master Participation and Warehousing Agreement, dated as of
 June 21, 2006, by and among the Issuer, the Servicer, HFP, Highland CDO Opportunities Master Fund,
 L.P., Highland Special Opportunities Holding Company and Bank of America, N.A.

       “Warehoused Loans”: Loans acquired by the Issuer before the Closing Date pursuant to the
 Warehouse Agreement.

         “Weighted Average Fixed Rate Coupon”: As of any Measurement Date, the rate obtained by

          (a)      multiplying the Principal Balance of each Collateral Obligation that is a Fixed Rate
 Obligation held by the Issuer as of the Measurement Date by the current per annum rate at which it pays
 interest (other than, with respect to Collateral Obligations that are not PIK Securities, any interest that is
 not required to be paid in Cash and may be deferred), using only the effective after-tax interest rate
 determined by the Servicer on any Fixed Rate Obligation after taking into account any withholding tax or
 other deductions on account of tax of any jurisdiction and any gross-up paid by the obligor),

         (b)      summing the amounts determined pursuant to clause (a),

        (c)     dividing the sum by the Aggregate Principal Balance of all Collateral Obligations that are
 Fixed Rate Obligations held by the Issuer as of the Measurement Date, and

          (d)    if the result obtained in clause (c) is less than the minimum percentage rate specified to
 satisfy the Weighted Average Fixed Rate Coupon Test, adding to the sum the amount of any Spread
 Excess as of the Measurement Date, but only to the extent required to satisfy the Weighted Average Fixed
 Rate Coupon Test.

         “Weighted Average Fixed Rate Coupon Test”: A test that is satisfied if, as of any Measurement
 Date, the Weighted Average Fixed Rate Coupon equals or exceeds 7.5%.

         “Weighted Average Life”: As of any Measurement Date, the number obtained by

         (a)      summing the products obtained by multiplying

                   (i)    the Average Life at that time of each Collateral Obligation by

                  (ii)    the Principal Balance at that time of the Collateral Obligation and

         (b)      dividing that sum by the Aggregate Principal Balance at that time of all Collateral
 Obligations.

          “Weighted Average Life Test”: A test that is satisfied as of any Measurement Date if the
 Weighted Average Life on that date of all Collateral Obligations is equal to or less than the greater of
 (a) the number of years (including any fraction of a year) between such Measurement Date and May 1,
 2016 or, in the case of a Maturity Extension, the Extended Weighted Average Life Date and (b) 2.4 years.

         “Weighted Average Moody’s Rating Factor”: The summation of the products obtained by
 multiplying the Principal Balance of each Collateral Obligation (excluding Eligible Investments) by its


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 respective Moody’s Rating Factor, dividing that sum by the Aggregate Principal Balance of all Collateral
 Obligations (excluding Eligible Investments) and rounding the result up to the nearest whole number.

          “Weighted Average Moody’s Recovery Rate Test”: A test that is satisfied as of any Measurement
 Date if the Moody’s Minimum Average Recovery Rate is greater than or equal to 43.88%.

        “Weighted Average Rating Factor Test”: A test that is satisfied as of any Measurement Date if
 the Weighted Average Moody’s Rating Factor of the Collateral Obligations (excluding Eligible
 Investments) as of such Measurement Date is less than or equal to the Maximum Weighted Average
 Moody’s Rating Factor.

          “Weighted Average S&P Recovery Rate Test”: A test that is satisfied as of any Measurement
 Date if the S&P Minimum Average Recovery Rate is greater than or equal to 52.44%.

         “Weighted Average Spread”: As of any Measurement Date, a rate obtained by:

         (a)      multiplying the Principal Balance of each Collateral Obligation that is a Floating Rate
 Obligation held by the Issuer as of the Measurement Date by the current per annum contract spread at
 which it pays interest (which (i) for PIK Securities for which interest has been deferred or capitalized, will
 be deemed to be zero and (ii) for Collateral Obligations that would be PIK Securities but for the proviso
 in the definition thereof, will be deemed to be equal to the effective rate of PIK Cash-Pay Interest
 applicable thereto), determined with respect to any Floating Rate Obligation that does not bear interest
 based on a London interbank offered rate, by expressing the current interest rate on the Floating Rate
 Obligation as a spread above a three month London interbank offered rate calculated in a manner
 consistent with the calculation of LIBOR,

         (b)      summing the amounts determined pursuant to clause (a),

         (c)      dividing that sum by the Aggregate Principal Balance of all Floating Rate Obligations
 held by the Issuer as of the Measurement Date, and

         (d)    if the result obtained in clause (c) is less than the minimum percentage rate specified to
 pass the Weighted Average Spread Test, adding to that sum the amount of Fixed Rate Excess as of the
 Measurement Date.

         For purposes of calculating the Weighted Average Spread, the Principal Balance of each
 Collateral Obligation that is a Revolving Loan or Delayed Drawdown Loan shall not include any of its
 unfunded amount.

        “Weighted Average Spread Test”: A test that is satisfied as of any Measurement Date if the
 Weighted Average Spread as of the Measurement Date equals or exceeds the Minimum Weighted
 Average Spread.

         “Workout Assets”: A Loan, High-Yield Bond, or Qualified Equity Security acquired in
 connection with the workout or restructuring of any Collateral Obligation that the Issuer does not advance
 any funds to purchase that does not qualify as a Collateral Obligation.

         “Written-Down Obligation”: As of any date of determination, any Structured Finance Obligation
 as to which the Issuer or the Servicer, on behalf of the Issuer, has been notified by the issuer of the
 Structured Finance Obligation that the Aggregate Principal Balance of the Structured Finance Obligation
 and all other Structured Finance Obligations secured by the same pool of collateral that rank pari passu



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 with or senior in priority of payment to the Structured Finance Obligation exceeds the aggregate principal
 balance (including reserved interest or other amounts available for overcollateralization) of all collateral
 securing the Structured Finance Obligation and such other pari passu and senior Structured Finance
 Obligations (excluding defaulted collateral).

       “Zero-Coupon Security”: A security that, at the time of determination, does not make periodic
 payments of interest. A Zero-Coupon Security shall not include a security that is a PIK Security.

         Section 1.2.     Assumptions as to Pledged Obligations; Construction Conventions.

          This Section 1.2 shall be applied in connection with all calculations required to be made pursuant
 to this Indenture:

         (a)    with respect to the scheduled payment of principal or interest on any Pledged Obligation,
 or any payments on any other assets included in the Collateral,

         (b)      with respect to the sale of and acquisition of Collateral Obligations,

          (c)    with respect to the income that can be earned on the scheduled payment of principal or
 interest on the Pledged Obligations and on any other amounts that may be received for deposit in the
 Collection Account, and

        (d)    with respect to the treatment of Collateral Obligations loaned pursuant to a Securities
 Lending Agreement.

        The provisions of this Section 1.2 shall be applicable to any determination or calculation that is
 covered by this Section 1.2, whether or not reference is specifically made to Section 1.2, unless some
 other method of calculation or determination is expressly specified in the particular provision.

                  (i)     All calculations with respect to the scheduled payment of principal or interest on
         the Pledged Obligations shall be made on the basis of information as to the terms of each Pledged
         Obligation and on reports of payments received on the Pledged Obligation that are furnished by
         or on behalf of the issuer of the Pledged Obligation and, to the extent they are not manifestly in
         error, the information or report may be conclusively relied on in making the calculations.

                 (ii)     For each Due Period and as of any Measurement Date, the scheduled payment of
         principal or interest on any Pledged Obligation shall be the sum of

                          (A)     the total amount of payments and collections reasonably expected to be
                  received during the Due Period in respect of the Pledged Obligation that, if paid as
                  scheduled, will be available for payment on the Notes and of certain expenses of the
                  Issuer and the Co-Issuer in the Collection Account at the end of the Due Period; and

                          (B)     any such amounts received in prior Due Periods that were not disbursed
                  on a previous Payment Date.

        Except as provided in paragraph (j) below, a Non-Performing Collateral Obligation shall be
 assumed to have a scheduled payment of principal and interest of zero.

        The total amount of payments and collections reasonably expected to be received includes the
 proceeds of the sale of the Pledged Obligation received and, in the case of sales which have not yet



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 settled, to be received during the Due Period and not used to purchase additional Collateral Obligations
 (including any related deposit into the Revolving Reserve Account or the Delayed Drawdown Reserve
 Account or the posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic Security
 Counterparty, Securities Lending Counterparty, or Hedge Counterparty simultaneously with the Issuer’s
 purchase of or entry into a Synthetic Security, Securities Lending Agreement, or Hedge Agreement) or
 Eligible Investments or retained in the Collection Account for subsequent application thereof to purchase
 additional Collateral Obligations pursuant to Section 12.2.

         (e)      For purposes of the applicable determinations required by Article 12 and the definition of
 “Interest Coverage Ratio,” the expected interest on Collateral Obligations shall be calculated using their
 then current interest rates.

         (f)     With respect to any Collateral Obligation, the date on which it “matures” (or its
 “maturity” date) shall be the earlier of

                  (i)    the stated maturity of the obligation or

                 (ii)     if the Issuer has the right to require the issuer or obligor of the Collateral
         Obligation to purchase, redeem, or retire the Collateral Obligation at a price of at least par on any
         one or more dates before its Stated Maturity (a “put right”) and the Servicer certifies to the
         Trustee that it will cause the Issuer to direct the Trustee to exercise the put right on a date, the
         maturity date shall be the date specified in the certification.

         (g)      For purposes of calculating compliance with the Collateral Quality Tests (other than the
 Diversity Test and the S&P Industry Classification with respect to the S&P CDO Monitor Test), the
 Coverage Tests, and the Retention Overcollateralization Test and all related definitions, unless otherwise
 specified in this Indenture a Synthetic Security shall be included as a Collateral Obligation having the
 characteristics of the Synthetic Security and not of the Reference Obligation. For purposes of calculating
 compliance with the Concentration Limits other than limits relating to payment characteristics, and all
 related definitions, unless otherwise specified in this Indenture or by the Rating Agencies, a Synthetic
 Security shall be included as a Collateral Obligation having the characteristics of its Reference
 Obligations and not the Synthetic Security. For purposes of calculating compliance with the
 Concentration Limits relating to payment characteristics, and all related definitions, unless otherwise
 specified in this Indenture or by the Rating Agencies, a Synthetic Security shall be included as a
 Collateral Obligation having the characteristics of the Synthetic Security and not its Reference
 Obligations.

         (h)      Any Collateral Obligation loaned to a Securities Lending Counterparty shall be included
 in the Collateral Quality Tests, the Coverage Tests, and the Retention Overcollateralization Test and the
 Principal Balance of any Collateral Obligation loaned to a Securities Lending Counterparty shall be
 included in the Aggregate Principal Balance of Collateral Obligations, in each case unless an “event of
 default” (under and as defined in the related Securities Lending Agreement) is continuing.

         (i)      If a Class of Notes ceases to be Outstanding, then any Coverage Test computed by
 reference to the Class of Notes (but not to any subordinate Class of Notes then Outstanding) shall cease to
 be of any force.

        (j)     For purposes of calculating compliance with the Eligibility Criteria (other than the
 Weighted Average Life Test), at the direction of the Servicer by notice to the Trustee, during the
 Replacement Period any Eligible Investment representing Principal Proceeds received upon the maturity,
 redemption, sale, or other disposition of a Collateral Obligation (or, after the Replacement Period, in



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 respect of Principal Proceeds constituting Unscheduled Principal Payments and Sale Proceeds from Credit
 Risk Obligations and Credit Improved Obligations) shall be deemed to have the characteristics of the
 disposed Collateral Obligation until used to purchase an additional Collateral Obligation. The
 calculations shall be based on the Principal Balance of the disposed Collateral Obligations except in the
 case of Defaulted Collateral Obligations and Credit Risk Securities, in which case the calculations will be
 based on the Principal Proceeds received on the disposition or sale of the Defaulted Collateral Obligation
 or Credit Risk Obligation.

           (k)      The calculation on any Coverage Test on any Determination Date shall be made by
 giving effect to all payments to be made pursuant to all subclauses of the Priority of Payments as
 applicable, payable on the Payment Date following such Determination Date. In addition no Principal
 Proceeds will be used to pay a subordinated Class on a Payment Date if, after giving effect to such
 payment, any Coverage Test of a more senior Class of Notes is failing on such Payment Date or would
 fail as a result of such application of the Principal Proceeds on such Payment Date.

         Section 1.3.     Rules of Interpretation.

         Except as otherwise expressly provided in this Indenture or unless the context clearly requires
 otherwise:

         (a)      Defined terms include, as appropriate, all genders and the plural as well as the singular.

          (b)     References to designated articles, sections, subsections, exhibits, and other subdivisions
 of this Indenture, such as “Section 6.13 (a),” refer to the designated article, section, subsection, exhibit, or
 other subdivision of this Indenture as a whole and to all subdivisions of the designated article, section,
 subsection, exhibit, or other subdivision. The words “herein,” “hereof,” “hereto,” “hereunder,” and other
 words of similar import refer to this Indenture as a whole and not to any particular article, section, exhibit,
 or other subdivision of this Indenture.

          (c)     Any term that relates to a document or a statute, rule, or regulation includes any
 amendments, modifications, supplements, or any other changes that may have occurred since the
 document, statute, rule, or regulation came into being, including changes that occur after the date of this
 Indenture. References to law are not limited to statutes. Any reference to any Person includes references
 to its successors and assigns.

         (d)      Any party may execute any of the requirements under this Indenture either directly or
 through others, and the right to cause something to be done rather than doing it directly shall be implicit
 in every requirement under this Indenture. Unless a provision is restricted as to time or limited as to
 frequency, all provisions under this Indenture are implicitly available and things may happen from time to
 time.

         (e)     The term “including” and all its variations mean “including but not limited to.” Except
 when used in conjunction with the word “either,” the word “or” is always used inclusively (for example,
 the phrase “A or B” means “A or B or both,” not “either A or B but not both”).

         (f)      A reference to “a thing” or “any of a thing” does not imply the existence or occurrence of
 the thing referred to even though not followed by “if any,” and “any of a thing” is any and all of it. A
 reference to the plural of anything as to which there could be either one or more than one does not imply
 the existence of more than one (for instance, the phrase “the obligors on a note” means “the obligor or
 obligors on a note”). “Until something occurs” does not imply that it must occur, and will not be
 modified by the word “unless.” The word “due” and the word “payable” are each used in the sense that



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 the stated time for payment has passed. The word “accrued” is used in its accounting sense, i.e., an
 amount paid is no longer accrued. In the calculation of amounts of things, differences and sums may
 generally result in negative numbers, but when the calculation of the excess of one thing over another
 results in zero or a negative number, the calculation is disregarded and an “excess” does not exist.
 Portions of things may be expressed as fractions or percentages interchangeably. The word “shall” is
 used in its imperative sense, as for instance meaning a party agrees to something or something must occur
 or exist.

         (g)     All accounting terms used in an accounting context and not otherwise defined, and
 accounting terms partly defined in this Indenture, to the extent not completely defined, shall be construed
 in accordance with generally accepted accounting principles. To the extent that the definitions of
 accounting terms in this Indenture are inconsistent with their meanings under generally accepted
 accounting principles, the definitions contained in this Indenture shall control.

         (h)     In the computation of a period of time from a specified date to a later specified date or an
 open-ended period, the words “from” and “beginning” mean “from and including,” the word “after”
 means “from but excluding,” the words “to” and “until” mean “to but excluding,” and the word “through”
 means “to and including.” Likewise, in setting deadlines or other periods, “by” means “on or before.” The
 words “preceding,” “following,” “before,” “after,” “next,” and words of similar import, mean
 immediately preceding or following. References to a month or a year refer to calendar months and
 calendar years.

         (i)      Any reference to the enforceability of any agreement against a party means that it is
 enforceable against the party in accordance with its terms, subject to applicable bankruptcy, insolvency,
 reorganization, and other similar laws of general applicability relating to or affecting creditors’ rights and
 to general equity principles.

          (j)     Except when only the registered holder is recognized, such as in Section 2.9, references
 to Noteholders, holders, and the like refer equally to beneficial owners who have an interest in a Note but
 are not reflected in the Indenture Register as the owner.

                                                ARTICLE II.

                                                 THE NOTES

         Section 2.1.     Forms Generally.

         The Notes and the Trustee’s or Authenticating Agent’s certificate of authentication on them (the
 “Certificate of Authentication”) shall be in substantially the forms required by this Article, with
 appropriate insertions, omissions, substitutions, and other variations required or permitted by this
 Indenture, and may have any letters, numbers, or other marks of identification and any legends or
 endorsements on them that are consistent with this Indenture, as determined by the Authorized Officers of
 the Issuer executing the Notes as evidenced by their execution of the Notes.

         Section 2.2.     Forms of Notes and Certificate of Authentication.

         (a)      The Senior Notes, including the Regulation S Global Notes, Rule 144A Global Notes and
 Certificate of Authentication, shall be in the forms as attached in Exhibit A.

        (b)     Regulation S Global Notes. The Senior Notes of each Class (other than the Class A-1B
 Notes during the Delayed Drawdown Period only) sold to non-U.S. persons in off-shore transactions in



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 reliance on Regulation S shall each be represented by one or more global notes in definitive, fully
 registered form without interest coupons substantially in the form of the applicable portion of Exhibit A-
 1, including legends (the “Regulation S Global Notes”). The global notes shall be deposited on behalf of
 the subscribers for the Senior Notes represented thereby with the Trustee as custodian for, and registered
 in the name of a nominee of, the Depository for the respective accounts of Euroclear and Clearstream,
 duly executed by the Applicable Issuers and authenticated by the Trustee as hereinafter provided. The
 aggregate principal amount of the Regulation S Global Notes may from time to time be increased or
 decreased by adjustments made on the records of the Trustee or the Depository or its nominee, as the case
 may be, as hereinafter provided. As used above and in Section 2.2(c), “U.S. person” and “off-shore
 transaction” have the meanings assigned to them in Regulation S.

          (c)    Rule 144A Global Notes. The Senior Notes of each Class (other than the Class A-1B
 Notes during the Delayed Drawdown Period only) initially sold to U.S. persons that are Qualified
 Institutional Buyers and Qualified Purchasers shall each be issued initially in the form of one permanent
 global note per Class in definitive, fully registered form without interest coupons substantially in the form
 of the applicable portion of Exhibit A-1, including legends (each, a “Rule 144A Global Note”), which
 shall be deposited on behalf of the subscribers for the Senior Notes represented thereby with the Trustee
 as custodian for, and registered in the name of a nominee of, the Depository, duly executed by the
 Applicable Issuers and authenticated by the Trustee as hereinafter provided. The aggregate principal
 amount of the Rule 144A Global Notes may from time to time be increased or decreased by adjustments
 made on the records of the Trustee or the Depository or its nominee, as the case may be, as hereinafter
 provided.

         (d)      Book-Entry Provisions. This Section 2.2(d) shall apply only to Global Notes deposited
 with or on behalf of the Depository. The “Operating Procedures of the Euroclear System” of Euroclear
 and the “Terms and Conditions Governing Use of Participants” of Clearstream, respectively, shall be
 applicable to the Regulation S Global Notes insofar as interests in the Global Notes are held by the Agent
 Members of Euroclear or Clearstream, as the case may be.

          Agent Members shall have no rights under this Indenture with respect to any Global Note held on
 their behalf by the Trustee, as custodian for the Depository and the Depository may be treated by the Co-
 Issuers, the Trustee, and any agent of the Co-Issuers or the Trustee as the absolute owner of the Global
 Note for all purposes whatsoever. Notwithstanding the foregoing, nothing in this Indenture shall prevent
 the Co-Issuers, the Trustee, or any agent of the Co-Issuers or the Trustee, from giving effect to any
 written certification, proxy, or other authorization furnished by the Depository or impair, as between the
 Depository and its Agent Members, the operation of customary practices governing the exercise of the
 rights of a Holder of any Global Note.

          (e)      The Class D Notes shall be sold only to persons that are (i) Institutional Accredited
 Investors or (ii) Qualified Institutional Buyers and that are both Qualified Purchasers and shall be issued
 in the form of one or more certificated Class D Notes in definitive, fully registered form without interest
 coupons substantially in the form of Exhibit A-3, including legends (each, a “Certificated Class D
 Note”), which shall be registered in the name of the owner thereof.

          (f)     During the Delayed Drawdown Period, the Class A-1B Notes will be issued in the form
 of definitive, physical certificates in fully-registered form without interest coupons attached substantially
 in the form of Exhibit A-2, including legends (each, a “Certificated Class A-1B Note”) which shall be
 registered in the name of the owner thereof. Following the Delayed Drawdown Period, Certificated Class
 A-1B Notes held by Qualified Institutional Buyers that are also Qualified Purchasers may be exchanged
 by their Holder for a beneficial interest in a Rule 144A Global Note. Following the Delayed Drawdown




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    Period, Certificated Class A-1B Notes held by non-U.S. Persons may be exchanged for a beneficial
    interest in a Regulation S Global Note.

             Section 2.3.      Authorized Amount; Denominations.

             (a)      The aggregate principal amount of Notes that may be authenticated and delivered under
    this Indenture is limited to U.S.$628,600,000, except for Notes authenticated and delivered upon
    registration of, transfer of, or in exchange for, or in lieu of, other Notes pursuant to Section 2.6, 2.7, or
    8.5.

            (b)    The Notes shall be divided into the following Classes, having the designations, original
    principal amounts and other characteristics as follows:

     Class             A-1A            A-1B             A-2              B                C                D
Original
Principal
Amount*           U.S.$388,700,000 U.S.$75,000,000 U.S.$51,500,000 U.S.$68,600,000 U.S.$23,800,000 U.S.$21,000,000
Interest Rate**   LIBOR + 0.27% LIBOR + 0.27% LIBOR + 0.38% LIBOR + 0.82% LIBOR + 1.60% LIBOR + 3.75%
Initial Rating
(Moody’s/S&P)        Aaa/AAA         Aaa/AAA         Aaa/AAA            A2/A          Baa2/BBB          Ba2/BB

    *        The original principal amount shown above in respect of the Class A–1B Notes is the Fully
             Drawn Amount for such Class. Except as otherwise provided, for purposes of this Indenture,
             references to the principal of Class A-1B Notes shall mean the Drawn Amount thereof from time
             to time.
    **       The Class A-1B Notes also will be entitled to the Delayed Drawdown Fee on the Aggregate
             Undrawn Amount of Class A-1B Notes.

             (c)     The Rule 144A Global Notes will be issued in minimum denominations of U.S.$250,000
    and integral multiples of U.S.$1,000 in excess thereof for each Class of Senior Notes. The Regulation S
    Global Notes will be issued in minimum denominations of U.S.$100,000 and integral multiples of
    U.S.$1,000 in excess thereof for each Class of Senior Notes. The Certificated Class A-1B Notes will be
    issued in minimum denominations of U.S.$250,000 and integral multiples of U.S.$1,000 in excess
    thereof. The Certificated Class D Notes will be issued in minimum denominations of U.S.$250,000 and
    integral multiples of U.S.$1,000 in excess thereof.

             The Issuer will also issue 34,400 Class I Preference Shares and 37,000 Class II Preference Shares
    pursuant to the Preference Share Documents, simultaneously with the issuance of the Notes under this
    Indenture. At any time during the Replacement Period, the Issuer may issue and sell additional
    Preference Shares and use the proceeds from such issuance and sale to purchase additional Collateral
    Obligations or as otherwise permitted under the Preference Share Documents and this Indenture pursuant
    to Section 6 of the Preference Shares Paying Agency Agreement. The Preference Shares are not secured
    by the lien of this Indenture. Any payments made by the Trustee hereunder with respect to the Preference
    Shares (other than, as and to the extent described herein, the Class II Preference Share Special Payments)
    will be released by the Trustee to the Preference Shares Paying Agent on each Payment Date in
    accordance with the Priority of Payments for deposit into the Preference Shares Distribution Account for
    payment, subject to Cayman Islands law, to Holders of the Preference Shares as dividends or Redemption
    Price, as applicable.




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         Section 2.4.     Extension of Replacement Period and Stated Maturity.

          (a)      The Issuer, if directed by the Servicer, shall be entitled on each Extension Effective Date
 to extend the Replacement Period to the applicable Extended Replacement Period End Date up to a
 maximum of four times if (i) in the case of an Extension Effective Date occurring after the first Extension
 Effective Date, the Issuer has previously effected a Maturity Extension for each preceding Extension
 Effective Date in accordance with this Section 2.4 and (ii) the Extension Conditions set forth in Section
 2.4(c) are satisfied and the Issuer has given written notice of its election to extend the Replacement Period
 to the Trustee no later than 60 days and no earlier than 90 days prior to such Extension Effective Date. If
 the Extension Conditions are satisfied, the Stated Maturity of the Notes shall be automatically extended to
 the related Extended Stated Maturity Date and the Weighted Average Life Test shall be automatically
 extended to the related Extended Weighted Average Life Date, without any requirement for approval or
 consent of any Holders of Notes or Preference Shares or amendment or supplement to this Indenture or
 the Preference Share Documents (the “Maturity Extension”); provided that the Issuer will not be
 permitted to effect more than four Maturity Extensions.

         (b)      In the case of a Maturity Extension, any Holder of Securities wishing to sell such
 Securities to an Extension Qualifying Purchaser pursuant to the Extension Conditions must provide the
 applicable Extension Sale Notice within the Extension Sale Notice Period pursuant to Section 2.4(d)
 (such Securities (or the related Holding Preference Shares, as applicable) as to which an Extension Sale
 Notice has been duly given, “Extension Sale Securities”). Notwithstanding anything to the contrary
 herein, each Holder providing an Extension Sale Notice shall be deemed to agree that no Extension Sale
 Securities of any Holder shall be purchased unless all Extension Sale Securities of all Holders are
 purchased and settled at the applicable Extension Purchase Price on the applicable Extension Effective
 Date and the other Extension Conditions are satisfied as of such date.

        (c)    The Maturity Extension shall be effective only if the following conditions (the
 “Extension Conditions”) are satisfied:

                 (i)    the purchase of all Extension Sale Securities has been settled by the designated
         Extension Qualifying Purchasers at the applicable Extension Purchase Price as of the applicable
         Extension Effective Date;

                  (ii)     all such purchases of Extension Sale Securities individually and in the aggregate
         comply with the applicable transfer restrictions in this Indenture, the Preference Share Documents
         and the Holding Preference Share Documents immediately after such purchase and the legends on
         such Extension Sale Securities and all applicable law, rules and regulations (including, without
         limitation, rules, regulations and procedures of any applicable securities exchange, self-regulatory
         organization or clearing agency);

                (iii)   (A) the Rating Condition has been satisfied with respect to S&P (so long as any
         Notes are then rated by S&P) and (B) the Rating Condition has been satisfied with respect to
         Moody’s (so long as any Notes are then rated by Moody’s);

                  (iv)    the Issuer has not effected more than three prior Extensions; and

                 (v)     such extension is not effected for the primary purpose of decreasing losses or
         recognizing gains resulting from market value changes.

        The Issuer, the Trustee and, by its acceptance of the Notes, each Noteholder agrees that the
 Placement Agent shall not be responsible for causing the Extension Conditions to be satisfied and shall



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 not be liable to any such Person or Noteholders (whether or not such Holder gave an Extension Sale
 Notice with respect to its Notes) or to any other Person if the Extension Conditions are not satisfied.
 Failure of the Extension Conditions to be satisfied shall not constitute a Default or Event of Default under
 this Indenture.

         (d)      Extension Procedure.

                 (i)     Not later than three Business Days following receipt by the Trustee of the notice
         given by the Issuer of its election to extend the Replacement Period (the “Extension Notice”), the
         Trustee shall mail the Extension Notice to all Noteholders, the Preference Shares Paying Agent
         (for forwarding to the Holders of the Preference Shares), the Holding Preference Shares Paying
         Agent (for forwarding to the Holders of the Holding Preference Shares) and each Rating Agency
         (so long as any rated Notes are Outstanding), in the form of Exhibit E, and shall request the
         Rating Confirmation for the Maturity Extension from each Rating Agency, if applicable;

                 (ii)     Any Holder of the Securities may deliver an irrevocable notice (an “Extension
         Sale Notice”) to the Issuer and the Trustee within 30 days after the Trustee has mailed the
         Extension Notice (the “Extension Sale Notice Period”) of its intention to sell all or a portion of
         its Securities or, with respect to Investors Corp., in its capacity as a Holder of the Class I
         Preference Shares, all or a portion of Holding Preference Shares, as the case may be, to an
         Extension Qualifying Purchaser in the case of a Maturity Extension. Any Extension Sale Notice
         received by the Trustee after the Extension Sale Notice Period shall be disregarded and deemed
         not to have been given. No Holder of the Securities that has not delivered such an Extension Sale
         Notice within the Extension Sale Notice Period shall be entitled to sell its Securities or Holding
         Preference Shares, as applicable, to an Extension Qualifying Purchaser in connection with the
         Maturity Extension; and

                  (iii)   If clause (c)(iii)(A) of the Extension Conditions is not satisfied as of the
         applicable Extension Determination Date as determined by the Issuer (or its agent), the Trustee
         shall request the Rating Condition to be satisfied with respect to Moody’s.

          (e)     On the applicable Extension Determination Date, the Issuer (or its agent) shall confirm
 (i) whether or not Extension Qualifying Purchasers for all Extension Sale Securities have been designated
 to purchase such Extension Sale Securities in compliance with all transfer restrictions in this Indenture
 (and in the case of the Class A-1B Notes, the Class A-1B Note Purchase Agreement), the Preference
 Share Documents and the Holding Preference Share Documents and the legends on such Extension Sale
 Securities and all applicable laws, rules and regulations (including, without limitation, any rules,
 regulations and procedures of any securities exchange, self-regulatory organization or clearing agency),
 (ii) whether the requirements of clause (c)(iii) of the Extension Conditions are satisfied as of the
 applicable Extension Determination Date and (iii) whether all other Extension Conditions can be satisfied
 as of the applicable Extension Effective Date.

         (f)      On each Extension Effective Date, the Maturity Extension shall automatically become
 effective under the terms of this Indenture; provided that all Extension Conditions set forth in clauses (a)
 and (c) above are satisfied (as certified to the Trustee by a certificate of an Authorized Officer of the
 Issuer). No later than two Business Days after each Extension Effective Date, the Trustee based on a
 determination made by the Issuer in consultation with the Servicer, at the expense of the Co-Issuers, shall
 mail a notice to all Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of
 Preference Shares), the Servicer, the Placement Agent, each Rating Agency (so long as any rated Notes
 are Outstanding) and the Irish Stock Exchange (if and for so long as any Class of Senior Notes is listed
 thereon) confirming whether or not the Maturity Extension became effective. If the Maturity Extension


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 became effective, the Issuer shall make any required notifications thereof to the Depository for any Notes
 subject to the Maturity Extension.

         (g)      In the case of a Maturity Extension, each Noteholder, other than a Holder of Extension
 Sale Securities, shall be entitled to receive an amount equal to the applicable Extension Bonus Payment.
 Holders of Preference Shares shall not be entitled to receive any Extension Bonus Payment.

         The Extension Bonus Payment shall be payable to any applicable qualifying beneficial owners
 who have provided the Trustee with an Extension Bonus Eligibility Certification on the first Payment
 Date from and including each Extension Effective Date on which funds are available to be used for such
 purposes in accordance with Priority of Payments, but in any event, no later than the earlier of the Stated
 Maturity and the date of redemption of the Notes. Extension Bonus Payments which are not available to
 be paid on a Payment Date in accordance with the Priority of Payments on a Payment Date shall not be
 considered “due and payable” hereunder. The failure to pay any such Extension Bonus Payment on such
 date shall not be an Event of Default, unless the Issuer shall fail to pay in full such Extension Bonus
 Payment on the earlier of the Stated Maturity and the date of redemption in full of the relevant Securities.
 Unpaid Extension Bonus Payments shall not accrue interest.

           (h)    If any Holder of Class II Preference Shares delivers an Extension Sale Notice notifying
 the Issuer and the Trustee of its intention to sell all or a portion of its Class II Preference Shares, (i) such
 Holder will sell such Class II Preference Shares to Investors Corp. and such Preference Shares will be
 cancelled and an equivalent number of Class I Preference Shares shall be issued to Investors Corp., (ii)
 Investors Corp. will issue additional Holding Preference Shares in a number equal to the aggregate
 number of, and at a price equal to the price of, such redesignated Preference Shares purchased by it and
 (iii) the Extension Qualifying Purchaser will purchase such additional Holding Preference Shares in lieu
 of such redesignated Preference Shares.

         Section 2.5.     Execution, Authentication, Delivery, and Dating.

        The Notes shall be executed on behalf of each of the Applicable Issuers by one of their respective
 Authorized Officers. The signature of the Authorized Officer on the Notes may be manual or facsimile.

         Notes bearing the manual or facsimile signatures of individuals who were at any time the
 Authorized Officers of the Issuer or the Co-Issuer, as applicable, shall bind the Issuer and the Co-Issuer,
 notwithstanding that any of them have ceased to hold their offices before the authentication and delivery
 of the Notes or did not hold their offices at the date of issuance of the Notes.

         At any time and from time to time after the execution and delivery of this Indenture, the Co-
 Issuers may deliver the Senior Notes and the Issuer may deliver the Class D Notes, in each case executed
 by the Applicable Issuers to the Trustee or the Authenticating Agent for authentication and the Trustee or
 the Authenticating Agent, upon Issuer Order, shall authenticate and deliver the Notes as provided in this
 Indenture and not otherwise.

         Each Note authenticated and delivered by the Trustee or the Authenticating Agent upon Issuer
 Order on the Closing Date shall be dated as of the Closing Date. All other Notes that are authenticated
 after the Closing Date for any other purpose under this Indenture shall be dated the date of their
 authentication.

        Notes issued upon transfer, exchange, or replacement of other Notes shall be issued in authorized
 denominations reflecting the original Aggregate Outstanding Amount of the Notes so transferred,
 exchanged, or replaced, but shall represent only the current outstanding principal amount of the Notes so



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 transferred, exchanged, or replaced. If any Note is divided into more than one Note in accordance with
 this Article 2, the original principal amount of the Note shall be proportionately divided among the Notes
 delivered in exchange for it and shall be the original aggregate principal amount of the subsequently
 issued Notes.

         No Note shall be entitled to any benefit under this Indenture or be valid or obligatory for any
 purpose, unless there appears on the Note a Certificate of Authentication executed by the Trustee or by
 the Authenticating Agent by the manual signature of one of their Authorized Officers, and that certificate
 on any Note shall be conclusive evidence, and the only evidence, that the Note has been duly
 authenticated and delivered under this Indenture.

         Section 2.6.     Registration, Registration of Transfer and Exchange.

          (a)     The Issuer shall cause a register (the “Indenture Register”) to be kept in which the Issuer
 shall provide for the registration of Notes and the registration of transfers of Notes. The Trustee is hereby
 initially appointed Indenture Registrar for the purpose of registering Notes and transfers of the Notes as
 provided in this Indenture. The Issuer may rely conclusively on any such information provided to it by
 the Trustee. Upon any resignation or removal of the Indenture Registrar, the Issuer shall promptly
 appoint a successor and notify the Servicer of the appointment or, in the absence of such appointment,
 assume the duties of Indenture Registrar.

           If the Issuer appoints a Person other than the Trustee to be Indenture Registrar, the Issuer will
 give the Trustee prompt written notice of the appointment of the Indenture Registrar and of the location,
 and any change in the location, of the Indenture Register. The Trustee may inspect the Indenture Register
 at all reasonable times and obtain copies of it. The Trustee may rely on a certificate executed on behalf of
 the Indenture Registrar by an Officer of the Indenture Registrar as to the names and addresses of the
 Noteholders and the principal amounts and number of the Notes.

         Upon surrender for registration of transfer of any Notes at the office or agency of the Applicable
 Issuers to be maintained pursuant to Section 7.2, if the requirements of this Indenture are met the
 Applicable Issuers shall execute, and the Trustee shall authenticate and deliver, in the name of the
 designated transferees, new Notes of any authorized denomination and of a like original Aggregate
 Outstanding Amount.

          At the option of their Holder, Notes may be exchanged for Notes of like terms, in any authorized
 denominations and of like aggregate principal amount, upon surrender of the Notes to be exchanged at the
 office or agency of the Applicable Issuers to be maintained pursuant to Section 7.2. Whenever any Note
 is surrendered for exchange, the Applicable Issuers shall execute, and the Trustee shall authenticate and
 deliver, the Notes that the Noteholder making the exchange is entitled to receive.

         All Notes issued on any registration of transfer or exchange of Notes shall be the valid obligations
 of the Applicable Issuers evidencing the same obligations and entitled to the same benefits under this
 Indenture as the Notes surrendered for registration of transfer or exchange.

         Every Note presented or surrendered for registration of transfer or exchange shall be duly
 endorsed, or be accompanied by a written instrument of transfer in form satisfactory to the Indenture
 Registrar duly executed by its holder or his attorney duly authorized in writing.

         No Holder shall incur a service charge for any registration of transfer or exchange of the Notes,
 but the Trustee may require payment of a sum sufficient to cover any tax or other governmental charge
 payable in connection therewith.



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          (b)     No Note may be sold or transferred (including by pledge or hypothecation) unless the
 sale or transfer is exempt from the registration requirements of the Securities Act, is exempt from the
 registration requirements under applicable state securities laws, and will not cause either of the Co-Issuers
 to become subject to the requirement that it register as an investment company under the Investment
 Company Act. None of the Co-Issuers, the Trustee or any other Person shall have any obligation to
 register the Notes under the Securities Act or any state securities laws.

          (c)    No Note or interest therein may be transferred to any purchaser or transferee unless such
 purchase, holding and disposition of such Note will not constitute or result in a non-exempt prohibited
 transaction under Section 406 of ERISA or Section 4975 of the Code (or, in the case of a governmental or
 church plan, a violation of any applicable law that is similar to Section 406 of ERISA or Section 4975 of
 the Code).

         (d)     None of the Trustee, the Share Registrar or the Indenture Registrar shall be responsible
 for ascertaining whether any transfer complies with, or for otherwise monitoring or determining
 compliance with, the requirements or terms of the Securities Act, applicable state securities laws, ERISA,
 the Code or the Investment Company Act; except that if a certificate or any other document is specifically
 required by this Section 2.6 to be provided to the Trustee or such Registrar by a prospective transferee,
 the Trustee and such Registrar, as applicable, shall be under a duty to receive and examine the same to
 determine whether it conforms substantially on its face to the applicable requirements of this Section 2.6.

          (e)     For so long as any of the Notes are Outstanding, the Issuer shall not issue or register the
 transfer of any Issuer Ordinary Shares to U.S. persons and the Co-Issuer shall not issue or register the
 transfer of any of its shares of the Co-Issuer to U.S. persons. As used in this Section 2.6(e), “U.S. person”
 has the meaning assigned to it in Regulation S.

        (f)       So long as a Global Note remains Outstanding and is held by or on behalf of the
 Depository, transfers of the Global Note, in whole or in part, shall be subject to the restrictions set forth
 elsewhere in this Indenture and the following.

                  (i)     Subject to this Section 2.6(f), transfers of a Global Note shall be limited to
         transfers of the Global Note in whole, but not in part, to nominees of the Depository.

                  (ii)    Regulation S Global Note to Rule 144A Global Note. If the Beneficial Owner of
         an interest in a Regulation S Global Note wishes at any time to transfer its beneficial interest in
         such Regulation S Global Note to a Person who wishes to take delivery thereof in the form of a
         beneficial interest in a Rule 144A Global Note, such holder may, in addition to complying with
         all applicable rules and procedures of the Depository and Clearstream or Euroclear applicable to
         transfers by their respective participants (the “Applicable Procedures”), transfer or cause the
         transfer of such beneficial interest for an equivalent beneficial interest in the Rule 144A Global
         Note only upon compliance with the provisions of this Section 2.6(f)(ii). Upon receipt by the
         Indenture Registrar at its Corporate Trust Office of (A) written instructions given in accordance
         with the Applicable Procedures from a Depository Participant directing the Indenture Registrar to
         credit or cause to be credited to another specified Depository Participant’s account a beneficial
         interest in the Rule 144A Global Note in an amount equal to the denomination of the beneficial
         interest in the Regulation S Global Note to be transferred, (B) a written order given in accordance
         with the Applicable Procedures containing information regarding the account of the Depository
         Participant to be credited with, and the account of the Depository Participant (or, if such account
         is held for Euroclear or Clearstream, the Euroclear or Clearstream account, as the case may be) to
         be debited for such beneficial interest, and (C) with respect to a transfer of a beneficial interest in
         the Regulation S Global Note for a beneficial interest in the related Rule 144A Global Note


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         (1) during the Distribution Compliance Period, certificates in the form of both Exhibit B-1 hereto
         and Exhibit B-2 hereto given by the Beneficial Owner that is transferring such interest, or (2)
         after the Distribution Compliance Period, a certificate in the form of Exhibit B-1 hereto from the
         transferee of such interest, the Indenture Registrar shall instruct the Depository to reduce the
         denomination of the Regulation S Global Note by the denomination of the beneficial interest in
         the Regulation S Global Note to be transferred and, concurrently with such reduction, to increase
         the denomination of the Rule 144A Global Note by the aggregate denomination of the beneficial
         interest in the Regulation S Global Note to be so transferred, and to credit or cause to be credited
         to the account of the Person specified in such instructions (who shall be a Depository Participant
         acting for or on behalf of Euroclear or Clearstream, or both, as the case may be) a beneficial
         interest in the Rule 144A Global Note having a denomination equal to the amount by which the
         denomination of the Regulation S Global Note was reduced upon such transfer.

                  (iii)   Rule 144A Global Note to Regulation S Global Note. If a Beneficial Owner of
         an interest in a Rule 144A Global Note wishes at any time to transfer its beneficial interest in
         such Rule 144A Global Note to a Person who wishes to take delivery thereof in the form of a
         beneficial interest in a Regulation S Global Note, such Beneficial Owner may, in addition to
         complying with all Applicable Procedures, transfer or cause the transfer of such beneficial
         interest for an equivalent beneficial interest in the Regulation S Global Note only upon
         compliance with the provisions of this Section 2.6(f)(iii). Upon receipt by the Indenture Registrar
         at its Corporate Trust Office of (A) written instructions given in accordance with the Applicable
         Procedures from a Depository Participant directing the Indenture Registrar to credit or cause to be
         credited to another specified Depository Participant’s account a beneficial interest in the
         Regulation S Global Note in an amount equal to the denomination of the beneficial interest in the
         Rule 144A Global Note to be transferred, (B) a written order given in accordance with the
         Applicable Procedures containing information regarding the account of the Depository Participant
         (and the Euroclear or Clearstream account, as the case may be) to be credited with, and the
         account of the Depository Participant to be debited for, such beneficial interest, and (C) a
         certificate in the form of Exhibit B-3 hereto, both given by the Beneficial Owner that is
         transferring such interest, the Indenture Registrar shall instruct the Depository to reduce the
         denomination of the Rule 144A Global Note by the denomination of the beneficial interest in the
         Rule 144A Global Note to be so transferred and, concurrently with such reduction, to increase the
         denomination of the Regulation S Global Note by the denomination of the beneficial interest in
         the Rule 144A Global Note to be so transferred, and to credit or cause to be credited to the
         account of the Person specified in such instructions (who shall be a Depository Participant acting
         for or on behalf of Euroclear or Clearstream, or both, as the case may be) a beneficial interest in
         the Regulation S Global Note having a denomination equal to the amount by which the
         denomination of the Rule 144A Global Note was reduced upon such transfer.

                 (iv)     Other Exchanges. If Senior Notes that are Global Notes are exchanged for
         Senior Notes in definitive registered form without interest coupons pursuant to Section 2.11, the
         Senior Notes may be exchanged for one another only in accordance with procedures substantially
         consistent with the provisions above (including certification requirements intended to insure that
         the transfers are made only to Holders who are QIB/QPs or non-U.S. persons, or otherwise
         comply with Regulation S, as the case may be), and as may be from time to time adopted by the
         Co-Issuers and the Trustee.

         (g)     Subject to the restrictions set forth elsewhere in this Indenture, transfers of Class D
 Notes, in whole or in part, shall be subject to the following:




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                  (i)      Transfers of Certificated Class D Notes. Subject to the limitations on transfer set
         forth in this Indenture, Certificated Class D Notes may be exchanged or transferred for another
         Certificated Class D Note by a Noteholder by presenting or surrendering such Certificated Class
         D Notes at the office of the Indenture Registrar, together with an executed instrument of transfer
         and a certificate in the form of Exhibit B-4 hereto executed by the transferee. In exchange for
         any Certificated Class D Note properly presented for transfer with all necessary accompanying
         documentation, the Trustee will, upon execution by the Issuer, authenticate and deliver at the
         Corporate Trust Office or the office of the transfer agent as the case may be, to the transferee or
         send by first-class mail at the risk of the transferee to such address as the transferee may request,
         a Certificated Class D Note, for a like principal amount as may be requested. The presentation
         for transfer of any Certificated Class D Notes will not be valid unless made at the Corporate Trust
         Office or at the office of a transfer agent by the registered Holder in person, or by a duly
         authorized attorney-in-fact. The Holder of a Certificated Class D Note will not be required to
         bear the costs and expenses of effecting any transfer or registration of transfer, except that the
         relevant Holder will be required to bear (A) the expenses of delivery by other than regular mail (if
         any) and (B) if the Issuer so requires, the payment of a sum sufficient to cover any duty, stamp
         tax or governmental charge or insurance charges that may be imposed in relation thereto.

                  (ii)     So long as the Class D Notes remain Outstanding, transfers of such Class D
         Notes shall only be made in accordance with Section 2.6(c) and the requirements of Section
         2.6(g)(i) and upon receipt by the Indenture Registrar of (A) appropriate documentation required
         under the Code and the applicable Treasury regulations establishing that the beneficial owner of
         the Class D Notes to be transferred is either not a U.S. person (e.g., an IRS Form W-8BEN or an
         IRS Form W-8IMY with appropriate attachments) or is a U.S. person (e.g., an IRS Form W-9)
         and (B) if such beneficial owner of Class D Notes to be transferred is treated as a partnership, S-
         corporation or grantor trust for U.S. federal income tax purposes (as indicated on the transfer
         certificate delivered in the form of Exhibit B-4), a written representation from such beneficial
         owner that (1) there will not be any interests in such beneficial owner where substantially all of
         the value of such interest is attributable to the value of the Class D Notes proposed to be
         transferred to such beneficial owner, together with the value of any Class D Notes, Holding
         Preference Shares and Preference Shares already held by such beneficial owner and (2) such
         beneficial owner is not a part of any arrangement a principal purpose of which is to cause the
         Class D Notes and Preference Shares to be treated as owned by 100 persons or less within the
         meaning of Treasury Regulation section 1.7704-1(h). In addition, neither the Trustee nor the
         Issuer shall recognize any transfers of Class D Notes, and any such proposed transfer shall be null
         and void, if (a) the proposed transfer will cause the Issuer to have more than ninety-nine
         beneficial owners (as determined by the Issuer for purposes of the provisions of Treasury
         Regulation section 1.7704-1(h)) of its Class D Notes and Preference Shares unless it receives the
         consent of all of the Holders of the Preference Shares and an Opinion of Counsel to the effect that
         Holders of the Notes will not recognize gain or loss for U.S. federal income tax purposes as a
         result of such transfer, and will be subject to U.S. federal income tax on the same amounts, in the
         same manner and at the same times as would have been the case if such transfer had not been
         made or (b) such transfer was made pursuant to a trade on an Established Securities Market. The
         Trustee shall contact the Preference Shares Paying Agent to request, and shall be entitled to rely
         upon the information it receives from the Preference Shares Paying Agent to determine the
         number of beneficial owners of the Preference Shares. The Trustee shall provide, upon request
         by the Preference Shares Paying Agent, the number of beneficial owners of the Class D Notes
         referenced on, and in reliance upon, the transfer certificates received pursuant to the terms of this
         Indenture.




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                  (iii)   No person shall be permitted to acquire any Class D Note if such acquisition
         would result in persons who have represented that they are Benefit Plan Investors owning 25% or
         more of the aggregate outstanding amount of the Class D Notes immediately after such sale or
         transfer (excluding for purposes of such determination any Class D Notes held by any Controlling
         Person and its affiliates determined in accordance with the Plan Asset Regulation).

        (h)    Subject to the restrictions set forth elsewhere in this Indenture, transfers of Certificated
 Class A-1B Notes, in whole or in part, shall be subject to the following:

                  (i)      Transfers between Certificated Class A-1B Notes. Subject to the limitations on
         transfer set forth in this Indenture and the Class A-1B Note Purchase Agreement, Certificated
         Class A-1B Notes may be exchanged or transferred for another Certificated Class A-1B Note by a
         Noteholder by presenting or surrendering such Certificated Class A-1B Notes at the office of the
         Indenture Registrar, together with an executed assignment and acceptance in the form attached as
         Exhibit B to the Class A-1B Note Purchase Agreement executed by the transferee. In exchange
         for any Certificated Class A-1B Note properly presented for transfer with all necessary
         accompanying documentation, the Trustee will, upon execution by the Issuer, authenticate and
         deliver at the Corporate Trust Office or the office of the transfer agent as the case may be, to the
         transferee or send by first-class mail at the risk of the transferee to such address as the transferee
         may request, a Certificated Class A-1B Note, for a like principal amount as may be requested.
         The presentation for transfer of any Certificated Class A-1B Notes will not be valid unless made
         at the Corporate Trust Office or at the office of a transfer agent by the registered Holder in
         person, or by a duly authorized attorney-in-fact. The Holder of a Certificated Class A1-B Note
         will not be required to bear the costs and expenses of effecting any transfer or registration of
         transfer, except that the relevant Holder will be required to bear (A) the expenses of delivery by
         other than regular mail (if any) and (B) if the Issuer so requires, the payment of a sum sufficient
         to cover any duty, stamp tax or governmental charge or insurance charges that may be imposed in
         relation thereto.

                 (ii)    Subject to the restrictions on transfer set forth in this Indenture and the Class A-
         1B Note Purchase Agreement, following the first Payment Date, any of the Certificated Class A-
         1B Notes held by a Holder who is a Qualified Institutional Buyer and a Qualified Purchaser may
         be exchanged for a beneficial interest in a Rule 144A Global Note pursuant to this Section 2.6
         and may be transferred thereafter in the form of a beneficial interest in a Rule 144A Global Note
         to a Person who is a Qualified Institutional Buyer and a Qualified Purchaser, provided that any
         remaining principal amount of the transferor’s interest in the Rule 144A Global Note shall either
         equal zero or meet the required minimum denominations.

                  (iii)   Subject to the restrictions on transfer set forth in this Indenture and the Class A-
         1B Note Purchase Agreement, following the first Payment Date, any of the Certificated Class A-
         1B Notes held by a Holder who is not a U.S. Person may be exchanged for a beneficial interest in
         a Regulation S Global Note pursuant to this Section 2.6 and may be transferred thereafter in the
         form of a beneficial interest in a Regulation S Global Note to a non-U.S. Person in an offshore
         transaction in reliance on Regulation S, provided that any remaining principal amount of the
         transferor’s interest in the Regulation S Global Note shall either equal zero or meet the required
         minimum denominations.

         (i)      If the Notes are issued upon the transfer, exchange, or replacement of Notes bearing the
 applicable legends in the applicable forms in Exhibit A, as applicable, and if a request is made to remove
 the legend on the Notes, the legend shall not be removed unless the Trustee and the Applicable Issuers
 received satisfactory evidence, which may include an Opinion of Counsel acceptable to them, reasonably


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 required by the Applicable Issuers (and which shall by its terms permit reliance by the Trustee), to the
 effect that neither the legend nor the restrictions on transfer in it are required to ensure that transfers of the
 Notes comply with the Securities Act, the Investment Company Act, ERISA and the Code. Upon
 provision of satisfactory evidence, the Trustee or its Authenticating Agent, at the written direction of the
 Applicable Issuers shall, after due execution by the Applicable Issuers authenticate and deliver Notes that
 do not bear the applicable legend.

         (j)      Notwithstanding anything contained in this Section 2.6 to the contrary:

                  (i)     Restrictions on U.S. Transfers. Transfers of an interest in a Regulation S Global
         Note that are not made in an offshore transaction pursuant to Regulation S or are made to U.S.
         Persons, if such transferees take delivery in the form of an interest in a Rule 144A Global Note
         shall be limited to transfers made pursuant to the provisions of Sections 2.6(f)(ii), 2.6(f)(iv).

                (ii)     Beneficial interests in a Regulation S Global Note may only be held through
         Euroclear or Clearstream.

          (k)     Each Person who becomes a beneficial owner of a Senior Note evidenced by an interest
 in a Definitive Note, shall make the representations, warranties and agreements set forth in the applicable
 Transferee Certificate set forth in Exhibit B-1 upon such Person’s purchase or other acquisition of the
 relevant Definitive Note. Each Person who becomes a beneficial owner of a Senior Note evidenced by an
 interest in a Global Note, shall be deemed to make the representations, warranties and agreements set
 forth in the Transferee Certificate set forth in Exhibit B-1 hereto upon such Person’s purchase or other
 acquisition of the relevant Global Note. No transfer of a beneficial interest in a Regulation S Global Note
 to a Definitive Note shall be made except (i) prior to the expiration of the Distribution Compliance Period
 and (ii) in compliance with the certification requirements of Rule 903(b)(3)(ii)(B) under the Securities
 Act.

        (l)      The aggregate principal amount of any Global Note may be increased or decreased by
 adjustments made on the records of the Trustee, as custodian for DTC for the Global Note, which
 adjustments shall be conclusive as to the aggregate principal amount of any Global Note.

         (m)    Until the end of the Delayed Drawdown Period, transfers of beneficial interests in Class
 A–1B Notes will be permitted only to transferees that satisfy the Rating Criteria. In addition to the
 requirements of this Indenture, all transfers of Class A-1B Notes shall be made in accordance with the
 Class A-1B Note Purchase Agreement if then in effect.

         (n)      Any purported transfer of a Note not in accordance with this Section 2.6 shall be null and
 void.

         Section 2.7.      Mutilated, Destroyed, Lost or Stolen Notes.

          If the Applicable Issuers, the Trustee, and the relevant Transfer Agent receive evidence to their
 satisfaction of the destruction, loss or theft of any Note, and they receive the security or indemnity they
 require to hold each of them harmless, or if any mutilated Note is surrendered to a Transfer Agent, then,
 in the absence of notice to the Applicable Issuers, the Trustee, or the Transfer Agent that the Note has
 been acquired by a protected purchaser, the Applicable Issuers shall execute and the Trustee shall
 authenticate and deliver, in exchange for the mutilated, destroyed, lost, or stolen Note, a replacement
 Note, of like tenor and equal principal or face amount.




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         If, after delivery of the replacement Note or payment on it, a protected purchaser of the
 predecessor Note presents it for payment, transfer, or exchange, the Applicable Issuers, the Transfer
 Agent, and the Trustee may recover the replacement Note (or the payment on it) from the Person to whom
 it was delivered or any Person taking the replacement Note from the Person to whom the replacement
 Note was delivered or any assignee of that Person, except a protected purchaser, and may recover on the
 security or indemnity provided therefor to the extent of any loss, damage, cost, or expense incurred by the
 Applicable Issuers, the Trustee, and the Transfer Agent in connection with it.

         If the final payment in respect of any mutilated, destroyed, lost, or stolen Note has become
 payable, the Applicable Issuers in their discretion may, instead of issuing a new Note pay the Note
 without requiring its surrender except that any mutilated Note shall be surrendered.

        Upon the issuance of any new Note under this Section 2.7, the Applicable Issuers or the Trustee
 may require the payment by its holder of a sum sufficient to cover any tax or other governmental charge
 that may be imposed in connection with the issuance and any other expenses (including the fees and
 expenses of the Trustee) connected with it.

          Every new Note issued pursuant to this Section 2.7 in replacement for any mutilated, destroyed,
 lost, or stolen Note shall be an original additional contractual obligation of the Applicable Issuers and the
 new Note shall be entitled to all the benefits of this Indenture equally and proportionately with all other
 Notes of the same Class duly issued under this Indenture, as applicable.

         The provisions of this Section 2.7 are exclusive and shall preclude (to the extent lawful) all other
 rights with respect to the replacement or payment of mutilated, destroyed, lost, or stolen Notes.

         Section 2.8.   Payment of Principal and Interest and Other Amounts; Principal and
 Interest Rights Preserved; Withholding.

          (a)     The Notes of each Class (other than, with respect to the first Interest Period only, the
 Class A-1B Notes) shall accrue interest during each Interest Period on their Aggregate Outstanding
 Amount and the Class A-1B Notes shall accrue interest during the first Interest Period on their Drawn
 Amount and any Interest Period thereafter on their Aggregate Outstanding Amount (determined as of the
 first day of the Interest Period and after giving effect to any redemption or other payment of principal
 occurring on that day) at the Applicable Note Interest Rate. Interest shall be payable in arrears on each
 Payment Date. Payment of interest on each Class of Notes shall be subordinated to the payments of
 interest on the related Priority Classes and other amounts in accordance with the Priority of Payments.
 The Delayed Drawdown Fee on the Class A-1B Notes shall accrue as specified in the definition thereof
 and will be payable in arrears on the first Payment Date. To the extent the Delayed Drawdown Fee is not
 paid in full on the first Payment Date, interest shall accrue at the Note Interest Rate for the Class A-1B
 Notes on such accrued and unpaid Delayed Drawdown Fee as specified in the definition thereof and such
 unpaid Delayed Drawdown Fee and the interest thereon shall be payable in arrears on each Payment Date
 in accordance with the Priority of Payments until paid in full.

          So long as any Priority Classes are Outstanding with respect to any Class of Deferred Interest
 Notes, any payment of interest due on the Class of Deferred Interest Notes that is not available to be paid
 (“Deferred Interest”) in accordance with the Priority of Payments on any Payment Date shall not be
 considered “payable” for the purposes of this Indenture (and the failure to pay the interest shall not be an
 Event of Default) until the Payment Date on which the interest is available to be paid in accordance with
 the Priority of Payments. Deferred Interest on any Class of Deferred Interest Notes shall be payable on
 the first Payment Date on which funds are available to be used for that purpose in accordance with the
 Priority of Payments.



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         Interest shall cease to accrue on each Note, or in the case of a partial repayment, on the part
 repaid, from the date of repayment or its Stated Maturity unless payment of principal is improperly
 withheld or unless there is some other default with respect to the payments of principal.

         To the extent lawful and enforceable, interest on Deferred Interest with respect to any Class of
 Deferred Interest Notes shall accrue at the Note Interest Rate for the Class and to the extent not paid as
 current interest on the Payment Date after the Interest Period in which it accrues, shall thereafter be
 additional Deferred Interest, until paid as provided in this Indenture.

         (b)      The principal of each Note of each Class matures at par and is payable on the Payment
 Date that is the Stated Maturity for the Class of Notes, unless the unpaid principal of the Note becomes
 payable at an earlier date by declaration of acceleration, refinancing, call for redemption, or otherwise.
 Notwithstanding the foregoing, the payment of principal of each Class of Notes:

                  (i)     may only occur after principal on each Class of Notes that is a Priority Class with
         respect to the Class has been paid in full; and

                  (ii)   is subordinated to the payment on each Payment Date of the principal and
         interest payable on the Priority Classes, and other amounts in accordance with the Priority of
         Payments;

         provided that, notwithstanding the foregoing, Interest Proceeds may be used to pay principal of
 the Class D Notes on any Payment Date to the extent necessary to satisfy the Class D Coverage Tests.

       (c)     Principal payments on the Notes shall be made in accordance with the Priority of
 Payments and Section 9.1.

          (d)     As a condition to the payment of principal of and interest on any Note without the
 imposition of U.S. withholding tax, the Paying Agent shall require the previous delivery of appropriate
 properly completed and signed original forms United States federal income tax certifications (generally,
 an Internal Revenue Service Form W-9 (or applicable successor form) in the case of a Person that is a
 “United States person” within the meaning of Section 7701(a)(30) of the Code or an appropriate Internal
 Revenue Service Form W-8 (or applicable successor form) in the case of a Person that is not a “United
 States person” within the meaning of Section 7701(a)(30) of the Code) or any other certification
 acceptable to it to enable the Issuer, the Co-Issuer, the Trustee, and any Paying Agent to determine their
 duties and liabilities with respect to any taxes or other charges that they may be required to deduct or
 withhold from payments on the Note under any present or future law of the United States or any present
 or future law of any political subdivision of the United States or taxing authority in the United States or to
 comply with any reporting or other requirements under any such law.

          (e)     Payments in respect of interest on and principal of any Note shall be made by the Trustee,
 or by the Irish Paying Agent, if applicable, in U.S. Dollars to the Depository or its designee with respect
 to a Global Note and to the Holder or its nominee with respect to a Definitive Note and a Class D Note,
 by wire transfer, as directed by the Holder, in immediately available funds to a U.S. Dollar account
 maintained by the Depository or its nominee with respect to a Global Note, and to the Holder or its
 designee with respect to a Definitive Note and a Class D Note. In the case of a Definitive Note and a
 Class D Note, its Holder has provided written wiring instructions to the Trustee and, if the payment with
 respect to a Definitive Note is to be made by the Irish Paying Agent, the Irish Paying Agent, on or before
 the related Record Date.




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         If appropriate instructions for the wire transfer are not received by the related Record Date, then
 the payment will be made by check drawn on a U.S. bank mailed to the address of the Holder in the
 Indenture Register. Upon final payment due on the Maturity of a Note, its Holder shall present and
 surrender the Note at the office designated by the Trustee on or before the Maturity. If the Trustee and
 the Applicable Issuers have been furnished the security or indemnity they require to save each of them
 harmless and an undertaking thereafter to surrender the certificate, then, in the absence of notice to the
 Applicable Issuers or the Trustee that the applicable Note has been acquired by a protected purchaser, the
 final payment shall be made without presentation or surrender. Neither the Co-Issuers, the Trustee, the
 Share Registrar nor any Paying Agent shall have any responsibility or liability for any aspects of the
 records maintained by Euroclear, Clearstream, or any of the Agent Members relating to or for payments
 made thereby on account of beneficial interests in a Global Note.

          In the case where any final payment of principal and interest is to be made on any Note (other
 than on its Stated Maturity and except as otherwise provided in this Indenture), the Trustee, in the name
 and at the expense of the Applicable Issuers shall, not more than 30 nor less than 10 days before the date
 on which the payment is to be made, mail (by first-class mail, postage prepaid) to the Persons entitled
 thereto at their addresses appearing on the Indenture Register, a notice specifying the date on which the
 payment will be made, the amount of the payment per U.S.$100,000 original principal amount of Notes
 and the place where the Notes may be presented and surrendered for payment. If the Trustee and the
 Issuer have been furnished any security or indemnity they require to save each of them harmless and an
 undertaking thereafter to surrender the certificate, then, in the absence of notice to the Issuer or the
 Trustee that the applicable certificate has been acquired by a protected purchaser, final payment shall be
 made without presentation or surrender of the applicable certificate.

         (f)      Payments of principal to Holders of the Notes of each Class shall be made in the
 proportion that the Aggregate Outstanding Amount of the Notes of the Class registered in the name of
 each Holder on the applicable Record Date bears to the Aggregate Outstanding Amount of all Notes of
 the Class on the Record Date.

         (g)      Interest accrued shall be calculated on the basis of the actual number of days elapsed in
 the applicable Interest Period divided by 360.

         (h)     All reductions in the principal amount of a Note (or one or more predecessor Notes)
 effected by payments of installments of principal made on any Payment Date or Redemption Date shall be
 binding on all future Holders of the Note and of any Note issued upon the registration of its transfer,
 exchange, or replacement, whether or not the payment is noted on the Note.

          (i)      Notwithstanding any other provision of this Indenture, the obligations of the Applicable
 Issuers under the Notes and under this Indenture are limited recourse obligations of the Applicable Issuers
 payable solely from the Collateral and following realization of the assets, application of their proceeds in
 accordance with this Indenture and the reduction of the proceeds of the Collateral to zero, all obligations
 of, and any claims against, the Co-Issuers under this Indenture or under the Notes or arising in connection
 therewith shall be extinguished and shall not thereafter revive. No recourse shall be had against any
 Officer, director, employee, shareholder, or incorporator of either of the Co-Issuers or their respective
 successors or assigns for any amounts payable under the Notes or this Indenture. The foregoing
 provisions of this Section 2.8(i) shall not (i) prevent recourse to the Collateral for the sums due or to
 become due under any security, instrument, or agreement that is part of the Collateral or (ii) be a waiver,
 release, or discharge of any indebtedness or obligation evidenced by the Notes or secured by this
 Indenture until the Collateral have been realized. The foregoing provisions of this Section 2.8(i) shall not
 limit the right of any Person to name the Issuer or the Co-Issuer as a party defendant in any Proceeding or
 in the exercise of any other remedy under the Notes or this Indenture, so long as no judgment in the


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  nature of a deficiency judgment or seeking personal liability is sought or (if obtained) enforced against the
  person.

           (j)     If any withholding tax is imposed on the Issuer’s payment (or allocations of income)
  under the Notes to any Noteholder, the tax shall reduce the amount otherwise distributable to the
  Noteholder. The Trustee is hereby authorized and directed to retain from amounts otherwise distributable
  to any Noteholder sufficient funds for the payment of any tax that is legally owed, or required by law to
  be collected, by or on behalf of the Issuer (but the authorization shall not prevent the Trustee or the Issuer
  from contesting any such tax in appropriate proceedings and withholding payment of the tax, if permitted
  by law, pending the outcome of the proceedings). The amount of any withholding tax imposed with
  respect to any Noteholder shall be treated as Cash distributed to the Noteholder when it is withheld by the
  Trustee and remitted to the appropriate taxing authority. If there is a possibility that withholding tax is
  payable with respect to a distribution, the Trustee may in its sole discretion withhold the amounts in
  accordance with this Section 2.8(j). If any Noteholder wishes to apply for a refund of any such
  withholding tax, the Trustee shall reasonably cooperate with the Noteholder in making the claim by
  providing information readily available to the Trustee so long as the Noteholder agrees to reimburse the
  Trustee for any out-of-pocket expenses incurred and provides the Trustee with security reasonably
  acceptable to the Trustee assuring the reimbursement. The Trustee hereby provides notice to each
  Noteholder that the failure by the Noteholder to provide the Trustee with appropriate tax certifications
  may result in amounts being withheld from payments to the Noteholder. Nothing in this Indenture shall
  impose an obligation on the part of the Trustee to determine the amount of any tax or withholding
  obligation on the part of the Issuer or in respect of the Notes.

          Section 2.9.     Persons Considered Owners.

          The Issuer, the Co-Issuer, the Trustee, and any agent of the Co-Issuers or the Trustee may treat as
  the owner of the Note the Person in whose name any Note is registered on the Indenture Register on the
  applicable Record Date for the purpose of receiving payments on the Note and on any other date for all
  other purposes whatsoever (whether or not the Note is overdue), and neither the Issuer, the Co-Issuer nor
  the Trustee nor any agent of the Issuer, the Co-Issuer or the Trustee shall be affected by notice to the
  contrary. Pursuant to the Servicing Agreement, the Servicer will notify the Trustee, the Share Registrar
  and the Holding Share Registrar of any Affiliate of the Servicer that owns any of the Transaction
  Securities.

          Section 2.10.    Cancellation.

           All Notes surrendered for payment, registration of transfer, exchange, or redemption, or lost or
  stolen, shall be promptly canceled by the Trustee and may not be reissued or resold. No Notes shall be
  authenticated in lieu of or in exchange for any Notes canceled as provided in this Section 2.10, except as
  expressly permitted by this Indenture. All canceled Notes held by the Trustee shall be destroyed by the
  Trustee in accordance with its standard policy unless the Applicable Issuers direct by an Issuer Order
  delivered to the Trustee prior to cancellation and destruction that they be returned to the Issuer.

          Section 2.11.    Definitive Notes.

           (a)     A Global Note deposited with the Depository pursuant to Section 2.2 shall be transferred
  in the form of a Definitive Note to its beneficial owners only if the transfer complies with Section 2.6 and
  either

                 (i)      the Depository notifies the Co-Issuers that it is unwilling or unable to continue as
          Depository for the Global Note or



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                  (ii)     if at any time the Depository ceases to be a Clearing Agency registered under the
          Exchange Act and, in each case, a successor depository is not appointed by the Co-Issuers within
          90 days after the notice.

           (b)      Any Global Note that is transferable in the form of a Definitive Note to its beneficial
  owners pursuant to this Section 2.11 shall be surrendered by the Depository to the office of the Trustee’s
  agent located in the City of New York, New York as specified in Section 7.2 (or any other office
  designated by the Trustee) to be so transferred, in whole or from time to time in part, without charge, and
  the Applicable Issuers shall execute and the Trustee shall authenticate and deliver, upon the transfer of
  each portion of the Global Note, an equal aggregate principal amount of definitive physical certificates
  (pursuant to the instructions of the Depository) (each, a “Definitive Note”) in authorized denominations.
  Any Definitive Note delivered in exchange for an interest in a Global Note, as applicable, shall, except as
  otherwise provided by Section 2.6(k), bear the legends in the applicable portion of Exhibit A and shall be
  subject to the transfer restrictions referred to in the legends.

          (c)     The Holder of a Global Note may grant proxies and otherwise authorize any Person,
  including Agent Members and Persons that may hold interests through Agent Members, to take any
  action which a Holder is entitled to take under this Indenture or the Senior Notes, as applicable.

          (d)       Upon the occurrence of either of the events specified in Sections 2.11(a)(i) and
  2.11(a)(ii), the Co-Issuers shall promptly make available to the Trustee a reasonable supply of Definitive
  Notes in definitive, fully registered form without interest coupons.

          The Definitive Notes shall be in substantially the same form as the Global Notes, with any
  changes the Issuer and Trustee agree to and the Applicable Issuers shall execute, and the Trustee shall
  authenticate and deliver, in exchange therefor, the same aggregate principal amount of Definitive Notes of
  authorized denominations.

          Section 2.12.    Notes Beneficially Owned by Non-Permitted Holders.

          (a)      Notwithstanding anything to the contrary elsewhere in this Indenture, (i) any transfer of a
  beneficial interest in any Global Note to a U.S. person (for purposes of this Section 2.12 as defined in
  Regulation S) that is not a QIB/QP and that is not made pursuant to an applicable exemption under the
  Securities Act and (ii) any transfer of a beneficial interest in any Class D Note to a Person that is not a
  QIB/QP, shall be void and any such purported transfer of which the Issuer, the Co-Issuer or the Trustee
  has notice may be disregarded by the Issuer, the Co-Issuer and the Trustee for all purposes.

           (b)     After discovery by the Issuer, the Co-Issuer or the Trustee (and notice by the Trustee or
  the Co-Issuer to the Issuer, if either of them makes the discovery) that a Person is a Non-Permitted
  Holder, the Issuer shall promptly send notice to the Non-Permitted Holder demanding that the Non-
  Permitted Holder transfer its interest to a Person that is not a Non-Permitted Holder within 30 days of the
  date of the notice. If the Non-Permitted Holder fails to so transfer its Notes or interest in the Notes
  without further notice to the Non-Permitted Holder, the Issuer may sell the Notes or interest in the Notes
  to a purchaser selected by the Issuer that is a not a Non-Permitted Holder on any terms the Issuer chooses.
  The Issuer, or the Trustee acting on behalf of the Issuer, may select the purchaser by soliciting bids (or by
  appointing an investment bank at the expense of the Issuer to solicit bids) from brokers or other market
  professionals that regularly deal in securities similar to the Notes, and selling the Notes, or interest in the
  Notes to the highest bidder. However, the Issuer or the Trustee may select a purchaser by any other
  means determined by it in its sole discretion. The Holder of each Note, the beneficial owner of each
  interest in a Note, the Non-Permitted Holder, and each other Person in the chain of title from the Holder
  or beneficial owner to the Non-Permitted Holder, by its acceptance of an interest in the Notes agrees to



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  cooperate with the Issuer and the Trustee to effect the transfers. The proceeds of the sale, net of any
  commissions, expenses of the Trustee or otherwise, and taxes due in connection with the sale shall be
  remitted to the Non-Permitted Holder. The terms of any sale under this subsection shall be determined in
  the sole discretion of the Issuer (or the Trustee acting on its behalf), and the Issuer and the Trustee shall
  not be liable to any Person having an interest in the Notes sold as a result of any such sale or the exercise
  of its discretion.

          Section 2.13.    Tax Purposes

          The Issuer agrees, and each Holder and each beneficial owner of a Note, by acceptance of its
  Note or its interest in a Note, as the case may be, shall be deemed to have agreed, to treat, and shall treat,
  such Note as unconditional debt of the Issuer for tax, accounting and financial reporting purposes.

          Section 2.14.    Drawdowns Under the Class A-1B Notes

          (a)     On any Business Day during the Delayed Drawdown Period, the Co-Issuers may draw
  down amounts under the Class A–1B Notes (together with amounts paid by Holders of Class A–1B Notes
  on the Closing Date, each a “Drawdown”) at the direction of the Servicer acting pursuant to the Servicing
  Agreement; provided, in each case that (i) each applicable condition to such Drawdown specified in
  Section 3 of the Class A-1B Note Purchase Agreement is satisfied on the date of such Drawdown (a
  “Drawdown Date”) and (ii) in no event may the aggregate amount of Drawdowns outstanding under the
  Class A–1B Notes exceed the Fully Drawn Amount.

          (b)     Notice of any Drawdown shall be given by the Issuer (or the Servicer on behalf of the
  Issuer acting pursuant to the Servicing Agreement) to the Delayed Drawdown Note Agent, the Servicer
  and the Trustee in accordance with the Class A-1B Note Purchase Agreement.

          (c)      If any Holder of Class A–1B Notes shall at any time during the Delayed Drawdown
  Period fail to satisfy the Rating Criteria, the Issuer will enforce its rights under the Class A-1B Note
  Purchase Agreement to require such Holder to fund the full undrawn amount of its Commitment into a
  reserve account.

                                                ARTICLE III.

                                           CONDITIONS PRECEDENT

          Section 3.1.     Conditions to Issuance of Notes on Closing Date.

          (a)     The Notes to be issued on the Closing Date shall be executed by the Applicable Issuers
  and delivered to the Trustee for authentication and thereupon the same shall be authenticated and
  delivered by the Trustee upon Issuer Order and upon receipt by the Trustee of the following:

                  (i)       Officers’ Certificates of the Co-Issuers Regarding Corporate Matters.           An
          Officer’s certificate of each of the Co-Issuers:

                           (A)     evidencing (1) the authorization by Board Resolution of the execution
                   and delivery of this Indenture, the Class A-1B Note Purchase Agreement and the
                   Placement Agency Agreement and, in the case of the Issuer, the Servicing Agreement,
                   the Preference Shares Paying Agency Agreement, the Collateral Administration
                   Agreement and the Hedge Agreements being entered into on or before the Closing Date
                   (if any), and related transaction documents and (y) the execution, authentication and



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                   delivery of the Notes applied for by it and specifying the Stated Maturity, principal
                   amount and the Note Interest Rate of each applicable Class of Notes to be authenticated
                   and delivered and (2) with respect to the Issuer only, evidencing the authorization by
                   Board Resolution of the issuance, terms and number of Preference Shares issued on the
                   Closing Date, and that each of the foregoing is in accordance with the terms of the Board
                   Resolution, and

                           (B)      certifying that (1) the attached copy of the Board Resolution is an
                   accurate copy, (2) the resolutions have not been rescinded and are in full force on and as
                   of the Closing Date and (3) the Officers authorized to execute and deliver the documents
                   hold the offices and have the signatures indicated on the documents.

                   (ii)    Governmental Approvals. From each of the Co-Issuers either:

                           (A)     a certificate of the Applicable Issuer or other official document
                   evidencing the due authorization, approval or consent of any governmental bodies, at the
                   time having jurisdiction in the premises, together with an Opinion of Counsel of the
                   Applicable Issuer that no other authorization, approval or consent of any governmental
                   body is required for the valid issuance of the Notes applied for by it, or

                          (B)      an Opinion of Counsel of the Applicable Issuer that no authorization,
                   approval, or consent of any governmental body is required for the valid issuance of the
                   Notes except as have been given; provided that the opinions of Dechert LLP and Maples
                   and Calder, respectively, shall satisfy this clause (B).

                  (iii)    Co-Issuers’ and Servicer’s U.S. Counsel Opinion. Opinions of Dechert LLP,
          special U.S. counsel to the Co-Issuers, an opinion of Pepper Hamilton, LLP, special Delaware
          counsel to the Co-Issuer and an opinion of Orrick, Herrington & Sutcliffe LLP, counsel to the
          Servicer, dated the Closing Date.

                  (iv)     Issuer’s Cayman Counsel Opinion. An opinion of Maples and Calder, Cayman
          Islands counsel to the Issuer, dated the Closing Date.

                  (v)      Trustee’s Counsel Opinion. An opinion of Nixon Peabody, LLP, counsel to the
          Trustee, dated the Closing Date.

                  (vi)    Officers’ Certificates of Co-Issuers Regarding Indenture. An Officer’s certificate
          of each of the Co-Issuers stating that, to the best of the Officer’s knowledge,

                           (A)     the Applicable Issuer is not in default under this Indenture and that the
                   issuance of the Notes applied for by it will not result in a default or a breach of, or be a
                   default under, its organizational documents, any indenture or other agreement or
                   instrument to which it is a party or by which it is bound, or any order of any court or
                   administrative agency entered in any Proceeding to which it is a party or by which it may
                   be bound or to which it may be subject;

                           (B)      all conditions precedent in this Indenture relating to the authentication
                   and delivery of the applicable Notes have been complied with; and




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                           (C)     all expenses due or accrued with respect to the Offering or relating to
                   actions taken on or in connection with the Closing Date have been paid or reserves
                   therefor have been made.

                  The Officer’s certificate of the Issuer shall also state that, to the best of the Officer’s
          knowledge, all of its representations and warranties contained in this Indenture are accurate as of
          the Closing Date.

                  (vii)    Hedge Agreements. Executed copies of the Hedge Agreements being entered
          into on or entered into before the Closing Date, if any.

                   (viii)   Servicing Agreement. Executed copy of the Servicing Agreement.

                  (ix)    Preference Shares. Copies of executed Preference Share certificates to be issued
          on the Closing Date.

                 (x)    Preference Share Documents. An executed counterpart of the Preference Shares
          Paying Agency Agreement.

                 (xi)    Collateral Administration Agreement.            Executed copy of the Collateral
          Administration Agreement.

                  (xii)    Grant of Collateral Obligations. Evidence of the Grant pursuant to the Granting
          Clauses of this Indenture of all of the Issuer’s interest in the Collateral Obligations pledged to the
          Trustee for inclusion in the Collateral, on the Closing Date and Delivery of the Collateral
          Obligations (including any promissory notes and all other Underlying Instruments related to them
          to the extent received by the Issuer) to the Trustee or the Custodian as contemplated by Section
          3.2.

                  (xiii) Certificate of the Servicer. A certificate of an Authorized Officer of the Servicer,
          dated as of the Closing Date, to the effect that, to the best knowledge of the Servicer, in the case
          of each Collateral Obligation pledged to the Trustee for inclusion in the Collateral, as the case
          may be, on the Closing Date and immediately before the delivery of the Collateral Obligation on
          the Closing Date:

                          (A)     the “row/column combination” of the table appearing in the definition of
                   “Ratings Matrix” selected by the Servicer on the Closing Date;

                           (B)     the information with respect to the Collateral Obligation in the Schedule
                   of Collateral Obligations is correct; and

                           (C)     the Collateral Obligation satisfies the requirements of the definition of
                   “Collateral Obligation” and of Section 3.1(xx)(B);

                   (xiv) Rating Letters. An Officer’s certificate of the Issuer to the effect that attached is
          an accurate copy of a letter signed by each Rating Agency and confirming that each Class of
          Notes rated by the Rating Agency has been assigned the applicable Initial Rating and that the
          ratings are in full force on the Closing Date.

                   (xv)     Accounts. Evidence that each of the Accounts has been established.




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                   (xvi) Issuer Order for Deposit of Funds into Accounts. An Issuer Order signed in the
          name of the Issuer by an Authorized Officer of the Issuer, dated as of the Closing Date,
          authorizing the deposit of at least U.S.$105,000,000 into the Collection Account for use pursuant
          to Section 7.19, the deposit of approximately U.S.$14,900,000 into the Closing Date Expense
          Account for use pursuant to Section 10.3(g) and the deposit of approximately U.S.$5,600,000 into
          the Interest Reserve Account for use pursuant to Section 10.3(j).

                  (xvii) Irish Listing. An Officer’s certificate of the Issuer to the effect that application
          has been made to the Irish Stock Exchange to admit the Senior Notes to the Daily Official List.

                  (xviii) Issuer Order for Authentication of Notes. An Issuer Order signed in the name of
          the Issuer by an Authorized Officer of the Issuer, dated as of the Closing Date, directing the
          Trustee to authenticate and deliver the Notes in the amounts, in the registered names and with the
          CUSIP numbers in the Issuer Order.

                   (xix) Accountants’ Certificate. An Accountants’ Certificate acceptable to the Issuer
          (A) confirming the information with respect to each Collateral Obligation on the Schedule of
          Collateral Obligations attached as Schedule 1, (B) confirming that the Aggregate Principal
          Balance of the Collateral Obligations that the Issuer has purchased or committed to purchase in
          accordance with customary settlement procedures in the relevant markets, is approximately
          U.S.$677,332,536, that each Concentration Limitation is satisfied taking into account all of the
          Collateral Obligations acquired as of the Closing Date (including binding agreements to purchase
          Collateral Obligations in effect on the Closing Date), that the Weighted Average Spread Test is
          satisfied as of the Closing Date, that the Weighted Average Rating Factor Test is satisfied as of
          the Closing Date, that the Weighted Average Life Test is satisfied as of the Closing Date, that
          each Overcollateralization Test is satisfied as of the Closing Date, that the Weighted Average
          Moody’s Recovery Rate Test is satisfied as of the Closing Date, that the Weighted Average S&P
          Recovery Rate Test is satisfied as of the Closing Date and that the Weighted Average Fixed Rate
          Coupon Test is satisfied as of the Closing Date and a calculation of the Diversity Score,
          (C) specifying the procedures undertaken by them to review data and computations relating to
          this Section 3.1(a)(xix) and (D) confirming the weighted average purchase price of the Collateral
          Obligations.

                   (xx)    Certificate of the Issuer Regarding Collateral. A certificate of an Authorized
          Officer of the Issuer, dated as of the Closing Date, to the effect that, to the knowledge of the
          Issuer, in the case of each Collateral Obligation pledged to the Trustee for inclusion in the
          Collateral, as the case may be, on the Closing Date and immediately before the delivery of the
          Collateral Obligation on the Closing Date:

                            (A)    the Issuer is the owner of the Collateral Obligation free of any liens,
                   claims, or encumbrances of any nature whatsoever except for those that are being
                   released on the Closing Date and except for those Granted pursuant to or permitted by
                   this Indenture;

                            (B)     the Issuer has acquired its ownership in the Collateral Obligation in good
                   faith without notice of any adverse claim, except as described in paragraph (A) above;

                            (C)     the Issuer has not assigned, pledged or otherwise encumbered any
                   interest in the Collateral Obligation (or, if any interest in the Collateral Obligation has
                   been assigned, pledged or otherwise encumbered, it has been released before the Closing




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                   Date or is being released on the Closing Date) other than interests Granted pursuant to or
                   permitted by this Indenture;

                           (D)     the Issuer has full right to Grant a security interest in and assign and
                   pledge the Collateral Obligation to the Trustee;

                           (E)       upon Grant by the Issuer, the Trustee has a first priority perfected
                   security interest in the Collateral Obligations and the other Collateral; and

                            (F)     based solely on the Accountant’s Certificate set forth in clause (xix)
                   above, the weighted average purchase price of the Collateral Obligations in the Collateral
                   as of the Closing Date is at least 100.03% of the aggregate par amount thereof.

                   (xxi) Certificate of the Issuer Regarding Important Section 3(c)(7) Reminder Notice.
          A certificate of an Authorized Officer of the Issuer, dated as of the Closing Date, to the effect
          that, on or prior to the Closing Date the Issuer provided to the Depository the Important Section
          3(c)(7) Reminder Notice, substantially in the form of Exhibit C-2.

                  (xxii) Other Documents. Any other documents the Trustee reasonably requires.
          Nothing in this clause (xxii) shall imply or impose a duty on the part of the Trustee to require any
          other documents.

           (b)     Any Replacement Notes may be issued from time to time pursuant to Section 9.7 hereof,
  and any Refinancing Note may be issued from time to time pursuant to Section 9.8 hereof. Any such
  Replacement Notes and Refinancing Notes shall be executed by the Applicable Issuer and delivered to the
  Trustee for authentication, and thereupon shall be authenticated and delivered by the Trustee upon and
  pursuant to Issuer Order delivered to the Trustee, together with delivery to the Trustee by the Issuer of an
  Opinion of Counsel to the affect that (A) such Replacement Notes or Refinancing Notes, as the case may
  be, are duly authorized and validly issued by the Applicable Issuer pursuant to this Indenture, constituting
  the legal, valid and binding obligation of such Applicable Issuer, enforceable against such Applicable
  Issuer in accordance with its terms and (B) all conditions precedent under this Indenture, if any,
  applicable to the issuance, authentication and delivery of such Notes, have been satisfied.

          Section 3.2.     Custodianship; Delivery of Collateral Obligations and Eligible Investments.

           (a)     The Servicer, on behalf of the Issuer, shall deliver or cause to be delivered to a custodian
  appointed by the Issuer, which shall be a Securities Intermediary (the “Custodian”), all Collateral in
  accordance with the definition of “Deliver.” Initially, the Custodian shall be Investors Bank & Trust
  Company. Any successor custodian shall be a state or national bank or trust company that is not an
  Affiliate of the Issuer or the Co-Issuer and has capital and surplus of at least U.S.$200,000,000 and is a
  Securities Intermediary. Subject to the limited right to relocate Pledged Obligations as provided in
  Section 7.5(b), the Trustee shall hold all Collateral Obligations, Eligible Investments, other assets
  purchased in accordance with this Indenture (other than Loans, Participations and general intangibles) and
  Cash in the relevant Account established and maintained pursuant to Article 10, as to which in each case
  the Trustee shall have entered into the Securities Account Control Agreement with the Custodian
  providing, inter alia, that the establishment and maintenance of the Account shall be governed by the law
  of the State of New York.

           (b)       Each time that the Issuer, or the Servicer on behalf of the Issuer, directs or causes the
  acquisition of any Collateral Obligation, Eligible Investment or other assets, the Servicer (on behalf of the
  Issuer) shall, if the Collateral Obligation, Eligible Investment or other asset is required to be, but has not



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  already been, transferred to the relevant Account, cause the Collateral Obligation, Eligible Investment or
  other asset to be Delivered to the Custodian to be held in the Custodial Account (or in the case of any
  such asset that is not a Collateral Obligation, in the Account in which the funds used to purchase the asset
  are held in accordance with Article 10) for the benefit of the Trustee in accordance with this Indenture.
  The security interest of the Trustee in the funds or other property used in connection with the acquisition
  shall, immediately and without further action on the part of the Trustee, be released. The security interest
  of the Trustee shall nevertheless come into existence and continue in the Collateral Obligation, Eligible
  Investment or other asset so acquired, including all interests of the Issuer in or to any contracts related to
  and proceeds of the Collateral Obligations, Eligible Investments or other assets.

          Section 3.3.     Representations as to Collateral.

          (a)     The Issuer hereby represents and warrants to the Secured Parties as to the Collateral as
  follows (which representations are repeated on each day on which the Issuer acquires new Collateral):

                   (i)     This Indenture creates a valid and continuing security interest (as defined in the
          applicable Uniform Commercial Code) in the Collateral in favor of the Trustee, which security
          interest is prior to all other liens, charges, claims, security interests, mortgages and other
          encumbrances, and is enforceable as such as against creditors of and purchasers from the Issuer.

                   (ii)    Except for any Securities Lending Collateral and Synthetic Securities Collateral,
          the Issuer has good and marketable title to and is the owner of each item of Collateral free of any
          liens, claims, or encumbrances of any nature whatsoever except for liens (A) that are being
          released on the Closing Date and (B) granted pursuant to or permitted by this Indenture. The
          Issuer has a first priority perfected security interest in all Securities Lending Collateral to secure
          all obligations of Securities Lending Counterparty under the Securities Lending Agreement and a
          first priority perfected security interest in all Synthetic Securities Collateral to secure all
          obligations of Synthetic Security Counterparty under the Synthetic Securities Agreement.

                  (iii)   The Issuer has not assigned, pledged or otherwise encumbered any interest in the
          Collateral (or, if any interest in the Collateral has been assigned, pledged or otherwise
          encumbered, it has been released before the Closing Date or is being released on the Closing
          Date) other than interests granted pursuant to or permitted by this Indenture.

                   (iv)   The Issuer has full right, and has received all consents and approvals required by
          the related Underlying Instruments, to grant a security interest in its rights in the Collateral to the
          Trustee.

                   (v)      Each Collateral Obligation included in the Collateral satisfied the requirements of
          the definition of “Collateral Obligation” as of the date the Issuer committed to purchase the same
          or, in the case of the Warehoused Loans, as of the Closing Date.

                   (vi)    All Collateral Obligations, any obligation that at the time of acquisition,
          conversion or exchange did not satisfy the requirements of a Collateral Obligation, and Eligible
          Investments (other than, in each case, “general intangibles” within the meaning of the applicable
          Uniform Commercial Code) have been and will have been credited to one of the Accounts. The
          securities intermediary for each Account has agreed to treat all assets credited to the Accounts as
          “financial assets” within the meaning of the applicable Uniform Commercial Code.

                  (vii)   The Issuer has pledged to the Trustee all of the Issuer’s interest in each Collateral
          Obligation included in the Collateral pursuant to the Granting Clauses of this Indenture and has



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          delivered each Collateral Obligation (including any promissory note and all its other Underlying
          Instruments to the extent received by the Issuer) to the Trustee or the Custodian as contemplated
          by Section 3.2.

                  (viii) Each of the Collateral constitutes “general intangibles,” “certificated securities,”
          “instruments,” “securities entitlements” or “uncertificated securities,” each within the meaning of
          the applicable Uniform Commercial Code, or any other category of collateral under the applicable
          Uniform Commercial Code as to which the Issuer has complied with its obligations under Section
          3.3(b).

                   (ix)    The Issuer has caused (or will have caused within 10 days following the Closing
          Date) the filing of appropriate financing statements in the proper filing offices in the appropriate
          jurisdictions under applicable law to perfect the security interest in the portion of the Collateral
          pledged to the Trustee under this Indenture that may be perfected by the filing of financing
          statements.

                  (x)      The Issuer has not authorized the filing of and is not aware of any financing
          statements against the Issuer that include a description of collateral covering the Collateral other
          than any financing statement (A) relating to the security interest granted to the Trustee under this
          Indenture, (B) that has been terminated or (C) that names the Trustee as the secured party. On the
          date of this Indenture, the Issuer is not aware of any judgment or Pension Benefit Guaranty
          Corporation or tax lien filings against the Issuer.

                  (xi)    The Issuer has delivered to the Trustee a fully executed agreement pursuant to
          which the securities intermediary for each Account has agreed to comply with all instructions
          originated by the Trustee relating to the Account without further consent by the Issuer.

                  (xii)   All original executed copies of each “instrument” (as defined in each applicable
          Uniform Commercial Code) that are or evidence the Collateral have been delivered to the
          Custodian, to the extent received by the Issuer. The Issuer has received confirmation from the
          Custodian that the Custodian has credited the instruments to one of the Accounts. None of the
          instruments that are or evidence the Collateral has any marks or notations indicating that they are
          then pledged or otherwise assigned to any Person other than the Trustee.

                  (xiii) The Accounts are not in the name of any Person other than the Issuer or the
          Trustee. The Issuer has not consented to the securities intermediary of any Account to comply
          with instructions of any Person other than the Trustee.

                   (xiv) All “certificated securities” (as defined in each applicable Uniform Commercial
          Code) that are or evidence the Collateral have been delivered to the Custodian, to the extent
          received by the Issuer, registered in the name of the Custodian or indorsed to the Custodian. The
          Issuer has received confirmation from the Custodian that the Custodian has credited such
          certificated securities to one of the Accounts.

                  (xv)    The Issuer has caused all “uncertificated securities” (as defined in each
          applicable Uniform Commercial Code) that are or evidence the Collateral to be registered in the
          name of the Custodian.

                   (xvi) Upon grant by the Issuer, the Trustee has a first priority perfected security
          interest in the Collateral.




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          (b)     The parties to this Indenture shall not waive any of the representations in this Section 3.3,
  unless the Rating Condition is satisfied in connection with such waiver. The Issuer shall provide each of
  the Rating Agencies with prompt written notice of any breach of the representations contained in this
  Section 3.3 upon becoming aware thereof, and shall not waive a breach of any of the representations in
  this Section 3.3, unless the Rating Condition is satisfied (as determined after any adjustment or
  withdrawal of the ratings following notice of such breach) in connection with such waiver.

          (c)       If the Issuer acquires Collateral that is not “general intangibles,” “certificated securities,”
  “instruments,” “securities entitlements,” or “uncertificated securities,” each within the meaning of the
  applicable Uniform Commercial Code, or another category of collateral under the applicable Uniform
  Commercial Code as to which the Issuer has complied with its obligations under this Section 3.3, then on
  or before the date on which the Issuer acquires the Collateral, the Issuer (or the Servicer on behalf of the
  Issuer) shall notify S&P and the Trustee (for the benefit of the Secured Parties) of its acquisition or
  intended acquisition of the Collateral and the Issuer shall represent to S&P and to the Trustee (for the
  benefit of the Secured Parties) as to the category of the Collateral under the applicable Uniform
  Commercial Code and shall make any further representations as to the perfection and priority of the
  security interest in the Collateral Granted under this Indenture acceptable to S&P.

                                                  ARTICLE IV.

                                        SATISFACTION AND DISCHARGE

          Section 4.1.      Satisfaction and Discharge of Indenture.

          This Indenture shall be discharged and shall cease to be of further effect with respect to the Notes
  and the Collateral except as to:

          (a)      rights of registration of transfer and exchange,

          (b)      substitution of mutilated, destroyed, lost or stolen Notes,

           (c)    rights of Noteholders to receive payments of principal and interest on, or other amounts
  (including without limitation Extension Bonus Payments) owing in respect of, the Notes as provided in
  this Indenture,

          (d)      the rights, indemnities, and immunities of the Trustee under this Indenture and the
  obligations of the Trustee under Section 7.3 of this Indenture with respect to the holding and paying of
  unclaimed funds,

          (e)     for so long as any Preference Shares remain Outstanding, any provisions hereof
  conferring any rights or remedies upon the Holders of the Preference Shares or the Preference Shares
  Paying Agent on behalf of the Holders of the Preference Shares, including but not limited to, the
  provisions of Articles 7, 8, 10, 11, 12, 14 and 15,

          (f)      for so long as any Preference Shares remain Outstanding, the provisions of Articles 10,
  11 and 12 relating to the acquisition, retention and disbursement of Collateral,

          (g)    the rights, obligations, and immunities of the Servicer under this Indenture and under the
  Servicing Agreement,




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          (h)     the rights of Noteholders as beneficiaries of this Indenture with respect to the property
  deposited with the Trustee and payable to any of them (and the Trustee, on demand of and at the expense
  of the Issuer, shall execute proper instruments acknowledging satisfaction and discharge of this
  Indenture),

          (i)      when:

                   (i)     either:

                           (A)      all Notes theretofore authenticated and delivered to Holders of Notes
                   (other than (A) Notes that have been destroyed, lost or stolen and which have been
                   replaced or paid as provided in Section 2.7 and (B) Notes for whose payment money has
                   theretofore irrevocably been deposited in trust and thereafter repaid to the Issuer or
                   discharged from the trust, as provided in Section 7.3), have been delivered to the Trustee
                   for cancellation; or

                          (B)    all Notes not theretofore delivered to the Trustee for cancellation have
                   become payable, or

                           (C)       will become payable at their Stated Maturity within one year, or

                          (D)      are to be called for redemption pursuant to Article 9 under an
                   arrangement satisfactory to the Trustee for the giving of notice of redemption by the
                   Applicable Issuers pursuant to Section 9.3,

                   (ii)     and the Issuer has irrevocably deposited with the Trustee, in trust for payment of
          the principal and interest on the Notes, Cash or non-callable obligations of the United States of
          America. The obligations deposited under Section 4.1(i)(ii) with respect to the other Notes must
          be entitled to the full faith and credit of the United States of America or be debt obligations that
          are rated “Aaa” by Moody’s and “AAA” by S&P, in an amount sufficient, as verified by a firm of
          Independent certified public accountants that are nationally recognized, to pay and discharge the
          entire indebtedness on the Notes not theretofore delivered to the Trustee for cancellation, for
          principal and interest to the date of the deposit (in the case of Notes that have become payable),
          or to the respective Stated Maturity or the respective Redemption Date, as the case may be, and
          the Issuer shall have Granted to the Trustee a valid perfected security interest in the Eligible
          Investment that is of first priority, free of any adverse claim, and shall have furnished an Opinion
          of Counsel with respect thereto. Section 4.1(i)(ii) shall not apply if an election to act in
          accordance with Section 5.5(a) has been made and not rescinded. In addition, the Issuer shall
          cause delivery to the Trustee of an Opinion of Counsel of Independent U.S. tax counsel of
          nationally recognized standing in the United States experienced in such matters to the effect that
          the Noteholders would recognize no income, gain or loss for U.S. federal income tax purposes as
          a result of the deposit and satisfaction and discharge of this Indenture,

          (j)    the Issuer has paid all other sums then payable under this Indenture by the Issuer and no
  other amounts are scheduled to be payable by the Issuer, and

           (k)     the Co-Issuers have delivered to the Trustee Officer’s certificates and an Opinion of
  Counsel, each stating that all conditions precedent in this Indenture provided for relating to the
  satisfaction and discharge of this Indenture have been complied with.




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          Notwithstanding the satisfaction and discharge of this Indenture, the rights and obligations of the
  Co-Issuers, the Trustee, the Servicer and, if applicable, the Noteholders, as the case may be, under
  Sections 2.8, 4.2, 5.4(d), 5.9, 5.18, 6.7, 6.8, 7.1, 7.3, 13.1, and 14.14 shall survive.

          Section 4.2.    Application of Trust Money.

           All monies deposited with the Trustee pursuant to Section 4.1 shall be held in trust for the Person
  entitled to it and applied by the Trustee in accordance with the Notes and this Indenture, including the
  Priority of Payments, to the payment of principal and interest (and, in the case of the Class A-1B Notes,
  Delayed Drawdown Fee), either directly or through any Paying Agent, as the Trustee may determine.
  The money shall be held in a segregated non-interest bearing trust account identified as being held in trust
  for the benefit of the Secured Parties.

          Section 4.3.    Repayment of Monies Held by Paying Agent.

          In connection with the satisfaction and discharge of this Indenture with respect to the Notes, all
  monies then held by any Paying Agent other than the Trustee under this Indenture shall, upon demand of
  the Co-Issuers, be paid to the Trustee to be held and applied pursuant to Section 7.3 and in accordance
  with the Priority of Payments and thereupon the Paying Agent shall be released from all further liability
  with respect to the monies.

                                                ARTICLE V.

                                                  REMEDIES

          Section 5.1.    Events of Default.

         “Event of Default,” wherever used in this Indenture, means any one of the following events
  whatever the reason:

          (a)     a default for four Business Days in the payment of any interest (or, in the case of the
  Class A-1B Notes, Delayed Drawdown Fee) on any Class of Notes that is currently part of the
  Controlling Class when it becomes payable (or in the case of a default in payment due to an
  administrative error or omission by the Trustee, the Irish Paying Agent or the Indenture Registrar, after
  seven Business Days);

         (b)    a default in the payment of principal (including Deferred Interest) of any Note, when the
  same becomes payable, at its Stated Maturity, Refinancing Date or on the Redemption Date;

         (c)     the failure on any Payment Date to disburse amounts available in the Payment Account in
  accordance with the Priority of Payments and the failure continues for three Business Days;

         (d)      on any Measurement Date for so long as any Class A Notes are Outstanding, the Class A
  Overcollateralization Ratio is less than 100%;

          (e)     either of the Co-Issuers or the pool of Collateral becomes an investment company under
  the Investment Company Act;

          (f)     breach of any other covenant or other agreement of the Issuer or the Co-Issuer in this
  Indenture (other than any failure to satisfy any of the Collateral Quality Tests, any of the Concentration
  Limitations, any of the Coverage Tests, the Retention Overcollateralization Test, or other covenants or



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  agreements for which a specific remedy has been provided in this Section 5.1) in any material respect, or
  the failure of any representation or warranty of the Issuer or the Co-Issuer in this Indenture or in any
  certificate or other writing delivered pursuant thereto, or in connection therewith, to be correct in any
  material respect when made, and the breach or failure continues for 30 days after either of the Co-Issuers
  has actual knowledge of it or after notice to the Issuer, the Co-Issuer, and the Servicer by the Trustee or to
  the Issuer, the Co-Issuer, the Servicer, and the Trustee by the Holders of at least 25% of the Aggregate
  Outstanding Amount of the Controlling Class by registered or certified mail or overnight courier
  specifying the breach or failure and requiring it to be remedied and stating that the notice is a “Notice of
  Default” under this Indenture;

           (g)     the entry of a decree or order by a court having competent jurisdiction adjudging the
  Issuer or the Co-Issuer as bankrupt or insolvent, or approving as properly filed a petition seeking
  reorganization, arrangement, adjustment, or composition of the Issuer or the Co-Issuer under the
  Bankruptcy Law or any other applicable law, or appointing a receiver, liquidator, assignee, or sequestrator
  (or other similar official) of the Issuer or the Co-Issuer or of any substantial part of its property, or
  ordering the winding up or liquidation of its affairs, and if the decree or order remains unstayed and in
  effect for 45 consecutive days;

           (h)      the institution by the shareholders of the Issuer or the Co-Issuer of Proceedings to have
  the Issuer or Co-Issuer, as the case may be, adjudicated as bankrupt or insolvent, or the consent by the
  shareholders of the Issuer or the Co-Issuer to the institution of bankruptcy or insolvency Proceedings
  against the Issuer or Co-Issuer, or the filing by the Issuer or the Co-Issuer of a petition or answer or
  consent seeking reorganization or relief under the Bankruptcy Law or any other similar applicable law, or
  the consent by the Issuer or the Co-Issuer to the filing of any such petition or to the appointment of a
  receiver, liquidator, assignee, trustee, or sequestrator (or other similar official) of the Issuer or the Co-
  Issuer or of any substantial part of its property, or the making by the Issuer or the Co-Issuer of an
  assignment for the benefit of creditors, or the admission by the Issuer or the Co-Issuer in writing of its
  inability to pay its debts generally as they become due, or the taking of any action by the Issuer or the Co-
  Issuer in furtherance of any such action; or

           (i)     one or more final judgments is rendered against the Issuer or the Co-Issuer that exceed in
  the aggregate U.S.$2,000,000 and that remain unstayed, undischarged, and unsatisfied for 30 days after
  the judgments become nonappealable, unless adequate funds have been reserved or set aside for their
  payment, and unless (except as otherwise specified in writing by Moody’s) the Rating Condition with
  respect to each Rating Agency is satisfied with respect thereon.

        Section 5.2.       Notice of Event of Default; Acceleration of Maturity; Rescission and
  Annulment.

          (a)    Upon the occurrence of an Event of Default, the Trustee shall give prompt (and in no
  event later than five Business Days after becoming aware of such event) notice thereof to the
  Noteholders.

           (b)      If an Event of Default is continuing (other than an Event of Default specified in Section
  5.1(e), (g) or (h)), the Trustee may, with consent of the Majority of the Controlling Class, and shall, upon
  the written direction of a Majority of the Controlling Class, declare the principal of all the Notes to be
  immediately payable by notice to the Applicable Issuers and the Noteholders, and upon that declaration
  the unpaid principal of all the Notes, together with all its accrued and unpaid interest (and any applicable
  Defaulted Interest Charge), and other amounts payable under this Indenture, shall become immediately
  payable. The Replacement Period shall terminate upon a declaration of acceleration (subject to re-
  commencement pursuant to Section 5.2(c)). If an Event of Default specified in Section 5.1(e), (g) or (h)


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  occurs, all unpaid principal, together with all its accrued and unpaid interest (and any applicable
  Defaulted Interest Charge), of all the Notes, and other amounts payable under this Indenture, shall
  automatically become payable without any declaration or other act on the part of the Trustee or any
  Noteholder and the Replacement Period shall terminate automatically (subject to re-commencement
  pursuant to Section 5.2(c)).

          (c)      At any time after the declaration of acceleration of maturity has been made and before a
  judgment or decree for payment of the money due has been obtained by the Trustee, a Majority of the
  Controlling Class by written notice to the Issuer, the Trustee and the Preference Shares Paying Agent may
  rescind the declaration and its consequences if:

                   (i)     The Issuer or the Co-Issuer has paid or deposited with the Trustee a sum
          sufficient to pay:

                           (A)     all unpaid installments of interest and principal on the Notes then due;

                            (B)      to the extent that payment of the interest is lawful, interest on any
                   Deferred Interest and Defaulted Interest at the Applicable Note Interest Rate or Default
                   Interest Rate, as applicable;

                          (C)     all Administrative Expenses of the Co-Issuers and other sums paid or
                   advanced by the Trustee under this Indenture;

                           (D)     all unpaid Senior Servicing Fees;

                           (E)     all amounts then payable to any Hedge Counterparty; and

                  (ii)   The Trustee has determined that all Events of Default, other than the non-
          payment of the interest on or principal of the Notes, have been (A) cured, and a Majority of the
          Controlling Class by written notice to the Trustee has agreed with that determination, or (B)
          waived as provided in Section 5.14.

          No such rescission shall affect any subsequent Default or impair any right consequent thereon.
  The Issuer shall not terminate any Hedge Agreement at any time after a declaration of acceleration of
  Maturity of the Notes has been made, unless such declaration and its consequences may no longer be
  rescinded and annulled in accordance with this Section 5.2(c) and liquidation of the Collateral has begun.

          If a declaration of acceleration is rescinded as described above:

          (x)     the Replacement Period, if terminated by the declaration, shall re-commence on the date
  of the rescission (unless the Replacement Period would have otherwise terminated before that date
  pursuant to clauses (a), (b), or (c) of its definition); and

          (y)     the Trustee shall retain the Collateral in accordance with this Indenture. If the retention
  of the Collateral is rescinded pursuant to Section 5.5, the Notes may again be accelerated pursuant to
  Section 5.2(b), notwithstanding any previous rescission of a declaration of acceleration pursuant to this
  Section 5.2(c).

          No rescission shall affect any subsequent Default or impair any right resulting from the Default.




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           (d)      Notwithstanding anything in this Section 5.2 to the contrary, the Notes will not be subject
  to acceleration by the Trustee, a Majority of the Controlling Class or any other Holders solely as a result
  of the failure to pay any amount due on Notes that are not of the Controlling Class.

          Section 5.3.     Collection of Indebtedness and Suits for Enforcement by Trustee.

           The Applicable Issuers covenant that if a default occurs in the payment of any principal of or
  interest when payable on any Note, upon demand of the Trustee or the Holder of any affected Note, the
  Applicable Issuers shall pay to the Trustee, for the benefit of the Holder of the Note, the whole amount
  then payable on the Note for principal and interest with interest on the overdue principal and, to the extent
  that payments of the interest shall be legally enforceable, on overdue installments of interest and all other
  amounts owing to the Noteholders under this Indenture, at the Applicable Note Interest Rate or Default
  Interest Rate, as applicable, and, in addition, an amount sufficient to cover the costs and expenses of
  collection, including the reasonable compensation, expenses, disbursements and advances of the Trustee
  and the Holders and their agents and counsel.

           If the Issuer or the Co-Issuer fails to pay those amounts immediately on demand, the Trustee, in
  its own name and as Trustee of an express trust, may (after giving prior written notice to the Controlling
  Class and absent the Trustee having received a written direction to the contrary from the Controlling
  Class), and shall at the written direction of a Majority of the Controlling Class (subject to Section 6.3(e)),
  institute a Proceeding for the collection of the sums due, may prosecute the Proceeding to judgment or
  final decree, and may enforce the same against the Applicable Issuers or any other obligor on the Notes
  and collect the monies determined to be payable in the manner provided by law out of the Collateral.

           If an Event of Default is continuing, the Trustee may (after giving prior written notice to the
  Controlling Class and absent the Trustee having received a written direction to the contrary from the
  Controlling Class), and shall upon written direction of a Majority of the Controlling Class (subject to
  Section 6.3(e)), proceed to protect and enforce its rights and the rights of the Noteholders by any
  appropriate Proceedings as is deemed most effective (if no direction is received by the Trustee) or as the
  Trustee may be directed by a Majority of the Controlling Class, to protect and enforce the rights of the
  Trustee and the Noteholders, whether for the specific enforcement of any agreement in this Indenture or
  in aid of the exercise of any power granted in this Indenture, or to enforce any other proper remedy or
  legal or equitable right vested in the Trustee by this Indenture or by law. The reasonable compensation,
  costs, expenses, disbursements and advances incurred or paid by the Trustee and its agents and counsel, in
  connection with such Proceeding, including, without limitation, the exercise of any remedies pursuant to
  Section 5.4, shall be reimbursed to the Trustee pursuant to Section 6.8.

           If any Proceedings are pending relating to the Issuer or the Co-Issuer or any other obligor on the
  Notes under the Bankruptcy Law or any other applicable bankruptcy, insolvency or other similar law, or
  if a receiver, assignee, or trustee in bankruptcy or reorganization, liquidator, sequestrator or similar
  official has been appointed for or taken possession of the Issuer, the Co-Issuer or their respective property
  or any other obligor on the Notes or its property, or if any other comparable Proceedings are pending
  relating to the Issuer, the Co-Issuer or other obligor on the Notes, or the creditors or property of the
  Issuer, the Co-Issuer or other obligor on the Notes, the Trustee, regardless of whether the principal of any
  Notes is then payable by declaration or otherwise and regardless of whether the Trustee has made any
  demand pursuant to this Section 5.3, may, by intervention in the Proceedings or otherwise:

          (a)     file and prove claims for the whole amount of principal and interest owing and unpaid in
  respect of the Notes, and file any other papers or documents appropriate and take any other appropriate
  action (including sitting on a committee of creditors) to have the claims of the Trustee (including any
  claim for reasonable compensation to the Trustee and each predecessor Trustee, and their respective


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  agents, attorneys, and counsel, and for reimbursement of all expenses and liabilities incurred, and all
  advances made, by the Trustee and each predecessor Trustee, except as a result of negligence or bad faith)
  and of the Noteholders allowed in any Proceedings relating to the Issuer, the Co-Issuer, or other obligor
  on the Notes or to the creditors or property of the Issuer, the Co-Issuer or other obligor on the Notes;

           (b)     unless prohibited by applicable law, vote on behalf of the Noteholders in any election of a
  trustee or a standby trustee in arrangement, reorganization, liquidation or other bankruptcy or insolvency
  Proceedings or Person performing similar functions in comparable Proceedings; and

          (c)      collect and receive any monies or other property payable to or deliverable on any such
  claims, and distribute all amounts received with respect to the claims of the Noteholders and of the
  Trustee on their behalf; and any trustee, receiver or liquidator, custodian or other similar official is
  authorized by each of the Noteholders to make payments to the Trustee, and, if the Trustee consents to
  making payments directly to the Noteholders, to pay to the Trustee amounts sufficient to cover reasonable
  compensation to the Trustee, each predecessor Trustee, and their respective agents, attorneys, and
  counsel, and all other reasonable expenses and liabilities incurred, and all advances made, by the Trustee
  and each predecessor Trustee except as a result of negligence or bad faith.

          Nothing in this Indenture shall authorize the Trustee to authorize or consent to or vote for or
  accept or adopt on behalf of the Holder of any Note, any plan of reorganization, arrangement, adjustment
  or composition affecting the Notes or any Noteholder, or to authorize the Trustee to vote on the claim of
  the Holder of any Note in any Proceeding except, as aforesaid, to vote for the election of a trustee in
  bankruptcy or similar Person.

          Notwithstanding anything in this Section 5.3 to the contrary, the Trustee may not sell or liquidate
  the Collateral or institute Proceedings in furtherance of the sale or liquidation of the Collateral pursuant to
  this Section 5.3 except according to Section 5.5(a).

          Section 5.4.     Remedies.

          (a)      If an Event of Default is continuing, and the Notes have been declared payable and the
  declaration and its consequences have not been rescinded, or at any time after the Stated Maturity, the Co-
  Issuers agree that the Trustee may (after giving prior written notice to the Controlling Class and absent
  the Trustee having received a written direction to the contrary from the Controlling Class), and shall,
  upon written direction of a Majority of the Controlling Class (subject to Section 6.3(e)), to the extent
  permitted by applicable law, exercise one or more of the following rights:

                  (i)    institute Proceedings for the collection of all amounts then payable on the Notes
          or otherwise payable under this Indenture, whether by declaration or otherwise, enforce any
          judgment obtained, and collect from the Collateral any monies adjudged due;

                 (ii)    sell or liquidate all or a portion of the Collateral or interests therein, at one or
          more public or private sales called and conducted in any manner permitted by law and in
          accordance with Section 5.17;

                   (iii)  institute Proceedings from time to time for the complete or partial foreclosure of
          this Indenture with respect to the Collateral;

                  (iv)    exercise any remedies of a secured party under the UCC and take any other
          appropriate action to protect and enforce the rights of the Trustee and the Noteholders under this
          Indenture; and



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                   (v)     exercise any other rights that may be available at law or in equity;

          except that the Trustee may not sell or liquidate the Collateral or institute Proceedings in
  furtherance of the sale or liquidation of the Collateral pursuant to this Section 5.4 except according to
  Section 5.5(a).

           (b)     If an Event of Default as described in Section 5.1(f) is continuing the Trustee may, with
  the consent of, and shall, at the written direction of, the Holders of not less than 25% of the Aggregate
  Outstanding Amount of the Controlling Class, subject to Section 6.3(e), institute a Proceeding solely to
  compel performance of the covenant or agreement or to cure the representation or warranty, the breach of
  which gave rise to the Event of Default under Section 5.1(f), and enforce any equitable decree or order
  arising from the Proceeding.

          (c)      Upon any sale, whether made under the power of sale given under this Indenture or by
  virtue of judicial Proceedings, any Holders or the Servicer (subject to the Servicing Agreement) may bid
  for and purchase any part of the Collateral and, upon compliance with the terms of sale, may hold, retain,
  possess, or dispose of the Collateral in its or their own absolute right without accountability.

          Upon any sale, whether made under the power of sale given under this Indenture or by virtue of
  judicial Proceedings, the receipt of the Trustee, or of the Officer making a sale under judicial
  Proceedings, shall be a sufficient discharge to the purchasers at any sale for their purchase money, and the
  purchasers shall not be obliged to see to its application.

           Any sale, whether under any power of sale given under this Indenture or by virtue of judicial
  Proceedings, shall bind the Co-Issuers, the Trustee and the Noteholders, shall operate to divest all interest
  whatsoever, either at law or in equity, of each of them in the property sold, and shall be a perpetual bar,
  both at law and in equity, against each of them and their successors and assigns, and against all Persons
  claiming through or under them.

           (d)     Notwithstanding any other provision of this Indenture, none of the Trustee, the Secured
  Parties or the Noteholders may, before the date that is one year and one day (or if longer, any applicable
  preference period plus one day) after the payment in full of all Notes and redemption of all of the
  Preference Shares, institute against, or join any other Person in instituting against, the Issuer or the Co-
  Issuer any bankruptcy, reorganization, arrangement, insolvency, moratorium, or liquidation Proceedings,
  or other Proceedings under the Bankruptcy Law or any similar laws in any jurisdiction. Nothing in this
  Section 5.4 shall preclude the Trustee or any Secured Party (i) from taking any action before the
  expiration of that period in (A) any case or Proceeding voluntarily filed or commenced by the Issuer or
  the Co-Issuer or (B) any involuntary insolvency Proceeding filed or commenced by a Person other than a
  Secured Party or (ii) from commencing against the Issuer or the Co-Issuer or any of its properties any
  legal action that is not a bankruptcy, reorganization, arrangement, insolvency, moratorium or liquidation
  Proceeding.

          Section 5.5.     Optional Retention of Collateral.

          (a)     Notwithstanding anything to the contrary in this Indenture, if an Event of Default is
  continuing, the Trustee shall retain the Collateral, collect, and cause the collection of the proceeds of the
  Collateral and make and apply all payments and deposits and maintain all accounts in respect of the
  Collateral and the Notes, and any Hedge Agreements (other than amounts received under a Hedge
  Agreement that are used in putting a Replacement Hedge in place), in accordance with the Priority of
  Payments, Article 10 and Article 12 unless:




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                  (i)      the Trustee, in consultation with the Servicer, determines that the anticipated net
          proceeds of a sale or liquidation of the Collateral would be sufficient to discharge in full the
          amounts then due and unpaid on the Notes for principal and interest (including Defaulted Interest
          and Deferred Interest and any interest on the Defaulted Interest and Deferred Interest), all
          Administrative Expenses, all other amounts (if any) then payable to the Hedge Counterparty by
          the Issuer (including any applicable termination payments) net of all amounts then payable to the
          Issuer by the Hedge Counterparty and all other amounts then payable under Section 11.1(a)(i)(3)
          and a Majority of the Controlling Class agrees with that determination; or

                  (ii)   the Holders of a Super Majority of the Class A Notes (voting as a single Class),
          the Class B Notes, the Class C Notes and the Class D Notes direct the sale and liquidation of the
          Collateral.

          The Trustee shall give written notice of the retention of the Collateral to the Issuer with a copy to
  the Co-Issuer and the Servicer. So long as the Event of Default is continuing, any retention pursuant to
  this Section 5.5(a) may be rescinded at any time when the conditions specified in clause (i) or (ii) exist.

          (b)      Nothing contained in Section 5.5(a) shall be construed to require the Trustee to sell the
  Collateral if the conditions in clause (i) or (ii) of Section 5.5(a) are not satisfied. Nothing contained in
  Section 5.5(a) shall be construed to require the Trustee to retain the Collateral if prohibited by applicable
  law.

          (c)     In determining whether the condition specified in Section 5.5(a)(i) exists, the Trustee, in
  consultation with the Servicer, shall obtain bid prices with respect to each security contained in the
  Collateral from two nationally recognized dealers (or if there is only one market maker, that market
  maker and if there is no market maker, from a pricing service) selected and specified by the Servicer to
  the Trustee in writing, at the time making a market in those securities, and shall compute the anticipated
  proceeds of sale or liquidation on the basis of the lower of the bid prices for each security. In addition,
  for the purposes of determining issues relating to the valuation of the Collateral, the satisfaction of the
  conditions specified in this Indenture, the execution of a sale or liquidation of the Collateral, and the
  execution of a sale or other liquidation of the Collateral in connection with a determination whether the
  condition specified in Section 5.5(a)(i) exists, the Trustee may retain, at the Issuer’s expense, and rely on
  an opinion of an Independent investment banking firm of national reputation, which may be the
  Placement Agent.

           The Trustee shall deliver to the Preference Shares Paying Agent (for forwarding to the Holders of
  Preference Shares), the Noteholders, the Co-Issuers, the Servicer and the Hedge Counterparties a report
  stating the results of any determination required pursuant to Section 5.5(a)(i). The Trustee shall make the
  determinations required by Section 5.5(a)(i) after an Event of Default at the written request of a Majority
  of the Controlling Class at any time during which the Trustee retains the Collateral pursuant to Section
  5.5(a) (provided, however, that in the case of any such request made more frequently than one per Due
  Period, the Trustee may require that any expenses associated with such determination, including the
  accountant’s letter described in the next sentence, be paid by the requesting Noteholders). The Trustee
  shall obtain (at the Issuer’s expense) a letter of a firm of Independent certified public accountants
  confirming the accuracy of each calculation made by the Trustee pursuant to Section 5.5(a)(i) and
  certifying their conformity to the requirements of this Indenture.

          (d)     Notwithstanding anything in this Indenture to the contrary, the Trustee may not, and the
  Noteholders representing the requisite percentage of the Aggregate Outstanding Amount of the Notes
  specified in Sections 5.4 or 5.5, may not instruct the Trustee to sell or liquidate or (except in connection
  with the concurrent execution of a Replacement Hedge) terminate any Hedge Agreement during the


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  continuance of an Event of Default until all Collateral other than the Hedge Agreements has been sold or
  liquidated and its proceeds applied in accordance with this Indenture.

           (e)      Collateral may not be sold or liquidated pursuant to Section 5.5(a)(i) after the last date on
  which the sale or liquidation is permitted under Section 5.5(a)(i) with respect to a determination made
  pursuant to Section 5.5(a)(i) (the last permitted date being determined by the Trustee under Section
  5.5(a)(i)), unless a new determination is made in accordance with Section 5.5(a)(i) and the Collateral is
  sold or liquidated before the last sale date permitted in accordance with the new determination.

          Section 5.6.     Trustee May Enforce Claims Without Possession of Notes.

          All rights of action and claims under this Indenture or under any of the Notes may be prosecuted
  and enforced by the Trustee without the possession of any of the Notes or their production in any trial or
  other Proceeding relating to them, and any Proceeding instituted by the Trustee shall be brought in its
  own name as trustee of an express trust, and any recovery of judgment shall be applied as provided in
  Section 5.7.

           In any Proceedings brought by the Trustee (and any Proceedings involving the interpretation of
  any provision of this Indenture to which the Trustee shall be a party) the Trustee shall be held to represent
  all the Noteholders.

          Section 5.7.     Application of Money Collected.

          Any money collected by the Trustee with respect to the Notes pursuant to this Article 5 and any
  money that may then be held or subsequently received by the Trustee with respect to the Notes under this
  Indenture shall be applied, subject to Section 13.1 and in accordance with Section 11.1, at the dates fixed
  by the Trustee.

          Section 5.8.     Limitation on Suits.

          No Holder of any Note shall have any right to institute any Proceedings, judicial or otherwise,
  with respect to this Indenture, or for the appointment of a receiver or trustee, or for any other remedy
  under this Indenture, unless:

          (a)      the Holder has previously given to the Trustee written notice of an Event of Default;

          (b)     the Holders of not less than 25% of the Aggregate Outstanding Amount of the
  Controlling Class shall have made written request to the Trustee to institute Proceedings with respect to
  the Event of Default in its own name as Trustee under this Indenture and the Holders have offered to the
  Trustee indemnity satisfactory to it against the expenses and liabilities to be incurred in compliance with
  the request;

           (c)      the Trustee for 30 days after its receipt of the notice, request and offer of indemnity has
  failed to institute a Proceeding; and

          (d)     no direction inconsistent with the written request has been given to the Trustee during the
  30 day period by a Majority of the Controlling Class.

          No Noteholder shall have any right in any manner whatsoever by virtue of, or by availing of, any
  provision of this Indenture to affect the rights of any other Noteholders of the same Class or to obtain or
  to seek to obtain priority or preference over any other Holders of Notes of the same Class or to enforce



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  any right under this Indenture, except in the manner provided in this Indenture and for the equal and
  ratable benefit of all the Holders of Notes of the same Class subject to and in accordance with Section
  13.1 and the Priority of Payments.

          If, during the occurrence of an Event of Default, the Trustee receives conflicting or inconsistent
  requests and indemnity pursuant to this Section 5.8 from two or more groups of Holders of the
  Controlling Class, regarding the institution or conduct of any proceeding or any remedy or the exercise of
  any right available to the Trustee under this Indenture, each representing less than a Majority of the
  Controlling Class, the Trustee shall take the action requested by the Holders of the largest percentage in
  Aggregate Outstanding Amount of the Controlling Class, notwithstanding any other provisions of this
  Indenture but subject to Section 6.3(e).

          Section 5.9.    Unconditional Rights of Noteholders.

          Notwithstanding any provision of this Indenture other than this Section 5.9 and Sections 2.8(i),
  5.4(d), and 13.1, the Holder of any Note shall have the right, which is absolute and unconditional, to
  receive payment of the principal of and interest on the Note as it comes due in accordance with the
  Priority of Payments and Section 13.1, and, subject to Section 5.8, to institute proceedings for the
  enforcement of any such payment, and that right shall not be impaired without the consent of the Holder.
  Noteholders ranking junior to Notes still Outstanding may not institute proceedings for the enforcement
  of any such payment until no Note ranking senior to their Note remains Outstanding, subject to Section
  5.8, and shall not be impaired without the consent of any such Holder. For so long as any Notes are
  Outstanding, the Preference Shares Paying Agent shall not be entitled to any payment of any amount for
  payments to the Holders of the Preference Shares pursuant to the Preference Share Documents, to the
  extent legally permitted, on a claim against the Issuer unless there are sufficient funds to pay such
  amounts to the Preference Shares Paying Agent in accordance with the Priority of Payments.

          Section 5.10.   Restoration of Rights and Remedies.

           If the Trustee or the Holder of any Note has instituted any Proceeding to enforce any right under
  this Indenture and the Proceeding has been discontinued or abandoned for any reason, or has been
  determined adversely to the Trustee or to the Holder, then, subject to any determination in the Proceeding,
  the Co-Issuers, the Trustee and the Holder shall be restored to their former positions under this Indenture,
  and thereafter all rights of the Trustee and the Holder shall continue as though no Proceeding had been
  instituted.

          Section 5.11.   Rights and Remedies Cumulative.

          No right in this Indenture conferred on or reserved to the Trustee or to the Noteholders is
  intended to be exclusive of any other right, and every right shall, to the extent permitted by law, be
  cumulative and in addition to every other right given under this Indenture or now or hereafter existing at
  law or in equity or otherwise. The assertion or employment of any right under this Indenture, or
  otherwise, shall not prevent the concurrent assertion or employment of any other appropriate right.

          Section 5.12.   Delay or Omission Not Waiver.

           No delay or omission of the Trustee or the Holder of any Note to exercise any right accruing upon
  any Event of Default shall impair the right or be a waiver of the Event of Default or an acquiescence in it
  or of a subsequent Event of Default. Every right given by this Article 5 or by law to the Trustee or to the
  Noteholders may be exercised from time to time, and as often as deemed expedient, by the Trustee or by
  the applicable Noteholders.



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          Section 5.13.    Control by Majority of the Controlling Class.

          (a)     Notwithstanding any other provision of this Indenture, during the continuance of an
  Event of Default, a Majority of the Controlling Class may institute and direct the time, method and place
  of conducting any Proceeding for any remedy available to the Trustee, or exercising any right of the
  Trustee with respect to the Notes if:

                   (i)     the direction does not conflict with any rule of law or with any express provision
          of this Indenture; and

                 (ii)     the Trustee has been indemnified to its reasonable satisfaction (and the Trustee
          need not take any action that it determines might involve it in liability unless it has received an
          indemnity against the liability).

          Notwithstanding the foregoing, only a Majority of the Controlling Class may direct proceedings
  with respect to remedies specified in Section 5.4(a) or otherwise with respect to the Collateral.

           (b)       The Trustee may take any other action deemed proper by the Trustee that is not
  inconsistent with a direction under Section 5.13(a). Subject to Section 6.1, the Trustee need not take any
  action that it determines might involve it in liability (unless the Trustee has received an indemnity against
  the liabilities reasonably satisfactory to it) and during the continuance of an Event of Default that has not
  been cured, or waived, the Trustee shall, before receiving directions from a Majority of the Controlling
  Class, exercise the rights expressly vested in it by this Indenture and use the same degree of care and skill
  in their exercise with respect to the Event of Default as is required by Section 6.1(b).

          (c)     Any direction to the Trustee to undertake a Sale of the Collateral shall be in accordance
  with Sections 5.4 or 5.5.

          Section 5.14.    Waiver of Past Defaults.

          Before a judgment or decree for payment of any money due has been obtained by the Trustee, as
  provided in this Article 5, a Majority of the Controlling Class may on behalf of the Holders of all the
  Notes, with respect to the Notes waive any past Default and its consequences, except a Default:

           (a)     in the payment of the principal or Redemption Price of any Note or in the payment of
  interest (including Defaulted Interest, Deferred Interest, and any interest on Defaulted Interest or Deferred
  Interest) on the Notes;

         (b)      with respect to a provision of this Indenture that under Section 8.2 cannot be modified or
  amended without the waiver or consent of the Holder of each Outstanding Note adversely affected by the
  modification or amendment;

         (c)    in the payment of amounts due to the Servicer, the Trustee or the Hedge Counterparty,
  which may only be waived with the consent of the affected party; or

          (d)      arising as a result of an Event of Default described in Section 5.1(e), (g) or (h).

          Upon any such waiver, the Default shall cease to exist, and any Event of Default arising from it
  shall be cured, for every purpose of this Indenture, but no such waiver shall extend to any subsequent or
  other Default or impair any right consequent thereto. The Trustee shall promptly give written notice of




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  any such waiver to the Servicer, the Preference Shares Paying Agent (for forwarding to the Holders of
  Preference Shares) and each Noteholder.

          Section 5.15.    Undertaking for Costs.

           All parties to this Indenture agree, and each Holder of any Note by its acceptance of its Note
  agrees, that in any suit for the enforcement of any right under this Indenture, or in any suit against the
  Trustee or the Servicer for any action taken or omitted by it as Trustee or for any action taken or omitted
  by the Servicer, as applicable, any court may in its discretion require the filing by any party litigant in the
  suit of an undertaking to pay the costs of the suit, and that the court may in its discretion assess reasonable
  costs, including reasonable attorneys’ fees, against any party litigant in the suit, having due regard to the
  merits and good faith of the claims or defenses made by the party litigant. This Section 5.15 shall not
  apply to any suit instituted by the Trustee or the Servicer, to any suit instituted by any Holder, or group of
  Holders, of Notes holding in the aggregate more than 10% in Aggregate Outstanding Amount of the
  Controlling Class, or to any suit instituted by any Noteholder for the enforcement of the payment of the
  principal of or interest on any Note or any other amount payable under this Indenture after the applicable
  Stated Maturity (or, in the case of redemption, after the applicable Redemption Date).

          Section 5.16.    Waiver of Stay or Extension Laws.

           To the extent that they may lawfully do so, the Co-Issuers covenant that they will not at any time
  insist on, or plead, or in any manner whatsoever claim or take the benefit or advantage of, any stay or
  extension law or any valuation, appraisement, redemption, or marshalling law or rights, in each case
  wherever enacted, now or at any time hereafter in force, that may affect the covenants, the performance
  of, or any remedies under this Indenture. To the extent that they may lawfully do so, the Co-Issuers
  expressly waive all benefit or advantage of any such law or rights, and covenant that they shall not delay
  or impede the execution of any power in this Indenture granted to the Trustee or the Noteholders but will
  permit the execution of every power as though the law had not been enacted or rights created.

          Section 5.17.    Sale of Collateral.

           (a)    The power to effect any sale (a “Sale”) of any portion of the Collateral pursuant to
  Sections 5.4 and 5.5 shall not be exhausted by any one or more Sales as to any portion of the Collateral
  remaining unsold, but shall continue unimpaired until the entire Collateral is sold or all amounts secured
  by the Collateral have been paid. The Trustee may upon notice to the Noteholders and the Preference
  Shares Paying Agent (for forwarding to the Holders of Preference Shares), and shall, at the direction of a
  Majority of the Controlling Class with respect to Collateral, from time to time postpone any Sale by
  public announcement made at the time and place of the Sale. The Trustee waives its rights to any amount
  fixed by law as compensation for any Sale. The Trustee may deduct the reasonable expenses (including
  the reasonable fees and expenses of its agents and attorneys) incurred by it in connection with a Sale from
  its proceeds notwithstanding Section 6.8.

           (b)     The Trustee may, on an arm’s length basis, bid for and acquire any portion of the
  Collateral in connection with a public Sale of the Collateral, and may pay all or part of the purchase price
  by crediting against amounts owing on the Notes or other amounts secured by the Collateral all or part of
  the net proceeds of the Sale after deducting the reasonable expenses incurred by the Trustee in connection
  with the Sale notwithstanding Section 6.8. The Notes need not be produced to complete any Sale, or for
  the net proceeds of the Sale to be credited against amounts owing on the Notes. The Trustee may hold,
  lease, operate, manage or otherwise deal with any property so acquired in any manner permitted by law in
  accordance with this Indenture.




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          (c)      If any portion of the Collateral consists of securities issued without registration under the
  Securities Act (“Unregistered Securities”), the Trustee may seek an Opinion of Counsel, or, if no
  Opinion of Counsel can be obtained, seek a no action position from the Securities and Exchange
  Commission or any other relevant federal or state regulatory authorities, regarding the legality of a public
  or private Sale of the Unregistered Securities.

           (d)     The Trustee shall execute and deliver an appropriate instrument of transfer transferring its
  interest in any portion of the Collateral in connection with its Sale. In addition, the Trustee is irrevocably
  appointed the agent and attorney-in-fact of the Issuer to transfer its interest in any portion of the Collateral
  in connection with its Sale, and to take all action necessary to effect the Sale. No purchaser or transferee
  at a Sale shall be bound to ascertain the Trustee’s authority, to inquire into the satisfaction of any
  conditions precedent, or see to the application of any monies.

          Section 5.18.    Action on the Notes.

           The Trustee’s right to seek and recover judgment on the Notes or under this Indenture shall not be
  affected by the seeking or obtaining of or application for any other relief under or with respect to this
  Indenture. Neither the lien of this Indenture nor any rights or remedies of the Trustee or the Noteholders
  shall be impaired by the recovery of any judgment by the Trustee against the Issuer or by the levy of any
  execution under the judgment on any portion of the Collateral or on any of the assets of the Issuer or the
  Co-Issuer.

                                                 ARTICLE VI.

                                                  THE TRUSTEE

          Section 6.1.     Certain Duties and Responsibilities.

          (a)      Except during the continuance of an Event of Default:

                  (i)     the Trustee undertakes to perform the duties and only the duties specifically
          provided in this Indenture, and no implied covenants or obligations shall be read into this
          Indenture against the Trustee; and

                   (ii)    in the absence of bad faith on its part, the Trustee may conclusively rely, as to the
          truth of the statements and the correctness of the opinions expressed therein, on certificates or
          opinions furnished to the Trustee and conforming to the requirements of this Indenture; the
          Trustee shall examine any certificates or opinions that by any provision of this Indenture are
          specifically required to be furnished to the Trustee to determine whether or not they substantially
          conform on their face to the requirements of this Indenture and shall promptly notify the party
          delivering the same if the certificate or opinion does not conform. If a corrected form has not
          been delivered to the Trustee within 15 days after the notice from the Trustee, the Trustee shall so
          notify the Noteholders and the Preference Shares Paying Agent (for forwarding to the Holders of
          Preference Shares).

           (b)     If the Trustee has actual knowledge that an Event of Default is continuing, the Trustee
  shall, before the receipt of directions from a Majority of the Controlling Class, exercise the rights and
  powers vested in it by this Indenture, and use the same degree of care and skill in its exercise, as a prudent
  Person would use under the circumstances in the conduct of the Person’s own affairs.




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          (c)     No provision of this Indenture shall be construed to relieve the Trustee from liability for
  its own negligent action, its own negligent failure to act or its own willful misconduct, except that:

                  (i)     this subsection shall not be construed to limit the effect of subsection (a) of this
          Section 6.1;

                  (ii)     the Trustee shall not be liable for any error of judgment made in good faith by a
          Trust Officer, unless it is proven that the Trustee was negligent in ascertaining the pertinent facts;

                   (iii)   the Trustee shall not be liable with respect to any action taken or omitted to be
          taken by it in good faith in accordance with the direction of the Issuer or the Co-Issuer or the
          Servicer in accordance with this Indenture or a Majority (or the other percentage required or
          permitted by this Indenture) of the Controlling Class (or other Class if required or permitted by
          this Indenture) relating to the time, method, and place of conducting any Proceeding for any
          remedy available to the Trustee, or exercising any trust or power conferred on the Trustee, under
          this Indenture; and

                  (iv)     no provision of this Indenture shall require the Trustee to expend or risk its own
          funds or otherwise incur any financial liability in the performance of any of its duties under this
          Indenture, or in the exercise of any of its rights contemplated under this Indenture, if it has
          reasonable grounds for believing that repayment of the funds or indemnity satisfactory to it
          against the risk or liability is not reasonably assured to it; provided that the reasonable costs of
          performing its ordinary services under this Indenture shall not be deemed a “financial liability”
          for purposes hereof.

          (d)      For all purposes under this Indenture, the Trustee shall not have notice or knowledge of
  any Event of Default described in Section 5.1(d) through 5.1(i) or any Default described in Section 5.1(e)
  through 5.1(i) unless a Trust Officer assigned to and working in the Corporate Trust Office has actual
  knowledge of it or unless written notice of any event that is in fact an Event of Default or Default is
  received by the Trustee at the Corporate Trust Office, and the notice references the Notes generally, the
  Issuer, the Co-Issuer, the Collateral or this Indenture. For purposes of determining the Trustee’s
  responsibility and liability under this Indenture, whenever reference is made in this Indenture to an Event
  of Default or a Default, the reference shall be construed to refer only to an Event of Default or Default of
  which the Trustee has notice as described in this Section 6.1.

          (e)     Whether or not therein expressly so provided, every provision of this Indenture relating to
  the conduct or affecting the liability of or affording protection to the Trustee shall be subject to this
  Section 6.1 and Section 6.3.

          Section 6.2.    Notice of Default.

          Promptly (and in no event later than five Business Days) after the occurrence of any Default
  known to the Trustee or after any declaration of acceleration has been made or delivered to the Trustee
  pursuant to Section 5.2, the Trustee shall transmit notice of all Defaults under this Indenture known to the
  Trustee, unless the Default has been cured or waived, and of the declaration by mail to the Servicer and
  the Co-Issuers, each Rating Agency, the Preference Shares Paying Agent (for forwarding to the Holders
  of Preference Shares) and to all Noteholders, as their names and addresses appear on the Indenture
  Register, the Irish Stock Exchange, for so long as any Class of Senior Notes is listed on the Irish Stock
  Exchange and so long as the rules of the exchange so require, and, upon written request therefor by a
  Beneficial Owner in the form of Exhibit D certifying that it is a Beneficial Owner, to the Beneficial
  Owner (or its designee).



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          Section 6.3.     Certain Rights of Trustee.

          Except as otherwise provided in Section 6.1:

           (a)     the Trustee may rely and shall be protected in acting or refraining from acting on any
  resolution, certificate, statement, instrument, opinion, report, notice, request, direction, consent, order,
  note, or other paper or document (including but not limited to any reports prepared and delivered under
  Article 10) believed by it to be genuine and to have been signed or presented by the proper party or
  parties;

           (b)     any request or direction of the Issuer or the Co-Issuer mentioned in this Indenture shall be
  sufficiently evidenced by an Issuer Request or Issuer Order;

          (c)      whenever in the administration of this Indenture the Trustee

                   (i)    deems it desirable that a matter be proved or established before taking, suffering,
          or omitting any action under this Indenture, the Trustee may, in the absence of bad faith on its
          part, rely on an Officer’s certificate (unless other evidence is specifically prescribed in this
          Indenture) or

                  (ii)     is required to determine the value of, or any other matter with respect to, any
          Collateral or funds under this Indenture or the cash flows projected to be received therefrom, the
          Trustee may, in the absence of bad faith on its part, rely on reports of nationally recognized
          accountants, investment bankers or other persons qualified to provide the information required to
          make the determination, including nationally recognized dealers in securities of the type being
          valued and securities quotation services;

          (d)     as a condition to taking or omitting to take any action under this Indenture, the Trustee
  may consult with counsel and the advice of the counsel or any Opinion of Counsel shall be full and
  complete authorization and protection with respect to any action taken or omitted by it under this
  Indenture in good faith and in reliance thereon;

           (e)     notwithstanding anything herein to the contrary, the Trustee need not exercise any of the
  rights or powers vested in it by this Indenture at the request or direction of any of the Noteholders
  pursuant to this Indenture, unless the Holders have offered to the Trustee security or indemnity
  satisfactory to it against the costs and liabilities that might reasonably be incurred by it in compliance
  with the request or direction;

           (f)     the Trustee need not make any investigation into the facts or matters stated in any
  resolution, certificate, statement, instrument, opinion, report, notice, request, direction, consent, order,
  note or other paper or document, but the Trustee, in its discretion, may, and upon the written direction of
  a Majority of the Controlling Class, subject to Section 6.3(e), shall, make any further inquiry or
  investigation into the facts or matters that it deems appropriate or as it is directed, and the Trustee shall be
  entitled, on reasonable prior notice to the Co-Issuers and the Servicer, to examine the books and records
  relating to the Notes, the Collateral, personally or by agent or attorney, during the Co-Issuers’ or the
  Servicer’s normal business hours. The Trustee shall, and shall cause its agents to, hold in confidence all
  such information, except to the extent (i) disclosure may be required by law by any regulatory or
  administrative authority and (ii) that the Trustee, in its sole judgment, determines that disclosure is
  consistent with its obligations under this Indenture; provided, however, that the Trustee may disclose on a
  confidential basis any such information to its agents, attorneys and auditors in connection with the
  performance of its responsibilities hereunder;



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          (g)     the Trustee may execute any of the trusts or powers under this Indenture or perform any
  duties under this Indenture either directly or by or through agents or attorneys, and the Trustee shall not
  be responsible for any misconduct or negligence on the part of any non-Affiliated agent, or non-Affiliated
  attorney, appointed with due care by it under this Indenture;

         (h)      the Trustee shall not be liable for any action it takes or omits to take in good faith that it
  reasonably believes to be authorized or within its rights or powers under this Indenture;

          (i)      nothing in this Indenture shall be construed to impose an obligation on the Trustee to
  recalculate, evaluate, or verify any report, certificate or information received from the Issuer or Servicer;

           (j)     the Trustee may request and receive (and rely on) instruction from the Issuer, the
  Servicer, or the accountants identified in the Accountants’ Certificate (and in the absence of its receipt of
  timely instruction from them, may obtain from an Independent accountant at the expense of the Issuer) as
  to the application of GAAP to the extent any defined term in this Indenture, or any calculation required to
  be made or determined by the Trustee under this Indenture, is dependent on or defined by reference to
  United States generally accepted accounting principles (“GAAP”), in any instance;

           (k)     the permissive rights of the Trustee to take or refrain from taking any actions enumerated
  in this Indenture are not duties;

         (l)      the Trustee is not responsible for the accuracy of the books and records of, or for any acts
  or omissions of, the Depository, any Transfer Agent, Custodian, Securities Intermediary, Collateral
  Administrator, Clearstream, Euroclear, Calculation Agent or any Paying Agent (in each case, other than
  the Bank acting in that capacity);

           (m)      in purchasing or disposing of any asset permitted by this Indenture, the Trustee is
  authorized to deal with itself (in its individual capacity) or with any one or more of its Affiliates, whether
  it or the Affiliate is acting as a subagent of the Trustee or for any third Person or dealing as principal for
  its own account. If otherwise qualified, obligations of the Bank or any of its Affiliates shall qualify as
  Eligible Investments under this Indenture; and

          (n)      if the Bank is also acting in the capacity of Paying Agent, Transfer Agent, Custodian,
  Calculation Agent or Securities Intermediary under this Indenture, the rights protections, immunities, and
  indemnities afforded to the Trustee pursuant to this Article 6 shall also be afforded to the Bank acting in
  those capacities.

          Section 6.4.     Not Responsible for Recitals or Issuance of the Notes.

           The recitals contained in this Indenture and in the Notes, other than the Certificate of
  Authentication, shall be taken as the statements of the Applicable Issuers. The Trustee assumes no
  responsibility for their correctness. The Trustee makes no representation as to the validity or sufficiency
  of this Indenture (except as may be made with respect to the validity of the Trustee’s obligations under
  this Indenture), the Collateral or the Notes. The Trustee shall not be accountable for the use or
  application by the Co-Issuers of the Notes or their proceeds or any money paid to the Co-Issuers pursuant
  to this Indenture.

          Section 6.5.     May Hold Notes.

          The Trustee, any Paying Agent, Indenture Registrar or any other agent of the Co-Issuers, in its
  individual or any other capacity, may become the owner or pledgee of Notes and may otherwise deal with



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  the Co-Issuers or any of their Affiliates with the same rights it would have if it were not Trustee, Paying
  Agent, Indenture Registrar or other agent.

          Section 6.6.     Acquisition of Class D Notes and Preference Shares

           The Trustee, in its individual or any other capacity, agrees that after the initial distribution of the
  Class D Notes and the Preference Shares, neither the Trustee nor any of its affiliates (as defined in the
  Plan Asset Regulation) will acquire any Class D Notes or Preference Shares (including pursuant to a
  Maturity Extension and the Amendment Buy-Out Option) unless such acquisition would not, as
  determined by the Trustee in reliance on representations made in the applicable transfer certificates with
  respect thereto, result in persons that have represented that they are Benefit Plan Investors owning 25% or
  more of the aggregate outstanding value of any of the Class D Notes, Class I Preference Shares or the
  Class II Preference Shares (or any other class of Preference Shares) immediately after such acquisition
  (determined in accordance with the Plan Asset Regulation, this Indenture and the Preference Share
  Documents). Any Class D Notes or Preference Shares held as principal by the Trustee or any of its
  affiliates or by any other person who has discretionary authority or control with respect to the assets of a
  Co-Issuer or any person who provides investment advice with respect to a Co-Issuer's assets, or any
  person controlling, controlled by or under common control with a Co-Issuer, including by reason of
  having the power to exercise a controlling influence over the management or policies of a Co-Issuer (a
  “Controlling Person”), shall be disregarded and shall not be treated as outstanding for purposes of
  determining compliance with such 25% limitation to the extent that such person has represented that it is
  not a Benefit Plan Investor. Any transfer of a beneficial interest in any equity interest in the Issuer or the
  Co-Issuer to a Benefit Plan Investor or a Controlling Person that would cause the 25% limitation to be
  breached (a “Non-Permitted Benefit Plan Investor”) shall be void and any such purported transfer of
  which the Issuer, the Co-Issuer or the Trustee has notice may be disregarded by the Issuer, the Co-Issuer
  and the Trustee for all purposes.

          Section 6.7.     Money Held in Trust.

          Money held by the Trustee under this Indenture shall be held in trust to the extent required in this
  Indenture. The Trustee shall be under no liability for interest on any money received by it under this
  Indenture except as otherwise agreed on with the Issuer and except to the extent of income or other gain
  on assets that are deposits in or certificates of deposit of the Bank in its commercial capacity and income
  or other gain actually received by the Trustee on Eligible Investments. Under no circumstances shall the
  Trustee be responsible for any losses on assets purchased in accordance with an Issuer Order or a written
  order or request by the Servicer, unless such asset is purchased in an obligation of the Trustee in its
  corporate capacity.

          Section 6.8.     Compensation and Reimbursement.

          (a)      The Issuer agrees:

                  (i)      to pay the Trustee, in accordance with the Priority of Payments, on each Payment
          Date reasonable compensation for all services rendered by it under this Indenture in accordance
          with its letter agreement with the Trustee (which compensation shall not be limited by any
          provision of law in regard to the compensation of a trustee of an express trust);

                  (ii)    except as otherwise expressly provided in this Indenture or in its letter agreement
          with the Trustee, to reimburse the Trustee in a timely manner upon its request for all reasonable
          expenses, disbursements and advances incurred or made by the Trustee in accordance with this
          Indenture (including securities transaction charges and the reasonable compensation and expenses



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          and disbursements of its agents and legal counsel and of any accounting firm or investment
          banking firm employed by the Trustee pursuant to Sections 5.4, 5.5, 10.5 or 10.7, except any such
          expense, disbursement or advance attributable to its negligence, willful misconduct or bad faith)
          but with respect to securities transaction charges, only to the extent they have not been waived
          during a Due Period due to the Trustee’s receipt of a payment from a financial institution with
          respect to certain Eligible Investments, as specified by the Servicer;

                   (iii)   to indemnify and hold harmless the Trustee and its officers, directors, employees
          and agents for any loss, liability or expense incurred without negligence, willful misconduct or
          bad faith on their part, arising out of or in connection with the acceptance or administration of this
          trust, including the costs and expenses of defending themselves (including reasonable attorney’s
          fees and costs) against any claim or liability in connection with the exercise or performance of
          any of their powers or duties under this Indenture; and

                  (iv)    to pay the Trustee reasonable additional compensation together with its expenses
          (including reasonable counsel fees and costs) for any collection action taken pursuant to Section
          6.14. The indemnification set forth in Section 6.8(a)(ii) shall survive the termination of this
          Indenture.

           (b)      The Trustee shall receive amounts pursuant to this Section 6.8 as provided in Sections
  11.1(a)(i) and (ii) but only to the extent that funds are available for their payment in accordance with the
  Priority of Payments. Subject to Section 6.10, the Trustee shall continue to serve as Trustee under this
  Indenture notwithstanding the fact that the Trustee has not received amounts due to it under this
  Indenture. No direction by the Noteholders shall affect the right of the Trustee to collect amounts owed
  to it under this Indenture. If on any date when a fee is payable to the Trustee pursuant to this Indenture
  insufficient funds are available for its payment any portion of a fee not so paid shall be deferred and
  payable on the next date on which a fee is payable and sufficient funds are available for it.

          (c)      The Trustee agrees not to cause the filing of a petition in bankruptcy for the non-payment
  to the Trustee of any amounts provided by this Section 6.8 until at least one year and one day, or if longer
  the applicable preference period then in effect plus one day, after the payment in full of all Notes issued
  under this Indenture and the payment to the Preference Shares Paying Agent of all amounts payable with
  respect to the Preference Shares in accordance with the Priority of Payments. Nothing in this Section
  6.8(c) shall prohibit or otherwise prevent the Trustee from filing proofs of claim in any bankruptcy,
  insolvency or similar proceeding.

          Section 6.9.    Corporate Trustee Required; Eligibility.

           There shall at all times be a Trustee under this Indenture that is an Independent entity organized
  and doing business under the laws of the United States of America or of any state of the United States,
  authorized under those laws to exercise corporate trust powers, having a combined capital and surplus of
  at least U.S.$200,000,000, subject to supervision or examination by federal or state banking authority,
  having a rating of at least “Baa1” (and not on credit watch with negative implications) by Moody’s and at
  least “BBB+” by S&P, and having an office within the United States. In addition, the Trustee shall not be
  “affiliated” (within the meaning of Rule 405 under the Securities Act) with either of the Co-Issuers or any
  person involved in the organization or operation of either of the Co-Issuers and shall not provide credit or
  credit enhancement to either of the Co-Issuers. If the Trustee publishes reports of condition at least
  annually, pursuant to law or to the requirements of its supervising or examining authority, then for the
  purposes of this Section 6.9, the combined capital and surplus of the Trustee shall be its combined capital
  and surplus in its most recent published report of condition. If at any time the Trustee ceases to be




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  eligible in accordance with this Section 6.9, it shall resign immediately in the manner and with the effect
  specified in Section 6.10.

          Section 6.10.    Resignation and Removal; Appointment of Successor.

          (a)     No resignation or removal of the Trustee and no appointment of a successor Trustee
  pursuant to this Article 6 shall become effective until the acceptance of appointment by the successor
  Trustee under Section 6.11. The indemnification in favor of the Trustee shall survive any resignation or
  removal of the Trustee.

           (b)     The Trustee may resign at any time by giving not less than 30 days written notice to the
  Co-Issuers, the Servicer, the Noteholders, the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to the
  Holders of Holding Preference Shares) and each Rating Agency. Upon receiving the notice of
  resignation, the Co-Issuers shall at the direction of a Majority of the Controlling Class promptly appoint a
  successor trustee satisfying the requirements of Section 6.9, by written instrument, in duplicate, executed
  by an Authorized Officer of the Issuer and an Authorized Officer of the Co-Issuer, one copy of which
  shall be delivered to the resigning Trustee and one copy to the successor Trustee, together with a copy to
  each Noteholder, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
  Shares), the Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding
  Preference Shares) and the Servicer. If no successor Trustee has been appointed and an instrument of
  acceptance by a successor Trustee has not been delivered to the Trustee within 60 days after the giving of
  the notice of resignation, the resigning Trustee or any Noteholder, on behalf of himself and all others
  similarly situated, may petition any court of competent jurisdiction for the appointment of a successor
  Trustee satisfying the requirements of Section 6.9.

            (c)     The Trustee may be removed (i) at any time by an Act of a Majority of the Controlling
  Class, (ii) by order of a court of competent jurisdiction, delivered to the Trustee and to the Co-Issuers or
  (iii) so long as no Event of Default has occurred and is continuing, by the Issuer.

          (d)      If at any time:

                  (i)     the Trustee ceases to be eligible under Section 6.9 and fails to resign after written
          request by the Co-Issuers or a Majority of the Controlling Class; or

                   (ii)    the Trustee becomes incapable of acting or is adjudged bankrupt or insolvent or a
          receiver or liquidator of the Trustee or of its property appointed or any public officer takes charge
          or control of the Trustee or of its property or affairs for the purpose of rehabilitation, conservation
          or liquidation,

          then, in any such case (subject to Section 6.10(a)), (A) the Co-Issuers, by Issuer Order (as
  directed by Board Resolution), may, and at the direction of a Majority of the Controlling Class shall,
  remove the Trustee or (B) subject to Section 5.15, any Holder may, on behalf of itself and all others
  similarly situated, petition any court of competent jurisdiction for the removal of the Trustee and the
  appointment of a successor Trustee.

          (e)      If the Trustee is removed or becomes incapable of acting, or if a vacancy occurs in the
  office of the Trustee for any reason (other than resignation), the Co-Issuers, by Issuer Order (as directed
  by Board Resolution) or at the direction of a Majority of the Controlling Class, shall promptly appoint a
  successor Trustee. If the Co-Issuers fail to appoint a successor Trustee within 60 days after the removal
  or incapability or the occurrence of the vacancy, a successor Trustee may be appointed by a Majority of



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  the Controlling Class by written instrument delivered to the Issuer and the retiring Trustee. The successor
  Trustee so appointed shall, upon its acceptance of its appointment, become the successor Trustee and
  supersede any successor Trustee proposed by the Co-Issuers. If no successor Trustee has been so
  appointed by the Co-Issuers or a Majority of the Controlling Class and accepted appointment pursuant to
  Section 6.11, subject to Section 5.15, then the Trustee to be replaced, or any Holder, may, on behalf of
  himself and all others similarly situated, petition any court of competent jurisdiction for the appointment
  of a successor Trustee.

          (f)      The Co-Issuers shall give prompt notice of each resignation and each removal of the
  Trustee and each appointment of a successor Trustee by mailing written notice of the event by first-class
  mail, postage prepaid, to the Servicer, to each Rating Agency, to the Noteholders as their names and
  addresses appear in the Indenture Register, to the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares) and to the Holding Preference Shares Paying Agent (for forwarding to the
  Holders of Holding Preference Shares). Each notice shall include the name of the successor Trustee and
  the address of its Corporate Trust Office. If the Co-Issuers fail to mail the notice within ten days after
  acceptance of appointment by the successor Trustee, the successor Trustee shall cause the notice to be
  given at the expense of the Co-Issuers.

          Section 6.11.    Acceptance of Appointment by Successor.

           Every successor Trustee appointed under this Indenture shall execute, acknowledge, and deliver
  to the Co-Issuers and the retiring Trustee an instrument accepting its appointment. Upon delivery of the
  required instruments, the resignation or removal of the retiring Trustee shall become effective and the
  successor Trustee, without any further act, shall become vested with all the rights and obligations of the
  retiring Trustee; but, on request of the Co-Issuers or a Majority of any Class of Notes or the successor
  Trustee, the retiring Trustee shall, upon payment of any amounts then due to it, execute and deliver an
  instrument transferring to the successor Trustee all the rights and obligations of the retiring Trustee, and
  shall duly assign, transfer and deliver to the successor Trustee all property and money held by the retiring
  Trustee under this Indenture. Upon request of any successor Trustee, the Co-Issuers shall execute any
  instruments to more fully and certainly vest in and confirm to the successor Trustee all the rights and
  obligations of the Trustee under this Indenture.

          No successor Trustee shall accept its appointment unless at the time of its acceptance the
  successor is qualified and eligible under Section 6.9 and either (a) each Rating Agency has been notified
  and the successor has long-term debt rated within the four highest rating categories by each Rating
  Agency, or (b) if not rated within the four highest categories by each Rating Agency, the Rating
  Condition with respect to each Rating Agency is satisfied with respect thereto.

          Section 6.12.    Merger, Conversion, Consolidation, or Succession to Business of Trustee.

           Any entity into which the Trustee may be merged or converted or with which it may be
  consolidated, or any entity resulting from any merger, conversion or consolidation to which the Trustee is
  a party, or any entity succeeding to all or substantially all of the corporate trust business of the Trustee,
  shall be the successor of the Trustee under this Indenture (and of the Bank under all of its other capacities
  under this Indenture, including as Custodian, Securities Intermediary, Indenture Registrar and Paying
  Agent) without the execution or filing of any paper or any further act on the part of any of the parties
  hereto. If any of the Notes have been authenticated, but not delivered, by the Trustee then in office, any
  successor by merger, conversion or consolidation to the authenticating Trustee may adopt the
  authentication and deliver the Notes so authenticated with the same effect as if the successor Trustee had
  itself authenticated the Notes.




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          Section 6.13.    Co-Trustees.

          At any time, to meet the legal requirements of any jurisdiction in which any part of the Collateral
  may at the time be located, the Co-Issuers and the Trustee may appoint a co-trustee (subject to the
  approval of the Rating Agencies) to act jointly with the Trustee, with respect to all or any part of the
  Collateral, with the power to file proofs of claim and take any other actions pursuant to Section 5.6 in this
  Indenture and to make claims and enforce rights of action on behalf of the Noteholders, as the Holders
  themselves have the right to do, subject to the other provisions of this Section 6.13.

         The Co-Issuers shall join with the Trustee in the execution, delivery and performance of all
  instruments and agreements necessary or proper to appoint a co-trustee. If the Co-Issuers do not join in
  the appointment within 15 days after they receive a request to do so, the Trustee may make the
  appointment.

          Any instruments to more fully confirm a co-trustee’s appointment shall, on request, be executed,
  acknowledged and delivered by the Co-Issuers. The Co-Issuers agree to pay (but only from and to the
  extent of the Collateral), to the extent funds are available therefor under Section 11.1(a)(i)(1), any
  reasonable fees and expenses in connection with the appointment.

           Every co-trustee shall, to the extent permitted by law, but to that extent only, be appointed subject
  to the following terms:

          (a)     the Notes shall be authenticated and delivered and all rights and obligations under this
  Indenture in respect of the custody of securities, cash and other personal property held by, or required to
  be deposited or pledged with, the Trustee under this Indenture, shall be exercised solely by the Trustee;

           (b)    the rights and obligations conferred or imposed on the Trustee in respect of any property
  covered by the appointment of a co-trustee shall be conferred or imposed on and exercised or performed
  by the Trustee or by the Trustee and the co-trustee jointly as provided in the instrument appointing the co-
  trustee;

          (c)     the Trustee at any time, by an instrument in writing executed by it, with the concurrence
  of the Co-Issuers evidenced by an Issuer Order, may accept the resignation of or remove any co-trustee
  appointed under this Section 6.13, and if an Event of Default is continuing, the Trustee shall have the
  power to accept the resignation of, or remove, any co-trustee without the concurrence of the Co-Issuers.
  A successor to any co-trustee so resigned or removed may be appointed in the manner provided in this
  Section 6.13;

         (d)      no co-trustee under this Indenture shall be personally liable because of any act or
  omission of the Trustee under this Indenture;

          (e)      the Trustee shall not be liable because of any act or omission of a co-trustee; and

          (f)      any Act of Noteholders delivered to the Trustee shall be deemed to have been delivered
  to each co-trustee.

          Section 6.14.    Certain Duties of Trustee Related to Delayed Payment of Proceeds.

          If in any month the Trustee has not received a payment with respect to any Pledged Obligation on
  its Due Date:




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          (a)      the Trustee shall promptly notify the Issuer and the Servicer in writing, and

           (b)      unless the payment is received by the Trustee within three Business Days (or the end of
  the applicable grace period for the payment, if longer) after the notice, or unless the Issuer, in its absolute
  discretion (but only to the extent permitted by Section 10.2(a)), makes provision for the payment
  satisfactory to the Trustee in accordance with Section 10.2(a),

           the Trustee shall request the issuer of the Pledged Obligation, the trustee under the related
  Underlying Instrument, or paying agent designated by either of them to make the payment as soon as
  practicable after the request but in no event later than three Business Days after the date of the request. If
  the payment is not made within that time period, the Trustee, subject to clause (iv) of Section 6.1(c), shall
  take the action directed by the Servicer in writing. Any such action shall be without prejudice to any right
  to claim a Default or Event of Default under this Indenture. If the Issuer or the Servicer requests a release
  of a Pledged Obligation or delivers a Collateral Obligation in connection with any such action under the
  Servicing Agreement, the release or substitution shall be subject to Section 10.6 and Article 12.
  Notwithstanding any other provision of this Indenture, the Trustee shall deliver to the Issuer or its
  designee any payment with respect to any Pledged Obligation or any Collateral Obligation received after
  its Due Date to the extent the Issuer previously made provisions for the payment satisfactory to the
  Trustee in accordance with this Section 6.14 and the payment shall not be part of the Collateral.

          Section 6.15.    Authenticating Agents.

          Upon the request of the Co-Issuers, the Trustee shall, and if the Trustee so chooses the Trustee
  may, appoint one or more Authenticating Agents with power to act on its behalf and subject to its
  direction in the authentication of the Notes in connection with issuance, transfers, and exchanges under
  Sections 2.4, 2.5, 2.6, 2.7, and 8.5, as fully to all intents and purposes as though each Authenticating
  Agent had been expressly authorized by those Sections to authenticate the Notes. For all purposes of this
  Indenture, the authentication of Notes by an Authenticating Agent pursuant to this Section 6.15 shall be
  the authentication of the Notes “by the Trustee.”

          Any Authenticating Agent may at any time resign by giving written notice of resignation to the
  Trustee and the Issuer. The Trustee may at any time terminate the agency of any Authenticating Agent by
  giving written notice of termination to the Authenticating Agent and the Co-Issuers.

          The Co-Issuers agree to pay to each Authenticating Agent from time to time reasonable
  compensation for its services, and reimbursement for its reasonable expenses relating to its services as an
  Administrative Expense; provided, however, that if the Trustee elects to appoint an Authenticating Agent
  without the approval or request of the Co-Issuers, then the Trustee shall pay such compensation and
  reimbursement. Sections 2.9, 6.4, and 6.5 shall be applicable to any Authenticating Agent.

          Section 6.16.    Fiduciary for Noteholders Only; Agent for Secured Parties.

          With respect to the security interest created under this Indenture, the delivery of any Pledged
  Obligation to the Trustee is to the Trustee as representative of the Noteholders and agent for the other
  Secured Parties. In furtherance of the foregoing, the possession by the Trustee of any Pledged Obligation
  and the endorsement to or registration in the name of the Trustee of any Pledged Obligation (including as
  entitlement holder of the Custodial Account) are all undertaken by the Trustee in its capacity as
  representative of the Noteholders and agent for the other Secured Parties.

          Section 6.17.    Representations and Warranties of the Bank.




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          The Bank represents and warrants as follows for the benefit of the Noteholders:

         (a)      Organization. The Bank has been duly organized and is validly existing as a national
  banking association and has the power to conduct its business and affairs as a trustee.

          (b)     Authorization; Binding Obligations. The Bank has the corporate power and authority to
  perform the duties and obligations of trustee under this Indenture. The Bank has taken all necessary
  corporate action to authorize the execution, delivery and performance of this Indenture, and all of the
  documents required to be executed by the Bank pursuant to this Indenture. Upon execution and delivery
  by the Bank, this Indenture will be the valid and legally binding obligation of the Bank enforceable in
  accordance with its terms.

          (c)      Eligibility.   The Bank is eligible under Section 6.9 to serve as Trustee under this
  Indenture.

          Section 6.18.     Additional Reporting Requirements.

          If the Placement Agent elects to enter into a posting dealer agreement pursuant to Section 7.20,
  upon the effectiveness of the posting dealer agreement, the Issuer shall provide to The Bond Market
  Association certain documents for posting in the Repository as mutually agreed between the Servicer and
  the Placement Agent.

          If the Placement Agent has entered into a posting dealer agreement, as promptly as possible
  following the execution of any supplemental indenture under Article 8, the Trustee at the expense of the
  Issuer shall deliver a copy of such supplemental indenture to the Repository in the manner described in
  Section 14.3(a)(viii).

                                                ARTICLE VII.

                                                 COVENANTS

          Section 7.1.      Payment of Principal and Interest.

         The Applicable Issuers shall pay the principal of and interest on the Notes in accordance with the
  Notes and this Indenture.

          The Issuer shall, subject to the Priority of Payments, reimburse the Co-Issuer for any amounts
  paid by the Co-Issuer pursuant to the Senior Notes or this Indenture. The Co-Issuer shall not reimburse
  the Issuer for any amounts paid by the Issuer pursuant to the Notes or this Indenture.

           Amounts properly withheld under the Code or other applicable law by any Person from a
  payment to any Holder shall be considered as having been paid by the Applicable Issuers to the Holder
  for all purposes of this Indenture.

           All payments under the Class A-1B Notes to any Holder thereof will be made by the Issuer
  without any deduction or withholding for or on account of any Tax unless such deduction or withholding
  is required by any applicable law, as modified by the practice of any relevant governmental revenue
  authority, then in effect. If the Issuer is so required to deduct or withhold, then the Issuer (or its agent)
  will: (i) notify each affected Holder of such requirement no later than ten days prior to the date of the
  payment from which amounts are required to be withheld (provided that, despite the failure of the Issuer
  to give such notice, amounts withheld pursuant to applicable laws shall be considered as having been paid



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  by the Co-Issuers as provided above); (ii) pay to the relevant authorities the full amount required to be
  deducted or withheld promptly upon the earlier of determining that such deduction or withholding is
  required or receiving notice that such amount has been assessed against the affected Holder; and (iii)
  promptly forward to the affected Holder documentation reasonably acceptable to the affected Holder
  evidencing such payment to such authorities.

          Section 7.2.    Maintenance of Office or Agency.

          The Co-Issuers appoint the Trustee as a Paying Agent for the payment of principal of and interest
  on the Notes. The Co-Issuers appoint Investors Bank &Trust Compamy, 200 Clarendon Street, Boston,
  MA 02116 Attn: CDO Services, Brentwood CLO, Ltd., as the Co-Issuers’ agent where notices and
  demands on the Co-Issuers in respect of the Notes or this Indenture may be served and where the Notes
  may be surrendered for registration of transfer or exchange.

         The Co-Issuers may at any time and from time to time vary or terminate the appointment of any
  Paying Agent or appoint any additional agents for all of these purposes.

          The Co-Issuers shall maintain in the Borough of Manhattan, The City of New York, an office or
  agency where notices and demands on the Co-Issuers in respect of the Notes and this Indenture may be
  served, which office will initially be the office of Investors Bank & Trust Company, 33 Maiden Lane, 4th
  Floor, NY, NY 10038 and an office or agency outside of the United States where the Notes may be
  presented and surrendered for payment.

         No paying agent shall be appointed in a jurisdiction that subjects payments on the Notes to
  withholding tax.

          So long as any Class of Senior Notes is listed on the Irish Stock Exchange and the rules of the
  exchange so require, the Co-Issuers shall maintain in Ireland a Paying Agent and an office or agency
  where notices and demands on the Co-Issuers in respect of the Senior Notes and this Indenture may be
  served and where the Senior Notes may be surrendered for registration of transfer or exchange.

           The Co-Issuers appoint, for so long as any Class of Senior Notes is listed on the Irish Stock
  Exchange, Custom House Administration and Listing Services Ltd. (the “Irish Paying Agent”) as Paying
  Agent in Ireland with respect to the Senior Notes, for the payment of principal, interest and other
  distributions on the Senior Notes and as the Co-Issuers’ agent where notices and demands on the Co-
  Issuers in respect of the Senior Notes or this Indenture may be served. If the Irish Paying Agent is
  replaced at any time when any Class of Senior Notes is listed on the Irish Stock Exchange, notice of the
  appointment of any replacement shall be given to the Company Announcements Office of the Irish Stock
  Exchange as promptly as practicable after the appointment. The Co-Issuers shall give prompt written
  notice to the Trustee, each Rating Agency, the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares) and the Holders of the Senior Notes of the appointment or termination of
  any such agent and of the location and any change in the location of any such office or agency.

          If at any time the Co-Issuers fail to maintain any required office or agency in the Borough of
  Manhattan, The City of New York, or outside the United States, or fail to furnish the Trustee with their
  addresses, notices and demands may be served on the Co-Issuers.

          Section 7.3.    Money for Note Payments to be Held in Trust.




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          All payments of amounts payable with respect to any Notes that are to be made from amounts
  withdrawn from the Payment Account shall be made on behalf of the Applicable Issuers by the Trustee or
  a Paying Agent with respect to payments on the Notes.

           When the Applicable Issuers have a Paying Agent that is not also the Indenture Registrar, they
  shall furnish not later than the fifth calendar day after each Record Date a list in the form the Paying
  Agent reasonably requests, of the names and addresses of the Holders and of the certificate numbers of
  individual Notes held by each Holder.

          Whenever the Applicable Issuers have a Paying Agent other than the Trustee, they shall, on or
  before the Business Day before each Payment Date, Refinancing Date or Redemption Date direct the
  Trustee to deposit on the Payment Date with the Paying Agent an aggregate sum sufficient to pay the
  amounts then becoming due (to the extent funds are then available for that purpose in the Payment
  Account), that sum to be held in trust for the benefit of the Persons entitled to it and (unless the Paying
  Agent is the Trustee) the Co-Issuers shall promptly notify the Trustee of its action or failure so to act.
  Any monies deposited with a Paying Agent (other than the Trustee) in excess of an amount sufficient to
  pay the amounts then becoming due on the Notes with respect to which the deposit was made shall be
  paid over by the Paying Agent to the Trustee for application in accordance with Article 10.

           Additional or successor Paying Agents shall be appointed by Issuer Order with written notice of
  the appointment to the Trustee. So long as Notes of any Class are rated by a Rating Agency any Paying
  Agent must either have a long-term debt rating of “Aa3” (and not on credit watch with negative
  implications) or higher by Moody’s and “AA-” or higher by S&P or a short-term debt rating of “P-1”
  (and not on credit watch for possible downgrade) by Moody’s and “A-1+” by S&P or the Rating
  Condition with respect to each Rating Agency must be satisfied with respect to its appointment. If a
  successor Paying Agent ceases to have a long-term debt rating of “Aa3” (and not on credit watch with
  negative implications) or higher by Moody’s and “AA-” or higher by S&P or a short-term debt rating of
  “P-1” (and not on credit watch for possible downgrade) by Moody’s and a short-term debt rating of “A-
  1+” by S&P, the Co-Issuers shall promptly remove the Paying Agent and appoint a successor Paying
  Agent. The Co-Issuers shall not appoint any Paying Agent that is not, at the time of the appointment, a
  depository institution or trust company subject to supervision and examination by federal or state or
  national banking authorities. The Co-Issuers shall cause each Paying Agent other than the Trustee to
  execute and deliver to the Trustee an instrument in which the Paying Agent agrees with the Trustee,
  subject to this Section 7.3, that the Paying Agent will:

          (a)     allocate all sums received for payment to the Noteholders for which it acts as Paying
  Agent on each Payment Date, Refinancing Date and any Redemption Date among the Holders in the
  proportion specified in the applicable report to the extent permitted by applicable law;

           (b)     hold all sums held by it for the payment of amounts due with respect to the Notes in trust
  for the benefit of the Persons entitled to them until they are paid or otherwise disposed of as provided in
  this Indenture;

           (c)      immediately resign as a Paying Agent and forthwith pay to the Trustee all sums held by it
  in trust for the payment of the Notes if at any time it ceases to meet the standards required to be met by a
  Paying Agent at the time of its appointment;

          (d)     immediately give the Trustee notice of any default by the Issuer or the Co-Issuer (or any
  other obligor on the Notes) in the making of any payment required to be made; and




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          (e)     during the continuance of any such default, upon the written request of the Trustee,
  forthwith pay to the Trustee all sums so held in trust by the Paying Agent.

           To obtain the satisfaction and discharge of this Indenture or for any other purpose, the Co-Issuers
  may at any time pay, or by Issuer Order direct any Paying Agent to pay, to the Trustee all sums held in
  trust by the Co-Issuers or the Paying Agent, and, upon the payment by any Paying Agent to the Trustee,
  the Paying Agent shall be released from all further liability with respect to the money paid.

           Any money deposited with a Paying Agent and not previously returned that remains unclaimed
  for 20 Business Days shall be returned to the Trustee. Except as otherwise required by applicable law,
  any money deposited with the Trustee or any Paying Agent in trust for the payment of the principal of or
  interest on any Note and remaining unclaimed for two years after the principal or interest has become
  payable shall be paid to the Applicable Issuers. The Noteholder shall thereafter look only to the
  Applicable Issuers for payment of the amounts due to it as an unsecured general creditor and all liability
  of the Trustee or the Paying Agent with respect to that money (but only to the extent of the amounts so
  paid to the Applicable Issuers) shall thereupon cease. The Trustee or the Paying Agent, before being
  required to release any payment, may, but shall not be required to, adopt and employ, at the expense of
  the Applicable Issuers any reasonable means of notification of the release of the payment, including
  mailing notice of the release to Holders whose Notes have been called but have not been surrendered for
  redemption or whose right to or interest in monies payable but not claimed is determinable from the
  records of any Paying Agent, at the last address of record of each Holder.

          Section 7.4.     Existence of Co-Issuers.

          (a)      The Issuer and the Co-Issuer shall, to the maximum extent permitted by applicable law,
  maintain in full force their existence and rights as companies incorporated or organized under the laws of
  the Cayman Islands and the State of Delaware, respectively, and shall obtain and preserve their
  qualification to do business as foreign corporations in each jurisdiction in which the qualifications are
  necessary to protect the validity and enforceability of this Indenture, the Notes, the Preference Shares
  Paying Agency Agreement and any of the Collateral.

           However, the Issuer may change its jurisdiction of incorporation from the Cayman Islands to any
  other jurisdiction reasonably selected by the Issuer so long as:

                   (i)     the Issuer has received a legal opinion (on which the Trustee may rely) to the
          effect that the change is not disadvantageous in any material respect to the Holders, the Servicer
          or any Hedge Counterparty,

                  (ii)    written notice of the change has been given by the Issuer to the Trustee, the
          Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
          Shares), the Servicer, any Hedge Counterparty and each Rating Agency, and

                  (iii)   on or before the 15th Business Day following its receipt of the notice the Trustee
          has not received written notice from a Majority of the Controlling Class objecting to the change.

          The Issuer may take any action required by this Indenture within the United States
  notwithstanding any provision of this Indenture requiring the Issuer to take the action outside of the
  United States so long as before taking the action the Issuer receives a legal opinion from nationally
  recognized legal counsel to the effect that it is not necessary to take the action outside of the United States
  or any political subdivision of the United States to prevent the Issuer from becoming subject to any
  United States federal, state, or local withholding or other taxes.



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           (b)    The Issuer and the Co-Issuer shall ensure that all corporate or other formalities regarding
  their respective existences (including holding regular board of directors’ and shareholders’, or other
  similar, meetings to the extent required by applicable law) are followed. Neither the Issuer nor the Co-
  Issuer shall take any action or conduct its affairs in a manner that is likely to result in its separate
  existence being ignored or in its assets and liabilities being substantively consolidated with any other
  Person in a bankruptcy, reorganization or other insolvency proceeding. Without limiting the foregoing,

                 (i)     the Issuer shall not have any subsidiaries other than the Co-Issuer or as
          contemplated by the provisions of the Servicing Agreement,

                   (ii)    the Co-Issuer shall not have any subsidiaries,

                  (iii)    the Issuer shall maintain at all times at least one director who is Independent of
          the Servicer, the Trustee and any of their respective Affiliates,

                  (iv)    the Issuer shall not commingle its funds with the funds of any other Person,
          except as expressly permitted by this Indenture, and

                  (v)       except to the extent contemplated in the Servicing Agreement, the
          Administration Agreement, the Preference Shares Paying Agency Agreement, the Investors Corp.
          Subscription Agreement and the declaration of trust by the Share Trustee, the Issuer and the Co-
          Issuer shall not:

                            (A)      engage in any transaction with any shareholder that would be a conflict
                   of interest (the entry into the Administration Agreement with the Administrator shall not
                   be deemed a conflict of interest), or

                            (B)     pay dividends in violation of this Indenture, the resolutions of its board
                   of directors and the Preference Share Documents.

          Section 7.5.     Protection of Collateral.

           (a)     The Servicer on behalf of the Issuer will procure any action within the Servicer’s control
  that is reasonably necessary to maintain the perfection and priority of the security interest of the Trustee
  in the Collateral. The Issuer from time to time shall execute and deliver any supplements and
  amendments to this Indenture and shall execute and deliver any Financing Statements, continuation
  statements, instruments of further assurance, and other instruments and shall take any other action
  appropriate to secure the rights and remedies of the Secured Parties under this Indenture and to:

                   (i)     Grant more effectively all or any portion of the Collateral;

                  (ii)    maintain or preserve the lien (and its priority) of this Indenture or to carry out
          more effectively the purposes of this Indenture;

                  (iii)   perfect, publish notice of, or protect the validity of, any Grant made by this
          Indenture (including any actions appropriate as a result of changes in law);

                  (iv)     enforce any of the Pledged Obligations or other instruments or property included
          in the Collateral;




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                    (v)      preserve and defend title to the Collateral and the rights of the Secured Parties in
            the Collateral against the claims of anyone; and

                    (vi)    pay when due all taxes levied or assessed on any part of the Collateral.

           The Issuer designates the Servicer as its agent and attorney in fact to execute any Financing
  Statement, continuation statement, and all other instruments, and take all other actions, required pursuant
  to this Section 7.5.

          The Issuer authorizes the filing without the Issuer’s signature a financing statement that names
  the Issuer as “debtor” and Investors Bank and Trust as “secured party” (with or without indicating its
  capacity as Trustee hereunder) and that describes the Collateral as “all assets of the debtor, whether now
  owned or hereafter acquired and wherever located.”

            (b)     The Trustee shall not:

                    (i)      except in accordance with Section 10.6(a), (b) or (c), remove any portion of the
            Collateral that consists of Cash or is evidenced by an instrument, certificate or other writing:

                            (A)      from the jurisdiction in which it was held at the date the most recent
                    Opinion of Counsel was delivered pursuant to Section 7.6 (or from the jurisdiction in
                    which it was held as described in the Opinions of Counsel delivered at the Closing Date
                    pursuant to Section 3.1(iii) if no Opinion of Counsel has yet been delivered pursuant to
                    Section 7.6), or

                            (B)      from the possession of the Person who held it (other than the Bank), or

                    (ii)    cause or permit ownership or the pledge of any portion of the Collateral that
            consists of book-entry securities to be recorded on the books of a Person (other than the Bank):

                           (A)      located in a different jurisdiction from the jurisdiction in which the
                    ownership or pledge was recorded, or

                             (B)      other than the Person on whose books the ownership or pledge was
                    originally recorded, unless the Trustee shall have first received an Opinion of Counsel to
                    the effect that the lien and security interest created by this Indenture with respect to the
                    property and its priority will continue to be maintained after giving effect to the change.

          (c)     Without at least 30 days’ prior written notice to the Trustee and the Servicer, the Issuer
  shall not change its “location” (as defined in Section 9-307 of the UCC) or change its name from the
  name shown on the signature pages of this Indenture.

         (d)      The Issuer shall, subject to the Priority of Payments, enforce all of its material rights and
  remedies under the Servicing Agreement, the Collateral Administration Agreement, the Preference Shares
  Paying Agency Agreement, each Hedge Agreement and each Securities Lending Agreement.

            (e)     The Issuer shall pay any taxes levied because any Pledged Obligations are owned by the
  Issuer.

          (f)     The Servicer on behalf of the Issuer will either exercise the “put” option that prevents a
  Collateral Obligation from being a Long-Dated Collateral Obligation on the last available date before the



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  Stated Maturity of the Notes or sell the Collateral Obligation for Sale Proceeds at least equal to the
  Principal Balance of the Collateral Obligation, in either case by the Stated Maturity of the Notes.

          Section 7.6.      Opinions as to Collateral.

           On or before January 31 in each calendar year, commencing in 2008, the Issuer shall furnish to
  the Trustee, the Servicer and each Rating Agency an Opinion of Counsel from each relevant jurisdiction
  stating that, in the counsel’s opinion, as of the date of the opinion, all actions necessary to maintain the
  lien and security interest created by this Indenture with respect to the Collateral have been taken and that
  no further action (other than as specified in the opinion) needs to be taken for the continued effectiveness
  and perfection of the lien over the next year. The opinion may be subject to customary assumptions and
  qualifications.

          Section 7.7.      Performance of Obligations.

          (a)      The Co-Issuers, each as to itself, shall not take any action, and shall use their reasonable
  commercial efforts not to permit any action to be taken by others, that would release any Person from any
  of the Person’s covenants or obligations under any instrument included in the Collateral, except in the
  case of enforcement action taken with respect to any Defaulted Collateral Obligation in accordance with
  this Indenture and actions by the Servicer under the Servicing Agreement and in conformity with this
  Indenture or as otherwise required by this Indenture.

          (b)      The Applicable Issuers may, with the prior written consent of a Majority of each Class of
  Notes and a Majority of the Preference Shares (except in the case of the Servicing Agreement and the
  Collateral Administration Agreement as initially executed), contract with other Persons (including the
  Servicer, the Trustee and the Collateral Administrator) for the performance of actions and obligations to
  be performed by the Applicable Issuers under this Indenture. Notwithstanding any such arrangement, the
  Applicable Issuers shall remain primarily liable for performance under this Indenture. The Applicable
  Issuers shall punctually perform, and use their reasonable commercial efforts to cause the Servicer, the
  Trustee, the Collateral Administrator, the Preference Shares Paying Agent and any other Person to
  perform, all of their obligations in the Servicing Agreement, this Indenture, the Collateral Administration
  Agreement, the Preference Shares Paying Agency Agreement or any other agreement.

          Section 7.8.      Negative Covenants.

         (a)       The Issuer shall not and, with respect to clauses (ii), (iii), (iv), (vi), (ix), (x) and (xii) the
  Co-Issuer shall not, in each case from and after the Closing Date:

                  (i)      sell, transfer, assign, exchange, or otherwise dispose of, or pledge, mortgage,
          hypothecate, or otherwise encumber (or permit or suffer the sale, transfer, assignment, exchange,
          or other disposition of, or pledge, mortgage, hypothecation, or other encumbering of), any part of
          the Collateral, except as expressly permitted by this Indenture and the Servicing Agreement;

                  (ii)    claim any credit on, make any deduction from, or, to the fullest extent permitted
          by applicable laws, dispute the enforceability of payment of the principal or interest (or any other
          amount) payable in respect of the Notes (other than amounts withheld in accordance with the
          Code or any applicable laws of the Cayman Islands) or assert any claim against any present or
          future Noteholder because of the payment of any taxes levied or assessed on any part of the
          Collateral;




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                  (iii)    (A) incur or assume or guarantee any indebtedness, other than the Notes and this
          Indenture and the transactions contemplated by this Indenture (including, as contemplated hereby,
          entering into the Hedge Agreements and Securities Lending Agreements) or (B) issue any
          additional class of securities other than the Preference Shares issued on or before the Closing
          Date, except as otherwise permitted by the Preference Share Documents;

                     (iv)    (A) permit the validity or effectiveness of this Indenture or any Grant under this
          Indenture to be impaired, or permit the lien of this Indenture to be amended, hypothecated,
          subordinated, terminated, or discharged or permit any Person to be released from any covenants
          or obligations with respect to this Indenture or the Notes, except as may be expressly permitted
          by this Indenture or by the Servicing Agreement, (B) permit any lien, charge, adverse claim,
          security interest, mortgage or other encumbrance (other than the lien of this Indenture) to be
          created on or extend to or otherwise arise on or burden any part of the Collateral, any interest in
          it, or its proceeds of or (C) take any action that would permit the lien of this Indenture not to be a
          valid first priority perfected security interest in the Collateral;

                  (v)     amend the Servicing Agreement except pursuant to its terms and Section 15.1(h)
          or amend the Collateral Administration Agreement except pursuant to its terms unless the Rating
          Condition with respect to each Rating Agency is satisfied with respect to the amendment or enter
          into any waiver in respect of any of the foregoing agreements without providing written notice to
          each Rating Agency and the Trustee (and, with respect to the Collateral Administration
          Agreement, without the consent of the Trustee);

                   (vi)    to the extent permitted by applicable law, dissolve or liquidate in whole or in
          part, except as permitted under this Indenture;

                   (vii)  pay any dividends or other distributions other than in accordance with the
          Priority of Payments and the Preference Share Documents;

                   (viii)   conduct business under any name other than its own;

                 (ix)       have any employees (other than directors and officers to the extent they are
          employees);

                  (x)     fail to correct any known misunderstanding regarding the separate identity of the
          Issuer and the Co-Issuer;

                   (xi)     commingle assets with the assets of any other entity;

                  (xii)   take any action reasonably likely to result in the consolidation of the Issuer and
          the Co-Issuer; or

                  (xiii) except for any Underlying Instrument and agreements involving the purchase or
          sale of Collateral Obligations having customary purchase or sale terms and documented with
          customary trading documentation (but not excepting any Synthetic Security or Hedge
          Agreement), enter into any agreement unless the agreement contains “non-petition” and “limited
          recourse” provisions and shall not amend such “non-petition” and “limited recourse” provisions
          without prior Rating Confirmation.

          (b)      Neither the Issuer nor the Trustee shall sell, transfer, exchange or otherwise dispose of
  Collateral, or enter into an agreement or commitment to do so, or enter into or engage in any business



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  with respect to any part of the Collateral, except as expressly permitted by this Indenture and, with respect
  to the Issuer, the Servicing Agreement.

         (c)    The Co-Issuer shall not invest any of its assets in “securities” as the term is defined in the
  Investment Company Act, and shall keep all of its assets in Cash.

         (d)    Neither the Issuer nor the Co-Issuer shall use the proceeds of the Notes to buy or carry
  Margin Stock.

          Section 7.9.     Notice of Default; Statement as to Compliance.

         (a)    The Co-Issuers shall notify the Trustee, the Servicer, the Rating Agencies and each
  Hedge Counterparty within 10 days of acquiring actual knowledge of Default.

           (b)      On or before January 31 in each calendar year, commencing in 2008, the Issuer shall
  deliver to the Trustee (to be forwarded by the Trustee to the Servicer and each Noteholder making a
  written request therefor and, upon written request therefor by a Beneficial Owner in the form of Exhibit D
  certifying that it is a Beneficial Owner, to the Beneficial Owner (or its designee) and each Rating Agency)
  a certificate of an Authorized Officer of the Issuer that, to the best knowledge of the Issuer, no Default
  exists, and has not existed since the date of the last certificate or, if a Default does then exist or had
  existed, specifying the same and its nature and status, including actions undertaken to remedy it, and that
  the Issuer has complied with all of its obligations under this Indenture or, if that is not the case, specifying
  those obligations with which it has not complied.

          Section 7.10.    Co-Issuers May Consolidate, etc., Only on Certain Terms.

           Neither the Issuer nor the Co-Issuer (the “Merging Entity”) shall consolidate or merge with or
  into any other Person or transfer or convey all or substantially all of its assets to any Person, unless
  permitted by Cayman Islands law (in the case of the Issuer) or United States and Delaware law (in the
  case of the Co-Issuer) and unless:

          (a)      the Merging Entity shall be the surviving corporation, or the Person (if other than the
  Merging Entity) formed by the consolidation or into which the Merging Entity is merged or to which all
  or substantially all of the assets of the Merging Entity are transferred (the “Successor Entity”),

                  (i)     if the Merging Entity is the Issuer, is a company organized and existing under the
          laws of the Cayman Islands or another jurisdiction approved by a Majority of the Controlling
          Class (except that no approval shall be required in connection with any such transaction
          undertaken solely to effect a change in the jurisdiction of incorporation pursuant to Section 7.4),
          and

                  (ii)     in any case shall expressly assume, by an indenture supplemental to this
          Indenture, executed and delivered to the Trustee and each Noteholder, the due and punctual
          payment of all amounts on all Notes issued by the Merging Entity and the performance and
          observance of every covenant of this Indenture on its part to be performed or observed, all as
          provided in this Indenture;

           (b)  each Rating Agency shall have been notified of the consolidation, merger, transfer, or
  conveyance and the Rating Condition with respect to each Rating Agency is satisfied with respect to the
  transaction;




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         (c)      if the Merging Entity is not the surviving corporation, the Successor Entity shall have
  agreed with the Trustee,

                  (i)      to observe the same legal requirements for the recognition of the formed or
          surviving corporation as a legal entity separate and apart from any of its Affiliates as are
          applicable to the Merging Entity with respect to its Affiliates,

                  (ii)     not to consolidate or merge with or into any other Person or transfer or convey
          the Collateral or all or substantially all of its assets to any other Person except in accordance with
          this Section 7.10; and

                   (iii)  in any case shall expressly assume by an indenture supplemental to this
          Indenture, executed and delivered to the Trustee, each Noteholder and the Preference Shares
          Paying Agent (for forwarding to the Holders of Preference Shares), the due and punctual payment
          of all amounts on all the Notes issued by the Merging Entity and the performance and observance
          of every covenant of this Indenture on its part to be performed or observed, all as provided in this
          Indenture;

           (d)      if the Merging Entity is not the surviving corporation, the Successor Entity shall have
  delivered to the Trustee and each Rating Agency an Officer’s certificate and an Opinion of Counsel each
  stating that it is duly organized, validly existing, and in good standing in the jurisdiction in which it is
  organized; that it has sufficient power and authority to assume the obligations in subsection (a) above and
  to execute and deliver an indenture supplemental to this Indenture for the purpose of assuming the
  obligations in subsection (a) above; that it has duly authorized the execution, delivery, and performance
  of an indenture supplemental to this Indenture for the purpose of assuming the obligations in subsection
  (a) above and that the supplemental indenture is its valid and legally binding obligation, enforceable in
  accordance with its terms, subject only to bankruptcy, reorganization, insolvency, moratorium, and other
  laws affecting the enforcement of creditors’ rights generally and to general principles of equity; if the
  Merging Entity is the Issuer, that, following the event that causes the Successor Entity to become the
  successor to the Issuer, (i) the Successor Entity has title, free of any lien, security interest, or charge, other
  than the lien and security interest of this Indenture, to the Collateral, and (ii) the lien of this Indenture
  continues to be effective in the Collateral; and in each case as to any other matters the Trustee or any
  Noteholder reasonably requires;

          (e)      after giving effect to the transaction, no Default or Event of Default shall be continuing;

           (f)    the Merging Entity shall have notified each Rating Agency of the consolidation, merger,
  transfer or conveyance and shall have delivered to the Trustee, each Noteholder and the Preference Shares
  Paying Agent (for forwarding to the Holders of Preference Shares) an Officer’s certificate and an Opinion
  of Counsel each stating that the consolidation, merger, transfer or conveyance and the supplemental
  indenture comply with this Article 7 and that all conditions precedent in this Article 7 relating to the
  transaction have been complied with and that no adverse tax consequences will result therefrom to the
  Holders of the Securities;

           (g)     the Merging Entity shall have delivered to the Trustee an Opinion of Counsel stating that
  after giving effect to the transaction, neither of the Co-Issuers (or, if applicable, the Successor Entity) will
  be required to register as an investment company under the Investment Company Act; and

          (h)     after giving effect to the transaction, the outstanding stock of the Merging Entity (or, if
  applicable, the Successor Entity) will not be beneficially owned within the meaning of the Investment
  Company Act by any U.S. Person.



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          Section 7.11.   Successor Substituted.

           Upon any consolidation or merger, or transfer or conveyance of all or substantially all of the
  assets of the Issuer or the Co-Issuer, in accordance with Section 7.10 in which the Merging Entity is not
  the surviving corporation, the Successor Entity shall succeed to, and be substituted for, and may exercise
  every right of, the Merging Entity under this Indenture with the same effect as if the Person had been
  named as the Issuer or the Co-Issuer, as the case may be, in this Indenture. Upon any such consolidation,
  merger, transfer or conveyance, the Person named as the “Issuer” or the “Co-Issuer” in the first paragraph
  of this Indenture or any successor may be dissolved, wound up and liquidated at any time thereafter, and
  the Person thereafter shall be released from its liabilities as obligor and maker on all the Notes and from
  its obligations under this Indenture.

          Section 7.12.   No Other Business.

           (a)      From and after the Closing Date, the Issuer shall not engage in any business or activity
  other than issuing and selling the Notes pursuant to this Indenture and the Preference Shares pursuant to
  the Preference Share Documents and acquiring, owning, holding, engaging in Securities Lending and
  pledging and selling Collateral Obligations and the other Collateral in connection therewith, and shall not
  act as agent, negotiator or structurer with respect to any Collateral, act as a participant in negotiating
  terms of a primary loan agreement, enter into a binding commitment to purchase any Collateral prior to
  the issuance thereof or engage in any transaction or activity not permitted by the Servicing Agreement or
  which the Issuer knows would cause it to be treated as engaged in a trade or business in the United States
  within the meaning of the Code or subject the Issuer’s income to taxation on a net basis in any
  jurisdiction, and the Co-Issuer shall not engage in any business or activity other than issuing and selling
  the Notes to be issued by it pursuant to this Indenture and, with respect to the Issuer and the Co-Issuer,
  other activities appropriate to accomplish the foregoing or incidental thereto or connected therewith.

           (b)    In furtherance and not in limitation of clause (a) of this Section 7.12, the Issuer shall
  comply with all of the provisions set forth in the Servicing Agreement, unless, with respect to a particular
  transaction, the Issuer and the Trustee shall have received an opinion or advice of tax counsel of
  nationally recognized standing in the United States experienced in such matters that, under the relevant
  facts and circumstances with respect to such transaction, the Issuer’s failure to comply with one or more
  of such provisions will not cause the Issuer to be engaged, or deemed to be engaged, in a trade or business
  within the United States within the meaning of the Code or otherwise to be subject to United States
  federal income tax on a net basis. The provisions set forth in the Servicing Agreement may be amended,
  eliminated or supplemented (without execution of a supplemental indenture) if the Issuer and the Trustee
  shall have received an opinion of tax counsel of nationally recognized standing in the United States
  experienced in such matters that the Issuer’s compliance with such amended provisions or supplemental
  provisions or the Issuer’s failure to comply with such provisions proposed to be eliminated, as the case
  may be, will not cause the Issuer to be engaged, or deemed to be engaged, in a trade or business within
  the United States within the meaning of the Code or otherwise to be subject to United States federal
  income tax on a net basis and, at the request of the Issuer, the Trustee is hereby authorized to enter into
  any amendment of the Servicing Agreement under such circumstances; provided, however, that written
  notice of any such amendment, elimination or supplementation of or to the provisions of the Servicing
  Agreement pursuant to this Section 7.12(b) shall be provided to each Rating Agency then rating any
  Outstanding Class of Notes within 90 days of any such amendment, elimination or supplementation. For
  the avoidance of doubt, in the event an opinion of tax counsel as described above has been obtained in
  accordance with the terms hereof, no consent of any Noteholder or satisfaction of the Rating Condition
  shall be required in order to comply with this Section 7.12(b) in connection with the amendment,
  elimination or supplementation of any provision of the Servicing Agreement contemplated by such
  opinion of tax counsel.


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          (c)    The Issuer and the Co-Issuer may amend, or permit the amendment of, their Amended
  and Restated Memorandum and Articles or the Certificate of Incorporation and By-laws if the Rating
  Condition with respect to each Rating Agency is satisfied with respect to the amendment (but not
  otherwise).

          Section 7.13.   Listing on Irish Stock Exchange.

          So long as any Senior Notes remain Outstanding, the Co-Issuers shall use all reasonable efforts to
  obtain and maintain the listing of the Senior Notes on the Irish Stock Exchange.

          Section 7.14.   Annual Rating Review.

           So long as any Notes of any Class remain Outstanding, on or before January 31 in each year
  commencing in 2008, the Co-Issuers shall obtain and pay for an annual review or ongoing surveillance of
  the rating of each Outstanding Class of Notes from each Rating Agency, as applicable. The Co-Issuers
  shall promptly notify the Trustee and the Servicer in writing (and the Trustee shall promptly provide a
  copy of the notice to the Noteholders) and the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares) if at any time the rating of any Class of Notes has been, or is known will
  be, changed or withdrawn.

          Section 7.15.   Reporting.

          At any time when the Co-Issuers are not subject to Section 13 or 15(d) of the Exchange Act and
  are not exempt from reporting pursuant to Rule 12g3-2(b) under the Exchange Act, upon the request of a
  Holder or Beneficial Owner of any Note, the Co-Issuers shall promptly furnish “Rule 144A Information”
  to the Holder or Beneficial Owner, to a prospective purchaser of a Note designated by the Holder or
  Beneficial Owner or to the Trustee for delivery to the Holder or Beneficial Owner or a prospective
  purchaser designated by the Holder or Beneficial Owner, as the case may be, to permit compliance by the
  Holder or Beneficial Owner with Rule 144A under the Securities Act in connection with the resale of the
  Note by the Holder or Beneficial Owner. “Rule 144A Information” is the information specified pursuant
  to Rule 144A(d)(4) under the Securities Act.

          Section 7.16.   Calculation Agent.

          (a)      The Issuer agrees that for so long as any Floating Rate Notes remain Outstanding an
  agent will always have been appointed (that does not control and is not controlled by or under common
  control with the Issuer or its Affiliates) to calculate LIBOR in respect of each Interest Period (the
  “Calculation Agent”). The Issuer has initially appointed the Trustee as Calculation Agent. The Issuer
  may remove the Calculation Agent at any time. If the Calculation Agent is unable or unwilling to act as
  such or is removed by the Issuer or if the Calculation Agent fails to determine any of the information
  required to be given to the Company Announcements Office of the Irish Stock Exchange, as described in
  subsection (b), in respect of any Interest Period, the Issuer or the Servicer (on its behalf) shall promptly
  appoint a replacement Calculation Agent. For so long as any Floating Rate Notes are listed on the Irish
  Stock Exchange and the rules of the exchange so require, notice of the appointment of any replacement
  Calculation Agent shall be given to the Company Announcements Office of the Irish Stock Exchange as
  promptly as practicable after the appointment. The Calculation Agent may not resign its duties without a
  successor having been duly appointed.

           (b)     As soon as possible after 11:00 a.m., London time, on the second Business Day before
  the first day of each Interest Period, but in no event later than 11:00 a.m., London time, on the next
  Business Day, the Calculation Agent shall calculate the Note Interest Rate for each Class of Floating Rate



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  Notes for the next Interest Period. The Calculation Agent shall communicate those rates and amounts to
  the Co-Issuers, the Trustee, each Paying Agent, the Servicer, Euroclear, Clearstream, the Depository, and,
  so long as any of the Floating Rate Notes are listed thereon and the rules of the exchange so require, the
  Irish Stock Exchange. In the latter case, the information shall be given to the Company Announcements
  Office of the Irish Stock Exchange as soon as possible after its determination. The Calculation Agent
  shall separately notify the Irish Stock Exchange of the information. The Calculation Agent shall also
  specify to the Co-Issuers the quotations on which the foregoing rates are based, and in any event the
  Calculation Agent shall notify the Co-Issuers before 7:00 p.m., London time, on the second Business Day
  before the first day of each Interest Period that either:

                  (i)     it has determined or is in the process of determining the Note Interest Rate for
          each Class of Floating Rate Notes, or

                   (ii)    it has not determined and is not in the process of determining any such Note
          Interest Rate together with its reasons therefor.

          The Calculation Agent’s determination of the foregoing rates for any Interest Period shall (in the
  absence of manifest error) be final and binding on all parties and the Holders and Beneficial Owners of
  the Preference Shares.

          Section 7.17.    Certain Tax Matters.

          (a)     For United States federal income tax purposes, the Issuer shall treat the Preference Shares
  as equity and the Notes as debt. Each Holder of a Note, by its acquisition of that Note, agrees to treat
  those Notes as debt for United States federal income tax purposes.

           (b)      The Issuer will make an election to be treated as a partnership for U.S. federal income tax
  purposes, and will take all necessary actions to maintain its status as a partnership (or, if the equity of the
  Issuer is treated as owned by one person, as a disregarded entity of such person) for U.S. federal income
  tax purposes; provided, however, that the Issuer will not be required to maintain its status as a partnership
  (or disregarded entity) if the Issuer elects to be a corporation for U.S. federal income tax purposes.

           (c)     The Issuer shall file, or cause to be filed, any tax returns, including information tax
  returns, required by any governmental authority; provided, however, that the Issuer shall not file, or cause
  to be filed, any income or franchise tax return in any state of the United States unless it shall have
  obtained an Opinion of Counsel from a tax counsel of nationally recognized standing experienced in such
  matters prior to such filing that, under the laws of such jurisdiction, the Issuer is required to file such
  income or franchise tax return.

           (d)     In order to ensure the Holders’ and Beneficial Owners’ acquisition of the Notes pursuant
  to this Indenture are not treated as offered under conditions of confidentiality, the Holders and Beneficial
  Owners of the Notes (and each of their respective employees, representatives or other agents) are hereby
  permitted to disclose to any and all Persons, without limitation of any kind, the tax treatment and tax
  structure of the transactions contemplated by this Agreement (including the ownership and disposition of
  the Notes). For this purpose, the tax treatment of a transaction is the purported or claimed U.S. federal
  income or state and local tax treatment of the transaction, and the tax structure of a transaction is any fact
  that may be relevant to understanding the purported or claimed U.S. federal income or state and local tax
  treatment of the transaction.

         (e)    If the Issuer is aware that it has purchased an interest in a “reportable transaction” within
  the meaning of Section 6011 of the Code, and a Noteholder requests information about any such



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  transactions in which the Issuer is a purchaser, the Issuer shall provide such information it has reasonably
  available as soon as practicable after such request.

          (f)     The Issuer shall not conduct any business other than the business that the Issuer is
  permitted to conduct under this Indenture and the Preference Shares Paying Agency Agreement.

          (g)      Upon written request by the Independent accountants, the Indenture Registrar shall
  provide to the Independent accountants that information contained in the Indenture Register requested by
  the Independent accountants to comply with this Section 7.17.

          (h)     The Issuer will treat each purchase of Collateral Obligations and Eligible Investments as
  a “purchase” for tax accounting and reporting purposes.

          (i)      The Issuer shall not participate in listing or including the Class D Notes or Preference
  Shares on or in any Established Securities Markets, and shall not participate in establishing any
  Established Securities Market for its Class D Notes or Preference Shares. In addition, the Issuer shall not
  recognize any transfers made on any Established Securities Markets with respect to its Class D Notes or
  Preference Shares (including any transfers of any financial instrument (other than the Senior Notes) or
  contract the value of which is determined in whole or in part by reference to the Issuer).

          Section 7.18.   Securities Lending.

          (a)      So long as no Event of Default is continuing and if after the completion of the transaction
  the limit in clause (28) of the definition of “Concentration Limitations” would be satisfied, the Servicer
  may cause Collateral Obligations that are not Defaulted Collateral Obligations to be lent for a term of 90
  days or less to banks, broker-dealers and other financial institutions (other than insurance companies)
  having long-term and short-term senior unsecured debt ratings or guarantors with ratings of at least “A1”
  (and not “A1” but on credit watch with negative implications) and “P-1” (and not on credit watch for
  possible downgrade) from Moody’s and a short-term debt rating of at least “A-1” and a long-term senior
  unsecured debt rating of at least “A” from S&P (each, a “Securities Lending Counterparty”) pursuant to
  one or more agreements (each, a “Securities Lending Agreement”); provided that Collateral Obligations
  the Market Value of which cannot be determined under clause (i), (ii) or (iii) of that definition may not be
  lent pursuant to a Securities Lending Agreement. Upon receipt of an Issuer Order, the Trustee shall
  release any lent Collateral Obligations to a Securities Lending Counterparty as directed by the Servicer.
  The Securities Lending Counterparties may be Affiliates of the Placement Agent or Affiliates of the
  Servicer. The duration of any Securities Lending Agreement shall not exceed the Stated Maturity of the
  Notes.

          (b)     Each Securities Lending Agreement shall be on market terms as determined by the
  Servicer (except as may be required below) and shall:

                  (i)      require that the Securities Lending Counterparty return to the Issuer debt
          obligations that are identical (in terms of issue and class) to the lent Collateral Obligations;

                   (ii)     require that the Securities Lending Counterparty pay to the Issuer amounts
          equivalent to all interest and other payments that the owner of the lent Collateral Obligation is
          entitled to for the period during which the Collateral Obligation is lent and require that any such
          payments not be subject to withholding tax imposed by any jurisdiction unless the Securities
          Lending Counterparty is required under the Securities Lending Agreement to make “gross-up”
          payments to the Issuer that cover the full amount of the withholding tax on an after-tax basis;




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                   (iii)   require that the Rating Condition with respect to each Rating Agency shall be
          satisfied with respect to the execution of the Securities Lending Agreement;

                  (iv)   satisfy any other requirements of Section 1058 of the Code and the Treasury
          Regulations promulgated under it;

                   (v)    be governed by the laws of New York;

                  (vi)    permit the Issuer to assign its rights under the Securities Lending Agreement to
          the Trustee pursuant to this Indenture;

                 (vii)    provide for early termination and the delivery of any lent Collateral Obligation
          with no penalty if the Collateral Obligation becomes a Credit Risk Obligation or is subject to
          redemption in accordance with its terms;

                  (viii) provide for early termination and the delivery of any lent Collateral Obligation
          with no penalty upon any redemption of the Notes in whole;

                   (ix)    require the Securities Lending Counterparty to post with the Trustee collateral
          consisting of cash or direct registered debt obligations of the United States of America that have a
          maturity date no later than the Business Day preceding the stated termination date of the
          Securities Lending Agreement (the “Securities Lending Collateral”) to secure its obligation to
          return the Collateral Obligations or in the alternative post the Securities Lending Collateral with a
          custodian for the benefit of the Issuer designated by the Securities Lending Counterparty that
          satisfies the requirements with respect to being a securities intermediary with respect to the
          posted collateral if that custodian would qualify to be a successor trustee under Section 6.9;

                  (x)     provide that the Securities Lending Collateral shall be maintained at all times in
          an amount equal to at least 102% of the current Ask-Side Market Value (determined daily and
          monitored by the Servicer) of the lent Collateral Obligations and if securities are delivered to the
          Trustee as security for the obligations of the Securities Lending Counterparty under the related
          Securities Lending Agreement, the Servicer on behalf of the Issuer will negotiate with the
          Securities Lending Counterparty a rate for the loan fee to be paid to the Issuer for lending the lent
          Collateral Obligations;

                  (xi)    the lent Collateral Obligations shall be marked-to-market on a daily basis by the
          Servicer on the basis of their Market Value;

                (xii)    the Collateral will include the Issuer’s rights under the related Securities Lending
          Agreement rather than the loaned Collateral Obligation;

                  (xiii) provide for early termination within 10 days at the option of the Issuer and the
          delivery of any lent Collateral Obligation with no penalty if the Securities Lending Counterparty
          is no longer in compliance with the requirements relating to the credit ratings of the Securities
          Lending Counterparty and the noncompliance is not cured as provided in this Indenture; and

                  (xiv) contain appropriate limited recourse and non-petition provisions (to the extent the
          Issuer has contractual payment obligations to the Securities Lending Counterparty) equivalent
          (mutatis mutandis) to those in this Indenture.




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          (c)     If either Moody’s or S&P downgrades a Securities Lending Counterparty such that the
  Securities Lending Agreements to which the Securities Lending Counterparty is a party are no longer in
  compliance with the requirements relating to the credit ratings of the Securities Lending Counterparty,
  then the Servicer on behalf of the Issuer, within 10 days of the downgrade, shall

                  (i)     terminate its Securities Lending Agreements with the Securities Lending
          Counterparty unless a guarantor for the Securities Lending Counterparty’s obligations under the
          Securities Lending Agreements has been obtained; or

                   (ii)     reduce the percentage of the Aggregate Principal Balance of the Collateral
          Obligations lent to the downgraded Securities Lending Counterparty so that the Securities
          Lending Agreements to which the Securities Lending Counterparty is a party, together with all
          other Securities Lending Agreements, are in compliance with the requirements relating to the
          credit ratings of Securities Lending Counterparties; or

                   (iii)    take any other steps Moody’s or S&P may require to cause the Securities
          Lending Counterparty’s obligations under the Securities Lending Agreements to which the
          Securities Lending Counterparty is a party to be treated by Moody’s or S&P, as the case may be,
          as if the obligations were owed by a counterparty having a rating at least equivalent to the rating
          that was assigned by Moody’s or S&P, as the case may be, to the downgraded Securities Lending
          Counterparty before its being downgraded.

           (d)     In connection with any such direction by the Servicer to enter into a Securities Lending
  Agreement, the Trustee may receive and rely on an Issuer Order to the effect that the Securities Lending
  Agreement, and its Securities Lending Counterparty, is each in compliance with the requirements of this
  Indenture (including the definition of “Securities Lending Counterparty”). The Issuer and the Trustee
  may enter into any Securities Lending Agreement (and any related account control agreement) at the
  instruction of the Servicer, and deliver and accept delivery and return of any Collateral Obligations
  pursuant to the Securities Lending Agreement, or pursuant to instructions from the Servicer in connection
  with the Securities Lending Agreement. The Trustee may take any actions and exercise any rights and
  remedies under any Securities Lending Agreement that the Servicer instructs. The Trustee need not enter
  into any Securities Lending Agreement (or any related account control agreement) that would in its
  judgment, subject it to any liability, whether financial or otherwise, or cause it to incur or subject it to risk
  of any cost or disbursement for which it is not, in its judgment, adequately indemnified, or that would
  impose on it any obligations or administrative burdens that are unacceptable to it. The Servicer shall
  instruct the Trustee in writing with respect to the administration of any Securities Lending Agreement
  (including with respect to any default and the exercise of rights under it). The Trustee shall not have any
  responsibility for evaluating the sufficiency, validity or acceptability of any Securities Lending
  Agreement or for the qualifications or eligibility of any Securities Lending Counterparty. Nothing in this
  Indenture shall be construed to cause the Trustee to have any fiduciary duties to any Securities Lending
  Counterparty.

        (e)        So long as any Collateral Obligation is on loan pursuant to a Securities Lending
  Agreement,

                   (i)     the Trustee shall have no liability for any failure or inability on its part to receive
          any information or take any action with respect to the Collateral Obligation because of its being
          on loan (including any failure to take action with respect to a notice of redemption, consent
          solicitation, exchange or tender offer, or similar corporate action), and




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                  (ii)     the loaned Collateral Obligations shall not be disqualified for return to the
          Trustee as a Collateral Obligation by any change in circumstance or status during the time while
          on loan (including any change that would cause the Collateral Obligation to be ineligible for
          purchase by the Issuer under this Indenture if applied to a proposed purchase of it in the open
          market at the time of its return from loan).

          Section 7.19.    Purchase of Collateral Obligations; Ramp-Up Completion Date.

           (a)     The Issuer shall use its best efforts to purchase Collateral Obligations on any Business
  Day during the Ramp-Up Period or enter into commitments to purchase Collateral Obligations on any
  Business Day during the Ramp-Up Period for purchase on or as soon as practicable thereafter (not to
  exceed 60 days thereafter), in each case, for inclusion in the Collateral so that each of the Aggregate
  Principal Balance of the Collateral Obligations and the Overcollateralization Ratio Numerator with
  respect to the Class A Notes is at least U.S.$677,332,536.

           (b)      No Collateral Obligations may be purchased prior to the Ramp-Up Completion Date
  unless immediately following the purchase of any Collateral Obligation (as certified by the Servicer in
  writing), the remaining funds in the Collection Account, after giving effect to such purchase, are
  sufficient as of the date of determination to purchase Collateral Obligations for inclusion in the Collateral
  so that each of the Aggregate Principal Balance of the Collateral Obligations and the Overcollateralization
  Ratio Numerator with respect to the Class A Notes is at least U.S.$677,332,536 (taking into account the
  Collateral Obligations already part of the Collateral (without giving effect to any reductions of that
  amount that may have resulted from scheduled principal payments, principal prepayments or dispositions
  made with respect to any Collateral Obligations on or before the Ramp-Up Completion Date)).

          (c)     Notwithstanding the foregoing, or any other provision of this Indenture, if the Issuer has
  previously entered into a commitment to purchase a Collateral Obligation to be included in the Collateral,
  such commitment initially not to exceed 60 days, and at the time of the commitment the Collateral
  Obligation complied with the definition of “Collateral Obligation” and the requirements set forth in this
  Section 7.19, the Issuer may consummate the purchase of the Collateral Obligation notwithstanding that
  the Collateral Obligation fails to comply with the definition of “Collateral Obligation” and the
  requirements set out above on the date of settlement.

          (d)     The Issuer will use commercially reasonable efforts to purchase, or to enter into binding
  agreements to purchase, Collateral Obligations by the Ramp-Up Completion Date, that, together with the
  Collateral Obligations purchased on or before the Closing Date and then held by the Issuer, will satisfy, as
  of the Ramp-Up Completion Date (without giving effect to any reductions of that amount that may have
  resulted from scheduled principal payments, principal prepayments or dispositions made with respect to
  any Collateral Obligations on or before the Ramp-Up Completion Date), the Collateral Quality Tests, the
  Concentration Limitations, the criteria set forth in Section 12.2 of this Indenture and the
  Overcollateralization Tests.

           (e)     Within 5 Business Days after the Ramp-Up Completion Date, the Issuer or the Servicer
  (on behalf of the Issuer) shall request a Rating Confirmation on behalf of the Issuer and shall provide a
  report to the Rating Agencies identifying the Collateral Obligations then included in the Collateral and the
  Issuer shall obtain and deliver to the Trustee and the Rating Agencies, together with the delivery of a
  report (and, with respect to S&P, the S&P Excel Default Model Input File and, with respect to each
  Collateral Obligation, the S&P Priority Category thereof) substantially in the form of a Monthly Report as
  of the Ramp-Up Completion Date, an Accountants’ Certificate:




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                  (i)     confirming the maturity date, rating, spread and recovery rate for each item of
          Original Collateral Obligations owned by the Issuer as of the Ramp-Up Completion Date and the
          information provided by the Issuer with respect to every other asset included in the Collateral, by
          reference to such sources as shall be specified therein;

                   (ii)    confirming that as of the Ramp-Up Completion Date:

                           (A)      each of the Coverage Tests are satisfied;

                          (B)   the Aggregate Principal Balance of Collateral Obligations that the Issuer
                   owned or committed to purchase as of the Ramp-Up Completion Date is at least equal to
                   the Maximum Amount; and

                           (C)      the Collateral Obligations comply with all of the requirements of the
                   Collateral Quality Tests and the Concentration Limitations and the criteria set forth in
                   Section 12.2 of this Indenture; and

                   (iii)    specifying the procedures undertaken by them to review data and computations
          relating to the foregoing statements.

           (f)     If a Rating Confirmation Failure occurs, the Notes will be redeemed pursuant to, and to the
  extent provided in, Section 9.1(a).

          Section 7.20.    Posting of Reports on Repository.

           If the Placement Agent has entered into a posting dealer agreement with The Bond Market
  Association relating to the transactions contemplated by this Indenture, each of the Issuer, the Trustee and the
  Servicer acknowledges and agrees that each Monthly Report and Valuation Report shall be posted to the
  Repository for use in the manner provided in the Repository. In connection therewith, the Trustee, at the
  expense of the Issuer, agrees to make available in accordance with Section 14.3(a)(viii) each Monthly Report
  or Valuation Report to the operator of the Repository for posting on the Repository. The Placement Agent will
  notify the Trustee, the Co-Issuers and the Servicer upon entering into a posting dealer agreement.

          Section 7.21.    Secondary Risk Procedures.

          The Servicer shall notify S&P and request that S&P modify the S&P CDO Monitor accordingly if
  on any date (as disclosed in the most recent Monthly Report):

          (a)     the Aggregate Principal Amount of all Collateral Obligations participated from or entered
  into with the same Secondary Risk Counterparty exceeds the percentage of the Maximum Amount in the
  Secondary Risk Table opposite the long-term S&P credit rating of the Secondary Risk Counterparty
  under the caption “Individual Counterparty Limit,” or

           (b)     the Aggregate Principal Amount of all Collateral Obligations participated from or entered
  into with Secondary Risk Counterparties with the same long-term credit rating exceeds the percentage of
  the Maximum Amount in the Secondary Risk Table opposite that rating under the caption “Aggregate
  Counterparty Limit” (excluding up to 5% by Aggregate Principal Amount of Synthetic Securities with
  respect to Collateral Obligations the Aggregate Counterparty Limit of which is 20% to the extent that (x)
  such exposure is fully collateralized with respect to principal and (y) the related Synthetic Security
  Counterparties are rated at least “A-1+” by S&P).

          Section 7.22.    Section 3(c)(7) Procedures.


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          In addition to the notices required to be given under Section 10.6 hereof, the Issuer shall take the
  following actions to ensure compliance with the requirements of Section 3(c)(7) of the Investment
  Company Act (provided that such procedures and disclosures may be revised by the Issuer to be
  consistent with generally accepted practice for compliance with the requirements of Section 3(c)(7) of the
  Investment Company Act):

           (a)     Section 3(c)(7) Notice to Investors. The Issuer shall (i) request the Depository to cause,
  and cooperate with the Depository in causing, the Depository’s security description and delivery order to
  include a “3(c)(7) marker” and the Depository’s user manual to contain an accurate description of the
  restrictions on the holding and transfer of the Notes due to the Issuer’s reliance on the exclusion to
  registration provided by Section 3(c)(7) of the Investment Company Act, (ii) request that the Depository
  send, and cooperate with the Depository in causing the Depository to send, to its Agent Members (x) the
  Important Section 3(c)(7) Reminder Notice substantially in the form of Exhibit C-2 in connection with the
  initial offering of the Notes and (y) the Section 3(c)(7) Reminder Notice substantially in the form of
  Exhibit C-1 as set forth in Section 10.6(b) and (iii) request that the Depository cause, and cooperate with
  the Depository in causing, the Depository’s Reference Directory to include each Class of Notes (and the
  applicable CUSIP numbers for the Notes) in the listing of 3(c)(7) issues together with an attached
  description of the limitations as to the distribution, purchase, sale and holding of the Notes.

           (b)      CUSIP Numbers. The Issuer shall (a) request of S&P, and shall cooperate with S&P to
  ensure that all CUSIP numbers identifying the Notes shall have a “fixed field” attached thereto that
  contains “3c7” and “144A” indicators and (b) take steps to cause the Placement Agent and any market
  makers to require that all “confirms” of trades of the Notes contain CUSIP numbers with such “fixed
  field” identifiers.

           (c)     Bloomberg and other Third-Party Vendor Screens. The Issuer shall use all reasonable
  efforts to cause the Bloomberg screen or screens containing information about the Notes to include the
  following language: (a) the “Note Box” on the bottom of the “Security Display” page describing the
  Notes shall state: “Iss’d Under 144A/3(c)(7),” (b) the “Security Display” page shall have the flashing red
  indicator “See Other Available Information” and (c) the indicator shall link to the “Additional Security
  Information” page, which shall state that the securities are “being offered in reliance on the exemption
  from registration under Rule 144A of the Securities Act of 1933, as amended (the “Securities Act”), to
  persons who are both (x) qualified institutional buyers (as defined in Rule 144A under the Securities Act)
  and (y) qualified purchasers (as defined under Section 3(c)(7) under the Investment Company Act).” The
  Issuer shall use all reasonable efforts to require that any other third-party vendor screens containing
  information about the Notes include substantially similar language to clauses (a) through (c) above.

                                               ARTICLE VIII.

                                        SUPPLEMENTAL INDENTURES

          Section 8.1.    Supplemental Indentures Without Consent of Holders.

           (a)      Without the consent of the Holders of any Securities (other than as specified in Sections
  8.1(a)(viii), (xiv) and (xv)), when authorized by Board Resolutions, and subject to the requirement
  provided below in this Section 8.1 with respect to the ratings of any Class of Notes, the Co-Issuers and
  the Trustee may, if, with respect to any matters described in paragraphs (i) through (xxiv) below, the
  interests of the Holders of the Securities are not materially and adversely affected thereby (the Co-Issuers
  and the Trustee will be bound by a standard of good faith and fair dealing in making such determination)
  execute one or more indentures supplemental to this Indenture, in form satisfactory to the Trustee, to:




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                  (i)     evidence the succession of another Person to the Issuer or the Co-Issuer and the
          assumption by the successor Person of the obligations of the Issuer or the Co-Issuer in this
          Indenture and in the Securities;

                 (ii)     add to the covenants of the Co-Issuers or the Trustee for the benefit of the
          Noteholders or to surrender any right in this Indenture conferred on the Co-Issuers;

                   (iii)   convey, transfer, assign, mortgage or pledge any property to the Trustee, or add
          to the conditions, limitations, or restrictions on the authorized amount, terms, and purposes of the
          issue, authentication and delivery of the Notes;

                   (iv)    evidence and provide for the acceptance of appointment under this Indenture by a
          successor Trustee and to add to or change any of the provisions of this Indenture necessary to
          facilitate the administration of the trusts under this Indenture by more than one Trustee, pursuant
          to the requirements of Sections 6.10, 6.11, and 6.13;

                   (v)     correct or amplify the description of any property at any time subject to the lien
          of this Indenture, or to better assure, convey, and confirm to the Trustee any property subject or
          required to be subject to the lien of this Indenture (including all actions appropriate as a result of
          changes in law) or to subject to the lien of this Indenture any additional property;

                (vi)   conform any provision in this Indenture to the related provision in the Offering
          Memorandum that is intended to be a verbatim recitation of such provision;

                  (vii)    modify the restrictions on and procedures for resales and other transfers of the
          Notes to reflect any changes in applicable law (or its interpretation) or to enable the Co-Issuers to
          rely on any less restrictive exemption from registration under the Securities Act or the Investment
          Company Act or to remove restrictions on resale and transfer to the extent not required under this
          Indenture;

                  (viii) with the consent of the Servicer, modify (A) the restrictions on the sales of
          Collateral Obligations in Section 12.1 or (B) with the consent of the Majority of the Controlling
          Class (which consent shall not be unreasonably withheld), the Eligibility Criteria in Section 12.2
          (and the definitions related thereto); provided that, for the avoidance of doubt, the consent of the
          Majority of the Controlling Class shall not be required if such amendment also satisfies the
          requirements of Section 8.1(a)(xxv);

                 (ix)     make appropriate changes for any Class of Senior Notes to be listed on an
          exchange other than the Irish Stock Exchange;

                  (x)      otherwise to correct any inconsistency or cure any ambiguity or errors in this
          Indenture;

                    (xi)   accommodate the issuance of the Senior Notes in book-entry form through the
          facilities of DTC or otherwise;

                  (xii)    take any appropriate action to prevent the Issuer, the Holders of the Securities, or
          the Trustee from becoming subject to withholding or other taxes, fees, or assessments or to
          prevent the Issuer from being treated as being engaged in a U.S. trade or business or otherwise
          being subject to income tax on a net income basis, so long as the action will not cause the Holders
          of any Securities to be adversely affected to any material extent by any change to the timing,



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          character, or source of the income from the Securities, as evidenced by an Opinion of Counsel
          (which may be supported as to factual (including financial and capital markets) matters by any
          relevant certificates and other documents necessary or advisable in the judgment of counsel
          delivering the opinion);

                   (xiii) authorize the appointment of any listing agent, Transfer Agent, Paying Agent or
          additional registrar for any Class of Notes appropriate in connection with the listing of any Class
          of Senior Notes on the Irish Stock Exchange or any other stock exchange, and otherwise to
          amend this Indenture to incorporate any changes required or requested by any governmental
          authority, stock exchange authority, listing agent, Transfer Agent, Paying Agent or additional
          registrar for any Class of Notes in connection with its appointment, so long as the supplemental
          indenture would not materially and adversely affect any Noteholder, as evidenced by an Opinion
          of Counsel (which may be supported as to factual (including financial and capital markets)
          matters by any relevant certificates and other documents necessary or advisable in the judgment
          of counsel delivering the opinion) or a certificate of an Authorized Officer of the Servicer, to the
          effect that the modification would not be materially adverse to the Holders of any Class of Notes;

                  (xiv) with the consent of the Majority of the Controlling Class, amend, modify, enter
          into or accommodate the execution of any contract relating to a Synthetic Security (including
          posting collateral under a Synthetic Security Agreement) if such particular action is not otherwise
          permitted by this Indenture;

                  (xv)     with the consent of a Majority of the Class A-1B Notes, to amend any provisions
          herein relating solely to the manner, timing and conditions of Drawdowns;

                  (xvi)   modify Section 3.3 to be consistent with applicable laws or Rating Agency
          requirements;

                  (xvii) evidence any waiver by any Rating Agency as to any requirement or condition,
          as applicable, of the Rating Agency set forth in this Indenture;

                   (xviii) facilitate the issuance of participation notes, combination notes, composite
          securities and other similar securities;

                  (xix) to evidence or implement the issuance of Replacement Notes or Refinancing
          Notes as provided for in this Indenture;

                   (xx)   facilitate hedging transactions;

                 (xxi) facilitate the ability of the Issuer to lend collateral pursuant to a Securities
          Lending Agreement;

                  (xxii) modify any provision to facilitate an A/B Exchange, including to effect any serial
          designation relating to the exchange;

                   (xxiii) with the consent of the Servicer, enter into any additional agreements not
          expressly prohibited by this Indenture as well as any amendment, modification, or waiver if the
          Issuer determines that the amendment, modification, or waiver would not, upon or after becoming
          effective, materially and adversely affect the rights or interest of the Holders of any Class of
          Securities as evidenced by an Opinion of Counsel (which may be supported as to factual
          (including financial and capital markets) matters by any relevant certificates and other documents



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          necessary or advisable in the judgment of counsel delivering the opinion) or a certificate of an
          officer of the Servicer to the effect that the modification would not be materially adverse to the
          Holders of any Class of Securities; provided that, for the avoidance of doubt, this clause (xxiii)
          shall not permit the Co-Issuers and the Trustee to enter into any amendment hereto that expressly
          requires the consent of the Majority of the Controlling Class without obtaining such consent;

                  (xxiv) provide for the issuance of additional Preference Shares to the extent permitted
          by the Preference Share Documents and to extend to such additional Preference Shares the
          benefits applicable to the Preference Shares under this Indenture and the Preference Share
          Documents; or

                   (xxv) prevent the Issuer from becoming an “investment company” as defined in the
          Investment Company Act or to better assure compliance with the requirements of Rule 3a-7
          and/or to remove transfer restrictions and other requirements relating to Section 3(c)(7); provided
          that, as a condition to the effectiveness of any such supplemental indenture, each of the Issuer, the
          Trustee and the Servicer shall have received (A) a Rating Confirmation with respect to such
          supplemental indenture and (B) a customary opinion of counsel (which may be supported as to
          factual matters by any relevant certificates or other documents necessary or advisable in the
          judgment of counsel delivering such opinion) from a nationally recognized law firm providing
          that, after giving effect to such supplemental indenture, the Issuer is exempt from registration as
          an “investment company” under the Investment Company Act in reliance on the exemption
          provided by Rule 3a-7.

          (b)      Without the consent of the Servicer, no supplemental indenture may be entered into that
  would reduce the rights, decrease the fees or other amounts payable to the Servicer under this Indenture or
  increase the duties or obligations of the Servicer.

           (c)      The Trustee is authorized to join in the execution of any supplemental indenture and to
  make any further appropriate agreements and stipulations that may be in the agreements, but the Trustee
  shall not be obligated to enter into any supplemental indenture (pursuant to Sections 8.1 or 8.2) that
  affects the Trustee’s own rights, duties, liabilities or immunities under this Indenture or otherwise, except
  to the extent required by law. Unless notified in writing by a Majority of any Class of Notes or a
  Majority of the Preference Shares that Holders of the Class of the Notes or Holders of the Preference
  Shares would be materially and adversely affected, the Trustee shall be entitled to receive in connection
  with any such supplemental indenture, and may rely on, a certificate of the Servicer and an Opinion of
  Counsel (which may be supported as to factual (including financial and capital markets) matters by any
  relevant certificates and other documents necessary or advisable in the judgment of counsel delivering the
  opinion) as to whether the interests of any Holder of Securities would be materially and adversely
  affected by any such supplemental indenture.

          (d)      If any Outstanding Notes are rated by a Rating Agency, the Trustee shall enter into a
  supplemental indenture pursuant to this Section 8.1 only if either (1) the Rating Condition with respect to
  each Rating Agency is satisfied with respect to the supplemental indenture or (2) the Servicer and the
  Holders of 100% in Aggregate Outstanding Amount of each Class of Notes the ratings on which would be
  reduced or withdrawn consent to the supplemental indenture. Prior to the entry into any supplemental
  indenture with respect to which a Rating Confirmation for one or more Classes of Notes is not expected to
  be delivered, the Trustee shall provide written notice to each Holder of each Outstanding Note informing
  them of such fact.

          (e)    At the cost of the Co-Issuers, the Trustee shall mail to the Noteholders, the Preference
  Shares Paying Agent (for forwarding to the Holders of Preference Shares), the Holding Preference Shares


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  Paying Agent (for forwarding to the Holders of Holding Preference Shares), each Rating Agency (for so
  long as any Notes are Outstanding and rated by such Rating Agency) and each Hedge Counterparty a
  copy of any such proposed supplemental indenture pursuant to this Section 8.1 at least 15 Business Days
  before its execution by the Trustee (or 60 calendar days before execution in the case of a supplemental
  indenture for the purpose described in paragraph (8) of Section 8.1(a), which shall be identified as such in
  a certificate of the Servicer delivered to the Trustee before the date on which such notice is required to be
  given).

          Section 8.2.     Supplemental Indentures With Consent of Holders.

           (a)      If the Rating Condition is satisfied with respect to each Rating Agency, the Trustee and
  the Co-Issuers may execute one or more indentures supplemental to this Indenture to add any provisions
  to, or change in any manner, or eliminate any of the provisions of, this Indenture or modify in any manner
  the rights of the Noteholders under this Indenture with the consent of:

                   (i)    the Servicer if the supplemental indenture would reduce the rights, decrease the
          fees or other amounts payable to it under this Indenture or increase the duties or obligations of the
          Servicer;

                 (ii)     a Majority of each Class of Notes adversely affected thereby, by Act of the
          Holders of each such Class of Notes; and

                   (iii)   a Majority of the Preference Shares adversely affected thereby.

          Any proposed supplemental indenture that would also necessitate a change to the Amended and
  Restated Memorandum and Articles of Association may only be made after a Special Resolution (as
  defined in the Amended and Restated Memorandum and Articles of Association) has been passed to
  permit the Issuer’s constitutional documents to be altered to conform them to the proposed change to this
  Indenture as certified to the Trustee by the Issuer.

          Notwithstanding anything in this Indenture to the contrary, without the consent of the Holder of
  each Outstanding Note adversely affected thereby and the Holder of each Preference Share adversely
  affected thereby, no supplemental indenture shall:

                            (A)      change the Stated Maturity of the principal of or the due date of any
                   installment of interest on any Note or of any payment to the Preference Shares Paying
                   Agent for payment to the Holders of the Preference Shares, reduce the principal amount
                   or the rate of interest on any Note, or the Default Interest Rate, Refinancing Price or the
                   Redemption Price with respect to any Note or Preference Share, or change the earliest
                   date on which Notes of any Class or Preference Share may be redeemed or refinanced at
                   the option of the Issuer, change the provisions of this Indenture relating to the application
                   of proceeds of any Collateral to the payment of principal of or interest on Notes, or to
                   payment to the Preference Shares Paying Agent for payment to the Holders of the
                   Preference Shares, or change any place where, or the coin or currency in which, Notes or
                   their principal or interest are paid or impair the right to institute suit for the enforcement
                   of any such payment on or after their Stated Maturity (or, in the case of redemption or
                   refinancing, on or after the applicable Redemption Date or Refinancing Date);

                           (B)     reduce the percentage of the Aggregate Outstanding Amount of Holders
                   of Notes of each Class or Holders of Preference Shares whose consent is required for the
                   authorization of any such supplemental indenture or for any waiver of compliance with



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                   certain provisions of this Indenture or certain defaults under this Indenture or their
                   consequences provided for in this Indenture;

                            (C)     permit the creation of any lien ranking prior to or on a parity with the
                   lien of this Indenture with respect to any part of the Collateral or terminate the lien on
                   any property at any time subject hereto or deprive the Holder of any Note of the security
                   afforded by the lien of this Indenture;

                            (D)       reduce the percentage of the Aggregate Outstanding Amount of Holders
                   of Notes of each Class whose consent is required to request the Trustee to retain the
                   Collateral or rescind the Trustee’s election to retain the Collateral, pursuant to Section 5.5
                   or to sell or liquidate the Collateral, pursuant to Section 5.4 or 5.5;

                           (E)     modify any of the provisions of this Section 8.2, or to provide that
                   certain other provisions of this Indenture cannot be modified or waived without the
                   consent of the Holder of each Outstanding Note and Preference Share affected thereby;

                            (F)    modify the definition of “Outstanding,” “Controlling Class,” or
                   “Majority,” the Priority of Payments in Section 11.1(a), Section 13.1 or any non-petition
                   or limited recourse clause; or

                            (G)      modify any of the provisions of this Indenture in such a manner as to
                   affect the calculation of the amount of any payment of Redemption Price or of interest or
                   principal on any Note or any payment to the Preference Shares Paying Agent for the
                   payment of dividends or other payments on the Preference Shares on any Payment Date
                   or to affect the rights of the Holders of the Securities to the benefit of any provisions for
                   the redemption of the Notes or the Preference Shares contained in this Indenture.

          Prior to the entry into any supplemental indenture with respect to which a Rating Confirmation
  for one or more Classes of Notes is not expected to be delivered, the Trustee shall provide written notice
  to each Holder of each Outstanding Note and the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares) informing them of such fact.

          (b)      Not later than 15 Business Days prior to the execution of any proposed supplemental
  indenture pursuant to this Section 8.2, the Trustee, at the expense of the Co-Issuers, shall mail to the
  Noteholders, the Servicer, the Preference Shares Paying Agent (for forwarding to the Holders of
  Preference Shares), the Holding Preference Shares Paying Agent (for forwarding to the Holders of
  Holding Preference Shares) and each Rating Agency (for so long as any Notes are Outstanding and rated
  by a Rating Agency) a copy of such proposed supplemental indenture and shall request any required
  consent from the applicable Holders of Securities to be given within the Initial Consent Period. Any
  consent given to a proposed supplemental indenture by the Holder of any Securities, as applicable, shall
  be irrevocable and binding on all future Holders or beneficial owners of that Security, irrespective of the
  execution date of the supplemental indenture. If the Holders of less than the required percentage of the
  Aggregate Outstanding Amount of the relevant Securities consent to a proposed supplemental indenture
  within the Initial Consent Period, on the first Business Day after the Initial Consent Period, the Trustee
  shall notify the Issuer and the Servicer which Holders of Securities have consented to the proposed
  supplemental indenture and, which Holders (and, to the extent such information is reasonably available to
  the Trustee, which beneficial owners) have not consented to the proposed supplemental indenture. If it
  intends to exercise its Amendment Buy-Out Option pursuant to Section 9.6, the Amendment Buy-Out
  Purchaser shall so notify the Trustee (which notice shall designate a date for the Amendment Buy-Out to
  occur no earlier than 10 Business Days after the date of such notice) no later than five Business Days after



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  the Servicer is so notified by the Trustee and the Trustee shall promptly mail such notice to all
  Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares)
  and the Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding Preference
  Shares). Any Non-Consenting Holder may give consent to the related proposed supplemental indenture
  until the 5th Business Day prior to the date of the Amendment Buy-Out designated by the Amendment
  Buy-Out Purchaser, and in such case shall cease to be a Non-Consenting Holder for purposes of the
  Amendment Buy-Out. If the Amendment Buy-Out Purchaser exercises its Amendment Buy-Out Option
  and purchases the applicable Securities pursuant to Section 9.6 below, the Amendment Buy-Out
  Purchaser, as Holder or beneficial owner of the applicable Securities, may consent to the related proposed
  supplemental indenture within five Business Days of the Amendment Buy-Out.

          (c)     It shall not be necessary for any Act of Noteholders under this Section 8.2 to approve the
  particular form of any proposed supplemental indenture, but it shall be sufficient if the Act or consent
  approves its substance.

           (d)      The Trustee, at the expense of the Co-Issuers, shall mail to the Noteholders, the Servicer,
  the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the Holding
  Preference Shares Paying Agent (for forwarding to the Holders of Holding Preference Shares) and each
  Rating Agency a copy of any supplemental indenture pursuant to this Section 8.2 promptly after its
  execution by the Co-Issuers and the Trustee. Any failure of the Trustee to mail a copy of any
  supplemental indenture as provided in this Indenture, or any defect in the mailing, shall not in any way
  affect the validity of the supplemental indenture.

          Section 8.3.     Execution of Supplemental Indentures.

           In executing or accepting the additional trusts created by any supplemental indenture permitted
  by this Article 8 or the modifications thereby of the trusts created by this Indenture, the Trustee may
  receive, and (subject to Sections 6.1 and 6.3) shall be fully protected in relying upon, an Opinion of
  Counsel stating that the execution of the supplemental indenture is authorized or permitted by this
  Indenture and that all conditions precedent to the execution of such supplemental indenture have been
  satisfied. In the event that any supplemental indenture is consented to by the Issuer, the Co-Issuer and
  100% of the Aggregate Outstanding Amount of each Class of Notes and the Rating Condition is satisfied
  or is specifically waived by all consenting parties, all conditions precedent to the execution of such
  supplemental indenture shall be deemed satisfied, the execution of such supplemental indenture shall be
  authorized or permitted by this Indenture, and the Trustee shall execute and accept the additional trusts
  created by such supplemental indenture pursuant to this Article 8 or modification thereby of the trusts
  created by this Indenture without obtaining an Opinion of Counsel; provided that the Trustee may, but
  shall not be obligated to, enter into any such supplemental indenture that affects the Trustee’s own rights,
  duties or immunities under this Indenture or otherwise. The Servicer shall not be bound by any
  amendment or supplement to this Indenture that would reduce the rights, decrease the fees or other
  amounts payable to it under this Indenture or increase the duties or obligations of the Servicer unless the
  Servicer consents to it in writing, such consent not to be unreasonably withheld or delayed. The Servicer
  shall follow any amendment or supplement to this Indenture by which it is bound of which it has received
  written notice from the time it receives a copy of the amendment from the Issuer or the Trustee. The
  Trustee shall deliver any such amendment or supplement to the Repository in accordance with Section
  6.18.

          Section 8.4.     Effect of Supplemental Indentures; Certain Required Consents.

         Upon the execution of any supplemental indenture under this Article 8, this Indenture shall be
  modified in accordance therewith, and the supplemental indenture shall form a part of this Indenture for


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  all purposes; and every Holder of Notes theretofore and thereafter authenticated and delivered under this
  Indenture shall be bound thereby.

           Without the approval of each Hedge Counterparty to a then existing Hedge Agreement (so long
  as the Hedge Counterparty is not in default under any Hedge Agreement to which it is party), no
  supplemental indenture will be effective, and the Co-Issuers will not consent to any supplemental
  indenture, that would have a material adverse effect on the Hedge Counterparty. For purposes of this
  paragraph, any supplemental indenture will be deemed not to have a material adverse effect on the Hedge
  Counterparty if it does not object within 10 days of delivery of such supplemental indenture by the
  Trustee.

          Any supplemental indenture that would necessitate a change to the Amended and Restated
  Memorandum and Articles of Association (or the memorandum and articles of association of Investors
  Corp.) may only be made after a Special Resolution (as defined in the Amended and Restated
  Memorandum and Articles of Association) has been passed to permit the Amended and Restated
  Memorandum and Articles of Association (or the memorandum and articles of association of Investors
  Corp.) to be altered to conform with such proposed amendment.

          Section 8.5.     Reference in Notes to Supplemental Indentures.

           Notes authenticated and delivered after the execution of any supplemental indenture pursuant to
  this Article 8 may, and if required by the Trustee shall, bear a notice in form approved by the Trustee as
  to any matter provided for in the supplemental indenture. If the Applicable Issuers shall so determine,
  new Notes, so modified as to conform in the opinion of the Trustee and the Co-Issuers to any such
  supplemental indenture, may be prepared and executed by the Applicable Issuers and authenticated and
  delivered by the Trustee in exchange for Outstanding Notes.

                                                 ARTICLE IX.

                                            REDEMPTION OF NOTES

          Section 9.1.     Mandatory Redemption.

          (a)    If either (a) a Coverage Test is not met on any Determination Date or (b) a Rating
  Confirmation Failure occurs, principal payments on the Notes shall be made on the related Payment Date
  (without payment of any Redemption Price) in accordance with the Priority of Payments.

          Upon receipt of notice of a Rating Confirmation Failure and if available Interest Proceeds and
  Principal Proceeds are insufficient to effect the redemption of the Notes, at par on any subsequent
  Payment Date in accordance with the Priority of Payments as and to the extent necessary for each of
  Moody’s and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to the
  Notes, then at the direction and in accordance with the instructions of the Servicer the Trustee shall sell
  Collateral Obligations so that the proceeds from the sale and all other funds available for the purpose in
  the Collection Account will be used to redeem the Notes and the Preference Shares (but only to the extent
  necessary for each of Moody’s and S&P to confirm in writing the Initial Ratings assigned by it on the
  Closing Date to the Notes) and to pay all administrative and other fees, expenses and obligations payable
  under the Priority of Payments. Any sale under this Section 9.1 shall be conducted in such a manner that:

                   (i)     after giving effect to the sale each Overcollateralization Test is satisfied or, if any
          Overcollateralization Test is not satisfied, the extent of compliance with the Overcollateralization
          Test is not reduced,



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                  (ii)     if the sale occurs on or after the second Payment Date, after giving effect to the
          sale each Interest Coverage Test is satisfied or, if any Interest Coverage Test is not satisfied, the
          extent of compliance with the Interest Coverage Test is not reduced, and

                   (iii)  after giving effect to the sale each Collateral Quality Test is satisfied or, if any
          Collateral Quality Test is not satisfied, the extent of compliance with the Collateral Quality Test
          is not reduced.

         (b)     The Preference Shares will be redeemed in whole in accordance with the Priority of
  Payments and the Preference Share Documents on any Payment Date on which a mandatory redemption
  of the Notes pursuant to Section 9.1(a) results in the payment in full of the Aggregate Outstanding
  Amount of each Class of Notes.

           (c)      In the event that the Issuer or the Servicer (on behalf of the Issuer) has failed to obtain
  confirmation in writing from S&P that it has not (i) reduced, suspended, or withdrawn its Initial Rating of
  each Class of Notes and (ii) placed any Class of Notes on credit watch with negative implications by the
  Business Day after the 29th day after the Ramp-Up Completion Date, the Issuer (by Issuer Order) may
  direct the Trustee to make payments on the first Payment Date in accordance with the Priority of
  Payments; provided that all amounts (other than Class II Preference Share Special Payments) otherwise
  payable to the Holders of the Class I Preference Shares and the Class II Preference Shares shall be
  retained by the Trustee in the Payment Account pending receipt of S&P’s written confirmation as set
  forth in this Section 9.1(c).

          Section 9.2.     Optional Redemption.

          (a)     Upon the occurrence of a Tax Event, or at any time after the Non-Call Period, the Notes
  shall be redeemed by the Applicable Issuers, in whole but not in part, on any Payment Date from
  Principal Proceeds and all other funds available for that purpose in the Collection Account, the Payment
  Account, the Interest Reserve Account, the Closing Date Expense Account, the Revolving Reserve
  Account and the Delayed Drawdown Reserve Account at the direction of the applicable Required
  Redemption Percentage, which direction must be given to the Preference Shares Paying Agent, the
  Trustee, the Issuer and the Servicer not later than 45 days before the Payment Date on which the
  redemption is to be made, at the applicable Redemption Price (exclusive of installments of interest and
  principal maturing on or before that date, payment of which shall have been made or duly provided for, to
  the Noteholders on relevant Record Dates or as otherwise provided in this Indenture). All Notes must be
  simultaneously redeemed, and any termination payments pursuant to Hedge Agreements must be paid.

           Upon receipt of a notice of redemption pursuant to this Section 9.2(a), the Servicer in its sole
  discretion will (subject to the standard of care specified in the Servicing Agreement), on behalf of the
  Issuer, direct the sale of the Collateral Obligations so that the proceeds from the sale and all other funds
  available for such purpose in the Collection Account, the Interest Reserve Account, the Closing Date
  Expense Account, the Revolving Reserve Account and the Delayed Drawdown Reserve Account will be
  at least sufficient to redeem all of the Notes and to pay all administrative and other fees and expenses
  payable under the Priority of Payments without regard to any payment limitations. If, in the Servicer’s
  reasonable discretion, the sale would not be sufficient to redeem the Notes, and to pay the fees, expenses
  and obligations, the Notes shall not be redeemed.

          Upon any redemption pursuant to this Section 9.2(a), the Issuer shall, at least 30 days before the
  Redemption Date (unless the Trustee shall agree to a shorter notice period), notify the Trustee, the
  Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), to the Holding
  Preference Shares Paying Agent (for forwarding to the Holders of Holding Preference Shares) and each



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  Rating Agency of the Redemption Date, the applicable Record Date, the principal amount of Notes to be
  redeemed on the Redemption Date and the applicable Redemption Prices.

          (b)     On any Payment Date on or after payment in full of the Notes, all administrative and
  other fees (without regard to any payment limitations) payable under the Priority of Payments (including
  the Senior Servicing Fee and the Subordinated Servicing Fee), all amounts owing under this Indenture
  and all amounts owing under this Indenture and any Hedge Agreement to any Hedge Counterparty have
  been discharged,

                   (i)     at the direction of a Majority of the Preference Shares, the Issuer shall cause the
          Trustee to make payments in redemption of all of the Preference Shares, in an aggregate amount
          equal to all of the proceeds from the sale or other disposition of all of the remaining Collateral
          less any fees and expenses owed by the Issuer (including the Redemption Price of any Notes
          being simultaneously redeemed), the aggregate amount to be distributed to the Preference Shares
          Paying Agent for distribution to the Holders of the Preference Shares pro rata in accordance with
          their respective holdings or

                  (ii)     at the unanimous direction of the Holders of the Preference Shares, voting as a
          single Class or group, the Issuer shall cause the Trustee to make payments in redemption of all or
          a directed portion (representing less than all) of the Preference Shares to the Preference Shares
          Paying Agent for distribution to the Holders of the Preference Shares based upon such direction.

          Upon a distribution pursuant to Section 9.2(b)(i), the Servicer will (subject to the standard of care
  specified in the Servicing Agreement), on behalf of the Issuer (and subject to Section 9.2(b)(ii)), direct the
  sale of all remaining Collateral Obligations. Upon a distribution pursuant to Section 9.2(b)(ii), the
  Servicer will effect the sale of Collateral Obligations in accordance with the unanimous direction of the
  Holders of the Preference Shares.

          Section 9.3.     Redemption Procedures.

          (a)      Upon any optional redemption pursuant to Section 9.2, the Trustee shall give notice of a
  redemption by first-class mail, postage prepaid, mailed not later than 10 Business Days and not earlier
  than 30 days before the applicable Redemption Date, each Holder of Notes to be redeemed, at the
  Holder’s address in the Indenture Register or otherwise in accordance with the rules and procedures of
  DTC, Euroclear, and Clearstream, as applicable, to the Preference Shares Paying Agent (for forwarding to
  the Holders of Preference Shares), to the Holding Preference Shares Paying Agent (for forwarding to the
  Holders of Holding Preference Shares) and (in the case of a redemption pursuant to Section 9.2(a)) to
  each Rating Agency. In addition, for so long as any Senior Notes are listed on the Irish Stock Exchange
  and so long as the rules of the exchange so require, notice of redemption of Senior Notes pursuant to
  Section 9.2 shall also be given to the Company Announcements Office of the Irish Stock Exchange.

          (b)      All notices of redemption delivered pursuant to Section 9.3(a) shall state:

                   (i)     the applicable Redemption Date;

                 (ii)     the Redemption Price of the Notes to be redeemed (in the case of a redemption
          pursuant to Section 9.2(a));

                  (iii)  in the case of a redemption pursuant to Section 9.2(a), that all of the Notes, are to
          be redeemed in full and that interest on the Notes to be redeemed shall cease to accrue on the
          Payment Date specified in the notice; and



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                   (iv)    the places where the Notes to be redeemed in whole are to be surrendered for
          payment of the Redemption Price, which shall be the office or agency of the Co-Issuers to be
          maintained as provided in Section 7.2 and, so long as any Senior Notes to be redeemed are listed
          on the Irish Stock Exchange, and the Irish Paying Agent.

          Any such notice of redemption may be withdrawn by the Issuer up to the fourth Business Day
  before the scheduled Redemption Date by written notice to the Preference Shares Paying Agent (for
  forwarding to the Holders of Preference Shares), the Holding Preference Shares Paying Agent (for
  forwarding to the Holders of Holding Preference Shares), the Trustee and the Servicer only if:

                            (A)     in the case of a redemption pursuant to Section 9.2(a), the Servicer does
                   not deliver the sale agreement or certifications (described in Sections 9.3(c) and 12.1(f)),
                   as the case may be, in form satisfactory to the Trustee,

                            (B)      in the case of a redemption pursuant to Section 9.2(a) or Section
                   9.2(b)(i), the Issuer receives the written direction of the Preference Shares or Affected
                   Class (as applicable) to withdraw the notice of redemption delivered by a percentage of
                   the Preference Shares or Affected Class (as applicable) requesting redemption under
                   Section 9.2(a) or Section 9.2(b)(i), as applicable, or

                           (C)      in the case of a redemption pursuant to Section 9.2(b)(ii), the Issuer
                   receives the unanimous written direction of the Holders of the Preference Shares to
                   withdraw the notice of redemption (and the Issuer hereby agrees for the benefit of the
                   directing Holders to withdraw the applicable notice of redemption if it receives the
                   written direction referred to in the preceding clause (B) or this clause (C)).

          Notice of any withdrawal shall be sent, not later than the third Business Day before the scheduled
  Redemption Date (assuming that the Trustee has received timely written notice from the Issuer as
  provided above), by the Trustee, to each Noteholder scheduled to be redeemed at the Holder’s address in
  the Indenture Register by overnight courier guaranteeing next day delivery (or, to the extent the address
  contained in the Indenture Register is not sufficient for that purpose, by first class mail), the Preference
  Shares Paying Agent (for forwarding to each Holder of Preference Shares) and the Holding Preference
  Shares Paying Agent (for forwarding to each Holder of Holding Preference Shares). If the Issuer so
  withdraws any notice of redemption or is otherwise unable to complete any redemption of the Notes, the
  Sale Proceeds received from the sale of any Collateral Obligations sold pursuant to Sections 9.2 and
  12.1(f) may, during the Replacement Period (and, in respect of Sale Proceeds from Credit Risk
  Obligations and Credit Improved Obligations, after the Replacement Period) at the Servicer’s discretion,
  be used to purchase replacement Collateral Obligations in accordance with the Eligibility Criteria.

          Notice of redemption shall be given by the Co-Issuers or, upon an Issuer Order, by the Trustee in
  the name and at the expense of the Co-Issuers. Failure to give notice of redemption, or any defect therein,
  to any Holder of any Notes selected for redemption, the Preference Shares Paying Agent (for forwarding
  to each Holder of Preference Shares) or the Holding Preference Shares Paying Agent (for forwarding to
  each of Holding Preference Shares) shall not impair or affect the validity of the redemption of any other
  Securities.

          (c)      The Notes may not be redeemed pursuant to Section 9.2(a) unless either of the following
  conditions is satisfied:

                  (i)     At least ten Business Days before the Redemption Date, the Servicer shall have
          furnished to the Trustee evidence (in form reasonably satisfactory to the Trustee) that the Issuer



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          has entered into a binding agreements (with a financial or other institution or entity whose short-
          term unsecured debt obligations (other than obligations whose rating is based on the credit of a
          Person other than the institution) have a credit rating of at least “A-1” from S&P and of “P-1”
          (and not on credit watch for possible downgrade) from Moody’s (or to any other institution or
          entity if the Rating Condition with respect to Moody’s is satisfied with respect to the other
          entity)) to sell to the financial or other institutions, not later than the Business Day before the
          Redemption Date in immediately available funds, all or part of the Collateral (directly or by
          participation or other arrangement) at a Purchase Price at least equal to an amount sufficient
          (together with any Cash and other Eligible Investments not subject to the agreements and
          maturing on or before the Redemption Date and any payments to be received with respect to the
          Hedge Agreements on or before the Redemption Date) to pay all administrative and other fees
          and expenses payable under the Priority of Payments without regard to any payment limitations
          (including the Senior Servicing Fee and the Subordinated Servicing Fee), all amounts owing
          under this Indenture, all amounts owing under the Hedge Agreements to the Hedge
          Counterparties, and to redeem the Notes on the Redemption Date at the applicable Redemption
          Prices; or

                   (ii)    Before entering into any binding agreement to sell all or a portion of the
          Collateral and selling or terminating any Hedge Agreement, the Servicer shall have certified that,
          in its commercially reasonable judgment, the settlement dates of the sales will be scheduled to
          occur on or before the Business Day before the Redemption Date and that the expected proceeds
          from the sales are to be delivered to the Trustee no later than the Business Day before the
          Redemption Date, in immediately available funds, in an amount (calculated as applicable in the
          manner provided below) sufficient (together with any Cash and other Eligible Investments not
          subject to the agreements and maturing on or before the Redemption Date and any payments to be
          received with respect to the Hedge Agreements on or before the Redemption Date) to pay all
          administrative and other fees and expenses payable under the Priority of Payments (including the
          Senior Servicing Fee and the Subordinated Servicing Fee), all amounts owing under this
          Indenture, all amounts owing under the Hedge Agreements to the Hedge Counterparties, and to
          redeem the Notes on the Redemption Date at the applicable Redemption Prices. For purposes of
          this paragraph, the amount shall be calculated with respect to the classes of Collateral listed in the
          table below by multiplying the expected proceeds of sale of the Collateral by the indicated
          percentage in the table below.

                                                                        Number of Business Days Between
                                                                        Certification to the Trustee and Sale
                                                                       Same Day 1 to 2 3 to 5 6 to 15
    1     Cash or other Eligible Investments                             100%        100% 100%          100%
    2     Loans (other than 5 below)                                     100%        93%       92%       88%
    3     High-Yield Bonds (other than 5 below) and Structured
          Finance Obligations (in each case, other than 4 below)         100%        89%       85%       75%
    4     High-Yield Bonds (other than 5 below) and Structured
          Finance Obligations, in each case with a Moody’s
          Rating of “B3” and on credit watch with negative
          implications or below “B3”                                     100%        75%       65%       55%
    5     Synthetic Securities                                           100%        65%       55%       35%

         Any certification delivered pursuant to this Section 9.3(c) shall include (A) the prices of, and
  expected proceeds from, the sale of any Collateral Obligations, Eligible Investments, or Hedge
  Agreements and (B) all calculations required by this Section 9.3(c).



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          Section 9.4.     Notes Payable on Redemption Date.

          (a)      Notice of redemption pursuant to Section 9.3 having been given as aforesaid, the Notes to
  be redeemed shall, on the Redemption Date, become payable at the Redemption Price therein specified
  and from and after the Redemption Date (unless the Issuer shall default in the payment of the Redemption
  Price and accrued interest) the Notes shall cease to bear interest on the Redemption Date. Upon final
  payment on a Note to be so redeemed, the Holder shall present and surrender the Note at the place
  specified in the notice of redemption on or before the Redemption Date unless the Co-Issuers and the
  Trustee receive the security or indemnity required by them to save each of them harmless and an
  undertaking thereafter to surrender the Note, and in the absence of notice to the Co-Issuers and the
  Trustee, that the applicable Note has been acquired by a protected purchaser, the final payment shall be
  made without presentation or surrender. Payments of interest on Notes so to be redeemed whose Stated
  Maturity is on or before the Redemption Date shall be payable to the Noteholders, or one or more
  predecessor Notes, registered as such at the close of business on the relevant Record Date if the Record
  Date is a Business Day (or, if the Record Date is not a Business Day, the close of business on the
  Business Day before the Record Date) according to Section 2.8(e).

           (b)     If any Note called for redemption is not paid on its surrender for redemption, its principal
  shall bear interest from the Redemption Date at the Applicable Note Interest Rate for each successive
  Interest Period the Note remains Outstanding if the reason for the non-payment is not the fault of the
  Holder of the Note.

          Section 9.5.     Special Redemption.

           Principal payments on the Notes shall be made in whole or in part, at par, in accordance with the
  Priority of Payments if, at any time during the Replacement Period, the Servicer elects (subject to the
  Servicing Agreement) to notify the Trustee and each Rating Agency that it has been unable, for 45
  consecutive Business Days, to identify additional or replacement Collateral Obligations that are deemed
  appropriate by the Servicer in its sole discretion and meet the Eligibility Criteria in sufficient amounts to
  permit the application of all or a portion of the funds then in the Collection Account available to be used
  to purchase additional or replacement Collateral Obligations (a “Special Redemption”).

           On the first Payment Date following the Due Period for which the notice is effective (a “Special
  Redemption Date”), the funds in the Collection Account or the Payment Account representing Principal
  Proceeds that, by operation of the preceding paragraph, are not used to purchase additional Collateral
  Obligations (the “Special Redemption Amount”) will be available to be applied in accordance with the
  Priority of Payments under Section 11.1(a)(ii). Notice of payments pursuant to this Section 9.5 shall be
  given by first-class mail, postage prepaid, mailed not later than three Business Days before the applicable
  Special Redemption Date, to each Holder of Notes to be redeemed, at the Holder’s address in the
  Indenture Register or otherwise in accordance with the rules and procedures of DTC. In addition, for so
  long as any Senior Notes are listed on the Irish Stock Exchange and so long as the rules of the exchange
  so require, notice of redemption of Senior Notes pursuant to Section 9.2 shall also be given to the
  Company Announcements Office of the Irish Stock Exchange.

          Section 9.6.     Amendment Buy-Out.

          (a)      In the case of any supplemental indenture pursuant to Section 8.2 that requires the
  consent of one or more Holders of Securities, the Amendment Buy-Out Purchaser shall have the right, but
  not the obligation, to purchase from Non-Consenting Holders all Securities held by such Holders whose
  consent was solicited with respect to such supplemental indenture or, with respect to any Class I
  Preference Shares held by Investors Corp. if the consent of the Holders of Holding Preference Shares has



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  been solicited, to purchase from Non-Consenting Holding Preference Share Holders all Holding
  Preference Shares held by such Holders (the “Amendment Buy-Out Option”), in each case, for the
  applicable Amendment Buy-Out Purchase Price; provided, however, that the Amendment Buy-Out
  Purchaser may not exercise the Amendment Buy-Out Option during the Non-Call Period in connection
  with a proposed amendment to reduce the rate of interest on any Note or to change the earliest date on
  which Notes of any Class or Preference Shares may be redeemed at the option of the Issuer. If such
  option is exercised, the Amendment Buy-Out Purchaser must purchase all such Securities of Non-
  Consenting Holders and all such Holding Preference Shares of the Non-Consenting Holding Preference
  Share Holders, as the case may be, regardless of the applicable percentage of the Aggregate Outstanding
  Amount of the Securities the consent of whose Holders is required for such supplemental indenture (an
  “Amendment Buy-Out”). By its acceptance of its Securities hereunder, each Holder of Securities agrees
  that if the Amendment Buy-Out Option is exercised, any Non-Consenting Holder and any Non-
  Consenting Holding Preference Share Holder will be required to sell its applicable Transaction Securities
  to the Amendment Buy-Out Purchaser; provided that if any Non-Consenting Holder holds Class II
  Preference Shares, (i) such Non-Consenting Holder will sell such Class II Preference Shares to Investors
  Corp. and such Preference Shares will be cancelled and new Class I Preference Shares shall be issued in
  an equivalent amount, (ii) Investors Corp. will issue additional Holding Preference Shares in a number
  equal to the aggregate number of, and at a price equal to the price of, such issued Class I Preference
  Shares purchased by it and (iii) the Amendment Buy-Out Purchaser will purchase such additional
  Holding Preference Shares in lieu of such issued Class I Preference Shares. Neither the Amendment Buy-
  Out Purchaser nor any other Person shall have any liability to any Holder or beneficial owner of
  Transaction Securities as a result of an election by the Amendment Buy-Out Purchaser not to exercise the
  Amendment Buy-Out Option.

           (b)     All purchases made pursuant to an Amendment Buy-Out Option individually and in the
  aggregate must comply with the applicable transfer restrictions for the relevant Transaction Securities set
  forth herein, in the case of the Class A-1B Notes, the Class A-1B Note Purchase Agreement, and in the
  Preference Share Documents or the Holding Preference Share Documents, as applicable, and all
  applicable laws, rules and regulations (including, without limitation, any rules, regulations and procedures
  of any securities exchange, self-regulatory organization or clearing agency). For the avoidance of doubt,
  any Amendment Buy-Out of Class A-1B Notes during the Delayed Drawdown Period shall include the
  related obligation to fund the Fully Drawn Amount.

          Section 9.7.    Refinancing of Non-Consenting Holder’s Notes

           (a)      After the Non-Call Period, if Holders representing a Majority of the Preference Shares
  and the Servicer consent to a proposed amendment of the provisions of this Indenture relating to interest
  on the Notes (a “Pricing Amendment”) and any Noteholder becomes a Non-Consenting Holder with
  respect to such Pricing Amendment, then the Co-Issuers and the Trustee shall, if so directed in writing by
  Holders representing a Majority of the Preference Shares and the Servicer, effect a refinancing (a “Non-
  Consenting Note Refinancing”) of the Notes of all such Non-Consenting Holders (the “Non-Consenting
  Notes”) by the issuance of additional Notes of the same Classes and respective principal amounts (the
  “Replacement Notes”) to be purchased by a Person or Persons consenting to such Pricing Amendment
  and otherwise eligible under the provisions of this Indenture to be a Holder of such Notes (each a
  “Consenting Purchaser”). If and to the extent a Consenting Purchaser can be found, the Co-Issuers (or
  the Servicer on behalf of the Co-Issuers) will use reasonable efforts to arrange for and negotiate the terms
  of such purchase with any such Consenting Purchaser or Consenting Purchasers. The Consenting
  Purchasers shall make payment to the Trustee, to be deposited into a separate, non-interest bearing
  account to be held by the Trustee for the account of such Non-Consenting Holders in full of the
  outstanding principal amount of the Non-Consenting Notes and, to the extent not otherwise paid pursuant
  to the Priority of Payments on the date of such Non-Consenting Note Refinancing, all accrued and unpaid


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  interest thereon (to be disbursed to such Non-Consenting Holders upon surrender of their Non-Consenting
  Notes for cancellation) and any expenses incurred by the Trustee in connection with the Refinancing (the
  “Non-Consenting Notes Payment Amount”).

          (b)      All purchases of Replacement Notes individually and in the aggregate must comply with
  the applicable transfer restrictions for the relevant Classes set forth herein, and all applicable laws, rules
  and regulations (including, without limitation, any rules, regulations and procedures of any securities
  exchange, self-regulatory organization or clearing agency).

          Section 9.8.     Redemption by Refinancing

           (a)    Any Class of Notes may be redeemed in whole, but not in part, on any Payment Date
  after the Non-Call Period from Refinancing Proceeds if the Servicer, on behalf of the Issuer, proposes to
  the Holders of the Preference Shares in writing (by notice to the Preference Shares Paying Agent (for
  forwarding to the Holders of Preference Shares) and to the Holding Preference Shares Paying Agent (for
  forwarding to the Holders of Holding Preference Shares)) with a copy to the Trustee and the Rating
  Agencies at least 30 days prior to the Payment Date for such redemption (such date, the “Refinancing
  Date”) to redeem such Notes in accordance with this Section 9.8 (a “Notice of Refinancing”) which
  notice shall, among other things, specify the Refinancing Date and the Class of Notes to be refinanced
  and redeemed. Such redemption will be effected by the Issuer obtaining a loan or an issuance of a
  replacement class of notes (such notes, the “Refinancing Notes”) the terms of which loan or issuance will
  be negotiated by the Servicer, on behalf of the Co-Issuers, from one or more financial institutions or
  purchasers (which may include the Servicer or its Affiliates) selected by the Servicer (a refinancing
  provided pursuant to such loan or issuance, a “Refinancing”), provided that (i) such proposal is approved
  by a Majority of the Preference Shares (voting as a single class) at least 15 days prior to the Refinancing
  Date and (ii) the Servicer completes such Refinancing and causes the Refinancing Proceeds to be
  deposited with the Trustee (in immediately available funds) no later than the close of the Business Day
  immediately preceding the Refinancing Date.

          (b)       The Co-Issuers will obtain a Refinancing only if the Servicer determines and certifies to
  the Trustee that:

                 (i)       a Rating Agency Confirmation has been obtained from S&P for such
          Refinancing;

                 (ii)     the proceeds from the Refinancing will be at least sufficient to pay the
          Refinancing Price plus any Administrative Expenses of the Co-Issuers related to the Refinancing;

                   (iii)    the interest rate payable in respect of the obligations providing the Refinancing is
          less than the interest rate payable on the Notes being refinanced;

                  (iv)     the principal amount of any obligations providing the Refinancing is no greater
          than the principal amount of the Notes being redeemed with the proceeds of such obligations;

                   (v)    the stated maturity of the obligations providing the Refinancing is no earlier than
          the Stated Maturity of the Notes being refinanced;

                  (vi)    the Refinancing Proceeds will be used (to the extent necessary) to redeem the
          applicable Notes;




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                  (vii)  the agreements relating to the Refinancing contain non-recourse and non-petition
          provisions equivalent to those applicable to the Notes being redeemed, as set forth in this
          Indenture;

                 (viii) the expenses in connection with the Refinancing have been paid or will be
          adequately provided for; and

                  (ix)   the obligations providing the Refinancing are subject to the Priority of Payments
          and do not rank higher in priority pursuant to the Priority of Payments than the Class of Notes
          being redeemed.

          (c)     Any Refinancing Proceeds will not constitute Interest Proceeds or Principal Proceeds but
  will be applied directly on the related Refinancing Date to redeem the Notes being refinanced and pay
  Administrative Expenses in connection with the Refinancing without regard to the Priority of Payments;
  provided, that to the extent that any Refinancing Proceeds are not applied to redeem the Notes being
  refinanced (and any associated Administrative Expenses), such Refinancing Proceeds will be treated as
  Principal Proceeds.

           (d)     The Trustee shall be entitled to receive, and (subject to Sections 6.1 and 6.3 hereof) shall
  be fully protected in relying upon an Opinion of Counsel stating that the Refinancing is permitted by this
  Indenture and that all conditions precedent thereto have been complied with.

          (e)     If notice of consent by a Majority of the Preference Shares (voting as a single Class) to a
  Refinancing has been received by the Trustee from the Servicer pursuant to Section 9.8(a) no later than 15
  days prior to the Refinancing Date, notice of a Refinancing shall be given by the Trustee by first class
  mail, postage prepaid, mailed not less than 10 Business Days prior to the proposed Refinancing Date, to
  each Holder of Notes of the Class to be refinanced at the address in the Indenture Register (with a copy to
  the Servicer) and, so long as any Class of Notes is listed on the Irish Stock Exchange, the Irish Paying
  Agent.

          All notices of a Refinancing shall state:

                  (i)       the proposed Refinancing Date, which shall be the applicable Redemption Date
          in respect of the Notes being redeemed;

                  (ii)     the Refinancing Price, which shall be the applicable Redemption Price in respect
          of the notes being redeemed;

                  (iii)   that on such proposed Refinancing Date such Notes will be refinanced and
          redeemed in full, and that, provided that the Refinancing Proceeds have been deposited with the
          Trustee for any such payment in full, interest on such Notes being redeemed shall cease to accrue
          on such date; and

                 (iv)     the place or places where such Notes are to be surrendered for payment of the
          Refinancing Price which, if not stated, shall be the office or agency of any paying agent as
          provided in Section 7.2;

          provided that no notice of Refinancing shall be sent if either (a) the Servicer has withdrawn its
  consent to such Refinancing or (b) the consent of a Majority of the Holders of Preference Shares to such
  Refinancing has not been obtained.




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           (f)     Notice of Refinancing shall be given by the Trustee at the expense of the Issuer. Failure
  to give a Notice of Refinancing, or any defect therein, to any Holder of any Note selected for Refinancing
  shall not impair or affect the validity of the Refinancing or give rise to any claim based upon such failure
  or defect.

           Any Notice of Refinancing may be withdrawn by the Servicer, on behalf of the Issuer, on or prior
  to the fourth Business Day prior to the scheduled Refinancing Date by written notice to the Trustee, the
  Paying Agent, the Preference Shares Paying Agent, the Holding Preference Shares Paying Agent, the
  Rating Agencies and the holders of the Preference Shares. Upon receipt of such notice of withdrawal, the
  Trustee shall send such notice to the Holders of Notes and, if applicable, the Irish Paying Agent.

           (g)      If a Notice of Refinancing pursuant to Section 9.7(a) has been given as provided herein
  and not withdrawn, the Notes to be refinanced shall on the Refinancing Date become due and payable at
  the Refinancing Price and the Servicer shall cause the Refinancing Proceeds to be deposited with the
  Trustee in immediately available funds no later than the close of business on the Business Date
  immediately preceding the Refinancing Date. Each Holder of such Notes shall present and surrender its
  Note at the place specified in the Notice of Refinancing on or prior to such Refinancing Date; provided
  that if there is delivered to the Issuer and the Trustee such security or indemnity as may be required by
  them to save each of them harmless and an undertaking thereafter to surrender such Note, then, in the
  absence of notice to the Issuer and the Trustee that the applicable Note has been acquired by a bona fide
  purchaser, such final payment shall be made without presentation or surrender.

           (h)      If any Class of Notes called for Refinancing shall not be so paid upon surrender thereof
  for Refinancing (or the delivery of the indemnity pursuant to the preceding paragraph) the principal shall,
  until paid, bear interest from the Refinancing Date at the applicable Note Interest Rate for each successive
  Payment Date with respect to which such Note remains Outstanding.

                                                ARTICLE X.

                                ACCOUNTS, ACCOUNTINGS, AND RELEASES

          Section 10.1.   Collection of Money.

           Except as otherwise expressly provided in this Indenture, the Trustee may demand payment or
  delivery of, and shall receive and collect, directly and without intervention or assistance of any fiscal
  agent or other intermediary, all money and other property payable to or receivable by the Trustee pursuant
  to this Indenture, including all payments due on the Pledged Obligations, in accordance with the terms of
  the Pledged Obligations. The Trustee shall segregate and hold all money and property received by it in
  trust for the Secured Parties and shall apply it as provided in this Indenture. Any Account may contain
  any number of sub-accounts for the convenience of the Trustee or as required by the Servicer for
  convenience in administering the Accounts, the Collateral.

          Section 10.2.   Collection Account.

           (a)     Before the Closing Date, the Trustee shall establish a single, segregated non-interest
  bearing trust account that shall be designated as the Collection Account, that shall be held in trust in the
  name of the Trustee for the benefit of the Secured Parties over which the Trustee shall have exclusive
  control and the sole right of withdrawal, and into which the Trustee shall from time to time deposit, in
  addition to the deposits required pursuant to Section 10.7(e), immediately upon the Trustee’s receipt
  thereof:




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                  (i)     any funds transferred from (1) the Closing Date Expense Account pursuant to
          Section 10.3(g) or (2) the Interest Reserve Account pursuant to Section 10.3(i),

                   (ii)    all Principal Proceeds (unless (1) simultaneously used to purchase Collateral
          Obligations in accordance with Article 12, (2) deposited into the Revolving Reserve Account or
          the Delayed Drawdown Reserve Account or (3) posted by the Issuer as cash collateral with (or for
          the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer’s purchase of or
          entry into a Synthetic Security or in Eligible Investments) received by the Trustee,

                  (iii)   all Interest Proceeds received by the Trustee (unless simultaneously used to
          purchase accrued interest in respect of Collateral Obligations in accordance with Article 12 or in
          Eligible Investments), and

                   (iv)    all other funds received by the Trustee and not excluded above.

          In addition to the items described above, the Issuer may, but under no circumstances shall be
  required to, deposit from time to time any monies, securities and other instruments in the Collection
  Account it deems, in its sole discretion, to be advisable (and may designate any amounts deposited
  pursuant to this sentence as Principal Proceeds or Interest Proceeds in its discretion). Such amounts may
  include net proceeds from the sale of the Securities, deposited by the Issuer on the Closing Date (which
  funds shall be treated as Principal Proceeds, subject to Section 10.2(c). Any Principal Proceeds received
  during the Replacement Period, and Sale Proceeds from the sale of Credit Improved Obligations and
  Unscheduled Principal Payments received after the Replacement Period, which have not been used to
  purchase additional Collateral Obligations on the Business Day of receipt shall be deposited in the
  Collection Account and shall at the direction of the Servicer be applied to the purchase of additional
  Collateral Obligations in accordance with the Eligibility Criteria and the other requirements set forth
  herein or the purchase of Eligible Investments pending such application or used to enter into additional
  Hedge Agreements or used in connection with a Special Redemption. Principal Proceeds (other than Sale
  Proceeds from the sale of Credit Improved Obligations, Credit Risk Obligations and Unscheduled
  Principal Payments) received after the Replacement Period shall be deposited into the Collection Account
  and applied to the purchase of Eligible Investments. All monies deposited from time to time in the
  Collection Account pursuant to this Indenture shall be held by the Trustee as part of the Collateral and
  shall be applied to the purposes provided in this Indenture. Amounts in the Collection Account shall be
  held pursuant to Section 10.4(a).

           (b)     Within one Business Day after receipt of any distribution or other proceeds of the
  Collateral that are not Cash, the Trustee shall so notify the Issuer and the Servicer. Within five Business
  Days of receipt of the notice from the Trustee, the Servicer, on behalf of the Issuer, shall sell the
  distribution or other proceeds for Cash in an arm’s length transaction to a Person that is not the Servicer
  or an Affiliate of the Servicer and deposit its proceeds in the Collection Account. The Issuer need not sell
  the distributions or other proceeds if it delivers an Issuer Order or an Officer’s certificate to the Trustee
  and the Servicer certifying that the distributions or other proceeds are Collateral Obligations, Eligible
  Investments, or Workout Assets.

           (c)     During the Replacement Period (or, in respect of Principal Proceeds constituting
  Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations and Credit Improved
  Obligations, after the Replacement Period), at the direction of the Servicer, the Issuer may by Issuer
  Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee shall withdraw funds on
  deposit in the Collection Account representing Principal Proceeds (and, to the extent expressly provided
  in this Indenture, Interest Proceeds) and apply the funds to purchase Collateral Obligations (including any
  related deposit into the Revolving Reserve Account or the Delayed Drawdown Reserve Account or the


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  posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic Security Counterparty
  simultaneously with the Issuer’s purchase of or entry into a Synthetic Security), in each case in
  accordance with the requirements of Article 12 and the Issuer Order. In addition, the Issuer may by Issuer
  Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee may, withdraw funds on
  deposit in the Collection Account representing Principal Proceeds (up to the amount deposited by the
  Issuer on the Closing Date from net proceeds of the sale of the Securities) and apply and disburse such
  funds to adjustments in the settlement price of the Collateral Obligations purchased on the Closing Date.

          (d)      At any time during or after the Replacement Period, at the direction of the Servicer, the
  Issuer may by Issuer Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee shall,
  pay from amounts on deposit in the Collection Account on any Business Day during any Interest Period
  from Interest Proceeds only, any Administrative Expenses that require payment before the next Payment
  Date to the extent that the amount of the payments does not exceed the aggregate amount that may be
  paid on the next Payment Date under, and at the level of priority specified by, Section 11.1(a)(i)(1).

          (e)     The Trustee shall transfer to the Payment Account from the Collection Account for
  application pursuant to Section 11.1(a) on or not later than the Business Day preceding each Payment
  Date, the amount set forth to be so transferred in the Valuation Report for the Payment Date.

          Section 10.3.    Other Accounts.

           (a)      Custodial Account. Before the Closing Date, the Trustee shall establish a single,
  segregated trust account that shall be designated as the Custodial Account, that shall be held in trust in the
  name of the Trustee for the benefit of the Secured Parties, over which the Trustee shall have exclusive
  control and the sole right of withdrawal, and into which the Trustee shall deposit the Collateral
  Obligations and other Collateral not deposited elsewhere in accordance with this Indenture (other than
  Loans, Participations and general intangibles, which in the case of Loans and Participations, shall be held
  by the Trustee as provided in Section 3.2). All assets or securities at any time on deposit in, or otherwise
  to the credit of, the Custodial Account shall be held in trust by the Trustee for the benefit of the Secured
  Parties. The only permitted withdrawals from the Custodial Account shall be in accordance with this
  Indenture. The Co-Issuers shall not have any legal, equitable, or beneficial interest in the Custodial
  Account other than in accordance with Section 3.2 and the Priority of Payments.

           (b)      Revolving Reserve Account and Delayed Drawdown Reserve Account. Before the
  Closing Date, the Trustee shall establish (i) a single, segregated non-interest bearing trust account which
  shall be designated as the Revolving Reserve Account and (ii) a single, segregated non-interest bearing
  trust account that shall be designated as the Delayed Drawdown Reserve Account, each of which shall be
  held in trust in the name of the Trustee for the benefit of the Secured Parties, over which the Trustee shall
  have exclusive control and the sole right of withdrawal. Upon the purchase of any Collateral Obligation
  that is a Revolving Loan or Delayed Drawdown Loan, at the direction of the Servicer, the Trustee shall
  deposit Principal Proceeds into the Revolving Reserve Account, in the case of a Revolving Loan, and the
  Delayed Drawdown Reserve Account, in the case of a Delayed Drawdown Loan, each equal to the
  unfunded Commitment Amount of the Revolving Loan or Delayed Drawdown Loan, respectively, and the
  Principal Proceeds so deposited shall be considered part of the Purchase Price of the Revolving Loan or
  Delayed Drawdown Loan for purposes of Article 12. At any other time that amounts on deposit in the
  Revolving Reserve Account or Delayed Drawdown Reserve Account, respectively, are less than the total
  unfunded Commitment Amounts for all Revolving Loans or Delayed Drawdown Loans (as applicable) in
  the Collateral, at the direction of the Servicer, the Trustee shall deposit Principal Proceeds into the
  Revolving Reserve Account or the Delayed Drawdown Reserve Account (as applicable) in the amount
  necessary to cause the amount on deposit in the Revolving Reserve Account to equal the total unfunded
  Commitment Amounts of all Revolving Loans in the Collateral and the amount on deposit in the Delayed


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  Drawdown Reserve Account to equal to total unfunded Commitment Amounts of all Delayed Drawdown
  Loans in the Collateral, as applicable. At the direction of the Servicer at any time, the Trustee shall
  withdraw funds from the Revolving Reserve Account or the Delayed Drawdown Reserve Account to fund
  extensions of credit pursuant to Revolving Loans or Delayed Drawdown Loans, respectively. In addition,
  to the extent that the Issuer receives proceeds of a repayment in respect of a Revolving Loan (except to
  the extent of any concurrent Commitment Reduction) at any time, the Trustee shall deposit the proceeds
  into the Revolving Reserve Account. Upon the sale of a Revolving Loan or Delayed Drawdown Loan in
  whole or in part or the reduction in part or termination of the Issuer’s commitment thereunder, an amount
  on deposit in the Revolving Reserve Account or the Delayed Drawdown Reserve Account, as the case
  may be, specified by the Servicer as being equal to:

                  (i)      the unfunded amount of the commitment (in the case of a sale in whole or a
          termination of the commitment),

                   (ii)    the proportionate amount of the amount on deposit (in the case of a sale in part),
          or

                   (iii)    the amount by which the commitment is reduced (in the case of a reduction
          thereof in part),

          shall be transferred by the Trustee to the Collection Account as Principal Proceeds. Amounts on
  deposit in the Revolving Reserve Account or the Delayed Drawdown Reserve Account shall be held
  pursuant to Section 10.4(b). All interest and other income from amounts in the Revolving Reserve
  Account and the Delayed Drawdown Reserve Account deposited to the Collection Account pursuant to
  Section 10.4(b) shall be considered Interest Proceeds in the Due Period in which they are so deposited.

          (c)     Expense Reimbursement Account. Before the Closing Date, the Trustee shall establish a
  single, segregated non-interest bearing trust account that shall be designated as the Expense
  Reimbursement Account, that shall be held in trust in the name of the Trustee for the benefit of the
  Secured Parties, over which the Trustee shall have exclusive control and the sole right of withdrawal. On
  any Payment Date and on any date between Payment Dates, the Trustee will apply amounts, if any, in the
  Expense Reimbursement Account to the payment of Administrative Expenses that must be paid between
  Payment Dates or that are due on that Payment Date under Section 11.1(a)(i)(1) and the Trustee shall on
  any Payment Date transfer to the Expense Reimbursement Account an amount equal to the excess, if any,
  of the Administrative Expense Cap over the amounts due under Section 11.1(a)(i)(1) to the Expense
  Reimbursement Account in accordance with Section 11.1(a)(i)(2). Funds in the Expense Reimbursement
  Account shall be applied in accordance with Section 10.4(a).

           (d)    Hedge Counterparty Collateral Account. Before the Closing Date, the Trustee shall
  establish a single, segregated non-interest bearing trust account that shall be designated as the Hedge
  Counterparty Collateral Account, that shall be held in trust in the name of the Trustee for the benefit of
  the Secured Parties (other than the Hedge Counterparty pledging the Collateral), over which the Trustee
  shall have exclusive control, the sole right of withdrawal and a lien for the benefit of the Secured Parties.
  The Trustee shall deposit all collateral received from a Hedge Counterparty under any Hedge Agreement
  into the Hedge Counterparty Collateral Account. The only permitted withdrawal from or application of
  funds on deposit in, or otherwise to the credit of, the Hedge Counterparty Collateral Account shall be:

                  (i)    for application to obligations of the relevant Hedge Counterparty to the Issuer
          under a Hedge Agreement if the Hedge Agreement becomes subject to early termination, or




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                   (ii)   to return collateral to the relevant Hedge Counterparty when and as required by
          the relevant Hedge Agreement, in each case as directed by the Servicer.

          Amounts on deposit in the Hedge Counterparty Collateral Account shall be held pursuant to
  Section 10.4(a) and shall not be considered an asset of the Issuer for the purposes of the Coverage Tests.

           (e)     Synthetic Security Collateral Account. Before the Closing Date, the Trustee shall
  establish a single, segregated non-interest bearing trust account that shall be designated as the Synthetic
  Security Collateral Account, that shall be held in trust in the name of the Trustee for the benefit of the
  Secured Parties over which the Trustee shall have exclusive control, the sole right of withdrawal, and a
  lien for the benefit of the Secured Parties. On or before the date on which the Issuer enters into a
  Synthetic Security and delivers a copy of it to the Trustee, the Trustee shall create a sub-account of the
  Synthetic Security Collateral Account with respect to the Synthetic Security.

           All Synthetic Security Collateral posted by any Synthetic Security Counterparty in support of its
  respective obligation under a Synthetic Security shall be immediately deposited into the Synthetic
  Security Collateral Account and posted to the sub-account related to the Synthetic Security. On each day
  on which amounts are payable to the Issuer out of Synthetic Security Collateral, the Issuer by Issuer Order
  shall direct the Trustee to, and upon receipt of the Issuer Order, the Trustee shall, withdraw amounts on
  deposit in the Synthetic Security Collateral Account in an amount sufficient to make the payment as
  provided in the Issuer Order (including any total or partial release of Synthetic Security Collateral). The
  only permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of, the
  Synthetic Security Collateral Account shall be (i) for application to the obligations of the relevant
  Synthetic Security Counterparty under a Synthetic Security Agreement or (ii) to return Synthetic Security
  Collateral to the relevant Synthetic Security Counterparty at the termination of the relevant Synthetic
  Security Agreement or as otherwise required by the Synthetic Security Agreement, in each case as
  directed by the Servicer.

          Amounts on deposit in the Synthetic Security Collateral Account shall be held pursuant to Section
  10.4(b) and shall not be considered an asset of the Issuer for the purposes of the Coverage Tests.

           (f)     Securities Lending Account. Before the Closing Date, the Trustee shall establish a
  single, segregated non-interest bearing trust account that shall be designated as the Securities Lending
  Account, that shall be held in trust in the name of the Trustee for the benefit of the Secured Parties, over
  which the Trustee shall have exclusive control, the sole right of withdrawal, and a lien for the benefit of
  the Secured Parties. On or before the date on which the Issuer enters into a Securities Lending
  Agreement and delivers a copy of it to the Trustee, the Trustee shall create a sub-account of the Securities
  Lending Account with respect to the Securities Lending Agreement. All Securities Lending Collateral
  posted by any Securities Lending Counterparty in support of its respective obligation under a Securities
  Lending Agreement shall be immediately deposited into the Securities Lending Account and posted to the
  sub-account related to the Securities Lending Agreement. The only permitted withdrawal from or
  application of funds on deposit in, or otherwise to the credit of, the Securities Lending Account shall be:

                  (i)      for application to obligations of the relevant Securities Lending Counterparty to
          the Issuer under a Securities Lending Agreement if the Securities Lending Agreement becomes
          subject to early termination or in the exercise of remedies under the related Securities Lending
          Agreement upon any “event of default” under and as defined in the related Securities Lending
          Agreement, including liquidating the related Securities Lending Collateral, or




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                  (ii)     to return the Securities Lending Collateral to the relevant Securities Lending
          Counterparty when and as required by the relevant Securities Lending Agreement, in each case as
          directed by the Servicer.

          Amounts on deposit in the Securities Lending Account shall be held pursuant to Section 10.4(c).
  To the extent provided in a Securities Lending Agreement, earnings on amounts on deposit in the
  Securities Lending Account shall be payable by the Issuer to the related Securities Lending Counterparty.

           Amounts on deposit in the Securities Lending Account shall not be considered an asset of the
  Issuer for the purposes of the Coverage Tests, but the loaned security or asset that relates to the Securities
  Lending Account shall be so considered an asset of the Issuer.

           (g)     Closing Date Expense Account. Before the Closing Date, the Trustee shall establish a
  single, segregated non-interest bearing trust account that shall be designated as the Closing Date Expense
  Account, that shall be held in trust in the name of the Trustee for the benefit of the Secured Parties, over
  which the Trustee shall have exclusive control and the sole right of withdrawal. On the Closing Date, the
  Trustee, at the direction of the Issuer, shall deposit into the Closing Date Expense Account approximately
  U.S.$14,900,000 from the gross proceeds of the Offering. At any time before the earlier of (i) the Ramp-
  Up Completion Date and (ii) the Payment Date in May, 2007, at the direction of the Servicer, the Issuer
  may by Issuer Order direct the Trustee to, and upon receipt of the Issuer Order the Trustee shall, pay from
  amounts on deposit in the Closing Date Expense Account any applicable fees and expenses of the
  Offering. On the Payment Date in May, 2007, the Trustee shall transfer all funds on deposit in the
  Closing Date Expense Account (after application of any funds therein on such date) to the Collection
  Account as Principal Proceeds and close the Closing Date Expense Account.

          (h)     Amounts on deposit in the Closing Date Expense Account shall be held pursuant to
  Section 10.4(a) and shall not be considered an asset of the Issuer for the purposes of the Coverage Tests.

          (i)      Payment Account. Before the Closing Date, the Trustee shall establish a single,
  segregated non-interest bearing trust account that shall be designated as the Payment Account, that shall
  be held in trust in the name of the Trustee for the benefit of the Secured Parties, over which the Trustee
  shall have exclusive control and the sole right of withdrawal. The only permitted withdrawal from or
  application of funds on deposit in, or otherwise to the credit of, the Payment Account shall be to pay
  amounts due and payable on the Notes in accordance with their terms and the provisions of this Indenture
  and to pay Administrative Expenses and other amounts specified in this Indenture, each in accordance
  with the Priority of Payments. The Co-Issuers shall not have any legal, equitable, or beneficial interest in
  the Payment Account other than in accordance with the Priority of Payments.

            (j)    Interest Reserve Account. Before the Closing Date, the Trustee shall establish a single,
  segregated trust account that shall be designated as the Interest Reserve Account, that shall be held in trust
  in the name of the Trustee for the benefit of the Secured Parties, over which the Trustee shall have
  exclusive control and the sole right of withdrawal. On the Closing Date, the Trustee, at the direction of
  the Issuer, shall deposit into the Interest Reserve Account approximately U.S.$5,600,000 from the gross
  proceeds of the Offering. At any time on or before the earlier of (i) the Ramp-Up Completion Date and
  (ii) the Payment Date in May, 2007, at the direction of the Servicer, the Issuer may by Issuer Order direct
  the Trustee to, and upon receipt of the Issuer Order the Trustee shall, (a) transfer from amounts on deposit
  in the Interest Reserve Account to the Payment Account an amount necessary such that the amounts
  referred to in Section 11.1(a)(i)(1) through (19) will be paid in full on the Payment Date occurring in
  May, 2007 or (b) at the discretion of the Servicer, transfer any funds on deposit in the Interest Reserve
  Account to the Collection Account as Principal Proceeds. On the Payment Date in May, 2007, the
  Trustee shall transfer all funds on deposit in the Interest Reserve Account (after application of any monies


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  therefrom on such date) to the Collection Account as Principal Proceeds and close the Interest Reserve
  Account. Amounts on deposit in the Interest Reserve Account shall be held pursuant to Section 10.4(a).

           (k)     Class II Preference Share Special Payment Account. Before the Closing Date, the
  Preference Shares Paying Agent shall establish a single, segregated non-interest bearing trust account that
  shall be designated as the Class II Preference Share Special Payment Account, that shall be held in trust in
  the name of the Preference Shares Paying Agent for the benefit of the Issuer, over which the Preference
  Shares Paying Agent shall have exclusive control and the sole right of withdrawal. On each Payment
  Date, to the extent of available funds in accordance with the Priority of Payments, the Trustee will pay to
  the Preference Shares Paying Agent for deposit into the Class II Preference Share Special Payment
  Account amounts equal to the products of (a) the Class II Preference Share Portion for such Payment Date
  and (b) on any Payment Date on or prior to February 3, 2008 or with respect to which the Servicer has
  notified the Trustee on or before the related Determination Date that it is waiving its Servicing Fee, the
  Servicing Fees then due and payable, as described in Section 11.1(a), for payment to the Servicer on such
  Payment Date. The Servicer has agreed to waive such amounts, which would otherwise be payable to the
  Servicer as Servicing Fees, on each Payment Date occurring on or prior to February 3, 2008 and an
  amount equal to such waived amounts will be distributed by the Preference Shares Paying Agent in
  accordance with the Preference Share Paying Agency Agreement and the laws of the Cayman Islands to
  the Holders of the Class II Preference Shares as Class II Preference Share Special Payments. After the
  two-year anniversary of the Closing Date, the Servicer may, in its sole discretion, at any time waive a
  portion of the Servicing Fees then due and payable, in which event, an amount equal to such waived
  portion will be distributed by the Trustee, subject to the laws of the Cayman Islands, to the Preference
  Shares Paying Agent for payment pro rata to the Holders of the Class II Preference Shares as Class II
  Preference Share Special Payments. For purposes of any calculation under this Indenture and the
  Servicing Agreement, the Servicer will be deemed to have received the Servicing Fee in an amount equal
  to the sum of the Servicing Fee actually paid to the Servicer and the amount distributed to the Holders of
  the Class II Preference Shares as Class II Preference Share Special Payments.

           (l)     Class A–1B Funding Account. The Trustee shall, prior to the Closing Date, establish a
  segregated trust account designated the Class A-1B Funding Account. Any Aggregate Undrawn Amount
  deposited with the Trustee pursuant to Section 2.14(c) as a result of the failure of a Holder of a Class A-
  1B Note to satisfy the Rating Criteria during the Delayed Drawdown Period shall be placed in a separate
  subaccount of the Class A-1B Funding Account relating to such Holder and shall be used by the Trustee
  to fund such holder’s pro rata portion of any subsequent Drawdown under the Class A-1B Notes.
  Amounts so placed in the Class A-1B Funding Account shall, for all purposes under this Indenture, be
  part of the Aggregate Undrawn Amount and such Holder shall be entitled to receive the applicable
  Delayed Drawdown Fee thereon. During the Delayed Drawdown Period, amounts held in each
  subaccount of the Class A-1B Funding Account shall be invested in Eligible Investments at the direction
  of the related Holder or, in the absence of such direction, in the Bank’s “Cash Management Account” (the
  “Standby Investment”) or such other Eligible Investment as may be specified in writing by the Servicer
  as the “Standby Investment”. Amounts in the Class A-1B Funding Account as of the Business Day prior
  to the first Payment Date will be automatically converted to constitute Drawn Amounts under the related
  Class A-1B Notes; provided that to the extent the amount in the Class A-1B Funding Account exceeds the
  related Holder’s pro rata share of the Fully Drawn Amount, such excess shall be remitted to such Holder
  on the first Payment Date.

          (m)     In addition to any deposit, withdrawal, transfer or other application of funds with respect
  to any Account set forth in this Section 10.3 or in Section 10.2, any deposit, withdrawal, transfer or other
  application of funds with respect to any Account authorized elsewhere in this Indenture is hereby
  authorized pursuant to this Section 10.3.



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          (n)      In order to comply with its obligations under the USA Patriot Act of 2001, if any, the
  Trustee shall be entitled to request and verify, and the Noteholders, beneficial owners, the Co-Issuers and
  other parties related to this Indenture shall be obligated to provide to the Trustee all the necessary
  information required by the USA Patriot Act of 2001.

          Section 10.4.    Application of Funds in Accounts; Reports by Trustee.

           (a)     By Issuer Order (which may be in the form of standing instructions), at the direction of
  the Servicer, the Issuer shall at all times before an Event of Default occurs, direct the Trustee to, and,
  upon receipt of the Issuer Order, the Trustee shall, apply all funds on deposit in the Collection Account,
  the Hedge Counterparty Collateral Account, the Expense Reimbursement Account, the Closing Date
  Expense Account and the Interest Reserve Account as so directed in Eligible Investments having Stated
  Maturities no later than the Business Day before the next Payment Date. All applications on any
  Business Day shall be subject to the timely receipt of the funds and the availability of any Eligible
  Investments. Before an Event of Default occurs, if the Issuer has not given directions, the Trustee shall
  seek instructions from the Servicer within three Business Days after transfer of any funds to the
  Collection Account, the Hedge Counterparty Collateral Account, the Expense Reimbursement Account,
  the Closing Date Expense Account or the Interest Reserve Account. If the Trustee does not receive
  written instructions from the Servicer within five Business Days after transfer of the funds to the account,
  it shall apply the funds held in the account, as fully as practicable, but only in one or more Eligible
  Investments of the type described in clause (c) of the definition of “Eligible Investments” maturing no
  later than the Business Day before the next Payment Date. After an Event of Default occurs, if the Issuer
  does not give directions to the Trustee for three consecutive days, the Trustee shall apply the monies as
  fully as practicable in Eligible Investments of the type described in clause (c) of the definition of “Eligible
  Investments” maturing not later than the earlier of (i) 30 days after the date of the application or (ii) the
  Business Day before the next Payment Date. All interest and other income from such Eligible
  Investments shall be deposited in the Collection Account, any gain realized from such Eligible
  Investments shall be credited to the Collection Account, and any loss resulting from such Eligible
  Investments shall be charged to the Collection Account. Subject to Section 6.7, the Trustee shall not in
  any way be held liable for the selection of Eligible Investments or because of any insufficiency of the
  Collection Account, the Hedge Counterparty Collateral Account, the Expense Reimbursement Account,
  the Closing Date Expense Account or the Interest Reserve Account or any other account that results from
  any loss relating to any such Eligible Investment.

           (b)     By Issuer Order (which may be in the form of standing instructions), at the direction of
  the Servicer, the Issuer shall at all times direct the Trustee to, and, upon receipt of the Issuer Order, the
  Trustee shall, apply all funds on deposit in the Revolving Reserve Account, the Delayed Drawdown
  Reserve Account, and the Synthetic Security Collateral Account in Eligible Investments having Stated
  Maturities not later than one Business Day after the date of their purchase. All applications on any
  Business Day shall be subject to the timely receipt of the funds and the availability of any Eligible
  Investments. If before an Event of Default, the Issuer does not give directions, the Trustee shall seek
  instructions from the Servicer within three Business Days after transfer of any funds to the Revolving
  Reserve Account, the Delayed Drawdown Reserve Account, or the Synthetic Security Collateral Account.
  If the Trustee does not thereupon receive written instructions from the Servicer within five Business Days
  after transfer of the funds to the account, it shall apply the funds held in the account, as fully as
  practicable, but only in one or more Eligible Investments of the type described in clause (e) of the
  definition of “Eligible Investments” that are overnight funds. If after an Event of Default, the Issuer does
  not give directions to the Trustee for three consecutive days, the Trustee shall apply the monies as fully as
  practicable in Eligible Investments of the type described in clause (e) of the definition of “Eligible
  Investments” that are overnight funds. All interest and other income from such Eligible Investments shall
  be deposited in the Collection Account, any gain realized from such Eligible Investments shall be credited


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  to the Collection Account, and any loss resulting from such Eligible Investments shall be charged to the
  Collection Account.

           (c)     By Issuer Order (which may be in the form of standing instructions), at the direction of
  the Servicer, the Issuer shall at all times direct the Trustee to, and, upon receipt of the Issuer Order, the
  Trustee shall, apply all funds on deposit in the Securities Lending Account in Eligible Investments having
  Stated Maturities no later than the Business Day before the stated termination date of the related
  Securities Lending Agreement. All applications on any Business Day shall be subject to the timely
  receipt of the funds and the availability of any Eligible Investments. The interest on the Eligible
  Investments shall be allocated between the Issuer and the Securities Lending Counterparty pursuant to the
  related Securities Lending Agreement. If before an Event of Default, the Issuer does not give directions,
  the Trustee shall seek instructions from the Servicer within three Business Days after transfer of any
  funds to the Securities Lending Account. If the Trustee does not thereupon receive written instructions
  from the Servicer within five Business Days after transfer of the funds to the account, it shall apply the
  funds held in the account, as fully as practicable, but only in one or more Eligible Investments of the type
  described in clause (e) of the definition of “Eligible Investments” that mature no later than the Business
  Day before the stated termination date of the related Securities Lending Agreement. If after an Event of
  Default, the Issuer does not give directions to the Trustee for three consecutive days, the Trustee shall
  apply the monies as fully as practicable in Eligible Investments of the type described in clause (e) of the
  definition of “Eligible Investments” maturing no later than the Business Day before the stated termination
  date of the related Securities Lending Agreement. All interest and other income from such Eligible
  Investments shall be deposited in the Collection Account, any gain realized from such Eligible
  Investments shall be credited to the Collection Account, and any loss resulting from such Eligible
  Investments shall be charged to the Collection Account.

           (d)     The Trustee agrees to give the Issuer notice as soon as reasonably practicable if a Trust
  Officer obtains actual knowledge that any Account or any funds on deposit in any Account, or otherwise
  to the credit of an Account, shall become subject to any writ, order, judgment, warrant of attachment,
  execution or similar process. All Accounts shall remain at all times with the Custodian or a financial
  institution having a long-term debt rating of at least “Baa1” (and not on credit watch with negative
  implications) by Moody’s and at least “BBB+” by S&P and having combined capital and surplus of at
  least U.S.$200,000,000 that has entered into one or more securities account control agreements; provided,
  however, that (i) with respect to the Synthetic Security Collateral Account, the Synthetic Security
  Counterparty shall be a party to such control agreement and shall consent to the Trustee’s control of such
  Synthetic Security Collateral Account, (ii) with respect to the Securities Lending Account, the Securities
  Lender shall be a party to such control agreement and shall consent to the Trustee’s control of such
  Securities Lending Account and (iii) with respect to each Hedge Counterparty Collateral Account, the
  related Hedge Counterparty shall be a party to such control agreement and shall consent to the Trustee’s
  control of such Hedge Counterparty Collateral Account.

          (e)       The Trustee shall supply, in a timely fashion, to the Co-Issuers and the Servicer any
  information regularly maintained by the Trustee that the Co-Issuers or the Servicer may from time to time
  request with respect to the Pledged Obligations, the Accounts and the Collateral and provide any other
  requested information reasonably available to the Trustee because of its acting as Trustee under this
  Indenture and required to be provided by Section 10.6, to permit the Servicer to perform its obligations
  under the Servicing Agreement. The Trustee shall promptly forward to the Servicer copies of notices and
  other writings received by it from the issuer of any Collateral Obligation or from any Clearing Agency
  with respect to any Collateral Obligation which notices or writings advise the holders of the security of
  any rights that the holders might have with respect to the Collateral Obligation (including requests to vote
  with respect to amendments or waivers and notices of prepayments and redemptions) as well as all
  periodic financial reports received from the issuer and Clearing Agencies with respect to the issuer.


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          (f)      To the extent monies deposited in any Account exceed amounts insured by the Bank
  Insurance Fund or Savings Association Insurance Fund administered by the Federal Deposit Insurance
  Corporation or any agencies succeeding to its insurance functions, and are not fully collateralized by
  direct obligations of the United States of America, the excess shall be held in Eligible Investments as
  described above.

          Section 10.5.   Synthetic Security Counterparty Account.

          (a)      To the extent that any Synthetic Security requires the Issuer to secure its obligations to
  the Synthetic Security Counterparty or to the extent that any Synthetic Security has an unfunded amount
  payable by the Issuer that does not by its terms require collateral, the Issuer shall direct the Trustee and
  the Trustee shall establish a segregated non-interest bearing trust account for the Synthetic Security which
  shall be held in trust for the benefit of the related Synthetic Security Counterparty and over which the
  Trustee shall have exclusive control and the sole right of withdrawal in accordance with the applicable
  Synthetic Security and this Indenture (a “Synthetic Security Counterparty Account”). In the alternative,
  a Synthetic Security Counterparty Account may be established with a trustee designated by the Synthetic
  Security Counterparty if that trustee would qualify to be a successor trustee under Section 6.9 and the
  account satisfies the other requirements of this Section 10.5.

          As directed in writing by the Servicer, the Trustee shall deposit (or deliver for deposit) into each
  Synthetic Security Counterparty Account all amounts or securities that are required to secure the
  obligations of the Issuer in accordance with the related Synthetic Security and, without duplication, an
  amount equal to the unfunded amount of a Synthetic Security, including the entire notional amount of any
  Synthetic Security in the form of a credit default swap or other similar transaction. The Servicer shall
  direct any such deposit only during the Replacement Period and only to the extent that monies are
  available for the purchase of Collateral Obligations pursuant to this Indenture. Any income received on
  amounts in the Synthetic Security Counterparty Account shall, after application in accordance with the
  relevant Synthetic Security, be withdrawn from the Synthetic Security Counterparty Account and
  deposited in the Collection Account for distribution as Interest Proceeds.

          (b)     As directed by the Servicer in writing and in accordance with the applicable Synthetic
  Security and this Indenture, amounts on deposit in a Synthetic Security Counterparty Account shall be
  held in Synthetic Security Collateral.

           (c)     In connection with the occurrence of a credit event or an event of default or a termination
  event (each as defined in the applicable Synthetic Security) under the related Synthetic Security, amounts
  in any Synthetic Security Counterparty Account shall be withdrawn by the Trustee (or the Trustee shall
  request their withdrawal) and applied toward the payment of any amounts payable by the Issuer to the
  related Synthetic Security Counterparty in accordance with the Synthetic Security, as directed by the
  Servicer in writing. Any excess amounts held in a Synthetic Security Counterparty Account, or held
  directly by a Synthetic Security Counterparty, after payment of all amounts owing from the Issuer to the
  related Synthetic Security Counterparty in accordance with the related Synthetic Security shall be
  withdrawn from the Synthetic Security Counterparty Account and deposited in the Collection Account for
  distribution as Principal Proceeds.

           (d)     Amounts on deposit in any Synthetic Security Counterparty Account shall not be
  considered an asset of the Issuer for the purposes of the Coverage Tests, but the Synthetic Security that
  relates to the Synthetic Security Counterparty Account shall be so considered an asset of the Issuer (with
  the notional amount as the Principal Balance unless a default exists under the applicable Synthetic
  Security).




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          Section 10.6.    Accountings.

          (a)      Monthly. Commencing the earlier of (a) the first full month after the Ramp-Up
  Completion Date and (b) the month ending January, 2008, (i) in the case of a month in which there is no
  Payment Date, not later than the eighth Business Day after the last calendar day of such month and (ii) in
  the case of a month in which there is a Payment Date, on such Payment Date, the Issuer shall cause to be
  compiled and provided to the Servicer, the Trustee, the Preference Shares Paying Agent (for forwarding
  to each Holder of Preference Shares), the Placement Agent, each Hedge Counterparty, the Rating
  Agencies, (if so requested by the Placement Agent) the Repository in accordance with Section
  14.3(a)(viii) or each Holder of a Note who makes a written request therefor, and, upon written request
  therefor by a Beneficial Owner in the form of Exhibit D certifying that it is a Beneficial Owner, the
  Beneficial Owner (or its designee), a monthly report (the “Monthly Report”). Each Monthly Report shall
  be accompanied by a Section 3(c)(7) Reminder Notice. The Monthly Report shall contain the following
  information, determined as of (1) in the case of a month in which there is no Payment Date, the last day of
  the applicable month and (2) in the case of a month in which there is a Payment Date, the Determination
  Date for such Payment Date, based in part on information provided by the Servicer (the “Monthly
  Determination Date”):

                   (i)     Collateral:

                           (A)    The Aggregate Principal Balance (and, in the case of a Revolving Loan
                   or Delayed Drawdown Loan, its funded and unfunded amount), interest rate, Stated
                   Maturity and obligor of each Collateral Obligation;

                           (B)     The stated principal balance of Defaulted Collateral Obligations;

                           (C)      The identity of all Collateral Obligations and all obligations that at the
                   time of acquisition, conversion or exchange do not satisfy the requirements of a
                   Collateral Obligation that were released for sale or other disposition (and, for each
                   obligation sold, indicating whether sold as a Credit Risk Obligation, a Credit Improved
                   Obligation, a Non-Performing Collateral Obligation, a Workout Asset or a Non-
                   qualifying Collateral Obligation or whether sold in connection with any withholding tax
                   pursuant to Section 12.1(e)); and the identity of all Collateral Obligations that were
                   acquired, in each case since the date of the previous Monthly Report;

                           (D)     The obligor of each Workout Asset;

                           (E)     The Purchase Price of each Collateral Obligation acquired, the sale price
                   of each Collateral Obligation sold (or the adjusted purchase or sale price with respect to
                   any exchange of securities requiring an allocation by the Servicer) since the date of the
                   previous Monthly Report, and the gain or loss (measured against its Purchase Price) on
                   each sale;

                            (F)     The identity of each Collateral Obligation (1) that is a Defaulted
                   Collateral Obligation, a Workout Asset or a PIK Security, and in the case of a PIK
                   Security (i) the principal amount of previously deferred or capitalized interest and (ii) the
                   change in the principal amount of previously deferred or capitalized interest since the
                   most recent Monthly Report or (2) in respect of which an obligation that at the time of
                   acquisition, conversion or exchange does not satisfy the requirements of a Collateral
                   Obligation has been received, in each case indicating the date of such default, as
                   applicable, and reporting any Other Indebtedness, as defined in clause (ii) in the



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                   definition of “Defaulted Collateral Obligation,” that the Servicer has determined not to be
                   material;

                           (G)     The S&P Industry Classification and the Moody’s Industry Classification
                   for each Collateral Obligation and the five highest concentrations of Collateral
                   Obligations in the Moody’s Industry Classification groups and the five highest
                   concentrations of Collateral Obligations in the S&P Industry Classification groups;

                           (H)     For each Collateral Obligation, the country of the obligor (and the related
                   foreign currency debt rating) and, in the case of a country other than the United States of
                   America, whether the obligor is Domiciled in a Moody’s Group I Country, Moody’s
                   Group II Country, or Moody’s Group III Country and the percentage of the Aggregate
                   Principal Balance of the Collateral Obligations issued by issuers in the applicable
                   country;

                          (I)    For each Collateral Obligation, the Moody’s Priority Category Recovery
                   Rate and S&P Priority Category Recovery Rate;

                            (J)     For each Collateral Obligation, the S&P Rating, and if any S&P Rating
                   for any Collateral Obligation in any Monthly Report is a credit estimate, “non-public”
                   rating or “shadow” rating, the rating shall not be disclosed, but shall be replaced with an
                   asterisk in the place of the applicable credit estimate, “non-public” rating or “shadow”
                   rating;

                           (K)      For each Collateral Obligation, the Moody’s Rating and the Moody’s
                   Rating Factor, determined, for this purpose, and set forth both with and without regard to
                   whether the Collateral Obligation has been put on watch for possible upgrade or
                   downgrade, and if any Moody’s Rating for any Collateral Obligation in any Monthly
                   Report is an “estimated” or “shadow” rating, the rating shall not be disclosed, but shall be
                   replaced with an asterisk in the place of the applicable “estimated” or “shadow” rating;

                         (L)      The Aggregate Principal Balance of the Collateral Obligations that have
                   a Moody’s Rating of “Caa1” or lower;

                          (M)     The Aggregate Principal Balance of the Collateral Obligations that have
                   an S&P Rating of “CCC+” or lower;

                           (N)      For each Collateral Obligation that is a Participation or a Synthetic
                   Security or is loaned pursuant to a Securities Lending Agreement, the related Secondary
                   Risk Counterparty and each Rating Agency’s long-term unsecured debt rating of the
                   Secondary Risk Counterparty;

                           (O)    Certain S&P benchmarks relating to the portfolio as provided by S&P in
                   the S&P CDO Monitor regardless whether or not the S&P CDO Monitor passes or fails,
                   including (1) S&P Default Measure (Annualized Portfolio Default Rate), (2) S&P
                   Variability Measure (Annualized Standard Deviation of Portfolio Default Rate), (3) S&P
                   Correlation Measure (Ratio of Standard Deviation of Portfolio with Correlation to
                   Standard Deviation of Portfolio without Correlation) and (4) Weighted Average Default
                   Correlation;




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                          (P)     The identity and Market Value of each Collateral Obligation whose
                   Market Value (in the determination of the Overcollateralization Ratio Numerator) was
                   determined pursuant to last proviso in the definition of “Market Value”;

                           (Q)      The identity of any Collateral Obligation that the related obligor of
                   which is an entity for which the Servicer is the servicer or the manager;

                           (R)     The identity of each Collateral Obligation participated from or entered
                   into with a Secondary Risk Counterparty; and

                           (S)     The identity of each Collateral Obligation owned by the Issuer that has
                   not been disposed of within the time limits required by this Indenture.

                   (ii)    Accounts:

                          (A)      The amount of any proceeds in the Collection Account, distinguishing
                   between amounts credited as Interest Proceeds, Principal Proceeds (excluding unapplied
                   proceeds), and unapplied proceeds;

                          (B)      The amount of any Principal Proceeds in the Revolving Reserve
                   Account;

                          (C)    The amount of any Principal Proceeds in the Delayed Drawdown
                   Reserve Account;

                           (D)    The amount of any Principal Proceeds in the Synthetic Security
                   Collateral Account;

                          (E)      The amount of any Principal Proceeds in the Securities Lending
                   Account; and

                          (F)      The amount of any proceeds in the Hedge Counterparty Collateral
                   Account;

                   (iii)   Hedge Agreements:

                           (A)     The outstanding notional amount of each Hedge Agreement; and

                           (B)    The amount scheduled to be received and paid by the Issuer pursuant to
                   each Hedge Agreement on the next Payment Date (as specified by the calculation agent
                   under each Hedge Agreement);

                          (C)      Coverage      Tests,     Collateral   Quality   Tests   and   Retention
                   Overcollateralization Test:

                          (D)      The Overcollateralization Ratios and the Overcollateralization Ratios as
                   of the Ramp-Up Completion Date; a statement as to whether each of the
                   Overcollateralization Tests is satisfied and a statement as to whether the Retention
                   Overcollateralization Test is satisfied;

                           (E)      The Interest Coverage Ratios and, on and after the second Payment Date,
                   a statement as to whether each of the Interest Coverage Tests is satisfied;


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                          (F)      The Diversity Score and, on and after the Ramp-Up Completion Date, a
                   statement as to whether the Diversity Test is satisfied;

                            (G)      The Weighted Average Life of the Collateral Obligations and, on and
                   after the Ramp-Up Completion Date, a statement as to whether the Weighted Average
                   Life Test is satisfied;

                           (H)     The Moody’s Minimum Average Recovery Rate, the S&P Minimum
                   Average Recovery Rate and, on and after the Ramp-Up Completion Date, a statement as
                   to whether the Weighted Average Moody’s Recovery Rate Test with respect to the
                   Moody’s Minimum Average Recovery Rate and Weighted Average S&P Recovery Rate
                   Test with respect to the S&P Minimum Average Recovery Rate is satisfied;

                           (I)     The Weighted Average Fixed Rate Coupon of the Collateral Obligations
                   and, on and after the Ramp-Up Completion Date, a statement as to whether the Weighted
                   Average Fixed Rate Coupon Test is satisfied and a statement as to the amount of Spread
                   Excess was used to satisfy the Weighted Average Fixed Rate Coupon Test;

                            (J)     The Weighted Average Spread of the Collateral Obligations and, on and
                   after the Ramp-Up Completion Date, a statement as to whether the Weighted Average
                   Spread Test is satisfied and a statement as to the amount of Fixed Rate Excess was used
                   to satisfy the Weighted Average Spread Test;

                           (K)      The Weighted Average Moody’s Rating Factor and, on and after the
                   Ramp-Up Completion Date, a statement as to whether the Weighted Average Rating
                   Factor Test is satisfied; and

                           (L)     The S&P CDO Monitor Test and, on and after the Ramp-Up Completion
                   Date, a statement as to whether the S&P CDO Monitor Test is satisfied and the Class
                   Scenario Loss Rate and the then applicable Note Break-Even Loss Rate with respect to
                   each Class of Notes that is rated by S&P and the adjusted Weighted Average Spread level
                   determined as set forth in the definition of “Note Break-Even Loss Rate”;

                   (iv)   Concentration Limitations and Withholding Taxes:

                           (A)      The percentage of the Maximum Amount itemized against each element
                   of the Concentration Limitations and a statement as to whether each Concentration
                   Limitation is satisfied; and

                          (B)     Any withholding tax on payments under any Collateral Obligation;

                   (v)    Securities Lending Agreements:

                           (A)    Each Collateral Obligation loaned or borrowed pursuant to a Securities
                   Lending Agreement and the percentage of the Maximum Amount that represents
                   Collateral Obligations that are loaned or borrowed pursuant to Securities Lending
                   Agreements; and

                          (B)    With respect to each Securities Lending Agreement in effect as of the
                   Monthly Determination Date, a list setting forth:




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                                    (1)     for each Collateral Obligation loaned or borrowed under it as of
                          the first day of the loan, (x) its Principal Balance, (y) its Market Value and (z) its
                          Principal Balance expressed as a percentage of the Maximum Amount,

                                   (2)     the term of the loan of the Collateral Obligation,

                                   (3)     the expiration date of the Securities Lending Agreement,

                                 (4)     the Moody’s Rating and S&P Rating for each loaned or
                          borrowed Collateral Obligation,

                                   (5)    the principal amount of the related Securities Lending Collateral
                          held in the Securities Lending Account, and

                                 (6)       the Eligible Investments held as Securities Lending Collateral
                          pursuant to the related Securities Lending Agreement; and

                   (vi)   Any other information the Trustee reasonably requests.

           Upon receipt of each Monthly Report, the Trustee shall compare the information contained in the
  Monthly Report to the information contained in its records with respect to the Collateral and shall, within
  three Business Days after receipt of such Monthly Report, notify the Issuer, the Preference Shares Paying
  Agent and the Servicer if the information contained in the Monthly Report does not conform to the
  information maintained by the Trustee with respect to the Collateral, and shall detail any discrepancies.
  In the event that any discrepancy exists, the Trustee, the Issuer, and the Servicer shall attempt to resolve
  the discrepancy. If such discrepancy cannot be promptly resolved, the Trustee shall within five Business
  Days after notification of such discrepancy cause the Independent accountants appointed by the Issuer
  pursuant to Section 10.8 to review such Monthly Report and the Trustee’s records to determine the cause
  of such discrepancy. If such review reveals an error in the Monthly Report or the Trustee’s records, the
  Monthly Report or the Trustee’s records shall be revised accordingly and, as so revised, shall be used in
  making all calculations pursuant to this Indenture and notice of any error in the Monthly Report shall be
  sent as soon as practicable by the Issuer to all recipients of the report. If the review by the Independent
  accountants does not resolve the discrepancy, the Trustee, upon receipt of an Officer’s certificate of the
  Servicer certifying that, to the best knowledge of the Servicer, the information contained in the related
  Monthly Report is correct, shall conform the information it maintains to the Monthly Report received.

            (b)     Payment Date Accounting. The Issuer shall cause to be rendered an accounting report
  (the “Valuation Report”), determined as of the close of business on each Determination Date, and
  provided to the Servicer, the Trustee, the Preference Shares Paying Agent (for forwarding to each Holder
  of Preference Shares), the Issuer, the Placement Agent, each Hedge Counterparty, the Rating Agencies
  and each Noteholder (if so requested by the Placement Agent) the Repository in accordance with Section
  14.3(a)(viii), the Depository (with instructions to forward it to each of its Agent Members who are
  Noteholders), and upon written request therefor by a Beneficial Owner in the form of Exhibit D certifying
  that it is a Beneficial Owner and the Beneficial Owner (or its designee) not later than the second Business
  Day preceding the related Payment Date. Each Valuation Report shall be accompanied by a Section
  3(c)(7) Reminder Notice. The Valuation Report shall contain the following information as of the related
  Payment Date (unless otherwise stated), based in part on information provided by the Servicer:

                   (i)    Notes:




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                            (A)    The amount of principal payments to be made on each Class of Notes on
                   the related Payment Date;

                            (B)    The Aggregate Outstanding Amount of each Class of Notes after giving
                   effect to any principal payments on the related Payment Date and, for each Class of
                   Notes, the percentage of its initial Aggregate Outstanding Amount that amount
                   represents;

                           (C)     For each Class of Notes, the percentage of the initial Aggregate
                   Outstanding Amount of all of the Notes that its initial Aggregate Outstanding Amount
                   represented and, after giving effect to any principal payments on the related Payment
                   Date, the percentage of the Aggregate Outstanding Amount of all of the Notes that its
                   Aggregate Outstanding Amount represents;

                            (D)     The interest (and, with respect to the Class A-1B Notes, Delayed
                   Drawdown Fee) payable in respect of each Class of Notes on the related Payment Date
                   (in the aggregate and by Class) and its calculation in reasonable detail; and

                          (E)      The amounts to be paid, if any, to the Preference Shares Paying Agent
                   for payments on the Preference Shares on the related Payment Date, showing separately
                   the payments from Interest Proceeds and the payments from Principal Proceeds;

                   (ii)    Payment Date Payments:

                           (A)      The amounts to be distributed under each clause of Sections 11.1(a)(i)
                   and 11.1(a)(ii) itemized by clause, and to the extent applicable, by type of distribution
                   under the clause; and

                            (B)      Any amounts payable under the Hedge Agreements by any Hedge
                   Counterparty on or before the related Payment Date and its calculation in reasonable
                   detail (as specified by the calculation agent under the Hedge Agreement);

                   (iii)   Accounts:

                          (A)     The amount of any proceeds in the Collection Account, distinguishing
                   between amounts credited as Interest Proceeds, Principal Proceeds (excluding unapplied
                   proceeds) and unapplied proceeds;

                            (B)    The amount in the Collection Account after all payments and deposits to
                   be made on the related Payment Date, distinguishing between amounts credited as
                   Interest Proceeds and as Principal Proceeds;

                          (C)      The amount of any Principal Proceeds in the Revolving Reserve
                   Account;

                          (D)    The amount of any Principal Proceeds in the Delayed Drawdown
                   Reserve Account;

                           (E)    The amount of any Principal Proceeds in the Synthetic Security
                   Collateral Account;




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                          (F)       The amount of any Principal Proceeds in the Securities Lending
                   Account;

                           (G)      The amount in the Hedge Counterparty Collateral Account; and

                           (H)      The amount in the Expense Reimbursement Account;

                           (I)      A notice setting forth LIBOR, as calculated by the Calculation Agent, for
                   the next Interest Period and each Note Interest Rate for the next Payment Date; and

                           (J)      Any other information the Trustee reasonably requests.

           Upon receipt of each Valuation Report, the Trustee shall compare the information contained in
  the Valuation Report to the information contained in its records with respect to the Collateral and shall,
  within three Business Days after receipt of such Valuation Report, notify the Issuer, the Preference Shares
  Paying Agent and the Servicer if the information contained in the Valuation Report does not conform to
  the information maintained by the Trustee with respect to the Collateral, and shall detail any
  discrepancies. In the event that any discrepancy exists, the Trustee, the Issuer, and the Servicer shall
  attempt to resolve the discrepancy. If such discrepancy cannot be promptly resolved, the Trustee shall
  within five Business Days after notification of such discrepancy cause the Independent accountants
  appointed by the Issuer pursuant to Section 10.8 to review such Valuation Report and the Trustee’s
  records to determine the cause of such discrepancy. If such review reveals an error in the Valuation
  Report or the Trustee’s records, the Valuation Report or the Trustee’s records shall be revised accordingly
  and, as so revised, shall be used in making all calculations pursuant to this Indenture and notice of any
  error in the Valuation Report shall be sent as soon as practicable by the Issuer to all recipients of such
  report. If the review by the Independent accountants does not resolve the discrepancy, the Trustee, upon
  receipt of an Officer’s certificate of the Servicer certifying that, to the best knowledge of the Servicer, the
  information contained in the related Valuation Report is correct, shall conform the information it
  maintains to the Valuation Report received.

           (c)     Failure to Provide Accounting. If the Trustee shall not have received any accounting
  provided for in Section 10.6(b) on the first Business Day after the date on which the accounting is due to
  the Trustee, the Trustee shall notify the Issuer and the Servicer, and the Servicer shall use all reasonable
  efforts to cause the accounting to be made by the applicable Payment Date. To the extent the Trustee is
  required to provide any information or reports pursuant to this Section 10.6 as a result of the failure of the
  Issuer (or anyone acting on the Issuer’s behalf) to provide the information or reports, the Trustee may
  retain an Independent certified public accountant in connection therewith and the reasonable costs
  incurred by the Trustee for the Independent certified public accountant shall be reimbursed pursuant to
  Section 6.8.

          (d)     Irish Stock Exchange. So long as any Class of Senior Notes is listed on the Irish Stock
  Exchange: (i) the Trustee shall communicate to the Irish Stock Exchange the Aggregate Outstanding
  Amount of each listed Class of Senior Notes following each Payment Date and inform the Irish Stock
  Exchange if any such Class of Senior Notes did not receive scheduled payments of principal or interest on
  the Payment Date; (ii) the Trustee shall inform the Irish Stock Exchange if the ratings assigned to the
  Senior Notes are reduced or withdrawn and the information shall be given to the Company
  Announcements Office of the Irish Stock Exchange; and (iii) the Trustee shall inform the Irish Stock
  Exchange, in advance, of the Note Interest Rate for each such Class, as well as the exact date of the
  following Payment Date.




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           (e)     Quarterly Letter. The Servicer shall provide a quarterly letter to the recipients of the
  Valuation Report highlighting events occurring during the related quarterly period within 30 days of the
  date of the delivery of the Valuation Report.

           (f)     S&P CDO Monitor. On or after the Ramp-Up Completion Date and together with each
  Monthly Report, the Issuer shall provide to S&P the Excel Default Model Input File and, with respect to each
  Collateral Obligation, the name of the obligor thereon, the CUSIP number thereof (if applicable) and the S&P
  Priority Category thereof.

          (g)      Payments or Transfers from the Payment Account. Each Valuation Report shall
  constitute instructions to the Trustee to withdraw on the related Payment Date from the Payment Account
  and pay or transfer amounts set forth in such Valuation Report in the manner specified and in accordance
  with the priority established in Section 11.1 hereof.

          Section 10.7.    Release of Collateral.

          (a)      The Trustee shall present Collateral for redemption or payment in full in accordance with
  the terms of the Collateral upon receipt of an Issuer Order. If no Event of Default is continuing, the Issuer
  may, by Issuer Order executed by an Authorized Officer of the Servicer, delivered to the Trustee at least
  two Business Days before the settlement date for any sale of an obligation certifying that the sale of the
  Collateral is being made in accordance with Sections 12.1 and 12.3 and the sale complies with all
  applicable requirements of Section 12.1, direct the Trustee to release the Collateral and, upon receipt of
  the Issuer Order, the Trustee shall deliver any such Collateral, if in physical form, duly endorsed to the
  broker or purchaser designated in the Issuer Order or otherwise cause an appropriate transfer of it to be
  made, in each case against receipt of the sales price therefor as specified by the Servicer in the Issuer
  Order. The Trustee may deliver any such Collateral in physical form for examination pursuant to a bailee
  letter.

           (b)     The Trustee shall, upon an Issuer Order executed by an Authorized Officer of the
  Servicer, deliver any Pledged Obligation that is set for any mandatory call or redemption or payment in
  full to the appropriate paying agent on or before the date set for the call, redemption or payment, in each
  case against receipt of its call or redemption price or payment in full and provide notice of it to the
  Servicer.

           (c)     Upon receiving actual notice of any Offer, the Trustee on behalf of the Issuer shall notify
  the Servicer of any Collateral Obligation that is subject to a tender offer, voluntary redemption, exchange
  offer, conversion or other similar action (an “Offer”). If no Event of Default is continuing, the Servicer
  may direct the Trustee (and if an Event of Default is continuing, the Servicer may advise, and the Trustee
  may, in consultation with the Servicer, decide) to accept or participate in or decline or refuse to
  participate in the Offer and, in the case of acceptance or participation, to dispose of the Collateral
  Obligation in accordance with the Offer against receipt of payment for it. If the consideration to be
  received by the Issuer for the Collateral Obligation is other than Cash, the consideration must be a
  Collateral Obligation that would be eligible for purchase by the Issuer pursuant to Section 12.2 assuming
  for this purpose that the Issuer committed to purchase the same on the date on which the Issuer accepts
  the Offer.

           (d)     Upon disposition by the Trustee of Collateral to any Person against receipt of payment
  therefore as provided in any of the foregoing clauses (a), (b) or (c), the Collateral shall be free of the lien
  of this Indenture. The lien shall continue in the proceeds received from the disposition.




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           (e)    As provided in Section 10.2(b), the Trustee shall deposit any proceeds received by it from
  the disposition of a Pledged Obligation in the Collection Account, unless simultaneously applied to the
  purchase of additional Collateral Obligations (including any related deposit into the Revolving Reserve
  Account or the Delayed Drawdown Reserve Account or the posting by the Issuer of cash collateral with
  (or for the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer’s purchase of or
  entry into a Synthetic Security) or Eligible Investments as permitted under and in accordance with the
  requirements of this Article 10 and Article 12.

          (f)      The Trustee shall, upon receipt of an Issuer Order when no Notes are Outstanding and all
  obligations of the Co-Issuers under this Indenture have been satisfied, as evidenced by an Officer’s
  Certificate or an Opinion of Counsel, release any remaining Collateral from the lien of this Indenture.

           (g)    The Trustee shall release from the lien of this Indenture any Collateral that is provided
  directly to a Synthetic Security Counterparty or deposited in a segregated account in accordance with
  Section 10.5. Any Collateral or proceeds received by or redeposited by the Issuer into the Collection
  Account in accordance with Section 10.5 shall again be subject to the lien of this Indenture.

          Any collateral deposited in a segregated account in accordance with Section 10.3(d), (e), and (f)
  shall be subject to the lien of this Indenture for the benefit of the Secured Parties. Any collateral
  withdrawn by the Issuer in accordance with Section 10.3(d), (e), and (f) shall be released from the lien of
  this Indenture by the Trustee to the extent returned to the appropriate counterparty pursuant to
  Sections 10.3(d), (e) and (f).

          Section 10.8.    Reports by Independent Accountants.

           (a)     At the Closing Date, the Issuer, at the direction of the Servicer, shall appoint a firm of
  Independent certified public accountants of recognized international reputation for purposes of preparing
  and delivering the reports or certificates of the accountants required by this Indenture. Within 30 days of
  any resignation by the firm, the Issuer, at the direction of the Servicer, shall promptly appoint by Issuer
  Order delivered to the Trustee and each Rating Agency a successor firm that is a firm of Independent
  certified public accountants of recognized international reputation. If the Issuer, at the direction of the
  Servicer, fails to appoint a successor to a firm of Independent certified public accountants which has
  resigned within 30 days after the resignation, the Trustee, in consultation with the Servicer, shall promptly
  appoint a successor firm of Independent certified public accountants of recognized international
  reputation. The fees of such Independent certified public accountants and their successors shall be
  payable by the Issuer as an Administrative Expense.

           (b)     On or before January 31 of each year commencing in 2008, the Issuer shall cause to be
  delivered to the Trustee, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
  Shares), the Servicer or each Noteholder or Holder of Preference Shares upon written request therefor,
  upon written request therefor by a Beneficial Owner in the form of Exhibit D certifying that it is a
  Beneficial Owner, to the Beneficial Owner (or its designee) and each Rating Agency a statement from a
  firm of Independent certified public accountants indicating (i) that the firm has reviewed each Valuation
  Report received since the last review and applicable information from the Trustee, (ii) that the
  calculations within those Valuation Reports have been performed in accordance with the applicable
  provisions of this Indenture (except as otherwise noted in the statement) and (iii) the Aggregate Principal
  Balance of the Collateral Obligations owned by the Issuer as of the preceding Determination Date. If a
  conflict exists between the firm of Independent certified public accountants and the Issuer with respect to
  any matter in this Section 10.7, the determination by that firm of Independent public accountants shall be
  conclusive. The statement shall be in the form of an Accountant’s Certificate issued to the Issuer, the
  form of which shall be agreed on by the Servicer on behalf of the Issuer.


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          (c)     Upon the written request of the Preference Shares Paying Agent or any Holder of
  Preference Shares, the Issuer shall cause the firm of Independent certified public accountants appointed
  pursuant to Section 10.7(a) to provide any Holder of Preference Shares with all information requested
  pursuant to Section 7.17(g) or provide the Issuer with any assistance required in its preparation.

          Section 10.9.   Reports to Rating Agencies.

          In addition to the information and reports specifically required to be provided to each Rating
  Agency pursuant to this Indenture, the Issuer shall provide each Rating Agency with the Accountants’
  Certificates delivered to the Trustee under this Indenture, and such additional information as either Rating
  Agency may from time to time reasonably request. In addition, any notices of restructurings and
  amendments received by the Issuer or the Trustee in connection with the Issuer’s ownership of a DIP
  Loan shall be delivered by the Servicer (on behalf of the Issuer) or the Trustee, as the case may be,
  promptly to the Rating Agencies.

                                                 ARTICLE XI.

                                          APPLICATION OF MONIES

          Section 11.1.   Disbursements of Monies from Payment Account.

          (a)     Notwithstanding any other provision in this Indenture, but subject to the other
  subsections of this Section 11.1 and to Section 13.1, on each Payment Date, the Trustee shall disburse
  available amounts from the Payment Account as follows and for application by the Trustee in accordance
  with the following priorities (the “Priority of Payments”):

                   (i)     On each Payment Date, Interest Proceeds with respect to the related Due Period
          (other than Interest Proceeds previously used during such Due Period to purchase accrued interest
          in respect of Collateral Obligations or otherwise used as permitted by Section 10.2) shall be
          distributed in the following order of priority:

                                 (1)      to the payment of any taxes and registration and filing fees owed
                          by the Co-Issuers (without limit) and then to the payment of Administrative
                          Expenses up to the Administrative Expense Cap as follows:

                                           FIRST, in the following order of priority,

                                           (i)     fees, expenses and indemnities of the Trustee; and then

                                          (ii)     fees, expenses and indemnities of the Collateral
                                   Administrator; and then

                                          (iii)   fee, expenses and indemnities of the Delayed Drawdown
                                   Note Agent; and then

                                          (iv)    fees, expenses and indemnities of the Preference Shares
                                   Paying Agent; and

                                           SECOND, in the following order of priority,

                                           (x)     fees and expenses of the Administrator; and then



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                                         (y)      fees and expenses of the Co-Issuers (including fees and
                                 expenses of counsel and surveillance, credit estimate, and other fees
                                 owing to the Rating Agencies) and any other Person (except the
                                 Servicer) if specifically provided for in this Indenture, and to the
                                 expenses (but not fees) of the Servicer if payable under the Servicing
                                 Agreement;

                                (2)      the excess, if any, of the Administrative Expense Cap over the
                         amounts paid pursuant to clause (1) above to deposit into the Expense
                         Reimbursement Account; provided that on the final Payment Date, no Interest
                         Proceeds shall be distributed pursuant to this clause (2);

                                  (3)      first, payment to the Preference Shares Paying Agent for deposit
                         in the Class II Preference Share Special Payment Account for distribution by way
                         of dividend by the Preference Shares Paying Agent to the Class II Preference
                         Shareholders in accordance with Section 10.3(k) an amount equal to the product
                         of (i) the Class II Preference Share Portion for such Payment Date, if any, and (ii)
                         any accrued and unpaid Senior Servicing Fee then due and payable and second,
                         to the payment to the Servicer of an amount equal to the difference between (i)
                         the accrued and unpaid Senior Servicing Fee as of such Payment Date and (ii) the
                         amount deposited to the Class II Preference Share Special Payment Account in
                         accordance with the preceding clause;

                                (4)     to the payment of all amounts due to the Hedge Counterparties
                         under the Hedge Agreements (if any) other than any Defaulted Hedge
                         Termination Payments;

                                  (5)     to the payment of (i) (A) accrued and unpaid interest on the
                         Class A-1A Notes, (B) accrued and unpaid interest and Delayed Drawdown Fee
                         on the Class A-1B Notes and (C) accrued and unpaid interest on the Class A-2
                         Notes, and (ii) any accrued and unpaid Defaulted Interest on, and any Defaulted
                         Interest Charge with respect to, (A) the Class A-1A Notes, (B) the Class A-1B
                         Notes and (C) the Class A-2 Notes, in each case on a pro rata basis;

                                 (6)     if either of the Class A Coverage Tests is not satisfied on the
                         related Determination Date, to the payment of principal of the Class A Notes in
                         the Note Payment Sequence, in each case, in the amount necessary so that all of
                         the Class A Coverage Tests would be met on such Determination Date on a pro
                         forma basis after giving effect to any payments in reduction of the principal of
                         Notes made through this clause, or until paid in full (Interest Proceeds to be
                         applied pursuant to this clause (6) before the application of any Principal
                         Proceeds pursuant to Section 11.1(a)(ii)(2) on the current Payment Date);

                                 (7)     to the payment of accrued and unpaid interest on the Class B
                         Notes (excluding Class B Deferred Interest, but including interest accrued for the
                         preceding Interest Period on Class B Deferred Interest);

                                 (8)     to the payment of Class B Deferred Interest;

                                 (9)     if either of the Class B Coverage Tests is not satisfied on the
                         related Determination Date, to the payment of principal of the Class A Notes and



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                         the Class B Notes in the Note Payment Sequence, in each case in the amount
                         necessary so that all of the Class B Coverage Tests would be met on such
                         Determination Date on a pro forma basis after giving effect to any payments in
                         reduction of the principal of Notes made through this clause, or until paid in full
                         (Interest Proceeds to be applied pursuant to this clause (9) before the application
                         of any Principal Proceeds pursuant to Section 11.1(a)(ii)(3) on the current
                         Payment Date);

                                 (10)    to the payment of accrued and unpaid interest on the Class C
                         Notes (excluding Class C Deferred Interest, but including interest accrued for the
                         preceding Interest Period on Class C Deferred Interest);

                                 (11)    to the payment of Class C Deferred Interest;

                                  (12)     if either of the Class C Coverage Tests is not satisfied on the
                         related Determination Date, to the payment of principal of the Class A Notes, the
                         Class B Notes and the Class C Notes in the Note Payment Sequence, in each case
                         in the amount necessary so that all of the Class C Coverage Tests would be met
                         on such Determination Date on a pro forma basis after giving effect to any
                         payments in reduction of the principal of Notes made through this clause, or until
                         paid in full (Interest Proceeds to be applied pursuant to this clause (12) before the
                         application of any Principal Proceeds pursuant to Section 11.1(a)(ii)(4) on the
                         current Payment Date);

                                 (13)    to the payment of accrued and unpaid interest on the Class D
                         Notes (excluding Class D Deferred Interest, but including interest accrued for the
                         preceding Interest Period on Class D Deferred Interest);

                                 (14)    to the payment of Class D Deferred Interest;

                                  (15)   if either of the Class D Coverage Tests is not satisfied on the
                         related Determination Date, to the payment of principal of the Class D Notes in
                         the amount necessary so that all of the Class D Coverage Tests would be met on
                         such Determination Date on a pro forma basis after giving effect to any payments
                         in reduction of the principal of Notes made through this clause, or until paid in
                         full, or if a Rating Confirmation Failure exists on the Payment Date, to the
                         payment of principal of the Class A Notes, the Class B Notes, the Class C Notes
                         and the Class D Notes in the Note Payment Sequence, in each case in the amount
                         necessary so that a Rating Confirmation is obtained, or until paid in full (Interest
                         Proceeds to be applied pursuant to this clause (15) before the application of any
                         Principal Proceeds pursuant to Section 11.1(a)(ii)(5) on the current Payment
                         Date);

                                 (16)    to deposit in the Collection Account as Principal Proceeds
                         amounts representing Principal Proceeds previously used to pay amounts referred
                         to in clauses (1) through (5), (7), (8), (10), (11), (13) and (14) above and not
                         previously restored to the Collection Account or, if not restored to the Collection
                         Account, used to purchase Collateral Obligations;

                                 (17)   if the Retention Overcollateralization Test is not satisfied on the
                         related Determination Date, for deposit to the Collection Account as Principal



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                          Proceeds the lesser of (i) 50% of the remaining Interest Proceeds available after
                          the payments pursuant to clause (16) above and (ii) the amount necessary to
                          cause the Retention Overcollateralization Test to be satisfied as of such
                          Determination Date, after application of funds pursuant to Section 11.1(a)(ii)(1)
                          on the current Payment Date;

                                  (18)    to the payment of any remaining Administrative Expenses not
                          paid under clause (1) above in the respective priorities specified in clause (1);

                                   (19)     first, payment to the Preference Shares Paying Agent for deposit
                          in the Class II Preference Share Special Payment Account for distribution by way
                          of dividend by the Preference Shares Paying Agent to the Class II Preference
                          Shareholders in accordance with Section 10.3(k) an amount equal to the product
                          of (i) the Class II Preference Share Portion for such Payment Date, if any, and (ii)
                          any accrued and unpaid Subordinated Servicing Fee then due and payable and
                          second, to the payment (pro rata according to the amounts payable under clauses
                          (x) and (y) below) to: (x) the Servicer of an amount equal to the difference
                          between (i) the accrued and unpaid Subordinated Servicing Fee as of such
                          Payment Date and (ii) the amount deposited to the Class II Preference Share
                          Special Payment Account in accordance with the preceding clause; and (y) pro
                          rata to each Noteholder entitled thereto, the applicable Extension Bonus Payment
                          pursuant to, and in accordance with, Section 2.4(g);

                                  (20)    to the payment of any Defaulted Hedge Termination Payments;

                                  (21)     to the Preference Shares Paying Agent, on behalf of the Issuer,
                          for deposit into the Preference Shares Distribution Account for payment pro rata
                          to the Holders of the Preference Shares until the Holders of the Preference Shares
                          have realized a Preference Share Internal Rate of Return of 12.0%;

                                  (22)     first, payment to the Preference Shares Paying Agent for deposit
                          in the Class II Preference Share Special Payment Account for distribution by way
                          of dividend by the Preference Shares Paying Agent to the Class II Preference
                          Shareholders in accordance with Section 10.3(k) of an amount equal to the
                          product of (i) the Class II Preference Share Portion for such Payment Date, if
                          any, and (ii) the Supplemental Servicing Fee, if applicable and second, to the
                          payment to the Servicer of an amount equal to the difference between (i) the
                          accrued and unpaid Supplemental Servicing Fee as of such Payment Date and (ii)
                          the amount deposited to the Class II Preference Share Special Payment Account
                          in accordance with the preceding clause; and

                                  (23)   any remaining Interest Proceeds, to the Preference Shares Paying
                          Agent, on behalf of the Issuer, for deposit into the Preference Shares Distribution
                          Account for payment pro rata to the Holders of the Preference Shares;

                  provided that, in lieu of payment of Interest Proceeds referred to under clauses (21) and
          (23) above, in whole or in part on any Payment Date, the Servicer, on behalf of the Issuer, shall
          have the right to direct the Trustee to distribute any Eligible Equity Securities pro rata to the
          Consenting Holders of the Preference Shares with respect to such Payment Date to the extent that
          the Market Value of such Eligible Equity Securities (determined by the Servicer as of the relevant
          Market Value Determination Date) is equal to or lower than the aggregate amount of Interest



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          Proceeds that would otherwise be due and payable on such Payment Date to such Consenting
          Holders of the Preference Shares. Interest Proceeds in an amount equal to the Market Value of
          such Eligible Equity Securities (determined by the Servicer as of the relevant Market Value
          Determination Date) distributed to the Consenting Holders of the Preference Shares with respect
          to any such Payment Date shall be treated for all purposes by the Issuer and the Servicer as
          Principal Proceeds available for distribution in accordance with the Priority of Payments on the
          relevant Payment Date. The amount of Interest Proceeds available on the relevant Payment Date
          shall be reduced and the amount of Principal Proceeds available on the relevant Payment Date
          shall be increased accordingly.

                  (ii)     On each Payment Date, Principal Proceeds with respect to the related Due Period
          other than:

                           (A)     Principal Proceeds previously used to purchase Collateral Obligations
                   (including any related deposit into the Revolving Reserve Account or the Delayed
                   Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for
                   the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer’s
                   purchase of or entry into a Synthetic Security) or otherwise used as permitted by Section
                   10.2,

                           (B)     Principal Proceeds on deposit in the Revolving Reserve Account, the
                   Delayed Drawdown Reserve Account, the Synthetic Security Collateral Account, or the
                   Securities Lending Account, and

                           (C)     Principal Proceeds on deposit in the Collection Account in an aggregate
                   amount equal to the agreed Purchase Prices for Collateral Obligations with respect to
                   which the Issuer has entered into a commitment before the end of the Due Period for their
                   purchase, but has not settled the purchase by the end of the Due Period,

                   shall be distributed in the following order of priority:

                                   (1)      to the payment of the amounts referred to in clauses (1) through
                           (5) of Section 11.1(a)(i) (and in the same manner and order of priority) to the
                           extent not previously paid in full thereunder;

                                   (2)      to the payment of amounts referred to in clause (6) of Section
                           11.1(a)(i) to the extent not previously paid in full thereunder and to the extent
                           necessary to cause the Class A Overcollateralization Test to be met as of the
                           related Determination Date on a pro forma basis after giving effect to any
                           payments made through this clause (2), or until such amounts are paid in full;

                                   (3)      to the payment of the amounts referred to in clause (9) of Section
                           11.1(a)(i) to the extent not previously paid in full thereunder and to the extent
                           necessary to cause the Class B Overcollateralization Test to be met as of the
                           related Determination Date on a pro forma basis after giving effect to any
                           payments made through this clause (3), or until such amounts are paid in full;

                                   (4)     to the payment of the amounts referred to in clause (12) of
                           Section 11.1(a)(i) to the extent not previously paid in full thereunder and to the
                           extent necessary to cause the Class C Overcollateralization Test to be met as of




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                         the related Determination Date on a pro forma basis after giving effect to any
                         payments made through this clause (4), or until such amounts are paid in full;

                                  (5)     to the payment of principal of the Notes in the Note Payment
                         Sequence in an amount necessary to (A) cause the Class D Overcollateralization
                         Test to be met as of the related Determination Date on a pro forma basis after
                         giving effect to any payments made through this clause (5), or until paid in full or
                         (B) if a Rating Confirmation Failure exists on the Payment Date, obtain a Rating
                         Confirmation, or until paid in full;

                                  (6)     (x) during the Replacement Period, all remaining Principal
                         Proceeds to the acquisition of additional Collateral Obligations in accordance
                         with the provisions of Section 7.19 and Article 12 (and, until so applied
                         (including any related deposit into the Revolving Reserve Account or the
                         Delayed Drawdown Reserve Account or the posting by the Issuer of cash
                         collateral with (or for the benefit of) a Synthetic Security Counterparty
                         simultaneously with the Issuer’s purchase of or entry into a Synthetic Security),
                         to be deposited in the Collection Account as Principal Proceeds) and (y) after the
                         Replacement Period, at the discretion of the Servicer (with respect to
                         Unscheduled Principal Payments and Sale Proceeds from the sale of Credit
                         Improved Obligations) to the purchase or funding of additional or replacement
                         Collateral Obligations in accordance with the Eligibility Criteria and the
                         applicable provisions of this Indenture when appropriate Collateral Obligations
                         are available, and until such time, to the Collection Account for the purchase of
                         Eligible Investments;

                                 (7)    (x) FIRST, to pay the principal of the Class A-1 Notes, pro rata
                         based on the Aggregate Outstanding Amount of each of the Class A-1A Notes
                         and the Class A-1B Notes, until the Class A-1 Notes have been fully redeemed
                         and (y) SECOND, to pay the principal of the Class A-2 Notes, pro rata, until the
                         Class A-2 Notes have been fully redeemed;

                                  (8)      to the payment of the amounts referred to in clauses (7) and (8)
                         of Section 11.1(a)(i), in the order set forth therein, to the extent not previously
                         paid in full thereunder;

                                 (9)    to pay the principal of the Class B Notes, pro rata, until the
                         Class B Notes have been fully redeemed;

                                 (10)    to the payment of the amounts referred to in clauses (10) and
                         (11) of Section 11.1(a)(i), in the order set forth therein, to the extent not
                         previously paid in full thereunder;

                                 (11)   to pay the principal of the Class C Notes, pro rata, until the
                         Class C Notes have been fully redeemed;

                                 (12)    to the payment of the amounts referred to in clauses (13) and
                         (14) of Section 11.1(a)(i), in the order set forth therein, to the extent not
                         previously paid in full thereunder;




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                                  (13)   to pay the principal of the Class D Notes, pro rata, until the
                          Class D Notes have been fully redeemed;

                                   (14)   (x) if the Payment Date is a Redemption Date in the following
                          order of priority: (i) to the payment in the Note Payment Sequence of the
                          Redemption Prices of all of the Notes to be redeemed, (ii) to the payment of the
                          amounts referred to in clauses (18) through (22) of Section 11.1(a)(i) (and in the
                          same manner and order of priority) to the extent not previously paid in full
                          thereunder and (iii) to the Preference Shares Paying Agent, on behalf of the
                          Issuer, for deposit into the Preference Shares Distribution Account for payment
                          to the Holders of the Preference Shares of the Redemption Price of any
                          Preference Shares to be redeemed; and

                                         (y) if the Payment Date is a Special Redemption Date, to the
                          payment in the Note Payment Sequence of principal of the Notes in an aggregate
                          amount equal to the Special Redemption Amount, in each case until paid in full;

                                   (15)     to the extent not previously paid in full under clause (14) above,
                          after the Replacement Period, to the payment of the amounts referred to in
                          clauses (18) through (22) of Section 11.1(a)(i) (and in the same manner and order
                          of priority) to the extent not previously paid in full thereunder; and

                                  (16)   after the Replacement Period to the Preference Shares Paying
                          Agent, on behalf of the Issuer, for deposit into the Preference Shares Distribution
                          Account for payment pro rata to the Holders of the Preference Shares.

          (b)      If on any Payment Date the amount available in the Payment Account is insufficient to
  make the full amount of the disbursements required by the Valuation Report, the Trustee shall make the
  disbursements called for in the order and according to the priority under Section 11.1(a), subject to
  Section 13.1, to the extent funds are available therefor.

           (c)     The Trustee shall remit funds to pay Administrative Expenses of the Issuer or the Co-
  Issuer in accordance with Section 11.1(a), to the extent available, to the Issuer, the Co-Issuer as directed
  and designated in an Issuer Order (which may be in the form of standing instructions) delivered to the
  Trustee no later than the Business Day before each Payment Date.

          (d)     If the Hedge Counterparty defaults in the payment of its obligations to the Issuer under
  the respective Hedge Agreements on the date on which any payment is due thereunder, the Trustee shall
  make a demand on the Hedge Counterparty, or any guarantor, if applicable, demanding payment by 12:30
  p.m., New York time, on that date. The Trustee shall give notice to the Noteholders, the Preference
  Shares Paying Agent (for forwarding to the Holders of Preference Shares), the Servicer and each Rating
  Agency upon the continuing failure by the Hedge Counterparty to perform its obligations during the two
  Business Days following a demand made by the Trustee on, the Hedge Counterparty, and shall take the
  action with respect to the continuing failure as directed by the Servicer unless an Event of Default has
  occurred and is continuing in which case direction is to be taken pursuant to Section 5.13.

          (e)      Except as otherwise expressly provided in Section 11.1(a), if on any Payment Date, the
  amount available in the Payment Account from amounts received in the related Due Period is insufficient
  to make the full amount of the disbursements required by any numbered or lettered paragraph or clause of
  Section 11.1(a) to different Persons, the Trustee shall make the disbursements called for by the paragraph




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  or clause ratably in accordance with the respective amounts of the disbursements then payable, subject to
  Section 13.1, to the extent funds are available therefor.

                                                ARTICLE XII.

                                   SALE OF COLLATERAL OBLIGATIONS;
                                 PURCHASE OF COLLATERAL OBLIGATIONS

          Section 12.1.    Sales of Collateral Obligations.

          Subject to the satisfaction of the conditions specified in Section 10.6, Section 12.1 and Section
  12.3 and if no Event of Default is continuing as evidenced by an Officer’s Certificate of the Servicer
  provided to the Trustee, the Issuer may, at the direction of the Servicer, direct the Trustee to sell any
  Collateral Obligation or Workout Asset if the Servicer certifies to the Trustee that the sale meets the
  requirements of any one of paragraphs (a) through (i) of this Section 12.1. If the Issuer sells any
  Collateral Obligation or Workout Asset during the Replacement Period, the proceeds shall be applied in
  accordance with Section 12.2.

           (a)     Credit Risk Obligations. At the direction of the Servicer, the Issuer may direct the
  Trustee to sell any Credit Risk Obligation at any time during or after the Replacement Period without
  restriction and the Trustee shall sell the Credit Risk Obligation in accordance with such direction.
  Following any sale of a Credit Risk Obligation pursuant to this Section 12.1(a), at the direction of the
  Servicer during or after the Replacement Period, the Issuer shall use commercially reasonable efforts to
  purchase additional Collateral Obligations (to the extent the purchase is in the best interest of the Issuer)
  meeting the Eligibility Criteria with an Aggregate Principal Balance at least equal to the Sale Proceeds
  received by the Issuer with respect to the Collateral Obligation sold. For this purpose, the Principal
  Balance of any Revolving Loan or Delayed Drawdown Loan shall only include its funded amount.

          (b)      Credit Improved Obligations. At the direction of the Servicer, the Issuer may direct the
  Trustee to sell any Credit Improved Obligation if either:

                    (i)     during the Replacement Period, the Servicer has identified in writing before the
          sale one or more specific manners in which it will be able, in compliance with the Eligibility
          Criteria and the requirements set forth in Section 12.1(i), to cause the Issuer to use the Sale
          Proceeds (it being understood that such identification shall not be considered either a requirement
          or an assurance that any specified purchase will be consummated) to purchase one or more
          additional Collateral Obligations with an Aggregate Principal Balance at least equal to the
          Purchase Criteria Adjusted Balance of the Credit Improved Obligation by the end of the
          immediately succeeding Due Period (for this purpose, the Principal Balance of any Revolving
          Loan or Delayed Drawdown Loan shall only include its funded amount and Principal Balance
          shall include the principal balance of Collateral Obligations in which the Trustee does not have a
          first priority perfected security interest) which in aggregate will result in (i) the Collateral Quality
          Tests, the Interest Coverage Tests, the Overcollateralization Tests and the Concentration
          Limitations herein being satisfied or if one or more of such Collateral Quality Tests, Interest
          Coverage Tests, Overcollateralization Tests or Concentration Limitations are not satisfied, the
          degree of compliance therewith being improved, (ii) the quality of the total portfolio of Collateral
          Obligations as measured by such Collateral Quality Tests, Interest Coverage Tests,
          Overcollateralization Tests and Concentration Limitations being improved on a net basis in the
          commercially reasonable judgment of the Servicer and (iii) in the case of each of clause (i) and
          (ii), any other Collateral Quality Tests, Interest Coverage Tests, Overcollateralization Tests or




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          Concentration Limitations not being violated or, in the commercially reasonable judgment of the
          Servicer, the likelihood of such violation in the future not being significantly increased; or

                  (ii)     after the Replacement Period, the Sale Proceeds received in respect of the Credit
          Improved Obligation are at least equal to its Purchase Criteria Adjusted Balance. For this
          purpose, the Principal Balance of any Revolving Loan or Delayed Drawdown Loan shall only
          include its funded amount and Principal Balance shall include the principal balance of Collateral
          Obligations in which the Trustee does not have a first priority perfected security interest;

          and the Trustee shall sell the Credit Improved Obligation in accordance with such direction.

          (c)      Non-Performing Collateral Obligations. At the direction of the Servicer, the Issuer may
  direct the Trustee to sell any Non-Performing Collateral Obligation at any time during or after the
  Replacement Period without restriction and the Trustee shall sell the Non-Performing Collateral
  Obligation in accordance with such direction. Non-Performing Collateral Obligations may be sold
  regardless of price.

           (d)     Non-qualifying Collateral Obligations. At the direction of the Servicer, the Issuer may
  direct the Trustee to sell any obligation that at the time of acquisition, conversion, or exchange does not
  satisfy the requirements of a Collateral Obligation (the “Non-qualifying Collateral Obligation”) at any
  time during or after the Replacement Period without restriction and the Trustee shall sell that obligation in
  accordance with such direction.

           (e)    Withholding Tax Sales. At the direction of the Servicer, the Issuer may direct the Trustee
  to sell any Collateral Obligation subject to withholding tax at any time during or after the Replacement
  Period without restriction and the Trustee shall sell the Collateral Obligation in accordance with such
  direction.

           (f)     Optional Redemption. After the Issuer has notified the Trustee of an Optional
  Redemption of the Notes in accordance with Article 9, at the direction of the Servicer, the Issuer shall
  direct the Trustee to sell all or a portion of the Collateral Obligations as contemplated therein if (i) the
  requirements of Article 9 are satisfied and (ii) the Independent certified public accountants appointed
  pursuant to Section 10.7 have confirmed the calculations contained in any required certificate furnished
  by the Servicer pursuant to Section 9.3(c). After a Majority of the Preference Shares have directed an
  Optional Redemption of the Preference Shares in accordance with Section 9.2(b), at the direction of the
  Servicer, the Issuer shall direct the Trustee to sell all of the remaining Collateral Obligations (in the case
  of an Optional Redemption pursuant to Section 9.2(b)(i)) or a portion of the remaining Collateral
  Obligations in accordance with the unanimous directions of Holders of the Preference Shares (in the case
  of an Optional Redemption pursuant to Section 9.2(b)(ii)) and the Trustee shall sell the remaining
  Collateral Obligations in accordance with such direction.

          (g)     Rating Confirmation Failure. After the Servicer has received notice of a Rating
  Confirmation Failure and if available Interest Proceeds and Principal Proceeds are insufficient to effect
  the redemption of the Notes at par on any subsequent Payment Date in accordance with the Priority of
  Payments as and to the extent necessary for each of Moody’s and S&P to confirm the Initial Ratings
  assigned by it on the Closing Date to the Securities, the Issuer may, at the direction of the Servicer, direct
  the Trustee to sell Collateral Obligations as contemplated in Section 9.1 and the Trustee shall sell the
  Collateral Obligations in accordance with such direction.




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           (h)     Workout Assets. At the direction of the Servicer, the Issuer may direct the Trustee to sell
  any Workout Asset at any time during or after the Replacement Period without restriction and regardless
  of price and the Trustee shall sell the Workout Assets in accordance with such direction.

           (i)     Supervening Requirement. Notwithstanding anything herein to the contrary, the Issuer
  (at the direction of the Servicer or otherwise) shall not acquire or dispose of a Collateral Obligation or
  other eligible asset (as defined in Rule 3a-7) for the primary purpose of recognizing gains or decreasing
  losses resulting from market value changes. For the avoidance of doubt, the Issuer, at the direction of the
  Servicer or otherwise, may direct the Trustee to sell any CCC+/Caa1 Collateral Obligation or Deep
  Discount Obligation only (a) if it constitutes Credit Risk Obligation or Non-Performing Collateral
  Obligation or (b) in connection with the Optional Redemption as set out in paragraph (f) above. The
  Trustee shall have no obligation to monitor compliance by the Issuer or the Servicer with respect to the
  requirement set out in this paragraph (i).

          Notwithstanding the foregoing, the Issuer (or the Servicer on its behalf) shall not direct the
  Trustee to sell any Collateral Obligation (other than the sale of a Credit Risk Obligation or a Non-
  Performing Collateral Obligation pursuant to a sale that meets the requirements in paragraph (a) or (c)
  above, as applicable) following receipt by the Servicer of notice of removal pursuant to Section 14 of the
  Servicing Agreement until a successor Servicer is appointed pursuant to Section 12 of the Servicing
  Agreement.

          Section 12.2.    Purchase of Collateral Obligations.

          (a)      On any date during the Replacement Period (and, in respect of Principal Proceeds
  constituting Unscheduled Principal Payments and Sale Proceeds from Credit Risk Obligations and Credit
  Improved Obligations, on any date after the Replacement Period), so long as no Event of Default is
  continuing, at the direction of the Servicer, the Issuer may direct the Trustee to apply Principal Proceeds
  (together with Interest Proceeds, but only to the extent used to pay for accrued interest on Collateral
  Obligations) and the funds available from Drawdowns under the Class A-1B Notes to purchase Collateral
  Obligations (including any related deposit into the Revolving Reserve Account or the Delayed Drawdown
  Reserve Account or the posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic
  Security Counterparty simultaneously with the Issuer’s purchase of or entry into a Synthetic Security) if
  the Servicer certifies to the Trustee that, to the best knowledge of the Servicer, the conditions specified in
  this Section 12.2 and Section 12.3 are met.

          (b)      Eligibility Criteria. No obligations may be purchased unless each of the conditions in the
  following clauses (i) through (xii) (the “Eligibility Criteria”) is satisfied as evidenced by a certificate of
  the Servicer as of the date the Issuer commits to make the purchase, in each case after giving effect to the
  purchase and all other purchases and sales previously or simultaneously committed to:

                   (i)     the obligation is a Collateral Obligation;

                   (ii)    for any date occurring during the Replacement Period:

                          (A)      each Overcollateralization Test is satisfied and, if the commitment is
                   made on or after the second Payment Date, each Interest Coverage Test is satisfied, or

                           (B)     if any such Coverage Test is not satisfied, both:

                                   (1)      the extent of satisfaction of the Coverage Test is not reduced,
                           and



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                                  (2)      the Collateral Obligation is being purchased with Principal
                           Proceeds other than:

                                           (x)     Principal Proceeds received in respect of a Defaulted
                                   Collateral Obligation, or

                                           (y)    Principal Proceeds received in respect of a Workout
                                   Asset that has been received in exchange for a Defaulted Collateral
                                   Obligation;

                   (iii)     for any date occurring during the Replacement Period, the Diversity Test is
          satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                  (iv)   for any date occurring during the Replacement Period, the Weighted Average
          Rating Factor Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                   (v)     for any date occurring during the Replacement Period, each of the limits in the
          definition of “Concentration Limitations” is satisfied or, if any such limit is not satisfied, the
          extent of satisfaction is not reduced;

                 (vi)      for any date occurring during the Replacement Period, the Weighted Average
          Spread Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                 (vii)   for any date occurring during the Replacement Period, the Weighted Average
          Fixed Rate Coupon Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                  (viii) for any date occurring during the Replacement Period, the Weighted Average
          Life Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                 (ix)  for any date occurring during the Replacement Period, the Weighted Average
          Moody’s Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
          reduced;

                (x)    for any date occurring during the Replacement Period, the Weighted Average
          S&P Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

                   (xi)     for any date occurring during the Replacement Period, the S&P CDO Monitor
          Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced; provided, however,
          that this Eligibility Criterion (xi) shall not apply either to the application of the proceeds from the
          sale of a Credit Risk Obligation, Non-Performing Collateral Obligation or Workout Asset or to
          the application of Principal Proceeds in respect of Defaulted Collateral Obligations; and

                   (xii)   for any date occurring after the Replacement Period:

                          (A)      each Coverage Test is satisfied and the extent of satisfaction is not
                   reduced;

                          (B)     each Collateral Quality Test is maintained or improved and the Weighted
                   Average Rating Factor Test is satisfied;




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                          (C)     each Concentration Limitation is maintained or improved and the
                   Aggregate Principal Balance of all CCC+/Caa1 Collateral Obligations do not exceed
                   10.0% of the Maximum Amount;

                           (D)     the Weighted Average Life Test is satisfied and the Weighted Average
                   Life of such Collateral Obligation is less than or equal to the Weighted Average Life of
                   the Collateral Obligation being the source of the Unscheduled Principal Payments or of
                   the Credit Risk Obligations or Credit Improved Obligation being the source of Sale
                   Proceeds, as applicable;

                           (E)     the S&P Rating of such Collateral Obligation is at least equal to the S&P
                   Rating of the Collateral Obligation being the source of the Unscheduled Principal
                   Payments or of the Credit Risk Obligations or Credit Improved Obligation being the
                   source of Sale Proceeds, as applicable; and

                           (F)      the current Moody’s Ratings on the Class A-1A Notes, the Class A-1B
                   Notes and the Class A-2 Notes are “Aaa” and the current Moody’s Ratings on the Class B
                   Notes, the Class C Notes and the Class D Notes, are no lower than one subcategory
                   below their Initial Rating.

          Notwithstanding the foregoing, (i) one or more Collateral Obligations may be purchased pursuant
  to a Portfolio Improvement Exchange effected in compliance with Section 12.1(b) regardless of whether
  such purchase would otherwise satisfy the Eligibility Criterion set forth in clause (xii) above and (ii) the
  Issuer (or the Servicer on its behalf) shall not direct the Trustee to purchase any Collateral Obligation
  following receipt by the Servicer of notice of removal or resignation pursuant to Section 14 of the
  Servicing Agreement until a successor Servicer is appointed pursuant Section 12 of the Servicing
  Agreement. .

          (c)      Certain Permitted Exchanges. The Issuer may, at the direction of the Servicer, exchange
  a Collateral Obligation for another Collateral Obligation in an A/B Exchange.

           (d)     Certification by Servicer. Not later than the Business Day preceding the settlement date
  for any Collateral Obligation purchased after the Closing Date (but in any event no later than the release
  of Cash for the Purchase Price of the purchase), the Servicer shall deliver to the Trustee an Officer’s
  certificate of the Servicer certifying that, to the best knowledge of the Servicer, the purchase complies
  with this Section 12.2 and with Section 12.3 (determined as of the date that the Issuer commits to make
  the purchase).

          (e)     Eligible Investments. Cash on deposit in the Collection Account may be held at any time
  in Eligible Investments in accordance with Section 10.4(a) pending the application thereof to purchase
  Collateral Obligations.

          Section 12.3.    Conditions Applicable to All Sale and Purchase Transactions.

          (a)      Any sale or purchase by the Issuer of a Collateral Obligation shall be conducted on an
  arm’s length basis and, if effected with the Servicer or a Person Affiliated with the Servicer or any fund or
  account for which the Servicer or an Affiliate of the Servicer acts as investment adviser or servicer, shall
  be effected in accordance with the requirements of Section 5 of the Servicing Agreement on terms no less
  favorable to the Issuer than would be the case if the Person were not so Affiliated. The Trustee shall have
  no responsibility to oversee compliance with this clause (a) by the other parties.




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          (b)     Upon any acquisition of any Collateral Obligation, all of the Issuer’s interest in the
  Collateral Obligation shall be Granted to the Trustee pursuant to this Indenture.

          (c)      Notwithstanding the other provisions of this Article 12, the Issuer (or the Servicer on its
  behalf) shall not direct the Trustee to sell or purchase any Collateral Obligation (other than the sale of a
  Credit Risk Obligation or a Non-Performing Collateral Obligation pursuant to Sections 12.1(a) or (c), as
  applicable) following receipt by the Servicer of notice of removal pursuant to Section 14 of the Servicing
  Agreement until a successor Servicer is appointed pursuant to Section 12(e) of the Servicing Agreement.

          Section 12.4.    Certain Determinations Relating to Collateral Obligations.

           (a)      Notwithstanding anything to the contrary contained in this Indenture, solely for the
  purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on behalf of
  the Issuer shall be deemed to have purchased any Collateral Obligations as of the date on which the Issuer
  enters into a contract to purchase, a commitment letter, a confirmation or a due bill for such Collateral
  Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to receive such Collateral
  Obligations and, in such event, the Issuer shall be deemed to have acquired, granted or delivered, as the
  case may be, such Collateral Obligations on such date.

          (b)      Notwithstanding anything to the contrary contained in this Indenture, solely for the
  purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Servicer on behalf of
  the Issuer shall be deemed to have sold any Collateral Obligations as of the date on which the Issuer
  enters into a contract to sell, a commitment letter, a confirmation or a due bill for such Collateral
  Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to sell, and requiring the
  purchaser to purchase, such Collateral Obligations and, in such event, the Issuer shall be deemed to have
  sold such Collateral Obligations on such date.

           (c)     Under the circumstances described in subsections (a) and (b) above, if the transaction
  contemplated by the contract, commitment letter, confirmation or due bill referred to therein does not
  settle on or before the 60th day following the scheduled settlement date (the “Deadline”), the deemed
  purchase or sale shall be deemed not to have occurred; provided, however, that the Servicer shall have the
  right to extend the Deadline for an additional period (not to exceed an additional 60 days) by notice to the
  Trustee, which notice shall include the Servicer’s certification to the effect that the Servicer believes that
  the settlement shall occur on or before the extended Deadline.

         (d)      Scheduled distributions with respect to any Pledged Collateral Obligation shall be
  determined in accordance with the applicable provisions of this Indenture.

                                                ARTICLE XIII.

                                         NOTEHOLDERS’ RELATIONS

          Section 13.1.    Subordination.

          (a)     With respect to each Class of Notes and the Preference Shares, the Classes of Notes and
  the Preference Shares that are Priority Classes and Junior Classes are as follows:




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                          Class                          Junior Classes                   Priority Classes

                       Class A-1A             A-21, B, C, D, Preference Shares2                None
                       Class A-1B             A-21, B, C, D, Preference Shares2                None
                        Class A-2               B, C, D, Preference Shares2                     A-11
                         Class B                  C, D, Preference Shares2                    Class A
                         Class C                    D, Preference Shares2                    Class A, B
                         Class D                     Preference Shares2                    Class A, B, C
                    Preference Shares                       None3                         Class A, B, C, D


                   1         Interest payments will be made to the Class A-1A Notes, the Class A-1B Notes and the
                   Class A-2 Notes on a pari passu basis. The Class A-1A Notes and the Class A-1B Notes will be
                   entitled to principal payments on a pari passu basis and will be senior to the Class A-2 Notes in
                   right of repayment of principal.

                   2         Other than with respect to the Class II Preference Share Special Payments, which may be
                   payable to the Holders of the Class II Preference Shares as set forth herein and will have priority
                   to the extent provided in the Priority of Payments.

                   3        The Preference Shares will be entitled to certain residual cash flow after payment of
                   senior obligations in accordance with the Priority of Payments.

           (b)     Anything in this Indenture or the Notes to the contrary notwithstanding, the Holders of
  each Class of Notes that is a Junior Class agree for the benefit of the Holders of Notes of each Priority
  Class with respect to the Junior Class that the Junior Class shall be subordinate and junior to the Notes of
  each Priority Class to the extent and in the manner provided in this Indenture. If any Event of Default has
  not been cured or waived and acceleration occurs and is continuing in accordance with Article 5, each
  Priority Class of Notes shall be paid in full in Cash or, to the extent a Majority of each Class consents,
  other than in Cash, before any further payment or distribution is made on account of any Junior Class of
  Notes with respect to the Priority Class. The Holders of each Junior Class of Notes agree, for the benefit
  of the Holders of Notes of each Priority Class in respect of the Junior Class, not to cause the filing of a
  petition in bankruptcy against the Issuer or the Co-Issuer for failure to pay to them amounts due to the
  Junior Class, of the Notes or each Class of Notes, as the case may be, or under this Indenture until the
  payment in full of the Priority Classes or all the Classes, as the case may be, and not before one year and a
  day, or if longer, the applicable preference period then in effect, has elapsed since the payment.

           (c)     If, notwithstanding the provisions of this Indenture, any Holder of Notes of any Junior
  Class has received any payment or distribution in respect of the Notes contrary to the provisions of this
  Indenture, then, until each Priority Class with respect to the Junior Class of Notes or each Class of Notes,
  as the case may be, has been paid in full in Cash or, to the extent a Majority of the Priority Class or the
  Class, as the case may be, consents, other than in Cash in accordance with this Indenture, the payment or
  distribution shall be received and held in trust for the benefit of, and shall forthwith be paid over and
  delivered to, the Trustee, which shall pay and deliver the same to the Holders of the applicable Priority
  Classes of Notes or the Holders of all Classes of Notes, as the case may be, in accordance with this
  Indenture. If any such payment or distribution is made other than in Cash, it shall be held by the Trustee
  as part of the Collateral and subject in all respects to this Indenture, including this Section 13.1.

           (d)     Each Holder of Notes of any Junior Class agrees with all Holders of the applicable
  Priority Classes that the Holder of Junior Class Notes shall not demand, accept, or receive any payment or
  distribution in respect of the Notes in violation of this Indenture including this Section 13.1. After a
  Priority Class has been paid in full, the Holders of Notes of the related Junior Class or Classes shall be


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  fully subrogated to the rights of the Holders of the Priority Class. Nothing in this Section 13.1 shall affect
  the obligation of the Issuer to pay Holders of any Junior Class of Notes.

          (e)     Distributions to Holders of the Preference Shares (other than, as and to the extent
  described herein, the Class II Preference Share Special Payments) are subordinate to distributions on the
  Notes as described in the Priority of Payments.

        (f)        The Servicing Fees shall have priority only to the extent provided in the Priority of
  Payments.

          Section 13.2.    Standard of Conduct.

           In exercising any of its or their voting rights, rights to direct and consent, or any other rights as a
  Noteholder under this Indenture, a Noteholder shall not have any obligation or duty to any Person or to
  consider or take into account the interests of any Person and shall not be liable to any Person for any
  action taken by it or them or at its or their direction or any failure by it or them to act or to direct that an
  action be taken, without regard to whether the action or inaction benefits or adversely affects any
  Noteholder, the Issuer or any other Person, except for any liability to which the Noteholder may be
  subject to the extent the same results from the Noteholder’s taking or directing an action, or failing to take
  or direct an action, in bad faith or in violation of the express terms of this Indenture.

                                                ARTICLE XIV.

                                                MISCELLANEOUS

          Section 14.1.    Form of Documents Delivered to Trustee.

          In any case where several matters are required to be certified by, or covered by an opinion of, any
  specified Person, it is not necessary that all the matters be certified by, or covered by the opinion of, only
  one Person, or that they be so certified or covered by only one document, but one such Person may certify
  or give an opinion with respect to some matters and one or more other such Persons as to other matters,
  and any such Person may certify or give an opinion as to the matters in one or several documents.

           Any certificate or opinion of an Officer of the Issuer, the Co-Issuer or the Servicer may be based,
  insofar as it relates to legal matters, upon a certificate or opinion of, or representations by, counsel, unless
  the Officer knows, or should know that the certificate or opinion or representations with respect to the
  matters upon which his certificate or opinion is based are erroneous. Any such certificate of an Officer of
  the Issuer, Co-Issuer or the Servicer or Opinion of Counsel may be based, insofar as it relates to factual
  matters, upon a certificate or opinion of, or representations by, the Issuer, the Co-Issuer, the Servicer or
  any other Person, stating that the information with respect to the factual matters is in the possession of the
  Issuer, the Co-Issuer, the Servicer or the other Person, unless the Officer of the Issuer, Co-Issuer or the
  Servicer or the counsel knows that the certificate or opinion or representations with respect to factual
  matters are erroneous. Any Opinion of Counsel may also be based, insofar as it relates to factual matters,
  upon a certificate or opinion of, or representations by, an Officer of the Issuer or the Co-Issuer, stating
  that the information with respect to factual matters is in the possession of the Issuer or the Co-Issuer,
  unless the counsel knows that the certificate or opinion or representations with respect to factual matters
  are erroneous.

           Where any Person is required to make, give, or execute two or more applications, requests,
  consents, certificates, statements, opinions or other instruments under this Indenture, they may, but need
  not, be consolidated and form one instrument.



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          Whenever this Indenture provides that the absence of the continuation of a Default or Event of
  Default is a condition precedent to the taking of any action by the Trustee at the request or direction of
  either Co-Issuer, then notwithstanding that the satisfaction of the condition is a condition precedent to the
  Co-Issuer’s right to make the request or direction, the Trustee shall be protected in acting in accordance
  with the request or direction if it does not have knowledge of the continuation of the Default or Event of
  Default as provided in Section 6.1(d).

          Section 14.2.    Acts of Holders of Securities.

           (a)     Any request, demand, authorization, direction, notice, consent, waiver or other action
  provided by this Indenture to be given or taken by Holders of Securities may be embodied in and
  evidenced by one or more instruments (which may be an electronic document, including, but not limited,
  to in the form of e-mail, to the extent permitted by applicable law) of substantially similar tenor signed by
  Holders of Securities in Person or by agents duly appointed in writing (provided that no signature shall be
  required on electronic documents, including, but not limited to, in the form of e-mail to the extent
  permitted by law). Except as otherwise expressly provided in this Indenture, the action shall become
  effective when the instruments are delivered to the Trustee (which instrument or instruments may be
  delivered through the Preference Shares Paying Agent, in the case of the Holders of the Preference
  Shares) and, if expressly required, to the Issuer. The instruments (and the action embodied in them) are
  referred to as the “Act” of the Holders of Securities signing the instruments. Proof of execution of any
  instrument or of a writing appointing an agent for a Holder of a Security shall be sufficient for any
  purpose of this Indenture and conclusive in favor of the Trustee and the Issuer, if made in the manner
  provided in this Section 14.2.

           (b)     The fact and date of the execution by any Person of any instrument may be proved by an
  affidavit of a witness to the execution or the certificate of any notary public or other Person authorized by
  law to acknowledge the execution of deeds. Any certificate on behalf of a jural entity executed by a
  Person purporting to have authority to act on behalf of the jural entity shall itself be sufficient proof of the
  authority of the Person executing it to act. The fact and date of the execution by any Person of any
  instrument may also be proved in any other manner that the Trustee deems sufficient.

          (c)     The Indenture Register shall prove the ownership of the Notes and the principal amount
  and registered numbers of Notes and the number of Preference Shares held by and the number(s) of the
  Preference Share certificate(s) issued to, any Person shall be proved by the Preference Share register.

           (d)     Any Act by the Holder of a Security shall bind every Holder of the same Security and
  every Security issued on its transfer or in exchange for it or in lieu of it, in respect of anything done,
  omitted or suffered to be done by the Trustee or the Issuer in reliance on the Act, whether or not notation
  of the action is made on the Securities.

          (e)      With respect to any time period or deadline to deliver any request, demand, authorization,
  direction, notice, consent, waiver or other communication provided by this Indenture to be given by
  Holders of the Preference Shares, the Holders of Holding Preference Shares shall not be prejudiced by
  any delay in delivery of such request, demand, authorization, direction, notice, consent, waiver or other
  communication from the Holding Preference Shares Paying Agent to the Preference Shares Paying Agent,
  Trustee or the Issuer, as the case may be. If any such Holder of Holding Preference Shares timely
  delivers such request, demand, authorization, direction, notice, consent, waiver or other communication to
  the Holding Preference Shares Paying Agent such request, demand, authorization, direction, notice,
  consent, waiver or other communication shall be deemed to be timely delivered to the Preference Shares
  Paying Agent, Trustee or the Issuer, as the case may be.




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          Section 14.3.   Notices, etc., to Certain Persons or Parties.

          (a)      Any request, demand, authorization, direction, order, notice, consent, waiver, or Act of
  Holders of Securities or other documents provided or permitted by this Indenture to be made, given, or
  furnished to, or filed with:

                   (i)     the Trustee, Delayed Drawdown Note Agent or Preference Shares Paying Agent
          shall be sufficient for every purpose under this Indenture if in writing and made, given, furnished,
          or filed to and mailed, by certified mail, return receipt requested, hand delivered, sent by
          overnight courier service guaranteeing next day delivery, or by telecopy in legible form, to the
          Trustee or Preference Shares Paying Agent addressed to it at its Corporate Trust Office, 200
          Clarendon Street, Mail Code EUC 108, Boston, Massachusetts 02116, telecopy no. (617) 937-
          5585, Attention: CDO Services, Brentwood CLO Ltd., or at any other address previously
          furnished in writing to the other parties hereto by the Trustee (any request, direction, order, notice
          or other communication from the Servicer to the Trustee under Article 12 (other than required
          certifications) may be by electronic mail, which shall be deemed to be in writing);

                  (ii)     the Co-Issuers shall be sufficient for every purpose under this Indenture (unless
          otherwise in this Indenture expressly provided) if in writing and mailed, first-class postage
          prepaid, hand delivered, sent by overnight courier service, or by telecopy in legible form, to the
          Issuer addressed to it at c/o Maples Finance Limited, P.O. Box 1093GT, Queensgate House,
          George Town, Grand Cayman, Cayman Islands, telecopy no. (345) 945-7100, Attention: The
          Directors, or to the Co-Issuer addressed to it at c/o Puglisi & Associates, 850 Library Avenue,
          Suite 204, Newark, Delaware 19711, telecopy no. (302) 738-7210, Attention: Donald J. Puglisi,
          or at any other address previously furnished in writing to the other parties hereto by the Issuer or
          the Co-Issuer, as the case may be, with a copy to the Servicer at its address below;

                   (iii)   the Servicer shall be sufficient for every purpose under this Indenture if in
          writing and mailed, first-class postage prepaid, hand delivered, sent by overnight courier service,
          or by telecopy in legible form, to the Servicer addressed to it at Two Galleria Tower, 13455 Noel
          Road, Suite 800, Dallas, Texas 75240, telecopy no. (972) 628-4147, Attention: James Dondero,
          or at any other address previously furnished in writing to the other parties hereto;

                   (iv)    the Placement Agent shall be sufficient for every purpose under this Indenture if
          in writing and mailed, first-class postage prepaid, hand delivered, sent by overnight courier
          service, or by telecopy in legible form, to the Placement Agent at 9 West 57th Street, New York,
          New York 10019, Attention: Structured Securities Group—CDO Structuring, or at any other
          address previously furnished in writing to the Co-Issuers, the Servicer, and the Trustee by an
          Officer of the Placement Agent;

                   (v)    any Hedge Counterparty shall be sufficient for every purpose under this
          Indenture (unless otherwise in this Indenture expressly provided) if in writing and mailed, first-
          class postage prepaid, hand delivered or sent by overnight courier service or by telecopy in
          legible form to the Hedge Counterparty addressed to it at the address specified in the relevant
          Hedge Agreement or at any other address previously furnished in writing to the Issuer or the
          Trustee by the Hedge Counterparty;

                  (vi)    the Rating Agencies shall be sufficient for every purpose under this Indenture
          (unless otherwise in this Indenture expressly provided) if in writing and mailed, first-class
          postage prepaid, hand delivered, sent by overnight courier service, or by telecopy in legible form,
          to each Rating Agency addressed to it at Moody’s Investors Service, Inc., 99 Church Street, New



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          York, New York, 10007, Telecopy No. (212) 553-4170, cdomonitoring@moodys.com, Attention:
          CBO/CLO Monitoring and Standard & Poor’s, 55 Water Street, 41st Floor, New York, New
          York 10041-0003, telecopy no. (212) 438-2664, Attention: Asset Backed-CBO/CLO Surveillance
          and each Monthly Report shall also be sent to S&P electronically to
          CDO_Surveillance@standardandpoors.com;

                  (vii)   the Administrator shall be sufficient for every purpose under this Indenture
          (unless otherwise in this Indenture expressly provided) if in writing and mailed, first-class
          postage prepaid, hand delivered, sent by overnight courier service, or by facsimile in legible form,
          addressed to Maples Finance Limited, P.O. Box 1093GT, Queensgate House, George Town,
          Grand Cayman, Cayman Islands, telecopy no. (345) 949-7100, Attention: The Directors; or

                  (viii) the Repository shall be sufficient for every purpose under this Indenture if
          delivered to the Repository at CDO Library, c/o The Bond Market Association, 360 Madison
          Avenue, 18th Floor, New York, New York 10017, electronic mail address:
          admin@cdolibrary.com. Any document required to be delivered or made available to the
          Repository by the Trustee may be made available by providing the operator of the Repository
          with access to a website containing such document in a format that permits the user to download
          the document as a PDF file.

           (b)    If any provision in this Indenture calls for any notice or document to be delivered
  simultaneously to the Trustee and any other Person, the Trustee’s receipt of the notice or document shall
  entitle the Trustee to assume that the notice or document was delivered to the other Person unless
  otherwise expressly specified in this Indenture.

           (c)     Any Holder or beneficial owner of any Class A Note may elect to acquire bond
  insurance, a surety bond, a credit default swap or similar credit enhancement supporting the payment of
  principal and/or interest on such Class A Note on terms and conditions acceptable to such Holder or
  beneficial owner and at the sole expense of such Holder or beneficial owner. On or after any such
  acquisition, such Holder or beneficial owner may deliver notice (and if from a beneficial owner, any such
  notice shall include certification that such owner is a beneficial owner of the Class A Notes) to the
  Trustee in substantially the form of Exhibit F specifying the name and contact information of the insurer,
  surety, credit protection seller or enhancer of such Class A Note (each, an “Insurer”). After receipt of
  any such notice (in the form of Exhibit F) by the Trustee, the Trustee shall copy the related Insurer on all
  notices, reports or other documents delivered to the Noteholders.

           (d)      Unless notified to the contrary by Financial Security Assurance Inc. (“FSA”) or unless
  FSA is no longer to direct the vote of at least a Majority of the Aggregate Outstanding Amount of the
  Class A-1 Notes, each of the parties hereto agrees that, so long as any Class A-1 Notes are Outstanding,
  FSA shall be entitled to receive, and shall be distributed, all reports, notices, certificates, statements and
  other information (including access to the Trustee's password protected website) that are required to be
  delivered to any Holder of the Class A-1 Notes (or that any Holder of the Class A-1 Notes is entitled to
  request) at the same time and in the same manner as such reports, notices certificates, statements and
  other information are delivered to each such Holder of Class A-1 Notes, at the following address (or at
  any other address furnished in writing from time to time by FSA to the parties hereto): Financial Security
  Assurance Inc., 31 West 52nd Street, New York, NY 10019, Attention CDO Surveillance, telephone no.:
  (212) 826-0100; electronic mail: cdoreport@fsa.com, facsimile no.: (212) 339-3581. For the avoidance
  of doubt, FSA shall be entitled to request directly that the parties hereto provide it with such reports,
  notices, certificates, statements and other information that are required to be delivered to any Holder of
  the Class A-1 Notes (or that any Holder of the Class A-1 Notes is entitled to request).




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         Section 14.4. Notices to Noteholders, the Preference Shares Paying Agent, the Holding
  Preference Shares Paying Agent; Waiver.

          Except as otherwise expressly provided in this Indenture, where this Indenture provides for notice
  to the Noteholders, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
  Shares) or the Holding Preference Shares Paying Agent (for forwarding to the Holders of Holding
  Preference Shares) of any event,

           (a)      the notice shall be sufficiently given to the Noteholders, the Preference Shares Paying
  Agent or the Holding Preference Shares Paying Agent if in writing and mailed, first-class postage
  prepaid, each Noteholder affected by the event, the Preference Shares Paying Agent or the Holding
  Preference Shares Paying Agent, at the address of the Holder as it appears in the Indenture Register, at the
  address of the Preference Shares Paying Agent supplied by the Preference Shares Paying Agent to the
  Trustee or at the address of the Holding Preference Shares Paying Agent supplied by the Holding
  Preference Shares Paying Agent to the Trustee, as applicable, not earlier than the earliest date and not
  later than the latest date, prescribed for the giving of the notice; and

          (b)      the notice shall be in the English language.

          Notices shall be deemed to have been given on the date of their mailing.

           Notwithstanding clause (a), a Noteholder, the Preference Shares Paying Agent or the Holding
  Preference Shares Paying Agent may give the Trustee a written notice that it is requesting that notices to
  it be given by facsimile transmissions and stating the telecopy number for the transmission. Thereafter,
  the Trustee shall give notices to the Holder, the Preference Shares Paying Agent or Holding Preference
  Shares Paying Agent by facsimile transmission. If the notice also requests that notices be given by mail,
  then the notice shall also be given by mail in accordance with clause (a) above, as the case may be.

          The Trustee shall deliver to the Noteholders any information or notice relating to this Indenture
  requested to be so delivered by at least 10% (by Aggregate Outstanding Amount) of the Holders of any
  Class of Notes at the expense of the Issuer. The Trustee shall deliver to the Preference Shares Paying
  Agent any information or notice that the Preference Shares Paying Agent certifies was requested to be so
  delivered by at least 10% (by Aggregate Outstanding Amount) of the Holders of the Preference Shares at
  the expense of the Issuer. The Trustee shall deliver to the Holding Preference Shares Paying Agent any
  information or notice that the Holding Preference Shares Paying Agent certifies was requested to be so
  delivered by at least 10% (by Aggregate Outstanding Amount) of the Holders of the Holding Preference
  Shares at the expense of the Issuer.

           Neither the failure to mail any notice, nor any defect in any notice so mailed, to any particular
  Noteholder, the Preference Shares Paying Agent or the Holding Preference Shares Paying Agent shall
  affect the sufficiency of the notice with respect to other Noteholders, the Preference Shares Paying Agent
  or the Holding Preference Shares Paying Agent. If it is impracticable to give the notice by mail of any
  event to Noteholders, the Preference Shares Paying Agent or the Holding Preference Shares Paying Agent
  when the notice is required to be given pursuant to any provision of this Indenture because of the
  suspension of regular mail service as a result of a strike, work stoppage or similar activity or because of
  any other cause, then the notification to Noteholders, the Preference Shares Paying Agent or the Holding
  Preference Shares Paying Agent as shall be made with the approval of the Trustee shall be a sufficient
  notification to the Holders for every purpose under this Indenture.

         Where this Indenture provides for notice in any manner, the notice may be waived in writing by
  any Person entitled to receive the notice, either before or after the event, and the waiver shall be the



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  equivalent of the notice. Waivers of notice by Noteholders, the Preference Shares Paying Agent or the
  Holding Preference Shares Paying Agent shall be filed with the Trustee but the filing shall not be a
  condition precedent to the validity of any action taken in reliance on the waiver.

          So long as any Senior Notes are listed on the Irish Stock Exchange and the rules of the exchange
  so require, all notices to Noteholders, the Preference Shares Paying Agent (for forwarding to Holders of
  Preference Shares) or the Holding Preference Shares Paying Agent (for forwarding to Holders of Holding
  Preference Shares) shall also be given to the Irish Paying Agent for publication in the Company
  Announcements Office of the Irish Stock Exchange.

           The Issuer shall (and authorizes the Trustee to) deliver to the Placement Agent all periodic
  reports, notices, demands, and other written information delivered or received by the Issuer, the Servicer,
  trustees, paying agents, accountants, or other Persons pursuant to this Indenture and other operative
  documentation relating to the Notes requested by the Placement Agent (collectively, the “Transaction
  Reports”) and the Issuer consents to the Placement Agent’s providing Transaction Reports received by it
  to current and prospective investors in the Notes (including by means of electronic transmissions or
  posting the Transaction Reports on internet sites maintained by the Placement Agent or any of its
  Affiliates).

          Section 14.5.    Effect of Headings and Table of Contents.

          The Article and Section headings in this Indenture and the Table of Contents are for convenience
  only and shall not affect the construction of this Indenture.

          Section 14.6.    Successors and Assigns.

          All covenants and agreements in this Indenture by the Co-Issuers shall bind their respective
  successors and assigns, whether so expressed or not.

          Section 14.7.    Separability.

          Except to the extent prohibited by applicable law, in case any provision in this Indenture, in the
  Notes shall be invalid, illegal, or unenforceable, the validity, legality, and enforceability of the remaining
  provisions shall not in any way be affected or impaired thereby.

          Section 14.8.    Benefits of Indenture.

           Nothing in this Indenture or in the Notes, expressed or implied, shall give to any Person, other
  than the parties hereto and their successors under this Indenture, the Servicer, the Noteholders, the
  Holders of Preference Shares or the Preference Shares Paying Agent any benefit or any legal or equitable
  right, remedy or claim under this Indenture.

          Section 14.9.    Legal Holidays.

          If any Payment Date, Redemption Date, or Stated Maturity is not a Business Day, then
  notwithstanding any other provision of the Notes or this Indenture, payment need not be made on that
  date, but shall be made on the next Business Day with the same effect as if made on the nominal date of
  the Payment Date, Redemption Date or Stated Maturity date, as the case may be, and except as provided
  in the definition of “Due Period,” no interest shall accrue on the payment for the period beginning on the
  nominal date.




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          Section 14.10. Governing Law.

        THIS INDENTURE AND EACH NOTE SHALL BE CONSTRUED IN ACCORDANCE WITH
  AND GOVERNED BY THE LAWS OF STATE OF NEW YORK, WITHOUT REFERENCE TO ITS
  PROVISIONS THAT WOULD RESULT IN THE APPLICATION OF THE LAWS OF ANOTHER
  JURISDICTION.

          Section 14.11. Submission to Jurisdiction.

           The Co-Issuers and the Trustee hereby irrevocably submit to the non-exclusive jurisdiction of any
  New York State or federal court sitting in the Borough of Manhattan in The City of New York in any
  action or proceeding arising out of or relating to the Securities or this Indenture, and the Co-Issuers and
  the Trustee hereby irrevocably agree that all claims in respect of the action or proceeding may be heard
  and determined in the New York State or federal court. The Co-Issuers and the Trustee hereby
  irrevocably waive, to the fullest extent that they may legally do so, the defense of an inconvenient forum
  to the maintenance of the action or proceeding. The Co-Issuers and the Trustee irrevocably consent to the
  service of all process in any action or proceeding by the mailing or delivery of copies of the process to the
  Co-Issuers at the office of Investors Bank & Trust Company (to the attention of Investors Bank and Trust,
  Trustee for Brentwood CLO, Ltd.) set out in Section 7.2. The Co-Issuers and the Trustee agree that a
  final judgment in any such action or proceeding shall be conclusive and may be enforced in other
  jurisdictions by suit on the judgment or in any other manner provided by law.

          Section 14.12. Counterparts.

          This Indenture may be executed in any number of copies, and by the different parties on the same
  or separate counterparts, each of which shall be considered to be an original instrument.

          Section 14.13. Acts of Issuer.

           Any request, demand, authorization, direction, notice, consent, waiver or other action provided by
  this Indenture to be given or performed by the Issuer shall be effective if given or performed by the Issuer
  or by the Servicer on the Issuer’s behalf.

          Section 14.14. Consent of Posting of Documents on Repository.

          The Issuer hereby consents to (a) the posting of the final Offering Memorandum, this Indenture
  and the periodic reports to be delivered pursuant to the transaction documents and any amendments or
  other modifications thereto on the Repository for use in the manner provided in the Repository and (b) the
  display of its name on the Repository in connection therewith. Notwithstanding anything herein to the
  contrary, none of the Issuer, the Co-Issuer and the Trustee makes any representation or warranty to The
  Bond Market Association (or any successor thereto) or any affiliate thereof or any Person having or
  obtaining access to the information maintained in the Repository or to any of such Person’s affiliates
  regarding the accuracy or completeness of any information, document, report or other communication
  transmitted to the Repository, and no Person having or obtaining access to the information maintained in
  the Repository shall have any rights under this Indenture or otherwise by reason of the transmission of
  any such information, document, report or other communication to the Repository.

          Section 14.15. Liability of Co-Issuers.

          Notwithstanding any other terms of this Indenture, the Notes or any other agreement entered into
  by either of the Co-Issuers or otherwise, neither of the Co-Issuers shall have any liability whatsoever to



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  the other of the Co-Issuers under this Indenture, the Notes, any other agreement, or otherwise. Without
  prejudice to the generality of the foregoing, neither of the Co-Issuers may take any action to enforce, or
  bring any action or proceeding, in respect of this Indenture, the Notes, any other agreement, or otherwise
  against the other of the Co- Issuers. In particular, neither of the Co-Issuers may petition or take any other
  steps for the winding up or bankruptcy of the other of the Co-Issuers and neither of the Co-Issuers shall
  have any claim with respect to any assets of the other of the Co-Issuers.

          Section 14.16. Indemnity of Co-Issuer.

           The Issuer agrees to indemnify the Co-Issuer for any payments that may become due from the
  Co-Issuer under Article 11 with respect to any Notes issued under this Indenture and any administrative,
  legal, or other costs incurred by the Co-Issuer in connection with those payments.

                                                  ARTICLE XV.

                         ASSIGNMENT OF SERVICING AGREEMENT; HEDGE AGREEMENTS

          Section 15.1.      Assignment of Servicing Agreement; Amendment of Servicing Agreement.

          (a)       The Issuer, in furtherance of the covenants of this Indenture and as security for the Notes
  and amounts payable to the Secured Parties under this Indenture and the performance and observance of
  the provisions of this Indenture, acknowledges that its Grant pursuant to the first Granting Clause
  includes all of the Issuer’s interest in the Servicing Agreement, including:

                   (i)       the right to give all notices, consents and releases under it,

                  (ii)    the right to give all notices of termination pursuant to the Servicing Agreement
          and to take any legal action upon the breach of an obligation of the Servicer under it, including
          the commencement, conduct and consummation of proceedings at law or in equity,

                   (iii)     the right to receive all notices, accountings, consents, releases and statements
          under it, and

                 (iv)        the right to do all other things whatsoever that the Issuer is or may be entitled to
          do under it.

           Notwithstanding anything in this Indenture to the contrary, the Trustee may not exercise any of
  the rights in (i) through (iv) above or that may otherwise arise as a result of the Grant until the occurrence
  of an Event of Default under this Indenture and the authority shall terminate when the Event of Default is
  cured or waived.

           (b)   The assignment made hereby is executed as security, and the execution and delivery
  hereby shall not in any way impair or diminish the obligations of the Issuer under the Servicing
  Agreement, nor shall any of the obligations contained in the Servicing Agreement be imposed on the
  Trustee.

           (c)     Upon the retirement of the Notes and the release of the Collateral from the lien of this
  Indenture, this assignment, and all rights in this Indenture assigned to the Trustee for the benefit of the
  Noteholders shall cease and terminate and all the interest of the Trustee in the Servicing Agreement shall
  revert to the Issuer and no further instrument or act shall be necessary to evidence the termination and
  reversion.



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          (d)    The Issuer represents that the Issuer has not executed any other assignment of the
  Servicing Agreement.

           (e)      The Issuer agrees that this assignment is irrevocable, and that it shall not take any action
  that is inconsistent with this assignment or make any other assignment inconsistent herewith. The Issuer
  shall, from time to time upon the request of the Trustee, execute all instruments of further assurance and
  all such supplemental instruments with respect to this assignment as the Trustee may reasonably request.

        (f)      The Issuer agrees to obtain the agreement and consent of the Servicer in the Servicing
  Agreement to the following:

                           (A)     the Servicer consents to this collateral assignment and agrees to perform
                   any provisions of this Indenture made expressly applicable to the Servicer pursuant to the
                   Servicing Agreement.

                            (B)     the Servicer acknowledges that the Issuer is collaterally assigning all of
                   its interest in the Servicing Agreement to the Trustee for the benefit of the Secured
                   Parties and the Servicer agrees that all of the representations, covenants and agreements
                   made by the Servicer in the Servicing Agreement are also for the benefit of the Secured
                   Parties.

                           (C)      the Servicer shall deliver to the Trustee duplicate original copies of all
                   notices, statements, communications and instruments delivered or required to be
                   delivered to the Issuer pursuant to the Servicing Agreement (other than any of them
                   delivered to the Issuer by the Trustee or the Collateral Administrator).

                           (D)      the procedure for amending the Servicing Agreement as set forth in
                   Section 15.1(h).

                            (E)      except as otherwise provided in this Indenture and the Servicing
                   Agreement, subject to the resignation rights of the Servicer pursuant to Section 12 of the
                   Servicing Agreement, the Servicer shall continue to serve as Servicer under the Servicing
                   Agreement notwithstanding that the Servicer shall not have received amounts due it
                   under the Servicing Agreement because sufficient funds were not then available under
                   this Indenture to pay the amounts pursuant to the Priority of Payments. The Servicer
                   agrees not to cause the filing of a petition in bankruptcy against the Issuer for the
                   nonpayment of the fees or other amounts payable by the Administrative Agent to the
                   Servicer under the Servicing Agreement until the payment in full of all Notes issued
                   under this Indenture and the payment to the Preference Shares Paying Agent of all
                   amounts payable with respect to the Preference Shares in accordance with the Priority of
                   Payments and the expiration of a period equal to the greater of (A) the applicable
                   preference period plus one day or (B) one year and one day following the payment.
                   Notwithstanding the foregoing, the Servicer may commence any legal action that is not a
                   bankruptcy, insolvency, liquidation or similar proceeding against the Issuer or the Co-
                   Issuer or any of their properties and may take any action it deems appropriate at any time
                   in any bankruptcy, insolvency, liquidation or similar proceeding and any other
                   Proceeding voluntarily commenced by the Issuer or the Co-Issuer or involuntarily
                   commenced against the Issuer or the Co-Issuer by anyone other than the Servicer or any
                   Affiliate of the Servicer.




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                            (F)     the Servicer irrevocably submits to the non-exclusive jurisdiction of any
                   New York State or federal court sitting in the Borough of Manhattan in The City of New
                   York in any action or proceeding arising out of or relating to the Notes, the Preference
                   Shares or this Indenture, and the Servicer irrevocably agrees that all claims in respect of
                   the action or proceeding may be heard and determined in the New York State or federal
                   court. The Servicer irrevocably waives, to the fullest extent it may legally do so, the
                   defense of an inconvenient forum to the maintenance of the action or proceeding. The
                   Servicer irrevocably consents to the service of all process in any action or proceeding by
                   the mailing or delivery of copies of the process to it the address provided for in Section
                   14.3. The Servicer agrees that a final and non-appealable judgment by a court of
                   competent jurisdiction in any such action or proceeding shall be conclusive and may be
                   enforced in other jurisdictions by suit on the judgment or in any other manner provided
                   by law.

          (g)      Following the resignation or removal of the Servicer, the Issuer shall use its best efforts
  to appoint a successor Servicer, and the Issuer, the Trustee, and the resigning or removed Servicer shall
  take any action consistent with the Servicing Agreement and this Indenture applicable to the Servicer,
  necessary to effectuate any such succession.

          (h)      (i)     The Issuer may, at the request of the Servicer, enter into an amendment or
  modification of the Servicing Agreement from time to time, without the consent of the Holders of the
  Securities and without regard to whether or not the interests of the Holders of the Securities are adversely
  affected thereby; provided that, with respect to any such amendment or modification, (a) a Rating
  Condition is satisfied and (b) a Majority of the Controlling Class of Notes or a Majority of the Holders of
  the Preference Shares have not objected in writing to such amendment or modification prior to the
  relevant Objection Cut-Off Date (as defined below).

                   (ii)    If at any time the Servicer desires to amend or modify the Servicing Agreement,
          the Servicer shall notify the Issuer and the Trustee, providing details of such proposed
          amendment or modification. Not later than five Business Days after receipt of such notice, the
          Trustee shall mail such notice to (a) each Noteholder at such Holder’s address in the Indenture
          Register or otherwise in accordance with the rules and procedures of the Depository, Euroclear
          and Clearstream, as applicable, (b) to the Preference Shares Paying Agent (for forwarding to the
          Holders of Preference Shares), (c) to the Holding Preference Shares Paying Agent (for forwarding
          to the Holders of Holding Preference Shares) and (d) to each Rating Agency. If any Holder of the
          Controlling Class of Notes or any Holder of the Preference Shares notifies, by delivering a
          written notice to the Trustee within 35 days after the Trustee has mailed such notice, that it
          objects to such proposed amendment or modification, the Trustee shall, within two Business Days
          after receiving such notice of objection, mail a notice of the receipt of such objection to the
          Issuer, the Servicer and other Holders of the Controlling Class of Notes and other Holders of the
          Preference Shares. Each Holder of the Controlling Class of Notes and each Holder of the
          Preference Shares that also wishes to object to such amendment or modification must, by
          delivering a written notice, so notify the Trustee within seven Business Days after the Trustee has
          mailed such notice of the receipt of such objection (the last day of such seven Business Day
          period, the “Objection Cut-Off Date”). If a Majority of either the Controlling Class of Notes or
          the Preference Shares notifies the Trustee in writing on or before the Objection Cut-Off Date that
          they object to the proposed amendment or modification to the Servicing Agreement, such
          amendment or modification shall not be made.

          Section 15.2.    Hedge Agreements.




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          (a)     At any time and from time to time on or after the Closing Date, the Issuer, at the direction
  of the Servicer and with the consent of a Majority of the Controlling Class, shall enter into the Hedge
  Agreements and shall assign its rights (but none of its obligations) under the Hedge Agreements to the
  Trustee pursuant to this Indenture and the Collateral Assignment of Hedge Agreements. The Servicer, on
  behalf of the Issuer, shall obtain the approval of each new Hedge Agreement from each Hedge
  Counterparty to a then-existing Hedge Agreement. The Trustee shall, on behalf of the Issuer and in
  accordance with the Valuation Report, pay amounts due to the Hedge Counterparties under the Hedge
  Agreements on any Payment Date in accordance with Section 11.1.

         (b)   The Issuer shall not enter into any Hedge Agreement unless at the time of entering the
  Hedge Agreement the Hedge Counterparty has:

                   (i)     a debt rating by Moody’s for long-term debt of “A1” (which rating of “A1” is not
          on credit watch for possible downgrade) or higher if the Hedge Counterparty has only a long-term
          rating; or a debt rating by Moody’s for long-term debt of “A2” (which rating of “A2” is not on
          credit watch for possible downgrade) or higher and a debt rating by Moody’s for short-term debt
          of “P-1” (which rating of “P-1” is not on credit watch for possible downgrade) if the Hedge
          Counterparty has both long-term and short-term ratings; and

                 (ii)     a short-term debt rating by S&P of not less than “A-1” or, if the Hedge
          Counterparty does not have a short-term debt rating by S&P, a long-term debt rating of not less
          than “A+” (the “Required Rating”).

          (c)      If at any time a Hedge Counterparty has:

                 (i)     no short-term Moody’s rating and a long-term Moody’s rating and that rating is
          below “A1” or is “A1” and has been placed on credit watch for possible downgrade by Moody’s;
          or

                   (ii)    both a short-term and long-term Moody’s rating; and either:

                           (A)     the long-term Moody’s rating is below “A2” or that rating is “A2” and
                   has been placed on credit watch for possible downgrade by Moody’s, or

                           (B)     the short-term Moody’s rating is below “P-1” or that rating is “P-1” and
                   has been placed on credit watch for possible downgrade by Moody’s

                   then the Hedge Counterparty shall be required, at its sole expense, to, within 30 Business
                   Days, either:

                                   (1)     post collateral on at least a weekly basis with the Trustee to
                           secure the Hedge Counterparty’s obligations under the Hedge Agreement, in an
                           amount and of the type sufficient to equal the First Trigger Collateral Amount for
                           such type of hedge;

                                   (2)     obtain a guarantor whose short-term and long-term debt ratings
                           equal or exceed the above criteria; or

                                  (3)      replace itself under the related or substantially equivalent Hedge
                           Agreement with a substitute Hedge Counterparty whose short-term and long-
                           term debt ratings equal or exceed the above criteria;



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           provided that the failure to take any such steps set forth under paragraphs (1) through (3) above
  shall be treated as an “Additional Termination Event” under such Hedge Agreement.

          (d)      If at any time the Hedge Counterparty has:

                 (i)      no short-term Moody’s rating and a long-term Moody’s rating that is “Baa1” or
          below or has been suspended or withdrawn;

                   (ii)    both a short-term and long-term Moody’s rating; and either:

                          (A)    the long-term Moody’s rating is “Baa1” or below or is suspended or
                   withdrawn, or

                           (B)     the short-term Moody’s rating is “P-3” or below, or

                            (C)    a short-term debt rating by S&P below “A-1” or, if the Hedge
                   Counterparty has no short-term rating by S&P, a long-term rating by S&P below “A+” or
                   that has been suspended or withdrawn;

                   then the Hedge Counterparty shall be required, at its sole expense, to, within 30 Business
                   Days, either:

                                    (1)     obtain a guarantor that has a Required Rating and that will
                           satisfy the Rating Condition with respect to S&P with respect to its appointment;
                           or

                                   (2)    replace itself under the related or substantially equivalent Hedge
                           Agreement with a substitute Hedge Counterparty that has a Required Rating and
                           the appointment of which will satisfy the Rating Condition with respect to S&P;

           provided that failure to take any such steps set forth under paragraphs (1) and (2) above shall be
  treated as an “Additional Termination Event” under such Hedge Agreement. Until the Hedge
  Counterparty complies with either paragraph (1) or paragraph (2) above (when applicable), such Hedge
  Counterparty shall post collateral on at least a weekly basis as required by the Hedge Agreement to secure
  the Hedge Counterparty’s obligations under the Hedge Agreement in an amount and of the type sufficient
  to (i) cause the Rating Condition with respect to S&P to be satisfied and (ii) equal the Second Trigger
  Collateral Amount for such type of hedge; provided that the Hedge Counterparty shall, at the time such
  collateral is first posted, deliver to the Issuer, the Trustee and the Rating Agencies an Opinion of Counsel
  of nationally recognized standing in the jurisdiction in which the Hedge Counterparty is incorporated
  confirming that such collateral will be available in a timely manner upon a bankruptcy of the Hedge
  Counterparty.

          Whenever the Issuer enters into a Hedge Agreement, the Hedge Counterparty shall comply with
  the then currently applicable rating criteria published by each Rating Agency from time to time.

          (e)     If at any time the Hedge Counterparty has a long-term unsecured debt rating by S&P
  below “BBB-,” then the Hedge Counterparty shall be required to replace itself within 10 days under the
  related or substantially equivalent Hedge Agreement with a substitute Hedge Counterparty that has a
  Required Rating and the appointment of which will satisfy the Rating Condition with respect to S&P;
  provided that failure to do so shall be treated as an “Additional Termination Event” under such Hedge
  Agreement.



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          (f)    If the Issuer has the right under a Hedge Agreement at any time to demand that the
  related Hedge Counterparty deliver Eligible Collateral in accordance with an Approved Credit Support
  Document, the Issuer shall make the demand.

           (g)    Any payments required to be made under the Hedge Agreements shall be made in
  accordance with the Priority of Payments. Subordinated Defaulted Hedge Termination Payments shall be
  subordinate to interest and principal payments on the Notes and any other payments required to be made
  by the Issuer under the Hedge Agreements, but senior to distributions to Holders of the Preference Shares.

            (h)     Except as provided in paragraph (i) of this Section 15.2, the Issuer, at the direction of the
  Servicer, shall, promptly following the early termination of a Hedge Agreement (other than on a
  Redemption Date) (but no later than 60 days after the early termination), at the expense of the Hedge
  Counterparty and to the extent possible through application of Hedge Termination Receipts, enter into a
  Replacement Hedge, unless, in the exercise of the Servicer’s commercially reasonable judgment, to do so
  would not be in the best interest of the Issuer and the Rating Condition with respect to each Rating
  Agency is satisfied with respect to the non-entry into the a Replacement Hedge. In addition, a
  Replacement Hedge may not be entered into unless the Issuer provides the Rating Agencies with at least
  seven Business Days’ prior written notice of its intention to enter into the agreement, together with its
  form and the Rating Condition with respect to each Rating Agency is satisfied with respect to the
  Replacement Hedge. The Issuer shall use commercially reasonable efforts to cause the termination of a
  Hedge Agreement (other than a termination resulting from the bankruptcy, insolvency, or similar event
  with respect to the Hedge Counterparty) to become effective simultaneously with its entering into a
  Replacement Hedge. To the extent that (i) the Servicer determines not to replace the Hedge Agreement
  and the Rating Condition with respect to each Rating Agency is satisfied with respect to the determination
  or (ii) termination is occurring on a Redemption Date, the Hedge Termination Receipts shall become part
  of Principal Proceeds and be distributed in accordance with Section 11.1(a) on the next following
  Payment Date (or on the Redemption Date, if the Notes are redeemed on the Redemption Date).

           (i)     Notwithstanding Section 15.2(h), the applicable requirements of Section 15.2(h) shall not
  have to be met if the Rating Condition with respect to each Rating Agency is otherwise satisfied with
  respect thereto.

          (j)      The notional amounts of the Hedge Agreements outstanding at any time may be reduced
  or increased from time to time, by the Issuer, and the Hedge Agreements may be amended, modified or
  terminated in accordance with the Hedge Agreements if the Rating Condition with respect to each Rating
  Agency is satisfied with respect to the reduction, increase, amendment, modification or termination, as the
  case may be.

           (k)    Each Hedge Agreement may be terminated pursuant to its terms upon an Optional
  Redemption of the Notes or an acceleration of maturity of the Notes after an Event of Default. The
  Hedge Agreement will not be permitted to be terminated as the result of a Default or Event of Default
  unless any acceleration of maturity of the Notes resulting from the Event of Default is no longer permitted
  to be rescinded pursuant to this Indenture.

           (l)     Except for Hedge Agreements entered into on or before the Closing Date, the Issuer shall
  not enter into any Hedge Agreement unless the Rating Condition with respect to each Rating Agency is
  satisfied.




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                                                                               Schedule 1

                               List of Collateral Obligations




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                                                                                                Schedule 2

                               Moody’s Industry Classification Group List

  Aerospace and Defense: Major Contractor, Subsystems, Research, Aircraft Manufacturing, Arms,
  Ammunition

  Automobile: Automotive Equipment, Auto-Manufacturing, Auto Parts Manufacturing, Personal Use
  Trailers, Motor Homes, Dealers

  Banking: Bank Holding, Savings and Loans, Consumer Credit, Small Loan, Agency, Factoring,
  Receivables

  Beverage, Food and Tobacco: Beer and Ale, Distillers, Wines and Liquors, Distributors, Soft Drink
  Syrup, Bottling, Bakery, Mill Sugar, Canned Foods, Corn Refiners, Dairy Products, Meat Products,
  Poultry Products, Snacks, Packaged Foods, Distributors, Candy, Gum, Seafood, Frozen Food, Cigarettes,
  Cigars, Leaf/Snuff, Vegetable Oil

  Buildings and Real Estate: Brick, Cement, Climate Controls, Contracting, Engineering, Construction,
  Hardware, Forest Products (building-related only), Plumbing, Roofing, Wallboard, Real Estate, Real
  Estate Development, REITs, Land Development

  Chemicals, Plastics and Rubber: Chemicals (non-agriculture), Industrial Gases, Sulfur, Plastics, Plastic
  Products, Abrasives, Coatings, Paints, Varnish, Fabricating

  Containers, Packaging and Glass: Glass, Fiberglass, Containers made of: Glass, Metal, Paper, Plastic,
  Wood or Fiberglass

  Personal and Non Durable Consumer Products (Manufacturing Only): Soaps, Perfumes, Cosmetics,
  Toiletries, Cleaning Supplies, School Supplies

  Diversified/Conglomerate Manufacturing

  Diversified/Conglomerate Service

  Diversified Natural Resources, Precious Metals and Minerals: Fabricating, Distribution, Mining and
  Sales

  Ecological: Pollution Control, Waste Removal, Waste Treatment, Waste Disposal

  Electronics: Computer Hardware, Electric Equipment, Components, Controllers, Motors, Household
  Appliances, Information Service, Communication Systems, Radios, TVs, Tape Machines, Speakers,
  Printers, Drivers, Technology

  Finance: Investment Brokerage, Leasing, Syndication, Securities

  Farming and Agriculture: Livestock, Grains, Produce, Agricultural Chemicals, Agricultural Equipment,
  Fertilizers

  Grocery: Grocery Stores, Convenience Food Stores

  Healthcare, Education and Childcare: Ethical Drugs, Proprietary Drugs, Research, Health Care


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  Centers, Nursing Homes, HMOs, Hospitals, Hospital Supplies, Medical Equipment

  Home and Office Furnishings, Housedress, and Durable Consumer Products: Carpets, Floor
  Coverings, Furniture, Cooking, Ranges

  Hotels, Motels, Inns and Gaming

  Insurance: Life, Property and Casualty, Broker, Agent, Surety

  Leisure, Amusement, Entertainment: Boating, Bowling, Billiards, Musical Instruments, Fishing, Photo
  Equipment, Records, Tapes, Sports, Outdoor Equipment (camping), Tourism, Resorts, Games, Toy
  Manufacturing, Motion Picture Production, Theatres, Motion Picture Distribution

  Machinery (Non-Agriculture, Non-Construction, Non-Electronic): Industrial, Machine Tools, Steam
  Generators

  Mining, Steel, Iron and Non-Precious Metals: Coal, Copper, Lead, Uranium, Zinc, Aluminum,
  Stainless Steel, Integrated Steel, Ore Production, Refractories, Steel Mill Machinery, Mini-Mills,
  Fabricating, Distribution and Sales

  Oil and Gas: Crude Producer, Retailer, Well Supply, Service and Drilling

  Personal, Food and Miscellaneous

  Printing and Publishing: Graphic Arts, Paper, Paper Products, Business Forms, Magazines, Books,
  Periodicals, Newspapers, Textbooks

  Cargo Transport: Rail, Shipping, Railroads, Rail-car Builders, Ship Builders, Containers, Container
  Builders, Parts, Overnight Mail, Trucking, Truck Manufacturing, Trailer Manufacturing, Air Cargo,
  Transport

  Retail Stores: Apparel, Toy, Variety, Drugs, Department, Mail Order Catalogue, Showroom

  Structured Finance

  Telecommunications: Local, Long Distance, Independent, Telephone, Telegraph, Satellite, Equipment,
  Research, Cellular

  Textiles and Leather: Producer, Synthetic Fiber, Apparel Manufacturer, Leather Shoes Personal
  Transportation: Air, Bus, Rail, Car, Rental

  Utilities: Electric, Water, Hydro Power, Gas, Diversified

  Broadcasting and Entertainment: Recording Industry, Motion Exhibition Theatres, Motion Picture
  Production and Distribution, Radio, TV, Cable Broadcasting, Broadcasting Equipment




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                                                                                    Schedule 3

                                     S&P Industry Classifications

  Corporate Obligations

  0.      Zero Default Risk
  1.      Aerospace & Defense
  2.      Air transport
  3.      Automotive
  4.      Beverage & Tobacco
  5.      Radio & Television
  6.      Brokerages, Dealers & Investment houses
  7.      Building & Development
  8.      Business equipment & services
  9.      Cable & satellite television
  10.     Chemical & plastics
  11.     Clothing/textiles
  12.     Conglomerates
  13.     Containers & glass products
  14.     Cosmetics/toiletries
  15.     Drugs
  16.     Ecological services & equipment
  17.     Electronics/electrical
  18.     Equipment leasing
  19.     Farming/agriculture
  20.     Financial Intermediaries
  21.     Food/drug retailers
  22.     Food products
  23.     Food service
  24.     Forest products
  25.     Health care
  26.     Home furnishings
  27.     Lodging & casinos
  28.     Industrial equipment
  29.     Insurance
  30.     Leisure goods/activities/movies
  31.     Nonferrous metals/minerals
  32.     Oil & gas
  33.     Publishing
  34.     Rail Industries
  35.     Retailers (except food & drug)
  36.     Steel
  37.     Surface transport
  38.     Telecommunications
  39.     Utilities

  Corporate Structured Obligations

  50.     CDOs



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  Structured Obligations

  51.     ABS Consumer
  52.     ABS Commercial
  53.     CMBS Diversified (Conduit and CTL)
  54.     CMBS (Large Loan, Single Borrower, and Single Property)
  55.     REITs and REOCs
  56.     RMBS A
  57.     RMBS B&C, HELs, HELOCs, and Tax Lien
  58.     Manufactured Housing
  59.     U.S. Agency (Explicitly Guaranteed)
  60.     Monoline/FER Guaranteed
  61.     Non-FER Company Guaranteed
  62.     FFELP Student Loans (Over 70% FFELP)
  63.     CLO of SME’s




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                                                                                                   Schedule 4

                                         Diversity Score Calculation

          The Diversity Score for the Collateral Obligations is calculated by summing each of the Industry
  Diversity Scores, which are calculated as follows:

           (i)      An “Obligor Par Amount” is calculated for each obligor represented in the Collateral
  Obligations (other than Defaulted Collateral Obligations) by summing the par amounts of all Collateral
  Obligations in the Collateral (other than Defaulted Collateral Obligations) issued by that obligor or any
  Affiliate of that obligor (other than obligors that the Servicer reasonably determines are Affiliated but are
  not dependent upon one another for credit support and are not dependent upon a Person by which they are
  commonly controlled for credit support).

           (ii)    An “Average Par Amount” is calculated by summing the Obligor Par Amounts and
  dividing by the number of obligors represented. For purposes of calculating the number of issuers of the
  Collateral Obligations (other than Defaulted Collateral Obligations), any issuers Affiliated with one
  another shall be considered one issuer (other than obligors that the Servicer reasonably determines are
  Affiliated but are not dependent upon one another for credit support and are not dependent upon a Person
  by which they are commonly controlled for credit support).

          (iii)    An “Equivalent Unit Score” is calculated for each obligor represented in the Collateral
  Obligations (other than Defaulted Collateral Obligations) by taking the lesser of (A) one and (B) the
  Obligor Par Amount for the obligor divided by the Average Par Amount. For purposes of calculating the
  Equivalent Unit Score, any issuers Affiliated with one another shall be considered one issuer (other than
  obligors that the Servicer reasonably determines are Affiliated but are not dependent upon one another for
  credit support and are not dependent upon a Person by which they are commonly controlled for credit
  support).

          (iv)  An “Aggregate Industry Equivalent Unit Score” is then calculated for each of the
  Moody’s industrial classification groups by summing the Equivalent Unit Scores for each obligor in the
  industry.

           (v)     An “Industry Diversity Score” is then established by reference to the Diversity Score
  Table shown below for the related Aggregate Industry Equivalent Unit Score. If any Aggregate Industry
  Equivalent Unit Score falls between any two the scores then the applicable Industry Diversity Score shall
  be the lower of the two Industry Diversity Scores in the Diversity Score Table.

           The Diversity Score for any Structured Finance Obligation that is a collateralized loan obligation
  is equal to zero.




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                                       DIVERSITY SCORE TABLE

Aggregate                 Aggregate                Aggregate                Aggregate
 Industry                  Industry                 Industry                 Industry
Equivalent    Diversity   Equivalent   Diversity   Equivalent   Diversity   Equivalent     Diversity
Unit Score     Score      Unit Score    Score      Unit Score    Score      Unit Score      Score
  0.0000        0.0000    5.0500        2.7000     10.1500       4.0200     15.2500        4.5300
  0.0500        0.1000    5.1500        2.7333     10.2500       4.0300     15.3500        4.5400
  0.1500        0.2000    5.2500        2.7667     10.3500       4.0400     15.4500        4.5500
  0.2500        0.3000    5.3500        2.8000     10.4500       4.0500     15.5500        4.5600
  0.3500        0.4000    5.4500        2.8333     10.5500       4.0600     15.6500        4.5700
  0.4500        0.5000    5.5500        2.8667     10.6500       4.0700     15.7500        4.5800
  0.5500        0.6000    5.6500        2.9000     10.7500       4.0800     15.8500        4.5900
  0.6500        0.7000    5.7500        2.9333     10.8500       4.0900     15.9500        4.6000
  0.7500        0.8000    5.8500        2.9667     10.9500       4.1000     16.0500        4.6100
  0.8500        0.9000    5.9500        3.0000     11.0500       4.1100     16.1500        4.6200
  0.9500        1.0000    6.0500        3.0250     11.1500       4.1200     16.2500        4.6300
  1.0500        1.0500    6.1500        3.0500     11.2500       4.1300     16.3500        4.6400
  1.1500        1.1000    6.2500        3.0750     11.3500       4.1400     16.4500        4.6500
  1.2500        1.1500    6.3500        3.1000     11.4500       4.1500     16.5500        4.6600
  1.3500        1.2000    6.4500        3.1250     11.5500       4.1600     16.6500        4.6700
  1.4500        1.2500    6.5500        3.1500     11.6500       4.1700     16.7500        4.6800
  1.5500        1.3000    6.6500        3.1750     11.7500       4.1800     16.8500        4.6900
  1.6500        1.3500    6.7500        3.2000     11.8500       4.1900     16.9500        4.7000
  1.7500        1.4000    6.8500        3.2250     11.9500       4.2000     17.0500        4.7100
  1.8500        1.4500    6.9500        3.2500     12.0500       4.2100     17.1500        4.7200
  1.9500        1.5000    7.0500        3.2750     12.1500       4.2200     17.2500        4.7300
  2.0500        1.5500    7.1500        3.3000     12.2500       4.2300     17.3500        4.7400
  2.1500        1.6000    7.2500        3.3250     12.3500       4.2400     17.4500        4.7500
  2.2500        1.6500    7.3500        3.3500     12.4500       4.2500     17.5500        4.7600
  2.3500        1.7000    7.4500        3.3750     12.5500       4.2600     17.6500        4.7700
  2.4500        1.7500    7.5500        3.4000     12.6500       4.2700     17.7500        4.7800
  2.5500        1.8000    7.6500        3.4250     12.7500       4.2800     17.8500        4.7900
  2.6500        1.8500    7.7500        3.4500     12.8500       4.2900     17.9500        4.8000
  2.7500        1.9000    7.8500        3.4750     12.9500       4.3000     18.0500        4.8100
  2.8500        1.9500    7.9500        3.5000     13.0500       4.3100     18.1500        4.8200
  2.9500        2.0000    8.0500        3.5250     13.1500       4.3200     18.2500        4.8300
  3.0500        2.0333    8.1500        3.5500     13.2500       4.3300     18.3500        4.8400




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Aggregate                 Aggregate                Aggregate                Aggregate
 Industry                  Industry                 Industry                 Industry
Equivalent    Diversity   Equivalent   Diversity   Equivalent   Diversity   Equivalent     Diversity
Unit Score     Score      Unit Score    Score      Unit Score    Score      Unit Score      Score
  3.1500        2.0667     8.2500      3.5750      13.3500       4.3400     18.4500        4.8500
  3.2500        2.1000     8.3500      3.6000      13.4500       4.3500     18.5500        4.8600
  3.3500        2.1333     8.4500      3.6250      13.5500       4.3600     18.6500        4.8700
  3.4500        2.1667     8.5500      3.6500      13.6500       4.3700     18.7500        4.8800
  3.5500        2.2000     8.6500      3.6750      13.7500       4.3800     18.8500        4.8900
  3.6500        2.2333     8.7500      3.7000      13.8500       4.3900     18.9500        4.9000
  3.7500        2.2667     8.8500      3.7250      13.9500       4.4000     19.0500        4.9100
  3.8500        2.3000     8.9500      3.7500      14.0500       4.4100     19.1500        4.9200
  3.9500        2.3333     9.0500      3.7750      14.1500       4.4200     19.2500        4.9300
  4.0500        2.3667     9.1500      3.8000      14.2500       4.4300     19.3500        4.9400
  4.1500        2.4000     9.2500      3.8250      14.3500       4.4400     19.4500        4.9500
  4.2500        2.4333     9.3500      3.8500      14.4500       4.4500     19.5500        4.9600
  4.3500        2.4667     9.4500      3.8750      14.5500       4.4600     19.6500        4.9700
  4.4500        2.5000     9.5500      3.9000      14.6500       4.4700     19.7500        4.9800
  4.5500        2.5333     9.6500      3.9250      14.7500       4.4800     19.8500        4.9900
  4.6500        2.5667     9.7500      3.9500      14.8500       4.4900     19.9500        5.0000
  4.7500        2.6000     9.8500      3.9750      14.9500       4.5000
  4.8500        2.6333     9.9500      4.0000      15.0500       4.5100
  4.9500        2.6667    10.0500      4.0100      15.1500       4.5200




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                                                                                                Schedule 5

                           Moody’s Structured Finance Obligation Recovery Rates

  The Moody’s Recovery Rate for a Structured Finance Obligation will be the applicable rate set forth
  below based on the appropriate sector as categorized by Moody’s:

  Diversified Securities primarily include (1) Automobile Securities; (2) Car Rental Receivable Securities;
  (3) Credit Card Securities; (4) Student Loan Securities

  Residential Securities primarily include (1) Home Equity Loan Securities; (2) Manufactured Housing
  Securities; (3) Residential A Mortgage Securities; (4) Residential B/C Mortgage Securities

  Undiversified Securities primarily include (1) CMBS Conduit; (2) CMBS Credit Tenant Lease; (3)
  CMBS Large Loan; (4) those ABS Sectors not included in Diversified Securities

  Collateralized Debt Obligations include (1) High-diversity CDOs (Diversity Score in excess of 20); (2)
  Low-Diversity CDOs (Diversity Score of 20 or less)

  Diversified Securities

                                                      Initial Rating of Structured Finance Obligation

  % of Underlying Capital Structure (1)       Aaa        Aa         A         Baa        Ba         B

  >70%                                        85%        80%        70%       60%        50%        40%
  <=70% >10%                                  75%        70%        60%       50%        40%        30%
  <=10%                                       70%        65%        55%       45%        35%        25%

  Residential Securities

                                                      Initial Rating of Structured Finance Obligation
  % of Underlying Capital Structure (1)       Aaa         Aa        A          Baa       Ba        B
  >70%                                        85%         80%       65%        55%       45%       30%
  <=70% >10%                                  75%         70%       55%        45%       35%       25%
  <=10% >5%                                   65%         55%       45%        40%       30%       20%
  <=5% >2%                                    55%         45%       40%        35%       25%       15%
  <=2%                                        45%         35%       30%        25%       15%       10%

  Undiversified Securities

                                                      Initial Rating of Structured Finance Obligation
  % of Underlying Capital Structure (1)       Aaa         Aa        A          Baa       Ba        B
  >70%                                        85%         80%       65%        55%       45%       30%
  <=70% >10%                                  75%         70%       55%        45%       35%       25%
  <=10% >5%                                   65%         55%       45%        35%       25%       15%
  <=5% >2%                                    55%         45%       35%        30%       20%       10%
  <=2%                                        45%         35%       25%        20%       10%       5%




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  High Diversity Collateralized Debt Obligations

                                                             Initial Rating of Underlying Asset
  % of Underlying Capital Structure (1)        Aaa         Aa        A           Baa       Ba        B
  >70%                                         85%         80%       65%         55%       45%       30%
  <=70% >10%                                   75%         70%       60%         50%       40%       25%
  <=10% >5%                                    65%         55%       50%         40%       30%       20%
  <=5% >2%                                     55%         45%       40%         35%       25%       10%
  <=2%                                         45%         35%       30%         25%       10%       5%

  Low Diversity Collateralized Debt Obligations

                                                             Initial Rating of Underlying Asset
  % of Underlying Capital Structure (1)        Aaa         Aa        A           Baa       Ba        B
  >70%                                         80%         75%       60%         50%       45%       30%
  <=70% >10%                                   70%         60%       55%         45%       35%       25%
  <=10% >5%                                    60%         50%       45%         35%       25%       15%
  <=5% >2%                                     50%         40%       35%         30%       20%       10%
  <=2%                                         30%         25%       20%         15%       7%        4%

  (1) Initial par amount of tranche to which Structured Finance Obligation relates divided by initial par
  amount of total securities issued by Structured Finance Obligation issuer.




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                                                                                                   Schedule 6

                           S&P Structured Finance Obligation Recovery Rates*

  The S&P Priority Category Recovery Rate for a Structured Finance Obligation will be the applicable rate
  set forth below based on the appropriate asset class and liability rating as categorized by S&P:


              Senior Asset Class


                                                      Liability rating


                 AAA          AA            A         BBB           BB           B               CCC
  AAA             80.0%       85.0%       90.0%       90.0%        90.0%       90.0%       90.0%
  AA              70.0%       75.0%       85.0%       90.0%        90.0%       90.0%       90.0%
  A               60.0%       65.0%       75.0%       85.0%        90.0%       90.0%       90.0%
  BBB             50.0%       55.0%       65.0%       75.0%        85.0%       85.0%       85.0%


              Junior Asset Class


                                                      Liability rating
                 AAA          AA            A         BBB           BB           B               CCC
  AAA           55.0%        65.0%        75.0%       80.0%        80.0%       80.0%       80.0%
  AA            40.0%        45.0%        55.0%       65.0%        80.0%       80.0%       80.0%
  A             30.0%        35.0%        40.0%       45.0%        50.0%       60.0%       70.0%
  BBB           10.0%        10.0%        10.0%       25.0%        35.0%       40.0%       50.0%
  B               2.5%        5.0%         5.0%       10.0%        10.0%       20.0%       25.0%
  CCC             0.0%        0.0%         0.0%        0.0%         2.5%        5.0%        5.0%


       *   This table shall not apply to project finance, future flows, synthetics, CDO repacks of ABS or
           CDOs, guaranteed ABS, distressed debt CDOs, synthetic CDOs, or emerging market CDOs.
           Recovery rates for such Structured Finance Obligations will be assigned by S&P on a case-
           by-case basis.




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                                                                                                Schedule 7

                   Certain Defined Terms Relating to S&P Rating and Moody’s Rating

          “Assigned Moody’s Rating”: The monitored publicly available rating or the annually renewed
  estimated rating expressly assigned to a debt obligation (or facility) by Moody’s that addresses the full
  amount of the principal and interest promised; provided that, on or prior to each one-year anniversary of
  the acquisition of any Collateral Obligation with a Moody’s annually renewed estimated rating, the Issuer
  shall submit to Moody’s a request for a Moody’s credit rating estimate for such Collateral Obligation,
  which shall be its Assigned Moody’s Rating, together with all information reasonably required by
  Moody’s to perform such estimate.

           “Moody’s Default Probability Rating”: With respect to any Collateral Obligation as of any date
  of determination, the rating determined in accordance with the following, in the following order of
  priority:

          (a)      with respect to a Moody’s Senior Secured Loan:

                   (i)     if the Loan’s obligor has a corporate family rating from Moody’s, such corporate
          family rating; and

                   (ii)    if the preceding clause does not apply, the Moody’s Obligation Rating of such
          Loan;

               (iii)    if the preceding clauses do not apply, the rating that is one subcategory above the
          Moody’s Equivalent Senior Unsecured Rating;

          (b)    with respect to a Moody’s Non Senior Secured Loan or a Bond, the Moody’s Equivalent
  Senior Unsecured Rating of such Collateral Obligation;

          (c)    with respect to a Collateral Obligation that is a DIP Loan, the rating that is one rating
  subcategory below the Assigned Moody’s Rating thereof;

          (d)      with respect to a Structured Finance Obligation, the Assigned Moody’s Rating thereof;
  and

          (e)      with respect to a Synthetic Security, the Assigned Moody’s Rating thereof.

          Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s
  Default Probability Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will
  be adjusted down (if on watch for downgrade) (i) with respect to any Collateral Obligation other than
  Structured Finance Obligations, one subcategory and (ii) with respect to any Structured Finance
  Obligation, two subcategories or adjusted up (if on watch for upgrade) (i) with respect to any Collateral
  Obligation other than Structured Finance Obligations, one subcategory and (ii) with respect to any
  Structured Finance Obligation, two subcategories.

         “Moody’s Equivalent Senior Unsecured Rating”: With respect to any Collateral Obligation that
  is a Loan or bond and the obligor thereof, as of any date of determination, the rating determined in
  accordance with the following, in the following order of priority:




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         (a)   if the obligor has a senior unsecured obligation with an Assigned Moody’s Rating, such
  Assigned Moody’s Rating;

          (b)      if the preceding clause does not apply, the Moody’s “Issuer Rating” for the obligor;

          (c)   if the preceding clauses do not apply, but the obligor has a subordinated obligation with
  an Assigned Moody’s Rating, then

                   (i)     if such Assigned Moody’s Rating is at least “B3” (and, if rated “B3,” not on
          watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be the rating
          which is one rating subcategory higher than such Assigned Moody’s Rating, or

                 (ii)   if such Assigned Moody’s Rating is less than “B3” (or rated “B3” and on watch
          for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be such Assigned
          Moody’s Rating;

          (d)   if the preceding clauses do not apply, but the obligor has a senior secured obligation with
  an Assigned Moody’s Rating, then:

                   (i)    if such Assigned Moody’s Rating is at least “Caa3” (and, if rated “Caa3,” not on
          watch for downgrade), the Moody’s Equivalent Senior Unsecured Rating shall be the rating
          which is one subcategory below such Assigned Moody’s Rating, or

                  (ii)   if such Assigned Moody’s Rating is less than “Caa3” (or rated “Caa3” and on
          watch for downgrade), then the Moody’s Equivalent Senior Unsecured Rating shall be “C”;

          (e)     if the preceding clauses do not apply, but such obligor has a corporate family rating from
  Moody’s, the Moody’s Equivalent Senior Unsecured Rating shall be one rating subcategory below such
  corporate family rating;

           (f)    if the preceding clauses do not apply, but the obligor has a senior unsecured obligation
  (other than a bank loan) with a monitored public rating from S&P (without any postscripts, asterisks or
  other qualifying notations, that addresses the full amount of principal and interest promised), then the
  Moody’s Equivalent Senior Unsecured Rating shall be:

                (i)     one rating subcategory below the Moody’s equivalent of such S&P rating if it is
          “BBB–” or higher,

                (ii)     two rating subcategories below the Moody’s equivalent of such S&P rating if it is
          “BB+” or lower; or

                  (iii)    “B3” until the Issuer or the Servicer obtains an estimated rating from Moody’s if
          (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes
          an estimated rating equivalent to a rating no lower than “B3” will be assigned by Moody’s and
          the Issuer or the Servicer on its behalf applies for an estimated rating from Moody’s within five
          Business Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate
          Principal Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to
          either this clause (f)(iii), or clause (g)(iii) or (h)(iii) does not exceed 5% of the Maximum
          Amount, and (C) all the Coverage Tests and the Collateral Quality Tests are satisfied;




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          (g)     if the preceding clauses do not apply, but the obligor has a subordinated obligation (other
  than a bank loan) with a monitored public rating from S&P (without any postscripts, asterisks or other
  qualifying notations, that addresses the full amount of principal and interest promised), the Assigned
  Moody’s Rating shall be deemed to be:

                (i)     one rating subcategory below the Moody’s equivalent of such S&P rating if it is
          “BBB–” or higher;

                 (ii)     two rating subcategories below the Moody’s equivalent of such S&P rating if it is
          “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall be determined
          pursuant to clause (c) above; or

                  (iii)    “B3” until the Issuer or the Servicer obtains an estimated rating from Moody’s if
          (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes
          an estimated rating equivalent to a rating not lower than “B3” will be assigned by Moody’s and
          the Issuer or the Servicer on its behalf applies for an estimated rating from Moody’s within five
          Business Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate
          Principal Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to
          either this clause (g)(iii), or clauses (f)(iii) or (h)(iii) does not exceed 5% of the Maximum
          Amount, and (C) all the Coverage Tests and the Collateral Quality Tests are satisfied;

          (h)     if the preceding clauses do not apply, but the obligor has a senior secured obligation with
  a monitored public rating from S&P (without any postscripts, asterisks or other qualifying notations, that
  addresses the full amount of principal and interest promised), the Assigned Moody’s Rating shall be
  deemed to be:

                (i)     one rating subcategory below the Moody’s equivalent of such S&P rating if it is
          “BBB–” or higher;

                 (ii)     two rating subcategories below the Moody’s equivalent of such S&P rating if it is
          “BB+” or lower, and the Moody’s Equivalent Senior Unsecured Rating shall be determined
          pursuant to clause (d) above; or

                  (iii)    “B3” until the Issuer or the Servicer obtains an estimated rating from Moody’s if
          (A) the Servicer certifies to the Trustee that in its commercially reasonable judgment, it believes
          an estimated rating equivalent to a rating not lower than “B3” will be assigned by Moody’s and
          the Issuer or the Servicer on its behalf applies for an estimated rating from Moody’s within five
          Business Days of the date of the commitment to purchase the Loan or Bond, (B) the aggregate
          Principal Balance of Collateral Obligations having an Assigned Moody’s Rating pursuant to
          either this clause (h)(iii), or clauses (f)(iii) or (g)(iii) does not exceed 5% of the Maximum
          Amount, and (C) all the Coverage Tests and the Collateral Quality Tests are satisfied;

          (i)    if the preceding clauses do not apply and each of the following clauses (i) through (viii)
  do apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa1”:

                  (i)    neither the obligor nor any of its Affiliates is subject to reorganization or
          bankruptcy proceedings,

                   (ii)   no debt securities or obligations of the obligor are in default,




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                    (iii)   neither the obligor nor any of its Affiliates has defaulted on any debt during the
             preceding two years,

                    (iv)     the obligor has been in existence for the preceding five years,

                     (v)     the obligor is current on any cumulative dividends,

                     (vi)     the fixed-charge ratio for the obligor exceeds 125% for each of the preceding two
             fiscal years and for the most recent quarter,

                    (vii)    the obligor had a net profit before tax in the past fiscal year and the most recent
             quarter, and

                  (viii)     the annual financial statements of such obligor are unqualified and certified by a
             firm of Independent accountants of international reputation, and quarterly statements are
             unaudited but signed by a corporate officer;

           (j)   if the preceding clauses do not apply but each of the following clauses (i) and (ii) do
  apply, the Moody’s Equivalent Senior Unsecured Rating will be “Caa3”:

                     (i)    neither the obligor nor any of its Affiliates is subject to reorganization or
             bankruptcy proceedings; and

                    (ii)    no debt security or obligation of such obligor has been in default during the past
             two years; and

          (k)      if the preceding clauses do not apply and a debt security or obligation of the obligor has
  been in default during the past two years, the Moody’s Equivalent Senior Unsecured Rating will be “Ca.”

         Notwithstanding the foregoing, not more than 10% of the Maximum Amount may consist of
  Relevant Obligations given a Moody’s Equivalent Senior Unsecured Rating based on a rating given by
  S&P as provided in clauses (f), (g) and (h) above.

         “Moody’s Obligation Rating”: With respect to any Collateral Obligation as of any date of
  determination, the rating determined in accordance with the following, in the following order of priority:

             (a)     With respect to a Moody’s Senior Secured Loan:

                      (i)    if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

                     (ii)  if the preceding clause does not apply, the rating that is one rating subcategory
             above the Moody’s Equivalent Senior Unsecured Rating; and

             (b)     With respect to a Moody’s Non Senior Secured Loan or a Bond:

                      (i)    if it has an Assigned Moody’s Rating, such Assigned Moody’s Rating; or

                     (ii)    if the preceding clause does not apply, the Moody’s Equivalent Senior Unsecured
             Rating; and

             (c)     With respect to a Synthetic Security or a DIP Loan, the Assigned Moody’s Rating
  thereof.


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          Notwithstanding the foregoing, if the Moody’s rating or ratings used to determine the Moody’s
  Obligation Rating are on watch for downgrade or upgrade by Moody’s, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).

          “Moody’s Rating”: The Moody’s Default Probability Rating; provided that, with respect to the
  Collateral Obligations generally, if at any time Moody’s or any successor to it ceases to provide rating
  services, references to rating categories of Moody’s in this Indenture shall be deemed instead to be
  references to the equivalent categories of any other nationally recognized investment rating agency
  selected by the Servicer, as of the most recent date on which such other rating agency and Moody’s
  published ratings for the type of security in respect of which such alternative rating agency is used.

          “S&P Rating”: With respect to any Collateral Obligation, as of any date of determination, the
  rating determined in accordance with the following methodology:

                   (i)      If there is an issuer credit rating of the borrower of the Collateral Obligation (the
          “Borrower”), or the guarantor who unconditionally and irrevocably guarantees the Collateral
          Obligation (the “Guarantor”) by S&P, the most current issuer credit rating for such Borrower or
          Guarantor (provided that with respect to any private or confidential rating, a consent has been
          granted by such Borrower or Guarantor and a copy of such consent shall be provided to S&P
          indicating that the issuer can rely on such private or confidential rating);

                   (ii)     (a) if there is not an issuer credit rating of the Borrower or its Guarantor by S&P,
          but there is a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, then
          the S&P Rating of the Collateral Obligation will be one subcategory below such rating; (b) if
          there is not a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, but
          there is a rating by S&P on a senior unsecured obligation of the Borrower or its Guarantor, then
          the S&P Rating will be such rating; and (c) if there is not a rating by S&P on a senior obligation
          of the Borrower or its Guarantor, but there is a rating by S&P on a subordinated obligation of the
          Borrower or its Guarantor, then the S&P Rating will be two subcategories above such rating if
          such rating is “BBB-” or higher and will be one subcategory above such rating if such rating is
          “BB+” or lower (provided that with respect to any private or confidential rating, a consent has
          been granted by such Borrower or Guarantor and a copy of such consent shall be provided to
          S&P indicating that the issuer can rely on such private or confidential rating); or

                  (iii)    if there is neither an issuer credit rating of the Borrower or its Guarantor by S&P
          nor a rating by S&P on an obligation of the Borrower or its Guarantor, then the S&P Rating may
          be determined using any one of the methods below:

                                   (A)      if an obligation of the Borrower or its Guarantor is publicly rated
                           by Moody’s, then the S&P Rating will be determined in accordance with the
                           methodologies for establishing the Moody’s Default Probability Rating, except
                           that the S&P Rating of such obligation will be (1) one subcategory below the
                           S&P equivalent of the rating assigned by Moody’s if such security is rated
                           “Baa3” or higher by Moody’s and (2) two subcategories below the S&P
                           equivalent of the rating assigned by Moody’s if such security is rated “Bal” or
                           lower by Moody’s; provided that Collateral Obligations constituting no more
                           than 10% of the Maximum Amount may be given a S&P Rating based on a
                           rating given by Moody’s as provided in this subclause (a) (after giving effect to
                           the addition of the relevant Collateral Obligation, if applicable);




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                                   (B)     if no other security or obligation of the Borrower or its
                          Guarantor is rated by S&P or Moody’s, then the Servicer may apply to S&P for a
                          S&P credit rating estimate, which will be its S&P Rating; provided that, on or
                          prior to each one-year anniversary of the acquisition of any such Collateral
                          Obligation, the Issuer shall submit to S&P a request for an S&P credit rating
                          estimate for such Collateral Obligation, which shall be its S&P Rating, together
                          with all information reasonably required by S&P to perform such estimate; or

                                   (C)     if such Collateral Obligation is not rated by Moody’s or S&P, no
                          other security or obligation of the Borrower or its Guarantor is rated by S&P or
                          Moody’s and if the Servicer determines in its sole discretion based on
                          information available to it after reasonable inquiry that such Borrower (x) is not
                          subject to any bankruptcy or reorganization proceedings nor in default on any of
                          its obligations (unless the subject of a good faith business dispute), (y) is a
                          legally constituted corporate entity having the minimum legal, financial and
                          operational infrastructure to carry on a definable business, deliver and sell a
                          product or service and report its results in generally accepted accounting terms as
                          verified by a reputable audit firm and (z) is not so vulnerable to adverse business,
                          financial and economic conditions that default in its financial or other obligations
                          is foreseeable in the near term if current operating trends continue, then the S&P
                          Rating will be “B-”; provided that the Servicer must apply to S&P for a S&P
                          credit rating on such Borrower within 30 days after the addition of the relevant
                          Collateral Obligation; provided, further, that Collateral Obligations constituting
                          no more than 5% of the Maximum Amount may be given an S&P Rating based
                          on this subclause (c) (after giving effect to the addition of the relevant Collateral
                          Obligation, if applicable);

           provided that if (i) the relevant Borrower or Guarantor or obligation is placed on any positive
  “credit watch” list by S&P, such rating will be increased by one rating subcategory or (ii) the relevant
  Borrower or Guarantor or obligation is placed on any negative “credit watch” list by S&P, such rating
  will be decreased by one rating subcategory.

           Notwithstanding the foregoing, in the case of a Collateral Obligation that is a DIP Loan, the S&P
  Rating shall be (A) the rating assigned thereto by S&P if the rating is public, (B) the rating assigned by
  S&P if the rating is confidential, but only if all appropriate parties have provided written consent to its
  disclosure and use, (C) the rating assigned by S&P thereto through an estimated rating or (D) the rating
  assigned thereto by S&P in connection with the acquisition thereof upon the request of the Servicer. In the
  case of a Collateral Obligation that is a PIK Security, Structured Finance Obligation or Synthetic
  Securities, the S&P Rating may not be determined pursuant to clause (iii)(A) above. For purposes of any
  calculation under this Indenture, if a S&P Rating is withdrawn by S&P with respect to a Collateral
  Obligation, the Issuer will continue using the latest S&P Rating available immediately prior to such
  withdrawal until a bankruptcy event occurs with respect to such Collateral Obligation.

          S&P Ratings for entities or obligations relevant hereunder other than Borrowers and Collateral
  Obligations shall be determined in a corresponding manner.




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